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 Debtors in Possession

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 RITE AID CORPORATION, et al.,                                Case No. 23-18993 (MBK)

                                     Debtors. 1               (Jointly Administered)



                 DECLARATION OF MARC LIEBMAN IN SUPPORT OF
           THE DEBTORS’ SECOND MOTION TO ENFORCE THE SALE ORDER

          I, Marc Liebman, declare as follows under penalty of perjury:

          1. I am a Managing Director at Alvarez & Marsal North America, LLC (“A&M”), the

 Debtors’ financial advisor. I am also the Chief Transformation Officer of the Debtors. I submit

 this declaration (the “Declaration”) in support of the Debtors’ Second Motion to Enforce the Sale



 1    The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
      Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
      cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Order and Compel Performance by MedImpact Healthcare Systems, Inc. Under the MedImpact

 Asset Purchase Agreement (the “Motion”).

        2. I am over the age of 18 and authorized to submit this Declaration on behalf of the

 Debtors. Except as otherwise indicated, this Declaration is based upon my personal knowledge,

 my discussions with the Debtors’ management team and advisors, and my review of relevant

 documents and information concerning the Debtors. If called as a witness, I would testify as

 follows.

                                          Background

        3. I have been a financial advisor to stressed and distressed companies for over 22 years,

 and I have served in various positions at A&M for over 20 years. A&M is a restructuring

 consulting firm with extensive experience providing high quality, specialized management and

 restructuring advisory services to debtors and distressed companies. A&M’s services include

 turnaround advisory services, interim and crisis management, revenue enhancement, claims

 management, and creditor and risk management advisory services.              My representative

 engagements include AMERCO/U-Haul, Clover Technologies, Conexant Semiconductor, Euro

 Fresh Farms, Forbes Energy, Fresh & Easy Markets, Grubb & Ellis, Isola, LBI Media, Nellson

 Nutraceutical, Relativity Media, Shea Homes, Washington Group, Whiting Petroleum, William

 Lyon Homes, and World Kitchen. I have a bachelor’s degree in business administration with a

 concentration in accounting from the University of Notre Dame and an MBA in finance from the

 University of Chicago.

        4. A&M has advised the Debtors since May 2023. Through A&M’s engagement and

 my officer role with the Debtors, I am familiar with the Debtors’ capital structure, day-to-day

 operations, liquidity and cash forecasts, business and financial affairs, and books and records.


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 Members of the A&M team and I have assisted the Debtors, among other things, in preparing

 cash flow projections, budgets, and other financial information; supporting the Debtors’ sale and

 marketing processes; analyzing various considerations related to the rationalization of the

 Debtors’ retail footprint; and developing, negotiating, and implementing the Debtors’ operational

 turnaround, cost-saving initiatives, and strategic transformation plans.

                                   The APA Purchase Price Adjustment

           5. In summer 2023, A&M (on behalf of the Debtors) and BDO (on behalf of

 MedImpact) exchanged information and facilitated diligence in connection with the sale of

 Elixir.    The Debtors and MedImpact memorialized their agreement in an asset purchase

 agreement dated as of October 15, 2023. The Debtors and MedImpact amended the APA several

 times between October 15, 2023, and February 1, 2024, when the sale closed. Attached hereto as

 Exhibit A is a true and correct copy of Amendment No. 15 to the Asset Purchase Agreement

 dated as of January 31, 2024.

           6. On April 30, 2024, MedImpact delivered to the Debtors a post-closing adjustment

 statement in PDF and Excel formats (together, the “Closing Working Capital Statement”), which

 deviated from the agreed-upon methodology set forth in Exhibit E but which determined that the

 amount of Closing Working Capital 2 exceeded the Target Working Capital amount by more than

 $50,000,000. Attached hereto as Exhibit B is a true and correct copy of the PDF version of the

 Closing Working Capital Statement as delivered by MedImpact to the Debtors on April 30, 2024.

           7. On June 14, 2024, the Debtors prepared and delivered a statement of objections to

 MedImpact’s Closing Working Capital Statement (“Debtors’ Statement of Objections”), wherein



 2   Capitalized terms used but not defined herein shall have the meanings ascribed to them as set forth in the APA.




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 the Debtors disputed MedImpact’s methodology for calculating the Closing Working Capital

 Statement but agreed that the amount of Closing Working Capital exceeded the Target Working

 Capital amount by more than $50,000,000. As a result, the Debtors confirmed that “there is no

 Disputed Amount” concerning the cash payment MedImpact owes the Debtors. The Debtors

 therefore requested that MedImpact (i) pay the Debtors $35,660,920 within five business days

 pursuant to Section 2.7(d)(iv) of the APA, and (ii) direct the Escrow Agent to release to the

 Debtors the Purchase Price Adjustment Escrow Amount. Attached hereto as Exhibit C is a true

 and correct copy of the Debtors’ Statement of Objections together with its exhibits, as addressed

 and delivered to MedImpact’s Chief Financial Officer, James Gollaher, and MedImpact’s

 counsel, on June 14, 2024.

        8. On June 23, 2024, the Debtors sent MedImpact an email (pursuant to the notice

 provisions of the APA) noting that the Cash Payment and escrow release were due. The Debtors

 requested MedImpact’s confirmation that the Cash Payment would be paid and direction to the

 Escrow Agent be made immediately. Attached hereto as Exhibit D is a true and correct copy of

 the Debtors’ email as addressed and sent to James Gollaher at MedImpact and MedImpact’s

 counsel on June 23, 2024. 3

               MedImpact’s Failure to Pay Imperils the Debtors’ Restructuring

        9. MedImpact has not paid the Debtors the Cash Payment (i.e., $35,660,920) nor has

 MedImpact released to the Debtors the Purchase Price Adjustment Escrow Amount (i.e.,

 $14,375,000), both of which MedImpact acknowledged it owed the Debtors in its Closing

 Working Capital Statement.


 3      Exhibit E does not enclose the wire instructions attached to the Debtors’ June 23 email for confidentiality
        reasons.




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        10. By withholding approximately $50 million in total from the Debtors, MedImpact

 threatens the Debtors’ ability to emerge from Chapter 11. The Debtors and their advisors closely

 monitor the Debtors’ liquidity position daily to prudently fund operations and chapter 11 process

 costs through a successful emergence. The Debtors’ liquidity projections take into account

 numerous factors, including ordinary course receipts and disbursements, proceeds and costs

 associated with asset divestitures, and the deterioration of liquidity resulting from vendor trade

 terms contraction due to the bankruptcy filing.

        11. Receipt of the $35,660,920 cash payment and the Purchase Price Adjustment Escrow

 Amount from MedImpact has long been part of the pre-emergence liquidity forecast for the

 Debtors’ business and a key enabler to performing on vendor obligations during the pendency of

 this case. The Debtors have committed to maintain at least $450 million in exit liquidity. See

 Fourth Amended Plan Supplement [Docket No. 3790], Exhibit E-1, § 4.01(j) (“Pro Forma

 Liquidity Condition”). The Debtors cannot meet minimum liquidity covenants required for exit

 financing in order to emerge under the confirmed chapter 11 plan absent receipt of these funds

 from MedImpact.

        12. Due to the high costs of administering these chapter 11 cases (primarily, professional

 fees, interest on the DIP facilities, and U.S. Trustee fees) and the sustained adverse impact on its

 vendor base, the Debtors cannot afford to linger in chapter 11. While the Debtors anticipate

 receiving an additional $37.5 million of DIP funding upon entry of the final Confirmation Order,

 see Third Amended DIP Order [Docket No. 3836], Exhibit H, New Money Notes Term Sheet,

 this financing is not sufficient to cover the Debtors’ needs indefinitely. The Debtors do not have

 the DIP financing or secured creditor support to emerge from chapter 11 beyond August 2024.

                            [Remainder of page intentionally left blank]


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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.


  Dated: July 2, 2024                                Respectfully submitted,



                                                     /s/ Marc Liebman
                                                     Marc Liebman
                                                     Managing Director
                                                     Alvarez & Marsal North America, LLC




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                                     Exhibit A

                    Amendment No. 15 to Asset Purchase Agreement
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               AMENDMENT NO. 15 TO ASSET PURCHASE AGREEMENT

                                          January 31, 2024

         This AMENDMENT NO. 15 TO ASSET PURCHASE AGREEMENT (this
 “Amendment”) is made and entered into as of the date first above written, by and among
 MedImpact Healthcare Systems, Inc., a California corporation (“Purchaser”) and Hunter Lane,
 LLC, a Delaware limited liability company (as in existence on the date hereof, as a debtor-in-
 possession and a reorganized Debtor, as applicable, “Elixir”). Purchaser and Elixir are referred to
 herein individually as a “Party” and collectively as the “Parties.” Capitalized terms used but not
 otherwise defined in herein have the respective meanings ascribed to such terms in the Purchase
 Agreement (as defined below).

        WHEREAS, the Parties and certain other parties have entered into that certain Asset
 Purchase Agreement, dated as of October 15, 2023 (the “Signing Date”), as amended (the
 "Purchase Agreement");

        WHEREAS, the Parties wish to amend the Purchase Agreement in accordance with the
 terms of the Purchase Agreement and this Amendment; and

         WHEREAS, Section 10.5 (Amendment and Waiver) of the Purchase Agreement provides
 that the Purchase Agreement be amended only in a writing signed by Purchaser and Sellers (or
 Elixir, on behalf of Sellers, pursuant to Section 10.19 of the Purchase Agreement).

       NOW, THEREFORE, in consideration of premises, and of the representations, warranties,
 covenants and agreements contained herein, the value, receipt and sufficiency of which are hereby
 acknowledged, the Parties hereby agree as follows:

         1.      Amendment to Purchase Agreement. The Purchase Agreement is hereby amended
 by making the additions in blue or green underlined text (indicated textually in the same manner
 as the following example: underlined text or underlined text) and deletions in green or red stricken
 text (indicated textually in the same manner as the following example: stricken text or stricken
 text) as set forth in Exhibit A attached hereto; provided, for the purpose of clarity, certain such
 additions in blue or green underlined text and deletions in green or red stricken text reflect
 amendments to the Purchase Agreement previously effected by Amendment No. 5 through
 Amendment No. 14, which will remain in full force and effect and are hereby ratified and
 confirmed by the Parties.

        2.      Amendment to Schedules to Purchase Agreement. Schedule 1.1(a)(i) to the
 Purchase Agreement is hereby amended and restated in its entirety as set forth in Exhibit A
 attached hereto.

        3.    Estimated Closing Working Capital. Sellers delivered to Purchaser on January 29,
 2024 the Estimated Closing Working Capital Statement. Notwithstanding such delivery, the
 Estimated Closing Working Capital shall be deemed to be an amount equal to negative
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 $192,288,920; provided that the foregoing is without prejudice to any Party’s rights or obligations
 under Section 2.7(b) through (e) of the Purchase Agreement.

        4.     ROI Amendment. At the Closing, Sellers shall cause EIC to and Purchaser shall
 duly execute and deliver the ROI Amendment, substantially in the form attached hereto as
 Exhibit B.

         5.      TSA. Exhibit G to the Purchase Agreement is hereby amended and replaced in its
 entirety with the form attached hereto as Exhibit C.

        6.       Effect of Amendment. This Amendment shall be deemed incorporated into, and
 form a part of, the Purchase Agreement and have the same legal validity and effect as the Purchase
 Agreement. Except as expressly and specifically amended hereby, all terms and provisions of the
 Purchase Agreement are and shall remain in full force and effect, and all references to the Purchase
 Agreement in this Amendment and in any ancillary agreements or documents delivered in
 connection with the Purchase Agreement shall hereafter refer to the Purchase Agreement as
 amended by this Amendment, and as it may hereafter be further amended or restated. Each
 reference in the Purchase Agreement to “this Agreement,” “herein,” “hereof,” “hereunder” or
 words of similar import shall hereafter be deemed to refer to the Purchase Agreement as amended
 hereby (except that references in the Purchase Agreement to the “date hereof” or “date of this
 Agreement” or words or phrases of similar import shall continue to mean the Signing Date).

        7.      Inconsistency or Conflict. In the event of any inconsistency or conflict between the
 terms and provisions of the Purchase Agreement, on the one hand, and this Amendment, on the
 other hand, the terms and provisions of this Amendment shall govern and control.

         8.      Additional Provisions. The provisions set forth in Article X (Miscellaneous)
 (except Section 10.18 (Bulk Sales Laws)) and Section 11.3 (Rules of Interpretation) of the
 Purchase Agreement are incorporated herein by reference as if set forth in full herein and shall
 apply to the terms and provisions of this Amendment and the Parties hereto mutatis mutandis.

                                      (Signature pages follow)




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                    IN WITNESS WHEREOF, the Parties have caused this Amendment to be executed by
            their respective duly authorized officers as of the date first above written.

                                                             PURCHASER:


                                                             MEDIMPACT HEALTHCARE SYSTEMS, INC.


                                                             By: ______________________________
                                                             Name: Frederick Howe
                                                             Title:  Chief Executive Officer




                                  [Signature Page to Amendment No. 15 to Asset Purchase Agreement]
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                                                                 ELIXIR:


                                                                   HUNTER LANE, LLC



                                                                   By:
                                                                   Name: Chris DuPaul
                                                                   Title: EVP and President




                                   [Signature Page to Amendment No. 15 to Asset Purchase Agreement]
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                                     Exhibit A

                                   Schedule 1.1(a)

       Please see attached.
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     _________________________________________________________________________

                                ASSET PURCHASE AGREEMENT

                                DATED AS OF OCTOBER 15, 2023

                                       BY AND AMONG

                  MEDIMPACT HEALTHCARE SYSTEMS, INC., AS PURCHASER,

                                             AND

                                      HUNTER LANE, LLC

                       AND ITS SUBSIDIARIES NAMED HEREIN, AS SELLERS

   ___________________________________________________________________________




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                               ASSET PURCHASE AGREEMENT

         This Asset Purchase Agreement (this “Agreement”), dated as of October 15, 2023, is
 made by and among MedImpact Healthcare Systems, Inc., a California corporation (subject to
 Section 10.4(b), “Purchaser”), MI OpCo Holdings, Inc., a Delaware corporation (“Guarantor”),
 and Hunter Lane, LLC, a Delaware limited liability company (as in existence on the date hereof,
 as a debtor-in-possession and a reorganized Debtor, as applicable, “Elixir”) and the Subsidiaries
 of Elixir that are indicated on the signature pages attached hereto (together with Elixir, each a
 “Seller” and collectively “Sellers”). Purchaser and Sellers are referred to herein individually as a
 “Party” and collectively as the “Parties.” Capitalized terms used herein shall have the meanings
 set forth herein including Article XI.

         WHEREAS, on October 15, 2023 (the “Petition Date”), Sellers, together with certain of
 Sellers’ Subsidiaries and Affiliates, commenced voluntary cases under chapter 11 of title 11 of
 the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States
 Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”), which cases are
 jointly administered for procedural purposes under Case No. [●] ([●]) (Bankr. D.N.J.)
 (collectively, the “Bankruptcy Cases”); and

         WHEREAS, Purchaser desires to purchase the Acquired Assets and assume the Assumed
 Liabilities from Sellers, and Sellers desire to sell, convey, assign, and transfer to Purchaser the
 Acquired Assets together with the Assumed Liabilities, in a sale authorized by the Bankruptcy
 Court pursuant to, inter alia, sections 105, 363 and 365 of the Bankruptcy Code, in accordance
 with the other applicable provisions of the Bankruptcy Code and the Federal Rules of
 Bankruptcy Procedure and the local rules for the Bankruptcy Court, all on the terms and subject
 to the conditions set forth in this Agreement and subject to the entry and terms of the Sale Order;

         NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
 warranties, covenants, and agreements set forth herein, intending to be legally bound hereby, the
 Parties hereby agree as follows.

                                     ARTICLE I
                       PURCHASE AND SALE OF ACQUIRED ASSETS;
                         ASSUMPTION OF ASSUMED LIABILITIES

         Section 1.1 Purchase and Sale of the Acquired Assets. Pursuant to sections 105, 363
 and 365 of the Bankruptcy Code, on the terms and subject to the conditions set forth herein and
 in the Sale Order, at the Closing, Sellers shall sell, transfer, assign, convey, and deliver to
 Purchaser, and Purchaser shall purchase, acquire, and accept from Sellers, all of Sellers’ right,
 title and interest in and to, as of the Closing, the Acquired Assets, free and clear of all
 Encumbrances other than Permitted Encumbrances. “Acquired Assets” means all of the
 properties, rights, interests and other assets owned by or held by a Seller as of the Closing,
 whether tangible or intangible, real, personal, or mixed, wherever located and whether or not
 required to be reflected on a balance sheet prepared in accordance with GAAP, including any
 such properties, rights, interests, and other assets acquired by any Seller after the date hereof and




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 prior to the Closing, and including Sellers’ right, title and interest in and to, as of the Closing, the
 following assets of each Seller, but excluding in all cases the Excluded Assets:

                  (a)    (i) subject to Section 1.5, all Contracts listed on Schedule 1.1(a)(i) to
          which any Seller is a party, but, in all cases, excluding Leases, which are addressed in
          Section 1.1(g) and (ii) the Contracts listed on Schedule 1.1(a)(ii) (the “Commercial
          Interco Contracts” and, together with (i), the “Assigned Contracts”), including that
          certain Pharmacy Benefit Management Services Agreement (the “ROI Agreement”, as
          amended from time to time (including pursuant to that certain Amendment No. 8 to
          Revised and Restated Pharmacy Benefit Management Services Agreement (Medicare
          Part D) to be effective on the Closing Date (the “ROI Amendment”)), effective the 1st
          day of January, 2010, by and between Rx Options, Inc., an Ohio cCorporation and a
          Seller (“ROI”), and EIC (f/k/a Envision Insurance Companyas so amended, the “ROI
          Agreement”);

                  (b)     all rights under non-disclosure, confidentiality, and similar arrangements
          with (or for the benefit of) employees and agents of Sellers or with third parties
          (including any non-disclosure, confidentiality agreements or similar arrangements entered
          into in connection the Auction), which any such agreements will be Assigned Contracts
          subject to designation as an Excluded Contract pursuant to Section 1.5;

                  (c)     all accounts receivable (including Rebate Assets), notes receivable,
          negotiable instruments and chattel paper owing from Persons other than Sellers and their
          Affiliates, together with any unpaid interest or fees accrued thereon or other amounts due
          with respect thereto, but in all cases excluding any CMS Receivable;

                       (d)   all bank accounts;

                 (e)    all credits, prepaid expenses, deferred charges and expenses, advance
          payments, and prepaid items and duties, including all lease and rental payments that have
          been prepaid by any Seller with respect to any Acquired Leased Real Property;

                 (f)   all Documents (excluding any credit card numbers or related customer
          payment sources, social security numbers, or other information to the extent prohibited
          by any Law);

                 (g)     subject to Section 1.5, the Leased Real Property listed on Schedule 1.1(g)
          (the “Acquired Leased Real Property” and the Lease governing any Acquired Leased
          Real Property, an “Acquired Lease”) and any security deposits related thereto;

                  (h)    all land, together with all buildings, structures, improvements, and fixtures
          located thereon, and all easements, privileges, appurtenances and other rights and
          interests appurtenant thereto and all right, title and interest in and to any streets, alleys,
          passages or other rights-of-way or appurtenances included in, adjacent to or used in
          connection with such land and all right, title and interest in all mineral rights appurtenant
          to such land, owned by the Sellers (the “Owned Real Property”);



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                 (i)     all tangible assets (including Equipment) of Sellers, including the tangible
          assets of Sellers located at any Acquired Leased Real Property or the Owned Real
          Property and any tangible assets on order to be delivered to any Seller; provided that,
          with respect to any such tangible asset that is leased to any Seller, the lease agreement
          covering such leased tangible asset is an Assigned Contract;

                  (j)      all rights against third parties (including customers, suppliers, vendors,
          merchants, manufacturers (including pharmaceutical drug manufacturers), Group
          Purchasing Organizations, and counterparties to any Assigned Contract), including
          causes of action, claims, counterclaims, defenses, credits, rebates (including any vendor,
          manufacturers (including pharmaceutical drug manufacturers), Group Purchasing
          Organizations, or supplier rebates), demands, allowances, refunds (other than Tax
          refunds attributable to a Pre-Closing Tax Period), causes of action, rights of set off, rights
          of recovery, rights of recoupment or rights under or with respect to express or implied
          guarantees, warranties, representations, covenants or indemnities made by such third
          parties, in each case arising out of or relating to events or circumstances occurring from
          and after the Closing Date with respect to any of the Acquired Assets or Assumed
          Liabilities (in each case, other than against any Seller or its Affiliates and excluding any
          CMS Receivable);

                 (k)      to the extent transferable under applicable Law, all of the rights, interests
          and benefits (if any) accruing under all Permits and Governmental Authorizations, and all
          pending applications therefor and copies of all governmental filings associated therewith,
          including, to the extent transferable under applicable Law, those Permits and
          Governmental Authorizations listed on Schedule 1.1(k);

                  (l)     to the extent transferable, excluding (A) all director and officer insurance
          policies, (iB) all current and prior insurance policies of any Seller, and (ii) liability
          policies, (C) all punitive damages policies, (D) Travelers Casualty and Surety Company
          of America, Managed Care Errors and Omissions Liability Policy No. 107576598, and
          (E) Allied World Surplus Lines Insurance Company Excess Liability Insurance Policy
          No. 0313-7399 (A, B, C, D, and E together the “Excluded Insurance Policies”) and all
          insurance rights and benefits (including proceeds) of any nature the Excluded Insurance
          Policies (together with the Excluded Insurance Policies, the “Excluded Insurance
          Assets”), all insurance rights and benefits (including proceeds) to the extent arising from
          or relating to any of the Acquired Assets or Assumed Liabilities (including returns and
          refunds of any premiums paid, or other amounts due back to Sellers, with respect to
          cancelled policies), including all such insurance recoveries and rights to assert claims
          with respect to any such insurance recoveries (the foregoing clauses (i) and (ii),
          collectively, the “Acquired Insurance Assets”);

                  (m)     all Intellectual Property owned or purported to be owned by the Sellers, all
          rights to collect royalties and proceeds in connection with such Intellectual Property that
          are or were due or payable prior to, on, or after the Closing, all rights to sue and recover
          for past, present and future infringements, dilutions, misappropriations, violations of, or
          other conflicts with, such Intellectual Property, and any and all corresponding rights that,
          now or hereafter, may be secured throughout the world, including the Laker Software and

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          the Intellectual Property set forth on Schedule 1.1(m) (collectively, the “Acquired
          Intellectual Property”);

                       (n)   all Inventory and supplies of the Sellers;

                  (o)     (i) all avoidance claims or causes of action available to Sellers under
          chapter 5 of the Bankruptcy Code (including sections 544, 545, 547, 548, 549, 550 and
          553) or any similar actions under any other applicable Law (whether or not asserted as of
          the Closing Date) (“Avoidance Actions”) against any trade creditor, customer, supplier,
          manufacturer, distributor, broker, licensee, licensor, agent, or vendor of any Seller or any
          other Person with whom any Seller has an ordinary course commercial relationship, (ii)
          all Avoidance Actions relating to the Acquired Assets or Assumed Liabilities, or against
          any of the Sellers’ counterparties to the Assigned Contracts, and (iii) all rights, claims,
          causes of action, rights of recovery, rights of set-off, and rights of recoupment of any
          Seller against any Transferred Employee (the foregoing clauses (i), (ii), and (iii),
          collectively, the “Acquired Avoidance Actions”); provided that, for the avoidance of
          doubt, the Acquired Avoidance Actions extend solely to actions related to the Acquired
          Assets and the Business and shall not include preference claims or avoidance claims and
          actions (including any such claims and actions arising under Sections 544, 545, 547, 548,
          549, 550 and 553 of the Bankruptcy Code) against any representatives of the Debtors, or
          the Debtors’ non-debtor Affiliates, Subsidiaries, or representatives of any of the
          foregoing; provided further that Purchaser will not pursue or cause to be pursued either
          directly or indirectly any Acquired Avoidance Actions except as a defense (to the extent
          permitted under applicable Law) against any claim or cause of action asserted by any
          Person enumerated in clauses (i), (ii), and (iii);

                   (p)     all deposits, including maintenance deposits, and security deposits for
          rent, electricity, telephone or otherwise; and

                  (q)        all goodwill, payment intangibles and general intangible assets and rights
          of Sellers.

         Section 1.2 Excluded Assets. Notwithstanding anything to the contrary in this
 Agreement, in no event shall Sellers be deemed to sell, transfer, assign, convey or deliver, and
 Sellers shall retain all right, title and interest to, in and under the following properties, rights,
 interests and other assets of Sellers (collectively, the “Excluded Assets”):

                  (a)    all Cash and Cash Equivalents, such bank account(s) as the Parties
          reasonably agree prior to the Closing for Sellers to retain for winddown and related
          purposes, and any retainers or similar amounts paid to Advisors or other professional
          service providers;

                 (b)    subject to Section 1.5, all Contracts of Sellers other than Assigned
          Contracts and any Acquired Lease (the “Excluded Contracts”), including the Rejection
          Contracts;

                 (c)    all Documents (including information stored on the computer systems,
          data networks or servers of any Seller) (i) that exclusively relate to any of the Excluded
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          Assets or Excluded Liabilities, (ii) that are Sellers’ financial accounting Documents, all
          minute books, Organizational Documents, stock certificates or other Equity Interests
          instrument, stock registers and such other books and records of any Seller pertaining to
          the ownership, organization or existence of such Seller, Tax Returns (and any related
          work papers), corporate seal, checkbooks, and canceled checks, or (iii) that any Seller is
          required by Law or Healthcare Law to retain; provided that Purchaser shall have the right
          to make copies of any portions of such Documents (other than Excluded Tax Returns) to
          the extent not prohibited by applicable Law or Healthcare Law;

                  (d)    all documents prepared or received by any Seller or any of its Affiliates or
          on their behalf in connection with the sale of the Acquired Assets, this Agreement or the
          other Transaction Agreements, the Transactions, or the Bankruptcy Case, that are subject
          to any attorney-client privilege and the transfer of which to Purchaser would result in the
          waiver of any such privilege (“Retained Privileged Materials”);

                  (e)    other than the Acquired Insurance Assets, all current and prior insurance
          policies and Employee Benefit Plans of any Seller or its Affiliates, including for the
          avoidance of doubt all director and officer insurance policies, and all rights and benefits
          of any nature of Sellers or its Affiliates with respect thereto, including all insurance
          recoveries thereunder and rights to assert claims with respect to any such insurance
          recoveries;the Excluded Insurance Assets;

                 (f)     all Equity Interests of any Seller or any of their respective Subsidiaries,
          including, EIC;

                  (g)     except for the Acquired Avoidance Actions, (i) all rights, claims, causes of
          action, rights of recovery, rights of set-off, and rights of recoupment as of the Closing of
          any Seller or its Affiliates, in each case, directly arising out of events occurring prior to
          the Closing Date, and (ii) all claims that any Seller or any of its Affiliates may have
          against any Person with respect to any other Excluded Assets or any Excluded Liabilities;

                  (h)     Sellers’ claims, causes of action or other rights under this Agreement,
          including the Purchase Price hereunder, or any agreement, certificate, instrument, or other
          document executed and delivered between any Seller or its Affiliates and Purchaser in
          connection with the Transactions, or any other agreement between any Seller or its
          Affiliates and Purchaser entered into on or after the date hereof;

                  (i)     all Tax refunds attributable to a Pre-Closing Tax Period, and Tax
          attributes and Tax assets;

                  (j)     any CMS Receivable and any billed and unbilled rebate receivables
          related to EIC;

                  (k)    except for the Acquired Avoidance Actions and Rebate Assets, all
          demands, credits, statements, allowances, refunds, rebates (including any vendor or
          supplier rebates), rights (including under or with respect to express or implied guarantees,
          warranties, representations, covenants and indemnities), claims, counterclaims, defenses,
          credits, causes of action, rights of set off, rights of recovery or rights of recoupment
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          relating to or arising against suppliers, vendors, merchants, manufacturers and
          counterparties to Leases, licenses or any Contract, directly arising out of events occurring
          prior to the Closing Date;

                (l)    any properties, rights, interests, and assets of Sellers designated as an
          Excluded Asset pursuant to Section 1.6; and

                  (m)    all Liabilities or other amounts owing from any Sellers or any of their
          respective Affiliates (other than any such Liabilities under any Assigned Contract).

         Section 1.3 Assumption of Certain Liabilities. On the terms and subject to the
 conditions set forth herein and in the Sale Order, effective as of the Closing, in addition to the
 issuance of the Term Loans in accordance with Section 2.1, Purchaser shall irrevocably assume
 from each Seller (or with respect to Taxes, if applicable, from such Seller’s applicable Affiliate)
 (and after the Closing pay, perform, discharge, or otherwise satisfy in accordance with their
 respective terms), and Sellers (or with respect to Taxes, if applicable, from such Seller’s
 applicable Affiliate) shall irrevocably transfer, assign, convey, and deliver to Purchaser, only the
 following Liabilities (and no other Liabilities, which other Liabilities shall be retained by
 Sellers), without duplication and only to the extent not paid, performed, discharged or otherwise
 satisfied on or prior to the Closing (collectively, the “Assumed Liabilities”):

                 (a)     all Cure Costs in an amount not to exceed $1,400,000 (the “Assumed Cure
          Costs”);

                 (b)    all Liabilities and obligations of any Seller under the Assigned Contracts
          and any Acquired Lease solely to the extent first arising after the Closing and, for the
          avoidance of doubt, excluding any Excluded Rebate Liability;

                  (c)     all Liabilities arising out of the conduct of the Business or the ownership
          or operation of the Acquired Assets or the Business, in each case, by Purchaser on or
          after the Closing Date;

                  (d)      all trade payables of Sellers to non-Affiliated third parties in connection
          with the Business existing on the Closing Date that remain unpaid and are not delinquent
          as of the Closing Date and incurred in the Ordinary Course and other Liabilities of Sellers
          of the types included in the definition of Closing Working Capital but not including any
          Excluded Rebate Liability or any Liabilities to the extent relating to or otherwise arising,
          whether before, on or after the Closing, under any of the Excluded Contracts
          (collectively, the “Assumed Current Liabilities”;

                (e)     all recoupment obligations of any Seller under any Assigned Contracts or
          Excluded Contracts solely to the extent related to claims by any pharmaceutical drug
          manufacturer or Group Purchasing Organizations pursuant to any Assigned Contract, or
          Excluded Contract, for the recoupment of any Rebate Assets (collectively, the “Assumed
          Rebate Liability”), but excluding any Liabilities related to any billed and unbilled
          manufacture rebate receivable related to the business of EIC;



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                 (f)     without duplication: (i) all Liabilities for Taxes with respect to the
          Acquired Assets, the Business, or the Transferred Employees for any taxable period (or
          portion thereof) beginning after the Closing Date, and (ii) all Transfer Taxes pursuant to
          Section 9.1;

                 (g)     all Liabilities relating to the Transferred Employees that arise after the
          Closing Date; and

                  (h)    all Liabilities relating to the termination of Scheduled Employees who do
          not receive a Transfer Offer from Purchaser in compliance with Section 6.3(a).

         Section 1.4 Excluded Liabilities. Purchaser shall not assume, be obligated to pay,
 perform or otherwise discharge or in any other manner be liable or responsible for any Liabilities
 of, or Action against, any Seller of any kind or nature whatsoever, whether absolute, accrued,
 contingent or otherwise, liquidated or unliquidated, due or to become due, known or unknown,
 currently existing or hereafter arising, matured or unmatured, direct or indirect, and however
 arising, whether existing on the Closing Date or arising thereafter as a result of any act,
 omission, or circumstances taking place on or prior to the Closing, other than the Assumed
 Liabilities (all such Liabilities that are not Assumed Liabilities being referred to collectively
 herein as the “Excluded Liabilities”). Without limiting the generality of the foregoing, the
 Excluded Liabilities shall include the following Liabilities of any Seller:

                 (a)     all Cure Costs other than the Assumed Cure Costs (the “Excluded Cure
          Costs”);

                  (b)      except to the extent of any Assumed Cure Costs, Assumed Current
          Liabilities, or Assumed Rebate Liability expressly assumed pursuant to Section 1.3, any
          Liability arising out of facts or circumstances in existence on or prior to the Closing and
          from or related to any breach, default under, failure to perform, torts related to the
          performance of, violations of Law, infringements or indemnities under, guaranties
          pursuant to and overcharges, underpayments or penalties on the part of the Sellers or any
          of their Affiliates under any Contract, agreement, arrangement or understanding to which
          any Seller or any of its Affiliates is a party prior to the Closing;

                  (c)     except to the extent of any Assumed Cure Costs, Assumed Current
          Liabilities, or Assumed Rebate Liability expressly assumed pursuant to Section 1.3, all
          Liabilities arising out of, relating to or otherwise in respect of the operation of the
          Business or businesses of Sellers’ Affiliates, or any of the Sellers’, or Sellers’ Affiliates’,
          products or services, or the operation or condition of the Acquired Assets or the Assumed
          Liabilities, in each case, on or prior to the Closing or facts, actions, omissions,
          circumstances or conditions existing, occurring or accruing on or prior to the Closing;

                  (d)    all Liabilities arising from or related to any Action (whether civil,
          criminal, administrative, investigative, or informal) against any Sellers or their Affiliates,
          (including, for the avoidance of doubt, any Action related to fraud, breach of fiduciary
          duty, misfeasance or under any other theory relating to conduct, performance or
          non-performance of any Seller, or any of their Affiliates, or any of their respective

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          directors, officers, or employees), or related to the Acquired Assets or the Assumed
          Liabilities, pending or threatened or having any other status or with respect to facts,
          actions, omissions, circumstances or conditions existing, occurring or accruing prior to
          the Closing (including any breach, default, failure to perform, torts related to
          performance, violations of Law, infringements or indemnities, guaranties and
          overcharges, underpayments or penalties, whether in respect of any Contract, agreement,
          arrangement, promise or understanding of any kind) including any successor liability
          claims or that may be owed to or assessed by, any Governmental Body or other Person,
          and whether commenced, filed, initiated, or threatened prior to, on or following the
          Closing;

                  (e)     all Liabilities to the extent relating to or otherwise arising, whether before,
          on or after the Closing, under any of the Excluded Contracts;

                (f)   all Liabilities of Sellers for Indebtedness and any Liability, including, any
          Assumed Rebate Liability, related to any billed and unbilled rebate receivables related to
          EIC;

                  (g)    all guarantees of Indebtedness made by the Sellers and all reimbursement
          obligations to guarantors of the Sellers’ obligations or under letters of credit or other
          similar agreements or instruments;

                  (h)     other than the Assumed Rebate Liability, all Liabilities related to claims or
          Actions by any pharmaceutical drug manufacturer, Group Purchasing Organizations, or
          any other Person related to rebates, recoupment, payments or similar items, whether or
          not pursuant to any Assigned Contract or any other Contract (the “Excluded Rebate
          Liability”); provided that, (i) for the avoidance of doubt, Excluded Rebate Liability shall
          not include any Liability for “direct or indirect renumeration” (sometimes referred to as
          “DIR”), as contemplated by and as such term is interpreted under 42 C.F.R. 423.308, that
          is otherwise an Assumed Liability to any pharmaceutical drug manufacturer, Group
          Purchasing Organization, or pharmacy, and (ii) Excluded Rebate Liability shall not
          include any rebate obligations of Sellers payable to plan sponsors, customers or clients;

                  (i)    all Liabilities related to, resulting from or arising out of, prior to, on or
          after the Closing, any (i) unredeemed refund amounts, rebates (except for any Assumed
          Rebate Liability), or similar items, (ii) customer deposits or (iii) customer promotions
          and loyalty programs;

                 (j)     all Liabilities to (i) any current or former owner of capital stock or other
          Equity Interests of the Sellers or any securities convertible into, exchangeable or
          exercisable for shares of capital stock or other Equity Interests of the Sellers, (ii) any
          current or former holder of indebtedness for borrowed money of the Sellers or (iii) in
          respect of obligations for indemnification or advancement of expenses, any current or
          former officer or director of the Sellers, in each case of (i), (ii), and (iii), solely in such
          Person’s capacity as such;




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                  (k)    the sponsorship of and all Liabilities at any time arising under, pursuant to
          or in connection with any Employee Benefit Plans (whether arising prior to, on or after
          the Closing Date) and all Liabilities for compliance with the requirements of section
          4980B of the Tax Code and the rules and regulations thereunder with respect to all
          individuals who are “M&A qualified beneficiaries” (as such term is defined in 26 C.F.R.
          § 54.4980B-9);

                  (l)     Except as expressly assumed by Purchaser in Section 6.3(g), Liabilities
          arising under the WARN Act and similar Laws relating to the termination of any current
          or former employee or contractor of any Seller, or any Affiliate of a Seller, (including any
          Transferred Employees), and including any current, threatened or potential claims for
          compensation or benefits, in each such case, to the extent related to employment or
          contracting with the Sellers (or any of their Affiliates) or termination thereof, whether
          arising prior to, on or after the Closing Date

                  (m)     all Liabilities and other payments incurred or otherwise payable by any of
          the Sellers or their respective Affiliates, or for which any of the Sellers or their respective
          Affiliates is liable, in connection with in connection with the administration of the
          Bankruptcy Cases or the negotiation, execution and consummation of the Transactions or
          any Transaction Agreement (including any preparation for a transaction process,
          bankruptcy process, any sale process involving other potential buyers or any
          contemplated public offering or financing), including the fees and expenses of financial
          advisors, accountants, legal counsel, consultants, brokers and other advisors with respect
          thereto, whether incurred, accrued or payable on or prior to or after the date of this
          Agreement or the Closing Date;

                  (n)     all Liabilities of Sellers arising under or pursuant to Environmental Laws,
          including with respect to any real property owned, operated, leased or otherwise used by
          Sellers, whether or not used in the Ordinary Course, including any Liabilities for
          noncompliance with Environmental Laws or the Release of Hazardous Substances, to the
          extent arising as a result of any act, omission, or circumstances taking place on or prior to
          the Closing, whether known or unknown as of the Closing;

                  (o)    other than the Assumed Rebate Liability or any Assumed Current Liability
          expressly assumed pursuant to Section 1.3, all Liabilities relating to any Product that is or
          has been manufactured, tested, distributed, held or marketed by or on behalf of any
          Seller, or the Affiliate of any Seller, arising from any recall, withdrawal or suspension
          (whether voluntarily or otherwise), except to the extent that such recall, withdrawal or
          suspension results from Purchaser’s operation of the Business or the Acquired Assets
          following the Closing;

                 (p)     all Liabilities as to which any Seller is an obligor, or is otherwise
          responsible or liable, to any Seller or any of its Affiliates, other than any Assumed
          Current Liability.

                  (q)    all Liabilities of Sellers arising out of any (i) Excluded Contract,
          (ii) Permit that is not transferred to Purchaser as part of the Acquired Assets or,

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          (iii) Contract or Permit that is not transferred to Purchaser (subject to Section 1.5(c))
          because of any failure to obtain any Consent or Governmental Authorization required for
          such transfer;

                  (r)     all Liabilities of Sellers related to any Contract of any Seller, or an
          Affiliate of any Seller, with Virginia Premier, which such Contracts shall be an Excluded
          Contract;

                 (s)    all Liabilities relating to Transferred Employees that arise on or prior to
          the Closing Date;

                 (t)     all Liabilities arising with respect to any Business Employees who are not
          required to receive a Transfer Offer or who otherwise fails to become employed by
          Purchaser or its Affiliates immediately following the Closing Date (including due to
          refusing to accept a Transfer Offer that complies with Section 6.3), other than as a result
          of Purchaser’s breach of Section 6.3;

                  (u)     (i) all Liabilities relating to income Taxes imposed upon any of the Sellers
          (or for which any of the Sellers may otherwise be liable, including as a transferee,
          successor, or by contract (other than as expressly provided in this Agreement)), without
          regard to whether such Taxes relate to periods (or portions thereof) ending on or prior to
          the Closing Date, (ii) all Liabilities relating to Taxes imposed on or with respect to the
          Acquired Assets for any Pre-Closing Tax Period, and (iii) all Liabilities of any of the
          Sellers relating to the payment for the income Taxes of any Person under Treasury
          Regulation Section 1.1502-6 (or any similar provision of state, local, or non-U.S. Law);
          and

                       (v)   drafts or checks outstanding as of the Closing;

          provided that in the event of any conflict between the terms of Section 1.3 and this
          Section 1.4, the terms of Section 1.3 shall control.

          Section 1.5        Assumption/Rejection of Certain Contracts / Non-Assignment.

                  (a)     Assumption and Assignment of Executory Contracts. Sellers shall provide
          timely and proper written notice of the motion seeking entry of the Sale Order to all
          parties to any executory Contracts or unexpired Leases to which any Seller is a party that
          are Assigned Contracts or an Acquired Lease and take all other actions reasonably
          necessary to cause such Contracts to be assumed by Sellers and assigned to Purchaser
          pursuant to section 365 of the Bankruptcy Code to the extent that such Contracts are
          Assigned Contracts or an Acquired Lease at Closing. The Sale Order shall provide that as
          of and conditioned on the occurrence of the Closing, the applicable Sellers shall assume
          and assign or cause to be assigned to Purchaser, as applicable, the Assigned Contracts
          and any Acquired Lease, each of which shall be identified by the name or appropriate
          description and date of the Assigned Contract and any Acquired Lease (if available), the
          other party to the Assigned Contract, and any Acquired Lease, and the address of such
          party for notice purposes, all included in a notice filed with the Bankruptcy Court. Such
          notice shall also set forth Sellers’ good faith estimate of the amounts necessary to cure
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          any defaults under each of the Assigned Contracts and any Acquired Lease as determined
          by Sellers based on their books and records or as otherwise determined by the Bankruptcy
          Court. At the Closing, Sellers shall, pursuant to the Sale Order, and the Assignment and
          Assumption Agreement(s) assume and assign to Purchaser (the consideration for which is
          included in the Purchase Price), all Assigned Contracts and any Acquired Lease that may
          be assigned by any such Seller to Purchaser pursuant to sections 363 and 365 of the
          Bankruptcy Code, subject to adjustment pursuant to Section 1.5(b). At the Closing, (i)
          Purchasers shall pay all Assumed Cure Costs and Sellers shall pay all Excluded Cure
          Costs, and (ii) Purchaser shall assume, and thereafter in due course and in accordance
          with its respective terms pay, fully satisfy, discharge and perform all of the obligations
          under each Assigned Contract and any Acquired Lease pursuant to section 365 of the
          Bankruptcy Code. On the date hereof, Sellers shall set forth on Schedule 3.6(a) their good
          faith estimate of the Cure Costs of each executory Assigned Contract, Material Contract,
          and unexpired Lease, including the Acquired Lease.

                  (b)    Excluding or Adding Assigned Contracts and any Acquired Lease Prior to
          Closing. Purchaser shall have the right to notify Sellers in writing of any Assigned
          Contract (other than Contracts with customers or pharmacies or any Commercial Interco
          Contract) and any Acquired Lease that it does not wish to assume or a Contract or Lease
          (other than any Contract set forth on Schedule 1.5(b) (the “Rejection Contracts”)) to
          which any Seller is a party that Purchaser wishes to add as an Assigned Contract or an
          Acquired Lease, as applicable, at any time, and from time to time, up to one Business
          Day prior to the Bid Deadline (as defined in the Bidding Procedures Order), and (i) any
          such previously considered Assigned Contract (other than Contracts with customers or
          pharmacies or any Commercial Interco Contract) or Acquired Lease that Purchaser no
          longer wishes to assume shall be automatically deemed removed from the Schedules
          related to Assigned Contracts or Acquired Lease, as applicable, and automatically
          deemed an Excluded Contract, in each case, without any adjustment to the Purchase
          Price, and (ii) any such previously considered Excluded Contract (other than any
          Rejection Contract) that Purchaser wishes to assume as an Assigned Contract, or
          Acquired Lease, as applicable, shall be automatically deemed added to the Schedules
          related to Assigned Contracts, or Acquired Lease, as applicable, and automatically no
          longer deemed an Excluded Contract, and assumed by the applicable Seller to sell and
          assign to Purchaser, in each case, without any adjustment to the Purchase Price.

                       (c)    Non-Assignment.

                               (i)     Notwithstanding anything to the contrary in this Agreement, a
                       Contract shall not be an Assigned Contract or an Acquired Lease hereunder and
                       shall not be assigned to, or assumed by, Purchaser to the extent that such Contract
                       is terminated by a Seller, its Affiliates or any other party thereto, or terminates or
                       expires by its terms, on or prior to such time as it is to be assumed by Purchaser as
                       an Assigned Contract or an Acquired Lease hereunder and is not continued or
                       otherwise extended upon assumption.

                              (ii)  Notwithstanding anything to the contrary in this Agreement, to the
                       extent an Acquired Asset requires a Consent or Governmental Authorization

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                       (other than, and in addition to and determined after giving effect to any Order of
                       the Bankruptcy Court, including the Sale Order) in order to permit the sale or
                       transfer to Purchaser of the applicable Seller’s right, title and interest in and to
                       such asset, and such Consent or Governmental Authorization has not been
                       obtained prior to such time as such right, title and interest is to be transferred by
                       Purchaser as an Acquired Asset hereunder, such asset shall not be an Acquired
                       Asset hereunder and shall not be transferred to, or received by, Purchaser. If any
                       Acquired Asset is deemed not to be assigned pursuant to this clause (ii), the
                       Closing shall nonetheless take place subject to the terms and conditions set forth
                       herein and, thereafter, through the earlier of such time as such Consent or
                       Governmental Authorization is obtained and six (6) months following the Closing
                       or the election of Purchaser, upon written notice to Sellers and in the sole
                       discretion of Purchaser(or the closing of the Bankruptcy Cases or dissolution of
                       the applicable Seller(s) if earlier), Sellers and Purchaser shall (A) use reasonable
                       best efforts to secure such Consent or Governmental Authorization as promptly as
                       practicable after the Closing and (B) cooperate in good faith in any lawful and
                       commercially reasonable arrangement reasonably proposed by Purchaser,
                       including subcontracting, licensing, or sublicensing to Purchaser any or all of any
                       Seller’s rights and obligations with respect to any such Acquired Asset, under
                       which (1) Purchaser shall obtain (without infringing upon the legal rights of such
                       third party or violating any Law) the economic rights and benefits (net of the
                       amount of any related Tax costs imposed on Sellers or their respective Affiliates
                       or any direct costs associated with the retention and maintenance of such
                       Acquired Asset incurred by any Seller or its Affiliates) with respect to such
                       Acquired Asset with respect to which the Consent or Governmental Authorization
                       has not been obtained and (2)Purchaser shall assume and timely discharge any
                       related burden and obligation with respect to such Acquired Asset. Upon
                       satisfying any requisite Consent or Governmental Authorization requirement
                       applicable to such Acquired Asset after the Closing, the applicable Seller’s right,
                       title and interest in and to such Acquired Asset shall promptly be transferred and
                       assigned to Purchaser in accordance with the terms of this Agreement and the
                       Sale Order. Notwithstanding anything herein to the contrary, (x) the provisions of
                       this Section 1.5(c) shall not apply to any Consent or approval required under the
                       HSR Act and any Foreign Competition Laws, which Consent or approval shall be
                       governed by Section 6.5 and (y) no Seller will be obligated to pay any
                       consideration therefor to any third party from whom Consent or Governmental
                       Authorization is requested or to initiate any litigation to obtain any such Consent
                       or Governmental Authorization.

         Section 1.6 Excluded Asset Designation. At any time at least two (2) Business Day
 prior to the Closing, Purchaser may, in its sole discretion and by written notice to the Sellers,
 designate any of the Acquired Assets (other than any executory Contracts or unexpired Lease
 subject to Section 1.5(b)), as additional Excluded Assets. Purchaser acknowledges and agrees
 that there shall be no reduction in the Purchase Price if it elects to designate any Acquired Assets
 as Excluded Assets pursuant to the operation of this section.



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          Section 1.7        EIC.

                 (a)   “EIC” means Elixir Insurance Company, an Ohio corporation and
          wholly-owned Subsidiary of Sellers that is not a Debtor.

                  (b) At the Closing, subject to the terms and subject to the conditions set forth
          herein, Sellers shall cause EIC to sell, transfer, assign, convey, and deliver to Purchaser,
          and Purchaser shall purchase, acquire, and accept from EIC, all of EIC’s right, title and
          interest in and to, as of the Closing, the following assets, free and clear of all
          Encumbrances other than Permitted Encumbrances:

                             (i) the CMS Contracts;

                             (ii) the EGWP Contracts; and

                               (iii) all books and records maintained by or on behalf of EIC or any
                       Affiliate for and with respect to the CMS Contracts and any EGWP Contracts.

                  (c) On the terms and subject to the conditions set forth herein, effective as of the
          Closing, Purchaser shall irrevocably assume from EIC (and after the Closing pay,
          perform, discharge, or otherwise satisfy in accordance with their respective terms), and
          EIC shall irrevocably transfer, assign, convey, and deliver to Purchaser, all Liabilities and
          obligations of, and claims against, EIC under the CMS Contracts incurred from and after
          the Closing.

                  (d) On the terms and subject to the conditions set forth herein, effective as of the
          Closing, Purchaser shall irrevocably assume from EIC (and after the Closing pay,
          perform, discharge, or otherwise satisfy in accordance with their respective terms), and
          EIC shall irrevocably transfer, assign, convey, and deliver to Purchaser, all Liabilities and
          obligations of EIC under the EGWP Contracts incurred from and after the Closing.

                  (e) Where applicable, the CMS Contracts and the EGWP Contracts shall
          constitute Acquired Assets; provided that (i) the Parties acknowledge and agree that EIC
          is not and shall not in any event be a Debtor and (ii) as such, none of the provisions of
          this Agreement related to or involving the Bankruptcy Code shall apply to the
          transactions contemplated by this Section 1.7.

                 (f) “CMS Contracts” means collectively, (i) that certain Contract titled "Contract
          with Approved Entity pursuant to Sections 1860D-1 Through 1860D-43 of the Social
          Security Act for the Operation of an Employer Group Only Voluntary Medicare
          Prescription Drug Plan" (Contract No. S7694), by and between CMS and EIC, executed
          on or about September 11, 2023, including all documents incorporated therein by
          reference and addenda thereto, (ii) any plans entered into thereunder, (iii) any “lives”
          covered by any of the foregoing], and (iv) that certain Contract titled "Medicare Mark
          License Agreement" (Contract No. S7694), by and between CMS and EIC, executed on
          or about September 11, 2023.



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                                              ARTICLE II
                                     CONSIDERATION; PAYMENT; CLOSING

          Section 2.1         Consideration; Payment.

                   (a)   The aggregate consideration (collectively, the “Purchase Price”) to be
          provided by Purchaser for the purchase of the Acquired Assets shall be: (i) the
          assumption of Assumed Liabilities, (ii) subject to adjustment pursuant to
          Section 2.7(a)(i), issuance of the Term Loans by Guarantor, (iii) pursuant to Section
          2.2(e), the Deposit minus the Purchase Price Adjustment Escrow Amount, (iv) subject to
          Section 2.7(d), the Purchase Price Adjustment Escrow Amount, and (v) other than the
          Purchase Price Adjustment Escrow Amount, any cash payment required to be made by
          Purchaser pursuant to Section 2.7(d)(i) (the “Cash Payment”).

                               (i)    The “Term Loans” means those certain 2023 Term Loans pursuant
                       to that certain Second Amended and Restated Credit Agreement, dated as of
                       November 8, 2023, (the “Credit Agreement”) among Guarantor, MI OpCo H2,
                       LLC, certain Guarantors (as defined in the Credit Agreement), certain Lenders (as
                       defined in the Credit Agreement), and Bank of America, N.A., to be issued by
                       Guarantor to Term Loan Holder at the Closing in a principal amount of the
                       Principal Amount.

                              (ii)   The “Principal Amount” means an amount equal to (A) subject to
                       adjustment pursuant to Section 2.7(a)(i), $576,5,000,000 less the Deposit (“Term
                       Loans Consideration Amount”), divided by (B) 0.94.

                              (iii) The “Term Loan Holder” means Elixir, or any other debtor in the
                       Bankruptcy Cases designated in writing by Elixir to Purchaser not less than five
                       (5) Business Days prior to the Closing.

                  (b)     At the Closing, pursuant to the Credit Agreement, Guarantor shall issue
          the Term Loans to the Term Loan Holder. Any payment required to be made pursuant to
          any other provision hereof shall be made in cash by wire transfer of immediately
          available funds to such bank account as shall be designated in writing by the applicable
          Party to (or for the benefit of) whom such payment is to be made at least two (2) Business
          Days prior to the date such payment is to be made.

          Section 2.2         Deposit; Purchase Price Adjustment Escrow.

                       (a)    Deposit.

                              (i)    Purchaser has, on or prior to the date hereof (or, if the date hereof
                       is not a Business Day, the first Business Day immediately following the date
                       hereof) and pursuant to the Escrow Agreement, made an earnest money deposit
                       with the Escrow Agent in the amount equal to $12,000,000 (the “Initial Deposit”),
                       by wire transfer of immediately available funds for deposit into a separate
                       segregated, non-interest bearing escrow account (the “Escrow Account”)


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                       maintained by the Escrow Agent in accordance with the Escrow Agreement and
                       Bidding Procedures Order.

                              (ii)   So long as this Agreement has not been earlier terminated,
                       Purchaser will, on or prior to October 23, 2023, and pursuant to the Escrow
                       Agreement, make a second earnest money deposit with the Escrow Agent in the
                       amount equal to $3,000,000 (the “Second Deposit”), by wire transfer of
                       immediately available funds for deposit into the Escrow Account maintained by
                       the Escrow Agent in accordance with the Escrow Agreement and Bidding
                       Procedures Order.

                               (iii) So long as this Agreement has not been earlier terminated,
                       Purchaser will, on or prior to November 8, 2023, and pursuant to the Escrow
                       Agreement, make a third earnest money deposit with the Escrow Agent in the
                       amount equal to the difference (i) $57,500,000 minus (ii) the sum of the Initial
                       Deposit and the Second Deposit (such difference, the “Final Deposit”), by wire
                       transfer of immediately available funds for deposit into the Escrow Account
                       maintained by the Escrow Agent in accordance with the Escrow Agreement and
                       Bidding Procedures Order, such that immediately after the Final Deposit is made
                       the amount in the Escrow Account equals $57,500,000 (the total amount of funds
                       held in the Escrow Account at any given time from the Initial Deposit, Second
                       Deposit, or Final Deposit, shall be referred to herein as the “Deposit”). The
                       Deposit shall not be subject to any lien, attachment, trustee process, or any other
                       judicial process of any creditor of any Seller or Purchaser and shall be applied
                       against payment of the Purchase Price on the Closing Date.

                  (b)     If this Agreement has been terminated by (i) Sellers pursuant to
          Section 8.1(d), Section 8.1(f), or Section 8.1(p) or (ii) Purchaser pursuant to
          Section 8.1(n) or Section 8.1(o), then, in any such case, the Parties shall promptly, but in
          any event within five (5) Business Days after such termination hereof, deliver joint
          written instructions to the Escrow Agent directing the Escrow Agent to transfer by wire
          transfer of immediately available funds 100% of the Deposit (together with any and all
          investment interest thereon (less any Taxes with respect to such interest), if any) to such
          account(s) as may be designated by Elixir, and Elixir shall retain the Deposit (together
          with any and all investment interest thereon (less any Taxes with respect to such interest),
          if any); provided that nothing in this paragraph shall be deemed to limit any other
          remedies to which Sellers may be entitled under this Agreement or applicable Law;
          provided that Sellers acknowledge and agree that retaining the Deposit pursuant to this
          Section 2.2(b) shall be Sellers' sole and exclusive remedy arising (i) from Seller’s
          termination of this Agreement pursuant to Section 8.1(d), Section 8.1(f), or Section 8.1(p)
          (or upon any other grounds) as a result of Purchaser’s breach of Section 2.2(a) or
          Section 4.4, (ii) from Purchaser’s breach of Section 2.2(a) or Section 4.4, or (iii) from
          Purchaser’s termination of this Agreement pursuant to Section 8.1(n) or Section 8.1(o);
          provided that nothing herein shall limit any Party’s Liability for Fraud.

                (c)     If this Agreement has been terminated by any Party, other than as
          contemplated by Section 2.2(b), then the Parties shall promptly, but in any event within

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          five (5) Business Days after such termination hereof, deliver joint written instructions to
          the Escrow Agent directing the Escrow Agent to transfer by wire transfer of immediately
          available funds 100% of the Deposit (together with any and all investment interest
          thereon (less any Taxes with respect to such interest), if any) to such account(s) as may
          be designated by Purchaser, and the Deposit, together with any and all investment interest
          thereon (less any Taxes with respect to such interest), if any, shall be returned to
          Purchaser within five (5) Business Days after such termination.

                 (d)     The Parties agree that Sellers’ right to retain the Deposit, as set forth in
          Section 2.2(b), is not a penalty, but rather is liquidated damages in a reasonable amount
          that will compensate Sellers for their efforts and resources expended and the
          opportunities foregone while negotiating this Agreement and in reliance on this
          Agreement and on the expectation of the consummation of the Transactions, which
          amount would otherwise be impossible to calculate with precision.

                  (e)    If the Closing occurs, at the Closing the Parties shall deliver a joint written
          instruction to the Escrow Agent directing the Escrow Agent to (i) transfer by wire
          transfer of immediately available funds an amount equal to (i) 100% of the Deposit
          (together with any and all investment interest thereon, if any) minus (ii) the Purchase
          Price Adjustment Escrow Amount, which shall continue to be held in accordance with
          the Escrow Agreement, to such account(s) as may be designated by Elixir. The Purchase
          Price Adjustment Escrow Amount shall not be subject to any lien, attachment, trustee
          process, or any other judicial process of any creditor of any Seller or Purchaser.

         Section 2.3 Closing. The closing of the purchase and sale of the Acquired Assets, the
 delivery of the Purchase Price, the assumption of the Assumed Liabilities in accordance with this
 Agreement (the “Closing”) will take place by telephone conference and electronic exchange of
 documents (or, if the Parties agree to hold a physical closing, at the offices of Kirkland & Ellis
 LLP, located at 601 Lexington Avenue, New York, New York 10022) at 10:00 a.m. Eastern
 Time on the first day of the month immediately following full satisfaction or due waiver (by the
 Party entitled to the benefit of such condition) of the closing conditions set forth in Article VII
 (other than conditions that by their terms or nature are to be satisfied at the Closing), or at such
 other place and time as the Parties may agree in writing. The date on which the Closing actually
 occurs is referred to herein as the “Closing Date;” provided that if the Closing Date would
 otherwise occur on January 1, 2024, the Closing Date shall be January 2, 2024.

         Section 2.4 Closing Deliveries by Sellers. At or prior to the Closing, Sellers shall
 deliver to Purchaser:

                 (a)     a bill of sale and assignment and assumption agreement substantially in
          the form of Exhibit A (the “Assignment and Assumption Agreement”) duly executed by
          the applicable Sellers;

                 (b)     a short-form patent assignment agreement substantially in the form of
          Exhibit B, duly executed by the applicable Sellers;




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                 (c)     a short-form trademark assignment agreement substantially in the form of
          Exhibit C, duly executed by the applicable Sellers;

                 (d)     a short-form domain name assignment agreement substantially in the form
          of Exhibit D, duly executed by the applicable Sellers;

                       (e)   the TSA, duly executed by the applicable Sellers or their Affiliates;

                 (f)     chain of custody agreements, in customary form and only to the extent
          necessary in accordance with applicable Law to transfer Sellers’ right, title, and interest
          in any pharmaceutical Investory to Purchaser, which agreements shall not expand any
          representation or warranty, or any remedy or Liability, of any Party, duly executed by the
          applicable Sellers;[intentionally omitted];

                 (g)    a special warranty deed with respect to each Owned Real Property,
          conveying to Purchaser fee simple title to such Owned Real Property, subject only to
          Permitted Encumbrances;

                  (h)    an IRS Form W-9 or IRS Form W-8, as applicable, executed by each
          Seller or each Seller’s regarded owner for U.S. federal income Tax purposes; provided
          that the Purchaser’s sole remedy for the failure to provide any such form shall be to
          withhold any required amount under applicable Tax Law; and

                 (i)     an officer’s certificate, dated as of the Closing Date, executed by a duly
          authorized officer of Elixir certifying that the conditions set forth in Section 7.2(a),
          Section 7.2(b), and Section 7.2(d) have been satisfied.

         Section 2.5 Closing Deliveries by Purchaser. At the Closing, Purchaser shall deliver
 to (or at the direction of) Sellers:

                  (a)     written confirmation that upon the Closing, the Term Loan Holder will be
          the holder of the Term Loans in the Principal Amount;

                       (b)   the Assignment and Assumption Agreement, duly executed by Purchaser;

                 (c)     a short-form patent assignment agreement substantially in the form of
          Exhibit B, duly executed by the Purchaser;

                 (d)     a short-form trademark assignment agreement substantially in the form of
          Exhibit C, duly executed by the Purchaser;

                 (e)     a short-form domain name assignment agreement substantially in the form
          of Exhibit D, duly executed by the Purchaser;

                       (f)   the TSA, duly executed by the applicable Sellers or their Affiliates;

                 (g)     chain of custody agreements, in customary form and only to the extent
          necessary in accordance with applicable Law to transfer Sellers’ right, title, and interest

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          in any pharmaceutical Inventory to Purchaser, which agreements shall not expand any
          representation or warranty, or any remedy or Liability, of any Party, duly executed by the
          applicable Purchaser; and[intentionally omitted]; and

                 (h)     an officer’s certificate, dated as of the Closing Date, executed by a duly
          authorized officer of Purchaser certifying that the conditions set forth in Section 7.3(a)
          and Section 7.3(b) have been satisfied.

        Section 2.6 Withholding. Purchaser, the Sellers, and their Affiliates (or any
 applicable agents thereof) shall be entitled to deduct and withhold from the Cash Payment or
 other consideration payable pursuant to this Agreement such amounts as may be required to be
 deducted and withheld under the Tax Code or any provision of applicable Law; provided that
 Purchaser and its Affiliates shall use commercially reasonable efforts to provide notice of any
 such intent by them to withhold or deduct (other than in respect of payments that are
 compensatory in nature) to Sellers at least five (5) Business Days in advance of such withholding
 or deduction, and Purchaser and its Affiliates shall cooperate in good faith with Sellers to reduce
 or eliminate any such withholding or deduction. To the extent that such amounts are paid over to
 the appropriate Taxing Authority, such amounts shall be treated for all purposes of this
 Agreement as having been paid to the Person in respect of which such deduction and
 withholding were made.

          Section 2.7         Purchase Price Adjustment.

                       (a)    Closing Adjustment.

                              (i)     At the Closing, the Term Loans Consideration Amount shall be
                       adjusted in the following manner: either (1) an increase by the amount, if any, by
                       which the Estimated Closing Working Capital (as determined in accordance with
                       Section 2.7(a)(ii)) is greater than the Target Working Capital provided that in no
                       event will such increase be more than $50,000,000, or (2) a decrease by the
                       amount, if any, by which the Estimated Closing Working Capital is less than the
                       Target Working Capital.

                               (ii)    At least 3 Business Days before the Closing, Sellers shall prepare
                       and deliver to Purchaser a statement setting forth its good faith estimate of
                       Closing Working Capital (the “Estimated Closing Working Capital”), which
                       statement shall be substantially in the form of Exhibit E and contain a calculation
                       of Estimated Closing Working Capital (the “Estimated Closing Working Capital
                       Statement”), and prepared in accordance with GAAP applied using the accounting
                       methods, practices, principles, policies and procedures, with consistent
                       classifications, judgments and valuation and estimation methodologies used by
                       Sellers and their Affiliates in the preparation of the Financial Statements, subject
                       to any modifications and limitations set forth on Exhibit E. During the period
                       after the delivery of the Estimated Closing Working Capital Statement and prior
                       to the Closing Date, Purchaser shall have an opportunity to review the Estimated
                       Closing Working Capital Statement and Elixir (on behalf of the Sellers) shall
                       provide Purchaser and its Advisors reasonable access to all properties, books and

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                       records relating thereto and the officers and other employees and advisors of the
                       Sellers and their Affiliates, in each case, to the extent reasonably necessary to
                       assist Purchaser and its Advisors in their review of the Estimated Closing
                       Working Capital Statement; provided that such access shall be in a manner that
                       does not interfere with the normal business operations of Sellers. The Sellers
                       shall in good faith consider any questions or comments received from Purchaser
                       regarding the Estimated Closing Working Capital Statement; provided that, to the
                       extent that Elixir and Purchaser disagree as to any one or more items, then with
                       respect to each such item, the amount of such item set forth in the initial
                       Estimated Closing Working Capital Statement sent by Elixir will be used for
                       purposes of calculating the Term Loans Consideration Amount for the Closing.
                       The agreement, if any, of the Parties to revisions to the Estimated Closing
                       Working Capital Statement or the failure of the Parties to agree to any such
                       revisions shall not constitute a waiver or limitation of a Party’s rights and
                       obligations pursuant to Section 2.7(b), Section 2.7(c), or Section 2.7(d).

                                (iii) The Parties agree that the amounts set forth in Exhibit E are solely
                       for the purposes of providing an example calculation of Closing Working Capital
                       in accordance with the terms of this Agreement but that such amounts are solely
                       illustrative and do not constitute any agreement or representation or warranty by
                       any Party as to what such amounts shall be in the Estimate Closing Working
                       Capital or the Closing Working Capital and none of the Estimated Closing
                       Working Capital Statement, the Closing Working Capital Statement, or the
                       Statement of Objections shall be bound by or required to include the amounts set
                       forth in Exhibit E.

                  (b)     Post-Closing Adjustment. Within 90 days after the Closing Date,
          Purchaser shall prepare and deliver to Seller a statement setting forth Purchaser’s good
          faith calculation of Closing Working Capital, which statement shall be substantially in
          the form of Exhibit E (the “Closing Working Capital Statement”), and prepared in
          accordance with GAAP applied using the same accounting methods, practices, principles,
          policies and procedures, with consistent classifications, judgments and valuation and
          estimation methodologies used by Sellers and their Affiliates in the preparation of the
          Financial Statements, subject to any modifications and limitations set forth on Exhibit E.

                       (c)    Review.

                               (i)    After receipt of the Closing Working Capital Statement, Sellers
                       shall have 45 days (or such longer period as the Parties may agree in writing, the
                       “Review Period”) to review the Closing Working Capital Statement. During the
                       Review Period, Sellers and Sellers’ Advisors shall have full access to the relevant
                       books and records of Purchaser, the personnel of, and work papers prepared by,
                       Purchaser or Purchaser’s financial Advisors to the extent that they relate to
                       Closing Working Capital and to such historical financial information (to the
                       extent in Purchaser’s possession) relating to Closing Working Capital as Sellers
                       may reasonably request for the purpose of reviewing the Closing Working Capital
                       Statement and to prepare a Statement of Objections; provided that such access

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                       shall be in a manner that does not interfere with the normal business operations of
                       Purchaser.

                               (ii)   On or prior to the last day of the Review Period, Sellers may object
                       to the Closing Working Capital Statement by delivering to Purchaser a written
                       statement setting forth Sellers’ objections in reasonable detail, indicating each
                       disputed item or amount and the basis for Sellers’ disagreement therewith (the
                       “Statement of Objections”). If Sellers fail to deliver the Statement of Objections
                       before the expiration of the Review Period, the Closing Working Capital reflected
                       in the Closing Working Capital Statement will be deemed to have been accepted
                       by Sellers and will be final and binding. If Sellers deliver the Statement of
                       Objections before the expiration of the Review Period, Purchaser and Sellers shall
                       negotiate in good faith to resolve such objections within 45 days after the delivery
                       of the Statement of Objections or such longer period as the Parties may agree in
                       writing (the “Resolution Period”), and, if the same are so resolved within the
                       Resolution Period, the Closing Working Capital Statement with such changes as
                       may have been previously agreed in writing by Purchaser and Sellers, shall be
                       final and binding on the Parties. All discussions related thereto will be governed
                       by Rule 408 of the Federal Rules of Evidence (as in effect as of the date of this
                       Agreement) and any applicable similar state rule, unless otherwise agreed in
                       writing by Sellers and Purchaser.

                                (iii) If Sellers and Purchaser fail to reach an agreement with respect to
                       all of the matters set forth in the Statement of Objections before expiration of the
                       Resolution Period, then any amounts remaining in dispute (“Disputed Amounts”)
                       shall be submitted for resolution to RSM US LLP or Grant Thornton LLP, at the
                       election of Purchaser, (the “Independent Accountant”) who, acting as an expert
                       and not an arbitrator, shall resolve the Disputed Amounts only and make any
                       adjustments to the Closing Working Capital Statement. The Parties will execute a
                       customary engagement letter if so requested by the Independent Accountant and
                       will cooperate with the Independent Accountant during the term of its
                       engagement. The Independent Accountant will have exclusive jurisdiction over
                       any disputes arising out of or relating to the adjustments pursuant to this
                       Section 2.7, and resort to the process involving the Independent Accountant as
                       provided in this Section 2.7(c) will be the only recourse and remedy of the Parties
                       against one another with respect to any such dispute. The Parties agree that all
                       adjustments shall be made without regard to materiality. The Independent
                       Accountant shall decide only the Disputed Amounts and its decision for each
                       Disputed Amount must be within the range of values assigned to each such item
                       in the Closing Working Capital Statement and the Statement of Objections,
                       respectively. The fees and expenses of the Independent Accountant (the
                       “Accounting Fees”) shall be paid pro rata by Sellers, on the one hand, and
                       Purchaser, on the other hand, based upon the percentage that the amount actually
                       contested but not awarded to Sellers or Purchaser, respectively, bears to the
                       aggregate amount actually contested by Sellers or Purchaser, respectively, as
                       determined by the Independent Accountant. The Independent Accountant shall
                       make a determination as soon as practicable within 30 days (or such other time as

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                       the Parties shall agree in writing) after its engagement, and its resolution of the
                       Disputed Amounts and its adjustments to the Closing Working Capital Statement
                       and allocation of Accounting Fees between Purchaser and Sellers shall, in each
                       case, be final, conclusive and binding upon the Parties.

                               (iv)    Closing Working Capital (i) will be determined in accordance with
                       the definitions set forth in this Agreement, and (ii)(A) will not include any
                       changes in assets or liabilities as a result of purchase accounting adjustments or
                       other changes arising from or resulting as a consequence of the Transactions, (B)
                       will be, and will be based on facts and circumstances as they exist as of the
                       Closing, expressly including “Type 1” subsequent event evidence to the extent
                       permitted under GAAP, but otherwise will exclude the effects of any act,
                       decision, change in circumstances or event arising or occurring on or after the
                       Closing, (C) will not include any reserve or accrual, or any line item or line item
                       entry, not reflected in Exhibit E. The Parties agree that the purpose of determining
                       the Closing Working Capital in accordance with this Section 2.7 is solely to
                       accurately measure changes (if any) in the amounts of the Closing Working
                       Capital from the Estimated Closing Working Capital set forth in the Estimated
                       Closing Working Capital Statement in order to determine the final Closing
                       Working Capital and that such processes are not intended to permit the
                       introduction of principles, policies, practices, procedures, methodologies,
                       classifications, methods, conventions, assumptions, judgments or estimation
                       techniques that are different from those used in the calculation of the Term Loans
                       Consideration Amount (including any exclusions or deviations from GAAP and
                       the methodology used by Sellers to prepare such estimates).

                       (d)    Payments.

                                (i)    If the amount of the Closing Working Capital set forth in the
                       Closing Working Capital Statement as finally determined in accordance with
                       Section 2.7(c) is greater than the Estimated Closing Working Capital, Purchaser
                       shall pay to Sellers an amount equal to such difference and the Parties shall direct
                       the Escrow Agent to release to Sellers the Purchase Price Adjustment Escrow
                       Amount from the Escrow Account; provided that notwithstanding anything
                       contained in this Agreement to the contrary, in no event shall the sum of (A) the
                       Term Loans Consideration Amount as adjusted pursuant to this Section 2.7, (B)
                       the Deposit, and (C) the Cash Payment required pursuant to this Section 2.7(d)(i),
                       if any, exceed $626,5,000,000.

                              (ii)    If the amount of the Closing Working Capital set forth in the
                       Closing Working Capital Statement as finally determined in accordance with
                       Section 2.7(c) is less than the Estimated Closing Working Capital (any such
                       excess, the “Purchaser Adjustment Amount”), Sellers shall pay to Purchaser an
                       amount equal to such difference as follows: (A) if such difference equals or
                       exceeds the amount available in the Escrow Account, the Parties shall direct the
                       Escrow Agent (pursuant to the terms of the Escrow Agreement) to release to
                       Purchaser the entire Purchase Price Adjustment Escrow Amount from the Escrow

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                       Account, and (B) if such difference is less than the amount available in the
                       Escrow Account, the Parties shall direct the Escrow Agent (pursuant to the terms
                       of the Escrow Agreement) to release to Purchaser an amount equal to such
                       difference from the Escrow Account and release any remaining amounts in the
                       Escrow Account to Sellers.

                               (iii) Purchaser agrees that (i) payment of the Purchaser Adjustment
                       Amount (if any) from the Escrow Account in accordance with the Escrow
                       Agreement shall be the sole and exclusive remedy for Purchaser for payment of
                       the Purchaser Adjustment Amount, if any, and the Purchase Price Adjustment
                       Escrow Amount in the Escrow Account will be Purchaser’s sole and exclusive
                       source of recovery for any amounts owing to Purchaser pursuant to this
                       Section 2.7, even if the Purchaser Adjustment Amount exceeds the Purchase Price
                       Adjustment Escrow Amount, and (ii) the adjustments to the Purchase Price
                       provided for in this Section 2.7, and the dispute resolution provisions provided for
                       in this Section 2.7, will be the exclusive remedy for the matters addressed or
                       could be addressed by this Section 2.7. For the avoidance of doubt, and without
                       limiting the generality of the foregoing, no claim by Purchaser or any of its
                       Affiliates or Advisors for the payment of the Purchaser Adjustment Amount will
                       be asserted against any of the Sellers; provided that, for the avoidance of doubt,
                       this sentence will not limit the obligations of Sellers expressly set forth in this
                       Section 2.7, including with respect to the obligation, if any, to instruct the Escrow
                       Agent to release the Purchaser Adjustment Amount from the Escrow Account.

                               (iv)    Any payments required to be made pursuant to this Section 2.7(d)
                       will (A) be due (x) within five (5) Business Days of acceptance of the applicable
                       Closing Working Capital Statement or (y) if there are Disputed Amounts, then
                       within five (5) Business Days of the resolution of any Disputed Amounts pursuant
                       to Section 2.7(c)(iii); and (B) be paid by wire transfer of immediately available
                       funds to such account as is directed by Purchasers or Sellers, as the case may be.

                 (e)     Adjustments for Tax Purposes. Any payments made pursuant to
          Section 2.7 shall be treated as an adjustment to the Purchase Price by the Parties for Tax
          purposes, unless otherwise required by Law.

                                             ARTICLE III
                               REPRESENTATIONS AND WARRANTIES OF SELLERS

         Except as disclosed in the forms, reports, schedules, statements, exhibits and other
 documents filed during the 6 months preceding the date hereof with the SEC by Rite Aid
 Corporation, a Delaware corporation and parent of Elixir, in respect of Sellers, their Affiliates,
 and their businesses to the extent publicly available on the EDGAR system of the United States
 Securities and Exchange Commission (the “Filed SEC Documents”) (other than any disclosures
 set forth under the headings “Risk Factors” or “Forward-Looking Statements” and any other
 disclosures included therein to the extent they are forward-looking in nature) or set forth in the
 Schedules delivered by Sellers concurrently herewith (each, a “Schedule” and collectively, the


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 “Schedules”) and subject to Section 10.10, Sellers represent and warrant to Purchaser as of the
 date hereof as follows.

          Section 3.1 Organization and Qualification. Each Seller is a corporation, limited
 liability company or limited partnership, as applicable, duly incorporated or organized, validly
 existing, and in good standing under the Laws of the jurisdiction of its incorporation or
 formation. Each Seller is duly licensed or qualified to do business under the Laws of each
 jurisdiction in which the nature of the business conducted by it makes such licensing or
 qualification necessary, except where failure to be so licensed, qualified or in good standing
 would not, individually or in the aggregate, reasonably be expected to result in a Material
 Adverse Effect.

        Section 3.2      Authorization of Agreement. Subject to requisite Bankruptcy Court
 approvals:

                  (a)    each Seller has all necessary power and authority to execute and deliver
          this Agreement and the other Transaction Agreements to which each such Seller is a
          party and to perform its obligations hereunder and to consummate the Transactions;

                  (b)     the execution, delivery and performance by each Seller of this Agreement
          and the other Transaction Agreements to which such Seller is a party, and the
          consummation by such Seller of the Transactions, subject to requisite Bankruptcy Court
          approvals being granted, have been duly authorized by all requisite corporate action,
          limited liability company action or limited partnership action on the part of such Seller,
          as applicable, and no other organizational proceedings on such Seller’s part are necessary
          to authorize the execution, delivery and performance by such Seller of this Agreement or
          the other Transaction Agreements and the consummation by it of the Transactions; and

                   (c)     this Agreement and the other Transaction Agreements to which each
          Seller is a party have been, or will be, duly executed and delivered by such Seller and,
          assuming due authorization, execution and delivery hereof and thereof by the other
          parties hereto and thereto, constitutes, or will constitute, legal, valid and binding
          obligations of such Seller, enforceable against such Seller in accordance with its and their
          terms, except that such enforceability (a) may be limited by bankruptcy, insolvency,
          fraudulent transfer, reorganization, moratorium and other similar Laws of general
          application affecting or relating to the enforcement of creditors’ rights generally and
          (b) is subject to general principles of equity, whether considered in a proceeding at law or
          in equity (collectively, the “Enforceability Exceptions”).

         Section 3.3 Conflicts; Consents. Assuming that (a) requisite Bankruptcy Court
 approvals are obtained, (b) the notices, authorizations, approvals, Orders, Permits or consents set
 forth on Schedule 3.3 are made, given or obtained (as applicable), and (c) the requirements of the
 HSR Act and any other applicable antitrust, competition, foreign direct involvement or “FDI”, or
 merger control Laws promulgated by any Governmental Body (“Foreign Competition Laws”) are
 complied with, neither the execution and delivery by Sellers of this Agreement or the other
 Transaction Agreements, nor the consummation by Sellers of the Transactions, nor performance
 or compliance by Sellers with any of the terms or provisions hereof or thereof, will (i) conflict

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 with or violate any provision of any Seller’s certificate of incorporation or bylaws, certificate of
 formation or limited liability company agreement, certificate of limited partnership, partnership
 agreement or other governing documents, as applicable, (ii) violate or constitute a breach of or
 default (with or without notice or lapse of time, or both) under or give rise to a right of
 termination, modification, or cancelation of any obligation or to the loss of any benefit, any of
 the terms or provisions of any Material Contract or accelerate any Seller’s obligations under any
 such Material Contract, (iii) conflict with or violate any Law or Order applicable to any Seller or
 any of the Acquired Assets, or by which any Seller, or any of the Acquired Assets, may be bound
 or affected, or (iv) result in the creation of any Encumbrance (other than a Permitted
 Encumbrance) on any Acquired Assets, except, in each case of clauses (ii) thru (iv), as would
 not, individually or in the aggregate, reasonably be expected to be material to the Acquired
 Assets or the Assumed Liabilities, taken as a whole.

          Section 3.4         Financial Statements.

                  (a)    Rite Aid Corporation, a Delaware corporation and direct or indirect parent
          of Sellers (“RAD”), has filed with the EDGAR system of the United States Securities and
          Exchange Commission:

                              (i)     its Form 10K, filing date May 1, 2023, which includes the audited
                       consolidated balance sheet of RAD and subsidiaries as of March 4, 2023 and the
                       related audited consolidated statements of operations, comprehensive loss,
                       stockholders’ (deficit) equity, and cash flows for the fiscal year ended March 4,
                       2023; and

                               (ii)   its Form 10Q, filing date July 11, 2023, which includes the
                       unaudited consolidated balance sheet of RAD and subsidiaries as of June 3, 2023,
                       the related unaudited consolidated statements of operations, comprehensive loss,
                       stockholders’ (deficit) equity, and cash flows for the thirteen weeks ended June 3,
                       2023.

                       (b)    Attached to Schedule 3.4(b) are:

                               (i)    the unaudited balance sheet of the Pharmacy Services Segment of
                       RAD as of March 4, 2023 and the related unaudited statements of operations and
                       cash flows for the fiscal year ended March 4, 2023; and

                               (ii)   the unaudited balance sheet of the Pharmacy Services Segment of
                       RAD as of June 30, 2023 and the related unaudited statements of operations and
                       cash flows for the six months ended June 30, 2023 ((a), and (b), collectively, the
                       “Financial Statements”).

                 (c)     The Financial Statements have been prepared in accordance with GAAP
          applied on a consistent basis during the periods involved (except as may be indicated in
          the notes thereto and, in the case of unaudited Financial Statements, subject to normal
          year-end audit adjustments, to the absence of notes and to any other adjustments
          described therein, including in any notes thereto) and fairly present in all material
          respects the consolidated financial position of the Sellers and their respective
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          consolidated Subsidiaries as of the dates thereof and the consolidated results of their
          operations and cash flows for the periods shown, except as may be indicated in the notes
          thereto.

                  (d)    Each of the Sellers maintain a system of internal accounting controls
          sufficient to provide reasonable assurance that (i) transactions are executed with
          management’s general or specific authorizations; (ii) transactions are recorded as
          necessary to permit preparation of financial statements in conformance with GAAP, and
          to maintain accountability for assets; (iii) access to Sellers’ assets are permitted only in
          accordance with management’s authorization; and (iv) the recorded accountability for
          assets is compared with existing assets at reasonable intervals and appropriate action is
          taken with respect to any differences (v) violations of the applicable Anti-Corruption
          Laws will be prevented and detected. None of RAD, to the extent directly related to the
          Business, any of the Sellers or, to the Knowledge of Sellers, any of their respective
          independent auditors, has identified or been made aware of “significant deficiencies” or
          “material weaknesses” (as defined by the Public Company Accounting Oversight Board)
          in the design or operation of the their internal controls over financial reporting which
          would reasonably be expected to adversely affect in any material respect their ability to
          record, process, summarize and report financial data, in each case which has not been
          subsequently remediated.

          Section 3.5         Title to Properties; Sufficiency of Assets.

                  (a)       (i) The Sellers own good and valid title to, or hold a valid leasehold
          interest in, all of the Acquired Assets, whether tangible or intangible, free and clear of all
          Encumbrances (other than Permitted Encumbrances), and (ii) at the Closing, Sellers will
          transfer, convey and assign good and valid title to, or a valid leasehold interest in, all of
          the Acquired Assets free and clear of all Encumbrances (other than Permitted
          Encumbrances).

                  (b)      Other than the Excluded Assets, but together with the rights and services
          set forth in the TSA, the Acquired Assets constitute all of the assets, properties and rights
          necessary to operate and conduct the Business in substantially the same manner as the
          Business was operated and conducted immediately as of the date hereof.

                       (c)    Schedule 3.5(c) sets forth the address of each Owned Real Property.

                       (d)    With respect to the Owned Real Property:

                              (i)     a Seller has good and marketable fee simple title to such Owned
                       Real Property, which shall be, free and clear of all Encumbrances as of the
                       Closing Date, except for Permitted Encumbrances;
                              (ii)
                                      no Seller has leased or otherwise granted to any Person the right to
                       use or occupy such Owned Real Property or any portion thereof or otherwise
                       transferred any of its rights to the Owned Real Property or any improvements
                       thereon;


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                               (iii) other than the right of Purchaser pursuant to this Agreement, there
                       are no outstanding options, rights of first offer or rights of first refusal to purchase
                       such Owned Real Property or any portion thereof or interest therein; and

                              (iv)   the Sellers are not a party to any agreement or option to purchase
                       any real property or interest therein relating to, or used in connection with, the
                       Business.

                 (e)     One or more of the Sellers has a good and valid leasehold interest to all
          real property leased by Sellers (the “Leased Real Property”), free and clear of all
          Encumbrances (other than Permitted Encumbrances). There are no leases, license
          agreements or other rights to occupy the Leased Real Property, or any portion thereof,
          except those rights of Seller as tenant pursuant to the applicable Acquired Lease or
          pursuant to any Permitted Encumbrance.

                  (f)     Schedule 3.5(f) sets forth the address of each Leased Real Property. The
          Sellers have made available to the Purchaser or the Purchaser’s Advisors true, correct and
          complete copies of each Acquired Lease. Except as set forth on Schedule 3.5(f) (and
          subject to entry of the Sale Order), with respect to each Acquired Lease (i) such Acquired
          Lease is legal, valid, binding, enforceable and in full force and effect; (ii) to the
          Knowledge of Sellers, there are no existing material disputes with respect to such
          Acquired Lease; (iii) none of Sellers or, to the Knowledge of Sellers, any other party to
          the Acquired Lease is in material breach or material default under such Acquired Lease,
          and, to the Knowledge of Sellers, no event has occurred since January 1, 2022 or
          circumstance exists which, with the delivery of notice, the passage of time or both, would
          constitute such a material breach or material default, or permit the termination,
          modification or acceleration of rent under such Acquired Lease; (iv) no Seller has
          currently subleased, licensed or otherwise granted any Person the right to use or occupy
          such Leased Real Property or any portion thereof; (v) none of the Acquired Leases, or any
          interest therein, is collaterally assigned or subject to a security interest (other than
          Permitted Encumbrances); and (vi) a Seller has a valid leasehold interest in the Leased
          Real Property; and (vii) no notice of termination or default has been delivered or received
          with respect to any Acquired Lease.

                  (g)     The improvements and fixtures (including building systems, such as
          heating, plumbing, ventilation, air conditioning and electric) on the Owned Real Property
          and Leased Real Property are in adequate operating condition and in a state of adequate
          maintenance and repair, ordinary wear and tear excepted, are adequate and suitable for
          the current operations of the Business. There is no condemnation, eminent domain,
          expropriation or similar proceeding pending or, to Sellers’ Knowledge, threatened against
          any of the Owned Real Property or Leased Real Property or any improvement thereon.
          The Owned Real Property and Leased Real Property constitutes all of the real property
          utilized by a Seller in the operation of the Business other than, for the avoidance of doubt,
          any real property used by Sellers’ Affiliates in providing services used by Sellers under
          the TSA.



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          Section 3.6          Contracts.

                 (a)    Schedule 3.6(a) sets forth a list of each Material Contract, as of the date of
          this Agreement. “Material Contract” means any Contract to which the Sellers are party,
          excluding any Employee Benefit Plan, that:

                               (i)    relates to the formation, creation, governance, economics, or
                       control of any joint venture, partnership or other similar arrangement, other than
                       Contracts entered into in the Ordinary Course;

                               (ii)   provides for indebtedness for borrowed money of Sellers having an
                       outstanding or committed amount in excess of $100,000, other than letters of
                       credit or expense advances made in the Ordinary Course or loans made under any
                       401(k) plan;

                              (iii) relates to the acquisition or disposition of any business (whether by
                       merger, sale of stock, sale of assets or otherwise) for aggregate consideration
                       under such Contract in excess of $500,000 pursuant to which any earn-out,
                       indemnification or deferred or contingent payment obligations remain outstanding
                       that would reasonably be expected to involve payments by or to Sellers of more
                       than $500,000 after the date hereof (in each case, excluding for the avoidance of
                       doubt, acquisitions or dispositions supplies, merchandise, Inventory, products,
                       Equipment, properties or other assets in the Ordinary Course, or of supplies,
                       Inventory, merchandise, products, Equipment, properties or other assets that are
                       obsolete, worn out, surplus or no longer used or useful in the conduct of the
                       Business);

                                (iv)   is a Contract pursuant to which Sellers would reasonably be
                       expected to (i) make payments of more than $500,000 during any fiscal year or
                       (ii) receive payments of more than $3,500,000 during any fiscal year;

                               (v)     contains any provision (A) limiting, in any material respect, the
                       right of Sellers to engage in any business, solicit or hire any Person, compete with
                       any Person, or operate anywhere in the world, (B) granting any exclusivity right to
                       any third party or containing a “most favored nation” provision in favor of any
                       third party, or (C) granting any right of first refusal, right of first offer or right of
                       first negotiation in each case of (A), (B) and (C), that would reasonably be
                       expected to be material to the Business, taken as a whole;

                              (vi)  is a Contract with a Governmental Body that involves aggregate
                       annual payments in excess of $1,000,000 (not including drug spend);

                              (vii) is a Contract with a Group Purchasing Organization that involves
                       aggregate annual payments in excess of $500,000;

                               (viii) contains minimum payment or purchase requirements, guarantees
                       of purchase or sale, volume-based commitments or other pricing clauses of
                       similar contractual language, in each case, except as would not reasonably be

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                       expected to be material to the Acquired Assets and the Business, taken as a
                       whole;

                              (ix)    is a Contract between any Seller (on the one hand) and EIC (on the
                       other hand);

                                (x) is a collective bargaining agreement or other similar labor
                       agreement covering (A) Business Employees or (B) to the extent such Contract
                       would reasonably be expected to impact the Transactions or the hiring and
                       employment of Business Employees by Purchaser hereunder, other employees of
                       Sellers;

                               (xi)   is any Contract with any current Business Employee or contractor,
                       that (A) involves aggregate annual compensation in excess of $100,000 during the
                       past twelve-month period or that will be in excess of $100,000 during the
                       twelve-month period following the date hereof for such person, other than offer
                       letter agreements for at-will employment; or (B) involves any severance,
                       change-in-control, retention, or similar type of payment payable by a Seller; or

                               (xii) is any Contract for any employee staffing arrangement or any other
                       arrangement whereby the Sellers spend in excess of $200,000 annually to retain
                       the services of a staffing agency, professional employer organization, or employer
                       of record.

                  (b)     True and complete copies of all Material Contracts have previously been
          made available to Purchaser or Purchaser’s Advisors. Subject to requisite Bankruptcy
          Court approvals, and assumption by the applicable Seller of the applicable Contract in
          accordance with applicable Law and except (i) as a result of the commencement of the
          Bankruptcy Cases, (ii) with respect to any Contract that has previously expired in
          accordance with its terms, or (iii) as set forth in Schedule 3.6(b), (A) each Material
          Contract is valid and binding on the Seller that is a party thereto and, to the Knowledge of
          Sellers, each other party thereto, and is in full force and effect, subject to the
          Enforceability Exceptions, (B) the applicable Seller, and to the Knowledge of Sellers, any
          other party thereto, have performed all obligations required to be performed by it under
          each Material Contract, (C) Sellers have received no written notice of the existence of
          any breach or default on the part of any Sellers under any Material Contract, (D) there are
          no events or conditions which constitute, or, after notice or lapse of time or both, will
          constitute a default on the part of a Seller, or to the Knowledge of Sellers, any
          counterparty under such Material Contract and (E) to the Knowledge of Sellers, Sellers
          have not received any written notice from any Person that such Person intends to
          terminate, or not renew, any Material Contract.

                 (c)    Schedule 3.6(c) sets forth a list of the top 10 suppliers by value of
          purchases for each of the specialty pharmacy and pharmacy benefit management
          segments of the Business for each of the year ended December 31, 2022 and the six (6)
          month period ended June 30, 2023 (each, a “Significant Supplier”).


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                  (d)    Schedule 3.6(d) sets forth a list of the top 20 customers by revenue (each,
          a “Significant Customer”) for each of the specialty pharmacy and pharmacy benefit
          management segments of the Business for each of the year ended December 31, 2022 and
          the six (6) month period ended June 30, 2023.

                  (e)    Since January 1, 2023, none of the Significant Suppliers or Significant
          Customers has canceled or otherwise terminated (other than pursuant to natural
          expiration) or made any written threat to any Seller to cancel or otherwise terminate or
          materially curtail its relationship with any Seller.

                   (f)      Except as set forth on Schedule 3.6(f) and except with respect to Excluded
          Liabilities: (i) all Client Contracts, Pharmacy Contracts and Rebate Contracts are
          currently, and since January 1, 2022 have been, adjudicated in accordance with the terms
          and conditions of each such Client Contract, Pharmacy Contract or Rebate Contract, in
          all material respects; and (ii) all material rebate claims of the Sellers since January 1,
          2022 have been submitted and processed in accordance with the terms and conditions of
          the applicable Rebate Contract in all material respects, it being understood, in the case
          of (i) and (ii), that such terms include, for instance, reconciliation processes to correct the
          amount of payments initially made and compliance with such terms shall give effect to
          such reconciliations and that the initial design and setup of logistical arrangements with
          counterparties involves some degree of trial and error.

                 (g)     Scheduled 3.6(g) sets forth a list of customer Contracts of Sellers pursuant
          to which Sellers have received revenue of at least 80% of the aggregate revenue of the
          Business for the seven (7) month period ended July 31, 2023, together with the lives
          associated therewith, the start date of such Contracts, and the expected end date of such
          Contracts.

          Section 3.7    No Litigation.

                  (a)    There are no Actions pending or, to Sellers’ knowledge, threatened against
          or affecting any of the Sellers that would reasonably be expected to adversely affect any
          Seller’s performance of its obligations under any of the Transaction Agreements or the
          consummation of the Transactions.

                  (b)      Except as set forth on Schedule 3.7(b)3.7(b), there is no Action pending,
          or to the Knowledge of Sellers threatened, against or relating to any Seller, the Business,
          the Acquired Assets or the Assumed Liabilities that (i) if adversely determined against
          any Seller, the Business, or the Acquired Assets would reasonably be expected to result
          in Liabilities, fines or damages of more than $500,000 or would, individually or in the
          aggregate, reasonably be expected to have a Material Adverse Effect, or (ii)(A) relates to
          a criminal matter or (B) calls for injunctive relief or other restriction that, if adversely
          determined against any Seller, would reasonably be expected to be material to the
          Business, Acquired Assets and the Assumed Liabilities, taken as a whole.

                 (c)     Except as set forth on Schedule 3.7(c)3.7(c), since January 1, 2022, there
          has been no (i) such Action pending, or to the Knowledge of Sellers threatened, against

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          any Seller or (ii) material Order imposed (or otherwise pending or the Knowledge of
          Sellers threatened) upon any Seller, in each case, by or before any Governmental Body.

          Section 3.8    Permits; Compliance with Laws.

                  (a)     Each Seller (with respect to the Business) is, and has been since January 1,
          2022, in compliance in all material respects with all Laws or Orders, applicable to such
          Seller. Each Seller holds all licenses, permits, Healthcare Permits, certificates, approvals
          and authorizations from Governmental Bodies necessary for the lawful conduct of the
          Business (collectively, “Permits”). Except as would not, individually or in the aggregate,
          reasonably be expected to be material to the Business, (i) each Healthcare Permit is valid,
          subsisting and in full force and effect and (ii) the Business as currently conducted is not
          in violation of, nor are the Sellers in default or violation under, any Healthcare Permit.

                  (b)     To the Knowledge of the Sellers since January 1, 2022, no event has
          occurred which, with notice or the lapse of time or both, would constitute a default or
          violation of any material terms, condition or provision of any Healthcare Permits. There
          are no actions pending or, to the Knowledge of the Sellers, threatened, that seek the
          revocation, cancellation or adverse modification of any Healthcare Permit. To the
          Knowledge of the Sellers, each director, officer, employee, agent and independent
          contractor of the Sellers possesses all Permits necessary for the lawful conduct of his or
          her duties and obligations in the operation of the Business.

                  (c)     Each Seller and each of their respective directors, officers and employees
          acting in such capacity and, to the Knowledge of Sellers, each of its and their other agents
          acting on its or their behalf, is, and has been since January 1, 2022, in compliance in all
          material respects with the Foreign Corrupt Practices Act of 1977 and any rules and
          regulations promulgated thereunder.

                  (d)    Since January 1, 2022, none of the Sellers, nor to the Knowledge of
          Sellers, any Affiliate of Sellers, has received written notice from any Governmental Body
          claiming or alleging that any of the Sellers are not in compliance with any applicable Law
          or Order applicable to any of them, or the operation of their respective businesses, in any
          material respect, in each case except as would not, individually or in the aggregate,
          reasonably be expected to be material to the Business, the Acquired Assets and the
          Assumed Liabilities, taken as a whole.

         Section 3.9 Environmental Matters. Except as disclosed on Schedule 3.9, (a) Sellers
 are, and have been since January 1, 2022, in compliance in all material respects with all
 applicable Environmental Laws with respect to the conduct of the Business, (b) since January 1,
 2022, no Seller has received any written notice alleging that any Seller is in violation of, or liable
 under, in any material respect, any Environmental Law that is unresolved with respect to the
 conduct of the Business, and to the Knowledge of the Sellers, there are no facts or circumstances
 that would be reasonably expected to result in any future written notices, (c) Sellers possess and
 are in compliance in all material respects with all Permits required under Environmental Laws
 for the operation of the Business as currently conducted (“Environmental Permits”), (d) there is
 no Action under or pursuant to any Environmental Law or Environmental Permit that is pending

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 or, to the Knowledge of Sellers, threatened in writing against any Seller, (e) Sellers are not
 subject to any Order imposed by any Governmental Body pursuant to Environmental Laws under
 which there are uncompleted, outstanding or unresolved obligations on the part of any Seller, (f)
 since January 1, 2022 there has been no Release of Hazardous Materials with respect to any
 Seller’s currently or formerly owned, leased, or operated property, or at any location or facility
 where wastes from the operations or assets of the Sellers have been disposed or recycled, (g) no
 Seller is subject to any outstanding Order under any Environmental Law, (h) no Seller has
 assumed responsibility for, or agreed to indemnify or hold harmless any Person for, any Liability
 or obligation, arising under or relating to Environmental Laws, including any obligation for
 investigation, corrective or remedial action, and (i) the Sellers have provided copies of all
 environmental assessments, environmental sampling and monitoring data, and health and safety
 audits concerning the business that are in their possession.

          Section 3.10 Intellectual Property.

                  (a)    Sellers are the sole and exclusive owners of all of the rights, title and
          interest in and to the Acquired Intellectual Property, in each case free and clear of all
          Encumbrances (other than Permitted Encumbrances). Except as would not, individually
          or in the aggregate, reasonably be expected to be material to the Business, all of the
          Acquired Intellectual Property that is registered is subsisting, valid and enforceable.

                   (b)    Section 3.10(b) is a complete and accurate list of each trademark
          registration, application for trademark registration and domain name included in the
          Acquired Intellectual Property that is registered with or applied for with (collectively,
          “Registered Trademarks”) the United States Patent and Trademark Office, any similar
          intellectual property office or any domain name registrar (each a “Registration Office”)
          setting forth as applicable, the title, application number, filing date, and registration
          number. Except as would not, individually or in the aggregate, reasonably be expected to
          be material to the Business, with respect to each Registered Trademark, all necessary
          filing, examination, registration, maintenance, renewal and other fees and Taxes due on
          or prior to the date hereof and the Closing Date have been timely paid in full, and all
          necessary documents (including responses to office actions and other correspondence
          from a Registration Office) and certificates have been timely filed with all relevant
          Registration Offices for the purposes of maintaining such Registered Trademarks, in each
          case in accordance with applicable Law and to avoid loss or abandonment thereof.

                   (c)     Sellers own or have valid, legally enforceable and sufficient rights to use
          all Intellectual Property necessary to the conduct of the Business as currently conducted
          by Sellers, free and clear of all Encumbrances (other than Permitted Encumbrances).
          Sellers have taken reasonable steps to maintain and protect the confidentiality of the
          material trade secrets and other material non-public Acquired Intellectual Property.
          Except as would not, individually or in the aggregate, reasonably be expected to be
          material to the Business, Acquired Assets and the Assumed Liabilities, taken as a whole,
          the Sellers have not disclosed any material trade secrets or non-public information
          included in the Acquired Intellectual Property (or any tangible embodiment thereof) to
          any Person without having such Person execute a written agreement regarding the
          non-disclosure and non-use thereof. Nothing in this Section 3.10(c) shall be interpreted or

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          construed as a representation or warranty with respect to whether there is any
          infringement, misappropriation, or violation of any Intellectual Property, which is the
          subject of Section 3.10(d) and Section 3.10(e).

                  (d)     No Actions are pending or, to the Knowledge of Sellers, threatened
          against any Seller, and since January 1, 2022, Sellers have not received any written notice
          or claim (including any cease and desist letter), (i) challenging the ownership, validity,
          enforceability or use by any Seller of any Acquired Intellectual Property, (ii) alleging that
          the Business, any Acquired Assets, or any Seller in connection with the Business is
          infringing, misappropriating or otherwise violating the Intellectual Property of any
          Person, (iii) that any Seller in connection with the Business requires a license to any
          Person’s Intellectual Property, or (iv) that includes any unsolicited written offer to license
          (or any other notice of) any Person’s Intellectual Property.

                  (e)     To the Knowledge of Sellers, since January 1, 2022, no Person has
          infringed, misappropriated or otherwise violated the rights of Sellers with respect to any
          Acquired Intellectual Property, except as would not reasonably be expected to be material
          to the Business, taken as a whole. Since January 1, 2022, no Seller has notified any
          Person that such Person is infringing, misappropriating, or violating any Acquired
          Intellectual Property. Since January 1, 2022, the using, making, modifying, selling,
          licensing, or distributing any of the Acquired Assets and the conduct and operation of the
          Business by Sellers has not violated, misappropriated, or infringed the Intellectual
          Property rights of any other Person, except as would not reasonably be expected to be
          material to the Business, taken as a whole.

                  (f)     The consummation of the Transactions will not result in the grant of any
          right or license to any third party of any Acquired Intellectual Property.

                 (g)      No event has occurred, and no circumstance or condition exists, that (with
          or without notice or lapse of time) will, or would reasonably be expected to, require the
          disclosure or delivery to any Person (including any technology/software escrow
          company) of the source code for any material, proprietary software (including the Laker
          Software) that is included in the Acquired Intellectual Property (collectively, the
          “Transaction Source Code”), other than disclosure prior to the Closing Date of source
          code to employees or contractors of a Seller in connection with their performance of
          services for a Seller. Other than employees and contractors of a Seller who perform
          services for a Seller, no Seller has provided to any Person any Transaction Source Code.

                  (h)    Each Seller is in compliance in all material respects with all Open License
          Terms applicable to any Public Software licensed to or used by a Seller. No Seller has
          received any written notice alleging that it is in violation or breach of any Open License
          Terms. Each Seller’s use, modification, and distribution of any Public Software does not
          (a) require a Seller to make available any Transaction Source Code or any third party’s
          source code (other than the source code for third party software used by Seller under
          Open License Terms); (b) require a Seller to grant permission to create modifications to
          or derivative works of any material proprietary software included in or provided with the
          Acquired Intellectual Property (“Acquired Software”); (c) require a Seller to grant a

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          royalty-free license to any Person under any Acquired Intellectual Property or any third
          party Intellectual Property provided therewith (including any Acquired Software).

                  (i)     Except as would not reasonably be expected to be material to the business
          of Laker Software, Inc., no software, systems or networks included in the Acquired
          Intellectual Property contain any “virus,” “malware,” “malicious code,” or other similar
          software (collectively, “Viruses”). Except as would not reasonably be expected to be
          material to the business of Laker Software, Inc., the Sellers have taken reasonable steps
          to prevent the introduction of Viruses into any Acquired Intellectual Property.

                  (j)     Except as would not, individually or in the aggregate, reasonably be
          expected to be material to the business of Laker Software, Inc., taken as a whole, no
          funding, facilities or resources of any Governmental Body or any university, college,
          other educational institution, multi-national, bi-national or international organization or
          research center was used in connection with the development or creation, in whole or in
          part, any Acquired Intellectual Property.

                  (k)    All current and former employees, consultants and independent
          contractors of Sellers who are or were involved in the creation or development of any
          material Acquired Intellectual Property have executed a written agreement regarding the
          protection of proprietary information and the present assignment to a Seller, or have
          otherwise assigned by operation of Law, all right, title and interest in such Intellectual
          Property created or developed by such Persons on behalf of such Seller.

                  (l)     Schedule 3.10(l) is a complete and accurate list of all Contracts to which
          any Seller is a party pursuant to which a Seller has granted or is required to grant to any
          Person any license to, any covenant not to assert or sue, other immunity from suit under,
          or any other rights, to any material Acquired Intellectual Property, other than (i) Contracts
          entered with customers and vendors in the ordinary course of business, (ii) Intellectual
          Property assignment Contracts entered into with employees or third-party contractors in
          the ordinary course of business, (iii) confidentiality or non-disclosure Contracts entered
          into in the ordinary course of business, and (iv) Contracts primarily for the provision of
          services where the granting or obtaining (or agreement to obtain) any right to use, or
          permission or agreement to permit any other Person to use, any Intellectual Property is
          ancillary or incidental to the transactions contemplated in such contract.

                  (m)     Schedule 3.10(m) is a complete and accurate list of all Contracts to which
          any Seller is a party pursuant to which any Person is currently granting or is required to
          grant in the future to a Seller any right under or license to, any covenant not to assert or
          sue or other immunity from suit under or any other rights to any material Intellectual
          Property, other than (i) Contracts granting rights to commercial, off the shelf software
          and services with an annual license fee of less than $500,000, (ii) Contracts relating to
          free or open source software, (iii) confidentiality or non-disclosure Contracts entered into
          in the ordinary course of business, and (iv) Contracts primarily for the provision of
          services where the granting or obtaining (or agreement to obtain) any right to use, or



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          permission or agreement to permit any other Person to use, any Intellectual Property is
          ancillary or incidental to the transactions contemplated in such Contract.

                 (n)     Schedule 3.10(n) is a complete and accurate list, grouped by subsection, of
          all Contracts as follows: (i) by which Seller acquired from another Person any material
          Acquired Intellectual Property, (ii) under which a Seller grants to or receives from any
          Person an option or right of first refusal or right of first negotiation relating to any
          material Intellectual Property, and (iii) Contracts entered into in connection with the
          settlement of any dispute related to material Intellectual Property, including settlement
          agreements, covenants not to sue, and coexistence agreements.

          Section 3.11 Privacy and Security Matters.

                   (a)     Except as would not, individually or in the aggregate, reasonably be
          expected to be material to the Business, Acquired Assets and the Assumed Liabilities,
          taken as a whole, in connection with the Acquired Assets, the Sellers are, and have been
          since January 1, 2022, in compliance with (A) all Laws pertaining to (i) data security, and
          (ii) the collection, storage, use, access, disclosure, processing, security, and transfer of
          Personal Information (referred to collectively in this Agreement as “processing”) ((i) and
          (ii) together “Privacy Laws”); (B) all Contracts (or portions thereof) to which any Seller
          is a party to the extent applicable to the Processing of Personal Information (collectively,
          “Privacy Agreements”); and (C) the Payment Card Industry Data Security Standard and
          all applicable rules and requirements by the PCI Security Standards Council, any member
          thereof, and any entity functioning as a card brand, card association, or other binding
          requirements pertaining to the acceptance of payment cards (collectively “PCI
          Requirements”).

                  (b)     The Sellers have implemented written policies relating to processing of
          Personal Information, including, a publicly posted website privacy policy (“Privacy and
          Information Security Policies”). Except as would not, individually or in the aggregate,
          reasonably be expected to be material to the Business, Acquired Assets and the Assumed
          Liabilities, taken as a whole, the Sellers are and since January 1, 2022 have been, in
          compliance with all such Privacy and Information Security Policies.

                 (c)     Except as would not, individually or in the aggregate, reasonably be
          expected to be material to the Business, Acquired Assets and the Assumed Liabilities,
          taken as a whole, at all times since January 1, 2022, the Sellers have taken commercially
          reasonable steps designed to protect the confidentiality, integrity, and security of all
          Personal Information, confidential information, and any other proprietary data used in the
          operation of the Business (collectively, “Business Data”) in Sellers’ possession or control
          against damage, loss, and against unauthorized access, acquisition, use, modification,
          disclosure or other misuse.

                  (d)    Since January 1, 2022, Seller has not experienced any material
          unauthorized access, use, loss, destruction, modification, or disclosure of Business Data
          in the possession or control of any Seller that has had a material and adverse effect on the
          Business (a “Security Breach”). Since January 1, 2022, no Seller has provided any notices

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          to, nor has it been legally required to provide any such notices, to any Person as a result
          of any Security Breach. Since January 1, 2022, no Seller, its Affiliates, nor any third party
          acting at its direction or authorization has paid any perpetrator of any actual or threatened
          Security Breach or cyber-attack, including, but not limited to a ransomware attack or a
          denial-of-service attack.

        Section 3.12 Healthcare Matters. Except as would not reasonably be expected to be
 material to the Acquired Assets and the Business, taken as a whole:

                  (a)     Each of Seller and EIC is, and since January 1, 2022 has been, in
          compliance in all material respects with all applicable Healthcare Laws. Neither Sellers
          nor EIC has received any written or, to the Knowledge of Sellers, oral notice of any
          pending or threatened adverse Action, claim or default alleging material non-compliance
          with such Healthcare Laws by the Sellers, or EIC. Neither Sellers nor EIC is a party to
          any corporate integrity agreement or has any reporting obligations pursuant to any
          deferred prosecution, consent decree, settlement, integrity agreement, corrective action
          plan or other similar obligation, Order, or agreement with any Governmental Body.

                  (b)     Neither Sellers nor EIC or any of their respective owners, directors,
          officers, managers, agents or managing employees (as such term is defined in 42 U.S.C. §
          1320a-5(b)), is, or has, (i) been debarred, excluded or suspended from participating in any
          Governmental Health Program, or subject to sanction, charged, pled guilty or nolo
          contendere to, or been convicted of a crime in connection with, any Governmental Health
          Program or under any Healthcare Law; (ii) been listed on the Office of Inspector
          General’s List of Excluded Individuals and Entities, state Medicaid exclusion lists, or the
          General Services Administration published list of parties excluded from federal
          procurement programs and non-procurement programs.; (iii) been audited or investigated,
          outside of the ordinary course of business, by any Governmental Health Programs (or any
          Governmental Body with respect to any Healthcare Laws); or (iv) had a contract
          terminated by any Governmental Health Programs for a material breach or material
          default of the terms of the applicable contract.

                  (c)    Each Seller and EIC is, and has been, since January 1, 2022 in material
          compliance with HIPAA and have established and implemented such policies, programs,
          procedures, Contracts and systems as are necessary to comply in all material respects
          with HIPAA. Neither Sellers nor EIC has received written notice of, and there is no
          Action, or inquiry or investigation pending or, to the Knowledge of Seller, threatened
          with respect to any alleged “breach” as defined in HIPAA by any Seller, EIC, or their
          workforce. Each Seller and EIC has undertaken all necessary risk assessments of the
          Business required by HIPAA and has implemented appropriate corrective action to
          address all material vulnerabilities in its HIPAA safeguards and controls identified
          through such assessments. Each Seller and EIC has a written, signed, and
          HIPAA-compliant business associate agreement with each Person that is a “covered
          entity” or “business associate” (as such terms are defined by HIPAA) of such Seller or
          EIC, as applicable.



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                  (d)   Neither Sellers nor EIC has knowingly billed, received, paid or reimbursed
          in excess of amounts allowed by applicable Healthcare Laws, nor advised or provided
          information that could be reasonably interpreted to advocate upcoding or otherwise
          improperly coding any claims for payment for healthcare items or services to obtain
          greater reimbursement than would be paid pursuant to a properly coded and submitted
          claim. Neither Sellers nor EIC has made, offered, received or solicited any bribes,
          kickback payments or other similar payments of cash or other consideration, including
          payments to customers or clients or employees of customers or clients for purposes of
          doing business with such Persons.

                  (e)     Each Seller and EIC has and maintains a compliance program reasonably
          designed to satisfy the elements of an effective corporate compliance and ethics program
          identified in U.S.S.G. § 8B2.1. There are no outstanding material compliance complaints,
          reports, corrective actions, or ongoing internal compliance investigations.

         Section 3.13 Tax Matters. Except as would not reasonably be expected to be material
 to the Acquired Assets and the Business, taken as a whole:

                   (a)    Each Seller (or its applicable Affiliate) has prepared (or caused to be
          prepared) and timely filed (taking into account valid extensions of time within which to
          file) all material Tax Returns with respect to the Acquired Assets required to be filed by
          it (taking into account valid extensions of time within which to file), and all such filed
          Tax Returns (taking into account all amendments thereto) are true, complete and accurate
          in all material respects and were prepared in compliance in all material respects with
          applicable Law.

                  (b)    All material Taxes with respect to the Acquired Assets owed by a Seller,
          that are due (whether or not shown on any Tax Return) have been timely paid or have
          been adequately reserved against in accordance with GAAP.

                 (c)     There are no Encumbrances for Taxes on any of the Acquired Assets other
          than Permitted Encumbrances.

                 (d)    None of the Sellers has waived any statute of limitations in respect of
          material Taxes with respect to the Acquired Assets or agreed to any extension of time
          with respect to an assessment or deficiency for material Taxes with respect to the
          Acquired Assets (in each case, other than pursuant to extensions of time or waivers to file
          Tax Returns obtained in the Ordinary Course or waivers or extensions that have expired).

                  (e)     Since January 1, 2020, no claim has been made in writing by a Taxing
          Authority in a jurisdiction where any Seller or its Affiliate does not file Tax Returns with
          respect to the Acquired Assets that any such Seller is or may be subject to taxation by
          that jurisdiction with respect to the Acquired Assets that has not otherwise been fully
          resolved.

                 (f)    Each Seller (or its applicable Affiliate) has withheld and paid to the
          applicable Taxing Authority all Taxes required to have been withheld and timely paid


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          with respect to the Acquired Assets or the Transferred Employees, and such amounts to
          the appropriate Taxing Authority.

                  (g)    No federal, state, local, or non-U.S. Tax audits or administrative or
          judicial Tax proceedings are pending or being conducted with respect to any Seller with
          respect to the Acquired Assets. None of the Sellers has received from any federal, state,
          local, or non-U.S. taxing authority (including jurisdictions where Seller has not filed Tax
          Returns) any (i) written notice indicating an intent to open an audit or other review (since
          January 1, 2020), or (ii) written notice of deficiency or proposed adjustment for any
          amount of Tax proposed, asserted, or assessed by any Taxing Authority against Seller
          that has not been fully resolved, in each case, with respect to the Acquired Assets.

                 (h)     Notwithstanding anything in this Agreement to the contrary, the
          representations and warranties in this Section 3.13 shall constitute the sole
          representations and warranties in this Agreement with respect to Taxes and no
          representation or warranty set forth in this Section 3.13 shall be deemed to apply directly
          or indirectly with respect to any Seller Combined Tax Return. No representation or
          warranty is made with respect to any Tax attribute for any Post-Closing Tax Period.

          Section 3.14 Employees.

                   (a)    Schedule 3.14(a) sets forth the following information for each Business
          Employee: (i) name; (ii) job title; (iii) date of hire (or seniority date, if different);
          (iv) full-time or part-time status; (v) exempt or non-exempt classification; (vi) base
          annual salary or hourly wage rate (as applicable); (vii) location (including location into
          which a remote employee reports); (viii) leave status; (ix) work authorization or permit
          type; (x) accrued, but unused paid-time-off; (xi) employing entity; and (xii) target annual
          bonus and the most recent bonus received; and, on a separate list on Schedule 3.14(a)
          (xiii) Healthcare Permit number and issuing authority, as applicable.

                  (b)    None of Sellers (with respect to the Business or Business Employees) is
          party to any collective bargaining agreements or similar labor-related Contracts with any
          labor union representing any Business Employees. There is no current written demand
          from any labor union seeking recognition as the exclusive bargaining representative of
          any Business Employees by any Seller and there is no pending or, to the Knowledge of
          Sellers, threatened, strike, lockout, organized labor slowdown, or concerted work
          stoppage by any Business Employees.

                  (c)   Sellers are in compliance in all material respects with all applicable Laws
          respecting employment practices and labor, including those related to wages and hours
          (including minimum wage and overtime Laws and wage payment Laws), collective
          bargaining, unemployment insurance, workers’ compensation, immigration, retaliation,
          harassment and discrimination, disability rights and benefits, affirmative action,
          employee layoffs, employee notification, leave, affirmative action, health and safety, and
          child labor.




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                  (d)    Except as would not result in material Liability, Sellers currently properly
          classify and have properly classified each Business Employee as exempt or non-exempt
          for the purposes of the Fair Labor Standards Act.

                 (e)      There is no Action pending or, to the Knowledge of Sellers, threatened in
          writing against any Seller alleging a violation of any labor or employment Law that if
          adversely determined against such Seller would reasonably be expected to result in
          Assumed Liabilities or would, individually or in the aggregate, reasonably be expected to
          be material to the Business, the Acquired Assets and the Assumed Liabilities, taken as a
          whole, nor have any such Actions been brought in the last 3 years.

                  (f)    No “mass layoff,” “plant closing” or similarly defined conduct (as defined
          in the federal Worker Adjustment and Retraining Notification Act or any similar state,
          local or foreign Law (collectively, “WARN”)) has been implemented by Sellers in the
          ninety (90) days immediately prior to the date of this Agreement. Except as set forth on
          Schedule 3.14(f), Sellers do not currently plan or contemplate any plant closings,
          reduction in force, terminations of employees, or similar personnel actions at any site of
          employment where any Business Employees or other employees of Sellers are located
          that would trigger obligations under WARN.

         Section 3.15 Insurance. Schedule 3.15 sets forth a description of all material insurance
 policies maintained by Sellers other than any policies maintained in connection with an
 Employee Benefit Plan (the “Business Insurance Policies”). All such Business Insurance Policies
 are in full force and effect. No Seller since January 1, 2022, has received written notice from any
 insurer or agent of such insurer with respect to the cancellation or termination of any such
 Business Insurance Policies.

         Section 3.16 Affiliate Transactions. Except as set forth on Schedule 3.16, to the
 Knowledge of Sellers, no Affiliate of any Seller, or any officer or director of any Seller, (a) is a
 party to any agreement that constitutes an Acquired Asset having a potential or actual value or a
 contingent or actual Liability exceeding $1,000,000, other than (i) loans and other extensions of
 credit to directors and officers of a Seller for travel, business or relocation expenses or other
 employment-related purposes in the Ordinary Course, (ii) employment arrangements in the
 Ordinary Course and (iii) the Employee Benefit Plans, or (b) has any material interest in any
 Acquired Asset.

         Section 3.17 Brokers. Except for Guggenheim Securities, LLC (“Guggenheim
 Securities”), the fees and expenses of which will be paid by Sellers, no broker, investment
 banker, financial advisor or other Person is entitled to any broker’s, finder’s, financial advisor’s
 or other similar fee or commission, or the reimbursement of expenses in connection therewith, in
 connection with the Transactions based upon arrangements made by or on behalf of Sellers.

         Section 3.18 Anti-Corruption. Since January 1, 2021, neither Sellers nor any of their
 Affiliates or their employees, or to the Knowledge of Sellers, any other Person acting on behalf
 of any of the foregoing, has directly or knowingly indirectly in connection with the business and
 operations of the Sellers: (i) made, offered, promised to make or authorized any unlawful
 payment, gift, or any other thing of value or advantage in violation of Anti-Corruption Laws, (ii)

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 requested or received any payment, gift, or other thing of value or advantage in violation of
 Anti-Corruption Laws or (iii) otherwise violated any provision of the Anti-Corruption Laws. The
 Sellers have implemented policies and procedures reasonably designed to prevent, detect, and
 deter violations of any Anti-Corruption Laws. Since January 1, 2021, neither Sellers nor its
 Affiliates have received any notice from any Governmental Body or any other Person regarding
 any actual, alleged, or investigated violation of, or failure to comply with or Liability under, any
 Anti-Corruption Laws, and to the Knowledge of Sellers there are no conditions or circumstances
 that would reasonably be expected to give rise to any material future Action against, or voluntary
 disclosure by, the Sellers with respect to any Anti-Corruption Laws.

          Section 3.19 Absence of Certain Changes. Except as set forth on Schedule 3.19, since
 June 30, 2023, (i) the Sellers have conducted their business in the Ordinary Course in all material
 respects (other than the marketing of the Business and processes and negotiations with Advisors
 and third parties in connection therewith, and preparation and commencement of the Bankruptcy
 Cases and actions related thereto), (ii) there has not been any Material Adverse Effect and
 (iii) there is no material business interruption or similar event, change or circumstance that has
 occurred, or is occurring, at any of the facilities, plants, offices, laboratories, warehouses,
 distribution centers and other properties (including at any Owned Real Property or Leased Real
 Property) owned or operated by the Sellers.

        Section 3.20 Bank Accounts. Schedule 3.20 sets forth a complete list of all bank
 accounts (including any deposit accounts, securities accounts and any sub-accounts) of Sellers.

          Section 3.21 Employee Benefit Plans.

                 (a)     Each Employee Benefit Plan intended to be “qualified” within the
          meaning of Section 401(a) of the Tax Code has received a favorable determination letter
          from the IRS or is entitled to rely upon a favorable opinion letter issued by the IRS. There
          are no pending, or to the Knowledge of Sellers, threatened claims (other than routine
          claims for benefits) by, on behalf of or against any Employee Benefit Plan which could
          reasonably be expected to result in any Assumed Liability. The Employee Benefit Plans
          comply in form and in operation with their terms and applicable Laws, including the
          applicable requirements of the Tax Code and ERISA, except as would not reasonably be
          expected to be material to the Acquired Assets and the Business, taken as a whole.

                  (b)     The consummation of the Transactions is not reasonably expected to
          (i) accelerate the time of payment or vesting, or materially increase the amount, of
          compensation due to any Business Employee under any Employee Benefit Plan, (ii) cause
          a Seller to transfer or set aside any assets to fund any benefits under any Employee
          Benefit Plan or (iii) result in any “disqualified individual” with respect to any Seller
          receiving any “excess parachute payment” (as each such term is defined in section 280G
          of the Tax Code), determined without regard to any arrangements that may be
          implemented by, or at the direction of, Purchaser or any of its Affiliates.

        Section 3.22 No Other Representations or Warranties. Except for the
 representations and warranties expressly contained in this Article III (as qualified by the
 Schedules and in accordance with the express terms and conditions (including limitations and

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 exclusions) of this Agreement) (the “Express Representations”) (it being understood that
 Purchaser and the Purchaser Group have relied only on such Express Representations and
 warranties), Purchaser acknowledges and agrees, on its own behalf and on behalf of the
 Purchaser Group, that no Seller nor any other Person on behalf of any Seller makes, and neither
 Purchaser nor any member of the Purchaser Group has relied on, is relying on, or will rely on the
 accuracy or completeness of any express or implied representation or warranty with respect to
 any Seller, the Business, the Acquired Assets, or the Assumed Liabilities or with respect to any
 information, statements, disclosures, documents, projections, forecasts or other material of any
 nature made available or provided by any Person (including in any presentations or other
 materials prepared by Guggenheim Securities or Alvarez and Marsal North America, LLC) (the
 “Information Presentation”) or in that certain “Project Poet” datasite administered by Datasite
 (the “Dataroom”) or elsewhere to Purchaser or any of its Affiliates or Advisors. Except with
 respect to the Express Representations, all other representations and warranties, whether express
 or implied, are hereby expressly disclaimed by Sellers. Nothing in this Section 3.22 shall limit
 any rights or remedies of Purchaser with respect to a claim for Fraud.

                                        ARTICLE IV
                        REPRESENTATIONS AND WARRANTIES OF PURCHASER

          Purchaser represents and warrants to Sellers as of the date hereof as follows.

         Section 4.1 Organization and Qualification. Purchaser is a corporation duly formed,
 validly existing and in good standing under the Laws of the State of California and has all
 requisite power and authority necessary to carry on its business as it is now being conducted,
 except (other than with respect to Purchaser’s due formation and valid existence) as would not,
 individually or in the aggregate, reasonably be expected to have a material adverse effect on
 Purchaser’s ability to consummate the Transaction. Purchaser is duly licensed or qualified to do
 business and is in good standing (where such concept is recognized under applicable Law) in
 each jurisdiction in which the nature of the business conducted by it or the character or location
 of the properties owned or used by it makes such licensing or qualification necessary, except
 where the failure to be so licensed, qualified or in good standing would not, individually or in the
 aggregate, reasonably be expected to have a material adverse effect on Purchaser’s ability to
 consummate the Transaction by this Agreement.

         Section 4.2 Authorization of Agreement. Purchaser has all necessary power and
 authority to execute and deliver this Agreement and to perform its obligations hereunder and to
 consummate the Transactions. The execution, delivery and performance by Purchaser of this
 Agreement, and the consummation by Purchaser of the Transactions, subject to requisite
 Bankruptcy Court approvals, have been duly authorized by all requisite corporate or similar
 organizational action and no other corporate or similar organizational proceedings on its part are
 necessary to authorize the execution, delivery and performance by Purchaser of this Agreement
 and the consummation by it of the Transactions. Subject to requisite Bankruptcy Court
 approvals, this Agreement has been duly executed and delivered by Purchaser and, assuming due
 authorization, execution and delivery hereof by the other Parties, constitutes a legal, valid and
 binding obligation of Purchaser, enforceable against Purchaser in accordance with its terms,
 except that such enforceability may be limited by the Enforceability Exceptions.


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          Section 4.3    Conflicts; Consents.

                   (a)    Assuming that (i) the Sale Order, and all other requisite Bankruptcy Court
          approvals are obtained, (ii) the notices, authorizations, approvals, Orders, permits or
          consents set forth on Schedule 4.3(a) are made, given or obtained (as applicable), and
          (iii) the requirements of the HSR Act are complied with, neither the execution and
          delivery by Purchaser of this Agreement, nor the consummation by Purchaser of the
          Transactions, nor performance or compliance by Purchaser with any of the terms or
          provisions hereof, will (A) conflict with or violate any provision of Purchaser’s
          Organizational Documents, (B) violate any Law or Order applicable to Purchaser,
          (C) violate or constitute a breach of or default (with or without notice or lapse of time, or
          both) under or give rise to a right of termination, modification, or cancelation of any
          obligation or to the loss of any benefit, any of the terms or provisions of any loan or
          credit agreement or other material Contract to which Purchaser is a party or accelerate
          Purchaser’s obligations under any such Contract, or (D) result in the creation of any
          Encumbrance (other than a Permitted Encumbrance) on any properties or assets of
          Purchaser or any of its Subsidiaries, except, in the case of clauses (A) through (D), as
          would not, individually or in the aggregate, reasonably be expected to prevent or
          materially impair, alter or delay the ability of Purchaser to consummate the Transactions.

                  (b)    Except as set forth on Schedule 4.3(a), Purchaser is not required to file,
          seek or obtain any notice, authorization, approval, Order, permit or consent of or with any
          Governmental Body in connection with the execution, delivery and performance by
          Purchaser of this Agreement or the consummation by Purchaser of the Transactions,
          except (i) any filings required to be made under the HSR Act or (ii) where failure to
          obtain such consent, approval, authorization or action, or to make such filing or
          notification, would not, individually or in the aggregate, reasonably be expected to
          prevent or materially impair, alter or delay the ability of Purchaser to consummate the
          Transactions.

         Section 4.4 Financing. As of November 8, 2023, the Credit Agreement will have been
 amended to permit the issuance of the Term Loans to the Term Loan Holder in an amount equal
 to the Principal Amount at the Closing. As of November 8, 2023, Purchaser or Guarantor will,
 and will through the Closing, have sufficient funds in an aggregate amount necessary to perform
 the Assumed Liabilities as they become due in accordance with their terms and to consummate
 all of the other Transactions, including payment of all fees, expenses of, and other amounts
 required to be paid by, Purchaser in connection with Transactions and does not know of any
 circumstance or condition that would reasonably be expected to prevent or substantially delay the
 availability of such funds or otherwise impair such capability at the Closing and such other dates
 that such obligations and transactions are required to be satisfied pursuant to the terms hereof.
 Purchaser affirms that it is not a condition to Closing or to any of its obligations under this
 Agreement that Purchaser obtains financing for the Transactions. Purchaser is and shall be
 capable of satisfying the conditions contained in sections 365(b)(1)(C) and 365(f) of the
 Bankruptcy Code with respect to the Assigned Contracts and the related Assumed Liabilities.

        Section 4.5 Brokers. Except for UBS Securities LLC, all of whose fees and expenses
 will be borne solely by Purchaser, there is no investment banker, broker, finder, or other

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 intermediary which has been retained by or is authorized to act on behalf of Purchaser that might
 be entitled to any fee or commission in connection with the Transactions.

        Section 4.6 No Litigation. There are no Actions pending or, to Purchaser’s
 knowledge, threatened against or affecting Purchaser that will or would be reasonably likely to
 adversely affect Purchaser’s performance of its obligations under this Agreement or the
 consummation of the Transactions.

         Section 4.7 Certain Arrangements. Except for any financing sources or lenders of
 Purchaser related to Purchaser’s financing of the Transaction, as of the date hereof, there are no
 Contracts, undertakings, commitments, agreements or obligations, whether written or oral,
 between any member of the Purchaser Group, on the one hand, and any member of the
 management of any Seller or its respective board of directors (or member of management or
 applicable governing body of any Affiliate of any Seller), any holder of equity or debt securities
 of any Seller, or any lender or creditor of any Seller or any Affiliate of any Seller, on the other
 hand, (a) relating in any way to the acquisition of the Acquired Assets or the Transactions or (b)
 that would be reasonably likely to prevent, restrict, impede or affect adversely the ability of any
 Seller or any of its Affiliates to entertain, negotiate or participate in any such transactions.

         Section 4.8 Solvency. Assuming the accuracy in all material respects of the
 representations and warranties in Article III, Purchaser is, and immediately after giving effect to
 the Transactions Purchaser shall be, solvent and at all times shall: (a) be able to pay its debts as
 they become due; (b) own property that has a fair saleable value greater than the amounts
 required to pay its debt (including a reasonable estimate of the amount of all contingent
 Liabilities) and (c) have adequate capital to carry on its business. No transfer of property is being
 made and no obligation is being incurred in connection with the Transactions with the intent to
 hinder, delay or defraud either present or future creditors of Purchaser. In connection with the
 Transactions, Purchaser has not incurred, nor plans to incur, debts beyond its ability to pay as
 they become absolute and matured.

        Section 4.9 WARN Act and Mass Layoffs. Purchaser does not currently plan or
 contemplate any plant closings, reduction in force, terminations of employees, or similar
 personnel actions impacting Business Employees that would trigger obligations under the
 WARN Act or similar Laws.

         Section 4.10 No Additional Representations or Warranties. Except for the
 representations and warranties contained in this Article IV, Sellers are not relying on and will not
 rely on the accuracy or completeness of any other express or implied representation or warranty
 with respect to Purchaser or with respect to any other information provided to Sellers by
 Purchaser and acknowledge that neither Purchaser nor any other Person on behalf of Purchaser
 makes on behalf of Purchaser makes any other express or implied representation or warranty
 with respect to Purchaser or with respect to any other information provided to Sellers by
 Purchaser.




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                                              ARTICLE V
                                        BANKRUPTCY COURT MATTERS

          Section 5.1         Bankruptcy Actions.

                 (a)     Bankruptcy Court Milestones. The Sellers shall comply with the following
          timeline (the “Bankruptcy Court Milestones”):

                               (i)    As promptly as practicable but in no event later than one (1) day
                       after the Petition Date, the Sellers shall file with the Bankruptcy Court the
                       Bidding Procedures Motion.

                              (ii)    No later than three (3) Business Days following the Second Day
                       Hearing, the Sellers shall obtain entry of the Bidding Procedures Order.

                              (iii) No later than 60 days after the Petition DateDecember 18, 2023,
                       the Bidding Deadline pursuant to the Bidding Procedures Order will occur.

                              (iv)    No later than 75 days after the Petition Date, the Auction (if
                       necessary) shall have been held pursuant to the Bidding Procedures Order.

                              (v)     No later than 80 days after the Petition DateJanuary 9, 2024, but
                       subject to the availability of the Bankruptcy Court, the Bankruptcy Court shall
                       have held the hearing to consider entry of the Sale Order.

                   (b)   The bidding procedures to be employed with respect to this Agreement
          shall be those reflected in the Bidding Procedures Order. Purchaser agrees and
          acknowledges that Sellers, including through their representatives, are and may continue
          soliciting inquiries, proposals or offers from third parties in connection with any
          Alternative Transaction pursuant to the terms of the Bidding Procedures Order. Sellers
          may modify the motion seeking approval of the Sale Order pursuant to discussions with
          the United States Trustee assigned to the Bankruptcy Case, the Bankruptcy Court, any
          creditor or committee representing a group of creditors in the Bankruptcy Case, or any
          other party in interest, with such modifications being acceptable to Purchaser in its
          commercially reasonable discretion.

                 (c)   From the date hereof until the earlier of (i) the termination of this
          Agreement in accordance with Article VIII and (ii) the Closing Date, Sellers shall use
          commercially reasonable efforts to obtain entry by the Bankruptcy Court of the Sale
          Order.

                  (d)    The Parties shall use their respective commercially reasonable efforts to
          obtain entry by the Bankruptcy Court of the Sale Order. Purchaser shall promptly take all
          actions as are reasonably requested by Sellers to assist in obtaining the Bankruptcy
          Court’s entry of the Sale Order, and any other Order reasonably necessary in connection
          with the Transactions as promptly as practicable, including furnishing affidavits,
          financial information, or other documents or information for filing with the Bankruptcy
          Court and making such employees and Advisors of Purchaser and its Affiliates available

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          to testify before the Bankruptcy Court for the purposes of, among other things, providing
          necessary assurances of performance by Purchaser under this Agreement and
          demonstrating that Purchaser is a “good faith” purchaser under section 363(m) of the
          Bankruptcy Code, as well as demonstrating Purchaser’s ability to pay and perform or
          otherwise satisfy any Assumed Liabilities following the Closing.

                 (e)    Each Seller and Purchaser shall (i) appear formally or informally in the
          Bankruptcy Court if reasonably requested by the other Party or required by the
          Bankruptcy Court in connection with the Transactions and (ii) keep the other reasonably
          apprised of the status of material matters related to the Agreement, including, upon
          reasonable request promptly furnishing the other with copies of notices or other
          communications received by Sellers from the Bankruptcy Court with respect to the
          Transactions.

                 (f)     If an Auction is conducted, and Purchaser is not the prevailing party at the
          conclusion of such Auction (such prevailing party, the “Successful Bidder”) but is the
          next highest bidder at the Auction, Purchaser shall be required to serve as a back-up
          bidder (the “Backup Bidder”) and keep Purchaser’s bid to consummate the Transactions
          on the terms and conditions set forth in this Agreement (as the same may be revised in
          the Auction) open and irrevocable until the earlier of (i) 60 days following entry by the
          Bankruptcy Court of the Sale Order, (ii) the closing of an Alternative Transaction with a
          Successful Bidder, or (iii) such other date as this Agreement is terminated.

                 (g)     Sellers and Purchaser acknowledge that this Agreement and the sale of the
          Acquired Assets are subject to higher and better bids and Bankruptcy Court approval.
          Purchaser acknowledges that Sellers must take reasonable steps to demonstrate that they
          have sought to obtain the highest or otherwise best price for the Acquired Assets,
          including giving notice thereof to the creditors of Sellers and other interested parties,
          providing information about Sellers to prospective bidders, entertaining higher and better
          offers from such prospective bidders, and, in the event that additional qualified
          prospective bidders desire to bid for the Acquired Assets, conducting an Auction.

                  (h)     Purchaser shall provide adequate assurance of future performance as
          required under section 365 of the Bankruptcy Code for the Assigned Contracts. Purchaser
          agrees that it will take all actions reasonably required to assist in obtaining a Bankruptcy
          Court finding that there has been a sufficient demonstration of adequate assurance of
          future performance under the Assigned Contracts, such as furnishing affidavits,
          non-confidential financial information and other documents or information for filing with
          the Bankruptcy Court and making Purchaser’s Advisors available to testify before the
          Bankruptcy Court.

                 (i)    Nothing in this Section 5.1 shall prevent Sellers from modifying the
          Bidding Procedures as necessary or appropriate to maximize value for Sellers’ estate in
          accordance with Sellers’ fiduciary obligations.

         Section 5.2 Cure Costs. Subject to entry of the Sale Order, Purchaser shall, on or
 prior to the Closing (or, in the case of any Contract that is to be assigned following the Closing

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 pursuant to Section 1.5, on or prior to the date of such assignment), pay the Assumed Cure Costs.
 Also, subject to entry of the Sale Order, Sellers shall, on or prior to the Closing (or, in the case of
 any Contract that is to be assigned following the Closing pursuant to Section 1.5, on or prior to
 the date of such assignment), pay the Excluded Cure Costs and cure any and all other defaults
 and breaches under the Assigned Contracts so that such Contracts may be assumed by the
 applicable Seller and assigned to Purchaser in accordance with the provisions of section 365 of
 the Bankruptcy Code and this Agreement.

        Section 5.3 Approval. Sellers’ obligations under this Agreement and in connection
 with the Transactions are subject to entry of and, to the extent entered, the terms of any Orders of
 the Bankruptcy Court (including entry of the Sale Order). Nothing in this Agreement shall
 require Sellers or their respective Affiliates to give testimony to or submit a motion to the
 Bankruptcy Court that is untruthful or to violate any duty of candor or other fiduciary duty to the
 Bankruptcy Court or its stakeholders.

                                               ARTICLE VI
                                         COVENANTS AND AGREEMENTS

          Section 6.1         Conduct of the Business of Sellers.

                   (a)     Except (i) as required by applicable Law, Order or a Governmental Body,
          (ii) any limitations on operations imposed by the Bankruptcy Court or the Bankruptcy
          Code or Sellers’ debtor-in-possession financing or use of cash collateral, as the case may
          be, (iii) as expressly contemplated, required or permitted by this Agreement, or (iv) as set
          forth on Schedule 6.1, during the period from the date of this Agreement until the Closing
          (or such earlier date and time on which this Agreement is terminated pursuant to
          Article VIII), unless Purchaser otherwise consents in writing, Sellers shall use their
          commercially reasonable efforts to carry on the Business in the Ordinary Course;
          provided that no action by any Seller with respect to matters specifically addressed by
          Section 6.1(b) shall be deemed to be a breach of this Section 6.1(a) unless such action
          would constitute a breach of Section 6.1(b).

                   (b)    Except (i) as required by applicable Law, Order or a Governmental Body,
          (ii) any limitations on operations imposed by the Bankruptcy Court or the Bankruptcy
          Code or Sellers’ debtor-in-possession financing or use of cash collateral, as the case may
          be, (iii) as expressly contemplated, required or permitted by this Agreement, (iv) to the
          extent related to an Excluded Asset or an Excluded Liability, or (v) as set forth on
          Schedule 6.1, during the period from the date of this Agreement until the Closing (or
          such earlier date and time on which this Agreement is terminated pursuant to
          Article VIII), unless Purchaser otherwise consents in writing, Sellers shall not take any of
          the following actions with respect to the Business:

                               (i)    (A) incur, assume or otherwise become liable for any indebtedness
                       for borrowed money, issue or sell any debt securities or rights to acquire any debt
                       securities of Sellers, guarantee any such indebtedness or any debt securities of
                       another Person or enter into any “keep well” or other agreement to maintain any
                       financial statement condition of another Person (collectively, “Indebtedness”),

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                       except, but only to the extent the following will constitute Excluded Liabilities,
                       (1) for intercompany Indebtedness among Sellers and their Affiliates, (2) for
                       letters of credit, bank guarantees, security or performance bonds or similar credit
                       support instruments, overdraft facilities or cash management programs, in each
                       case issued, made or entered into in the Ordinary Course, (3) for Indebtedness
                       incurred under arrangements that are not secured by the Acquired Assets, (4) for
                       Indebtedness incurred under existing arrangements (including in respect of letters
                       of credit) in an amount not to exceed $5,000,000 outstanding at any time and (5)
                       for Indebtedness incurred in connection with the refinancing of any Indebtedness
                       existing on the date of this Agreement or permitted to be incurred, assumed or
                       otherwise entered into hereunder, or (B) make any loans, capital contributions or
                       advances to, or investments in, any Person other than (1) as permitted pursuant to
                       Section 6.1(b)(iv), (2) in the Ordinary Course, and (3) to any other Seller or
                       Subsidiary; provided any such actions in the foregoing clauses (1), (2), and (3) do
                       not give rise to an Assumed Liability;

                               (ii)   sell or lease to any Person, in a single transaction or series of
                       related transactions, any of Acquired Assets, except (A) Ordinary Course
                       dispositions of Inventory, (B) transfers among the Sellers, (C) leases or subleases
                       of real property under which a Seller is a tenant or a subtenant and voluntary
                       terminations or surrenders of such leases or subleases, in each case following
                       prior good faith consultation with Purchaser, and (D) other sales and leases in the
                       Ordinary Course;

                               (iii) make or authorize capital expenditures, including for property,
                       plant and Equipment, except for those (A) in connection with the repair or
                       replacement of facilities, properties or assets destroyed or damaged due to
                       casualty or accident (whether or not covered by insurance), (B) otherwise in an
                       aggregate amount for all such capital expenditures made pursuant to this clause
                       (B) not to exceed $5,000,000 in the aggregate or (C) in accordance with the
                       capital expenditure budget set forth on Schedule 6.1(b)(iii);

                               (iv)   except as permitted under Section 6.1(b)(iii), make any acquisition
                       of, or investment in, any securities or business (including by merger), (which for
                       the avoidance of doubt shall not include acquisitions of Inventory in the Ordinary
                       Course);

                               (v)     except (A) in the Ordinary Course or (B) as permitted pursuant to
                       the terms of any Employee Benefit Plan, (1) grant to any Business Employee at
                       the level of Director or above any increase in compensation (including bonus or
                       long-term incentive opportunities), (2) hire any employee who would be a
                       Business Employee at the level of Director or above; (3) establish, adopt, enter
                       into, materially amend or terminate any material Employee Benefit Plan, except in
                       connection with annual open enrollment in the Ordinary Course; (4) take any
                       action to discretionally accelerate any rights or benefits of any Business Employee
                       at the level of Director or above under any Employee Benefit Plan; or (5)
                       terminate any Business Employee (other than for cause) at the level of Director or

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                       above; provided that the foregoing clauses (1) through (5) shall not restrict any
                       Seller from taking any action, including the termination of any non-Business
                       Employee, or establishing any Employee Benefit Plan or other compensation or
                       benefit plan that is not targeted at Business Employees;

                               (vi)    make any material changes in financial accounting methods,
                       principles or practices materially affecting the consolidated assets, Liabilities or
                       results of operations of Sellers with respect to the Business, except insofar as may
                       be required (A) by GAAP (or any interpretation thereof), (B) by any applicable
                       Law or (C) by any Governmental Body or quasi-governmental authority
                       (including the Financial Accounting Standards Board or any similar organization);

                               (vii) grant any Encumbrance (other than Permitted Encumbrances) on
                       any of its material Acquired Assets; other than to secure Indebtedness and other
                       obligations in existence at the date of this Agreement (and required to be so
                       secured by their terms) or permitted under Section 6.1(b)(i); provided that any
                       such Encumbrance will be extinguished in connection with the Closing;

                               (viii) waive, release, assign, institute, compromise, or settle any pending
                       or threatened Action against, or related to, any Seller, the Business, the Acquired
                       Assets, or the Assumed Liabilities and that would result in an Assumed Liability;

                               (ix)    (A) terminate, amend, supplement, modify or waive any provision
                       of, or accelerate any rights, benefits or obligations under, any Material Contract,
                       except any such action in the Ordinary Course or the expiration in accordance
                       with its term or (B) enter into any Contract that would be a Material Contract if
                       executed prior to the date of this Agreement or which would result in an aggregate
                       obligation of Sellers in excess of $200,000, except for (Y) any renewal of any
                       customer Contract in the Ordinary Course upon terms and conditions which are
                       not materially less favorable in the aggregate to the Sellers than those in effect as
                       of the date of this Agreement and (Z) any renewal of any other such Contract in
                       the Ordinary Course upon terms and conditions which are no less favorable to the
                       Sellers, in any material respect, than those in effect as of the date of this
                       Agreement; provided that if Purchaser does not object within two (2) Business
                       Days of a notice referencing this Section, describing in reasonable detail the
                       Contract for which consent is being requested, and requesting consent for such
                       Contract, Purchaser shall be deemed to have consented to Sellers entering into
                       such Contract;

                               (x)     (A) abandon, cancel, fail to renew, or permit to lapse any Acquired
                       Intellectual Property that is used in the conduct of the Business, or held for use by
                       the Sellers, in each case that is material to the Business, taken as a whole other
                       than pursuant to expiration of any such Acquired Intellectual Property at the end
                       of its maximum term, or (ii) sell, transfer, license or otherwise encumber any
                       material Acquired Intellectual Property, other than licenses of Acquired
                       Intellectual Property in the Ordinary Course;


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                                (xi)   solely with respect to Acquired Assets, (A) make any unusual or
                       extraordinary efforts to collect any accounts receivable, intercompany obligation
                       or Liability for Indebtedness, or give any discounts or concessions for early
                       payment of such accounts receivable, intercompany obligation or Liability for
                       Indebtedness or (B) make any sales of, or, other than Permitted Encumbrances,
                       convey any interest in, any accounts receivable, intercompany obligation or
                       Liability for Indebtedness to any third party; provided that Sellers shall be entitled
                       to, in their reasonable business judgment, take such actions with respect to such
                       items that have been outstanding for more than twelve (12) months;

                              (xii) amend in any material respect, cancel or permit to terminate any
                       material insurance policy naming any Seller as an insured, a beneficiary or a loss
                       payable payee without first obtaining comparable substitute insurance coverage
                       with no lapse in coverage; or

                              (xiii) grant any waiver under or amend or modify, or surrender, revoke,
                       permit to lapse or otherwise terminate any Permit, other than in the Ordinary
                       Course or as would not reasonably be expected to be material to the operation of
                       the Business.

                  (c)     Nothing contained in this Agreement is intended to give Purchaser or its
          Affiliates, directly or indirectly, the right to control or direct the Business (or the other
          business of Sellers and their Affiliates) prior to the Closing, and nothing contained in this
          Agreement is intended to give any Seller, directly or indirectly, the right to control or
          direct Purchaser’s or its Subsidiaries’ operations. Prior to the Closing, each of Purchaser
          and Sellers shall exercise, consistent with the terms and conditions of this Agreement,
          complete control and supervision over its and its Subsidiaries’ respective operations.
          Notwithstanding anything to the contrary contained herein, any action taken, or omitted
          to be taken, by any Seller pursuant to any Law, Order, directive, pronouncement or
          guideline issued by any Governmental Body or industry group providing for business
          closures, “sheltering-in-place” or other restrictions that relates to, or arises out of, any
          pandemic, epidemic or disease outbreak shall in no event be deemed to constitute a
          breach of this Section 6.1.

          Section 6.2         Access to Information.

                  (a)      From the date hereof until the Closing, Sellers will provide Purchaser and
          its authorized Advisors with reasonable access and upon reasonable advance notice and
          during regular business hours (and in accordance with the reasonable procedures
          established by Sellers) to the books and records of Sellers, in order for Purchaser and its
          authorized Advisors to access such information regarding the Acquired Assets and the
          Assumed Liabilities as is reasonably necessary in order to consummate the Transactions;
          provided that (i) such access does not unreasonably interfere with the normal operations
          of any Seller, (ii) such access will occur in such a manner as Sellers reasonably determine
          to be appropriate to protect the confidentiality of the Transactions and such books and
          records, (iii) all requests for access will be directed to Guggenheim Securities or such
          other Person(s) as Guggenheim Securities may designate in writing from time to time

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          (iv) nothing herein will require Sellers to provide access to, or to disclose any
          information to, Purchaser if such access or disclosure (A) would cause significant
          competitive harm to any Seller if the Transactions are not consummated, (B) would
          waive any legal privilege, (D) would be in violation of applicable Laws (including the
          HSR Act and Foreign Competition Laws) or the provisions of any agreement to which
          Sellers are bound or would violate any fiduciary duty, or (E) is in respect of Excluded
          Tax Returns. Notwithstanding anything to the contrary contained herein will permit
          Purchaser or its authorized Advisors to conduct any sampling or testing of environmental
          media or any other invasive investigation or assessment at any Leased Real Property
          including of the type commonly known as a Phase II environmental site assessment.

                 (b)    Subject to Section 6.14, the information provided pursuant to this
          Section 6.2 will be governed by all the terms and conditions of the Confidentiality
          Agreement. Sellers and their Affiliates make no representation or warranty as to the
          accuracy of any information, if any, provided pursuant to this Section 6.2, and Purchaser
          may not rely on the accuracy of any such information, in each case, other than the
          Express Representations.

                  (c)     From and after the Closing for a period of three years following the
          Closing Date (or, if later, the closing of the Bankruptcy Cases), Purchaser will provide
          Sellers and their Advisors with reasonable access, during normal business hours, and
          upon reasonable advance notice, to the books and records, including work papers,
          schedules, memoranda, Tax Returns, Tax schedules, Tax rulings, and other documents
          (for the purpose of examining and copying) relating to the Acquired Assets, the Excluded
          Assets, the Assumed Liabilities or the Excluded Liabilities with respect to periods or
          occurrences prior to the Closing Date, and reasonable access, during normal business
          hours, and upon reasonable advance notice, to employees, officers, Advisors,
          accountants, offices and properties of Purchaser (including for the purpose of better
          understanding the books and records). Unless otherwise consented to in writing by
          Sellers, Purchaser will not, for a period of three (3) years following the Closing Date,
          destroy, alter or otherwise dispose of any of such books and records without first offering
          to surrender to Sellers such books and records or any portion thereof that Purchaser may
          intend to destroy, alter or dispose of. From and after the Closing, Purchaser will, and will
          cause its employees to, provide Sellers with reasonable assistance, support and
          cooperation with Sellers’ wind-down and related activities (e.g., helping to locate
          documents or information related to preparation of Tax Returns or prosecution or
          processing of insurance/benefit claims).

                  (d)    Prior to the Closing, the Parties shall reasonably cooperate with each other
          in coordinating their communications with any customer, supplier or other contractual
          counterparty of Sellers in relation to this Transaction; provided that Purchaser will not,
          and will not permit any member of the Purchaser Group to, contact any officer, manager,
          director, employee, customer, supplier, lessee, lessor, lender, licensee, licensor,
          distributor, noteholder or other material business relation of any Seller prior to the
          Closing with respect to any Seller, the Business or the Transactions, in each case without



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          the prior written consent of Sellers for each such contact, such consent not to be
          unreasonably withheld.

                 (e)    Within 5 Business Days after the Closing, Sellers shall deliver to
          Purchaser an electronic copy of the contents of the Dataroom as of the Closing by email,
          and within 15 Business Days two USB drives containing the same.

          Section 6.3    Employee Matters.

                  (a)     At least 15 Business Days prior to the Closing Date, Purchaser shall
          extend to each Business Employee set forth on Schedule 6.3(a) (the “Scheduled
          Employees”) (which Schedule 6.3(a) Purchaser shall provide to Sellers by
          NovDecember 270, 2023 and which Schedule 6.3(a) shall include at least 900 Business
          Employees) a written offer of employment reviewed by Sellers, and which Sellers have
          had an opportunity to comment on, providing for a position that is materially the same as
          such employee’s position immediately prior to the Closing (including level of
          responsibility, primary location of employment and authority) on the terms set forth in
          this Section 6.3 (“Transfer Offer”) and that, if accepted, shall become effective
          immediately following the Closing. Business Employees who accept such Transfer Offers
          and begin employment with Purchaser as of the Closing Date shall be collectively
          referred to herein as “Transferred Employees.” Nothing herein shall be construed as a
          representation or guarantee by any Seller or any of their respective Affiliates that any or
          all Scheduled Employees employed by Sellers will accept the Transfer Offer, or that any
          Transferred Employee will continue in employment with Purchaser following the Closing
          for any period of time. Purchaser shall notify Sellers in a reasonable timeframe prior to
          the Closing Date with respect to whether each such offer has been accepted or rejected.
          Purchaser shall carry out all necessary actions, and Sellers shall reasonably cooperate
          with Purchaser, to effect the timely employment by Purchaser or its applicable Affiliate
          of each Transferred Employee immediately following the Closing, and Sellers shall
          reasonably cooperate in connection therewith. Effective as of the Closing, each
          Transferred Employee previously employed by Sellers shall cease to be an employee of
          each Sellers.

                   (b)     For a period of one year from and after the Closing Date, Purchaser shall
          provide each Transferred Employee, or cause each Transferred Employee to be provided,
          with: (i) a base compensation or wage rate, as applicable, that is no less than that
          provided to such Transferred Employee as of immediately prior to the Closing; (ii) cash
          incentive opportunities that are no less favorable than those provided to such Transferred
          Employee as of immediately prior to the Closing; (iii) health and welfare plans that are
          substantially similar in the aggregate to the health and welfare plans maintained by
          Purchaser or any of its Affiliates as of the Closing Date; and (iv) other employee benefits
          (including severance benefits and retention bonuses, but excluding long term incentive
          compensation and equity incentive compensation) that are no less favorable than those
          provided to such Transferred Employees as of the Closing Date. For purposes of
          eligibility, vesting and determining level of benefits under the benefit plans and programs
          maintained by Purchaser and its Affiliates or any of its Affiliates after the Closing Date
          (the “Purchaser Plans” ), each Transferred Employee shall be credited with his or her

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          years of service with Sellers (and any predecessor thereof) before the Closing Date,
          except to the extent such credit would result in a duplication of benefits.

                  (c)    On the Closing, Transferred Employees (and their eligible dependents and
          beneficiaries) shall cease active participation in the Employee Benefit Plans. Without
          limiting the generality of any other provision of this Agreement: (i) each Transferred
          Employee shall be immediately eligible to participate, without any waiting time, in any
          and all Purchaser Plans; (ii) for purposes of each Purchaser Plan providing health or
          welfare benefits, Purchaser shall cause all pre-existing condition exclusions and
          actively-at-work requirements of such Purchaser Plan to be waived for such Transferred
          Employee and his or her covered dependents (unless such exclusions or requirements
          were applicable under comparable Employee Benefit Plans); and (iii) Purchaser shall
          cause any co-payments, deductible and other eligible expenses incurred by such
          Transferred Employee or his or her covered dependents during the plan year in which the
          Closing Date occurs to be credited for purposes of satisfying all deductible, coinsurance
          and maximum out-of-pocket requirements applicable to such Transferred Employee and
          his or her covered dependents for the applicable plan year of each comparable Purchaser
          Plan.

                  (d)     For the avoidance of doubt, Sellers shall be responsible for and ensure
          timely payment of all (i) final wages, including accrued wages, salary, accrued but unpaid
          bonuses, commission and other incentive payments, accrued but unpaid vacation and
          other compensation owed to the Business Employees through the day immediately
          preceding the Closing Date, and Purchaser shall not be liable for any such payments
          arising through the day immediately preceding the Closing Date, and (ii) all contributions
          under Employee Benefit Plans accruing prior to the Closing Date, including any such
          401(k) plan employer contributions notwithstanding any year end service requirement.
          Further, to the extent a Scheduled Employee refuses to accept a Transfer Offer that
          complies with Section 6.3(a) or otherwise fails to be employed by Purchaser or its
          Affiliate as of the Closing Date, in each case through no fault of Purchaser, Sellers shall
          be responsible for any termination or other liabilities related to the employment or
          termination of any such Scheduled Employee.

                   (e)     The provisions of this Section 6.3 are for the sole benefit of the Parties and
          nothing herein, express or implied, is intended or shall be construed to confer upon or
          give any Person (including for the avoidance of doubt any employees of Sellers or
          Transferred Employees), other than the Parties and their respective permitted successors
          and assigns, any legal or equitable or other rights or remedies (with respect to the matters
          provided for in this Section 6.3 or under or by reason of any provision of this
          Agreement). Nothing contained herein, express or implied: (i) shall be construed to
          establish, amend, or modify any benefit plan, program, agreement or arrangement;
          (ii) shall, subject to compliance with the other provisions of this Section 6.3, alter or limit
          Purchaser’s or Sellers’ ability to amend, modify or terminate any particular benefit plan,
          program, agreement or arrangement; or (iii) is intended to confer upon any current or
          former employee any right to employment or continued employment for any period of



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          time by reason of this Agreement, or any right to a particular term or condition of
          employment.

                  (f)     Sellers shall be solely responsible for any and all obligations and
          Liabilities arising under Section 4980B of the Tax Code with respect to all “M&A
          qualified beneficiaries” as defined in 26 C.F.R. § 54.4980B 9.

                  (g)     Sellers expressly agree to retain all obligations, Liabilities, and
          commitments related to WARN, including any requirement to provide notice, that accrue
          up to and including the Closing Date; provided that Purchaser shall provide Sellers with
          sufficient advance notice to allow Sellers to comply with WARN in the event that
          Purchasers fail to offer employment to a sufficient number of Scheduled Employees or
          offer terms of employment that, in either event, would reasonably be expected to
          constitute a constructive discharge under WARN. Notwithstanding anything to the
          contrary herein, Sellers or their Affiliates shall be permitted to provide WARN notices
          prior to the Closing to any employees they reasonably believe could be owed it under
          applicable Law, in consultation with Purchaser. Purchaser expressly agrees to assume all
          obligations, Liabilities, and commitments related to WARN, including any requirement
          to provide notice, that accrue following the Closing Date, as well as any WARN
          Liabilities relating to the termination of Scheduled Employees who do not receive a
          Transfer Offer that complies with the requirements under Section 6.3(a) from Purchaser.

                 (h)     For any Transferred Employees who are Delayed Transferred Employees,
          the provisions of this Section 6.3 shall apply to such employees mutatis mutandis to the
          maximum extent permitted by applicable Law.

                  (i)     In the event that the Closing is to occur prior to January 1, 2024, the
          Parties shall negotiate in good faith an amendment to the TSA or other Contract, pursuant
          to which Sellers shall continue to employee the Transferred Employees and administer
          their payroll and continue their existing benefits, all at Purchaser’s sole cost and expense
          (with no markup by Seller) until such time as Purchaser is able to onboard such
          Transferred Employees to its payroll systems and Purchaser Plans, such time not to be
          later than February 1, 2024, and the provisions of this Section 6.3 shall be amended
          accordingly.

          Section 6.4    Regulatory Approvals.

                 (a)     Subject to Section 6.5, Sellers will (i) cooperate with Purchaser in
          exchanging such information and providing such assistance as Purchaser may reasonably
          request in connection with any filings made by the Purchaser Group pursuant to
          Section 6.4(b), and (ii) (A) supply promptly any additional information and documentary
          material that may be requested in connection with the filings made pursuant to this
          Section 6.4(a) or Section 6.4(b) and (B) use reasonable best efforts to take all actions
          necessary to obtain all required clearances in connection with such filings.

                (b)       Subject to Section 6.5, Purchaser will, and will cause its Affiliates and
          Advisors to, (i) make or cause to be made all filings and submissions required to be made

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          by any member of the Purchaser Group under any applicable Laws for the consummation
          of the Transactions, if any, including any Healthcare Laws, and including, obtaining any
          required Healthcare Permits, (ii) cooperate with Sellers in exchanging such information
          and providing such assistance as Sellers may reasonably request in connection with any
          filings made by a Seller pursuant to Section 6.4(a), and (iii) (A) supply promptly any
          additional information and documentary material that may be requested in connection
          with the filings made pursuant to this Section 6.4(b) or Section 6.4(a) and (B) use
          reasonable best efforts to take all actions necessary to obtain all required clearances.

                (c)     This Section 6.4 shall not apply to efforts related to Foreign Competition
          Laws, which shall be governed by the obligations set forth in Section 6.5 below.

          Section 6.5    Antitrust Notification.

                  (a)     Sellers and Purchaser (and their respective Affiliates, if applicable) will,
          as promptly as practicable (and, in the case of filings under the HSR Act, no later than ten
          (10) Business Days following the date hereof), (i) file with the United States Federal
          Trade Commission and the United States Department of Justice, the notification form
          required pursuant to the HSR Act for the Transactions, and (ii) make all notifications,
          filings, registrations or other materials required or necessary under the Foreign
          Competition Laws set forth on Schedule 7.1(a). Each Seller and Purchaser shall (and
          shall cause their respective Affiliates to) furnish to each other’s counsel such necessary
          information and reasonable assistance as the other may request in connection with its
          preparation of any filing or submission that is necessary under the HSR Act or such
          Foreign Competition Laws, and will respond to any requests made for any supplemental
          information by any Governmental Body as promptly as practicable. Sellers and Purchaser
          shall not extend any waiting period or enter into any agreement or understanding with any
          Governmental Body without the prior written consent of the other; provided that such
          consent shall not be unreasonably withheld, conditioned, or delayed. Purchaser will be
          solely responsible for payment of all filing fees payable in connection with such filings.

                  (b)    Subject to the immediately following sentence, Sellers and Purchaser will
          use their reasonable best efforts to as promptly as practicable (and in any event prior to
          the Outside Date) obtain any clearances, Consents, approvals, waivers, actions, waiting
          period expirations or terminations, non-actions or other authorizations required under the
          HSR Act or such Foreign Competition Laws for the consummation of this Agreement
          and the Transactions and will keep each other apprised of the status of any
          communications with, and any inquiries or requests for additional information from, any
          Governmental Body and will comply promptly with any such inquiry or request. Nothing
          in this Agreement, including this Section 6.5, obligates Purchaser to (i) oppose any
          motion or action for a temporary, preliminary or permanent Order against, or preventing
          or delaying, the consummation of the Transactions, or undertake any appeal of any
          adverse decision or Order by any Governmental Body, (ii) propose offer, accept, or enter
          into any consent decree, consent agreement, settlement or other agreement or
          arrangement to hold separate, license, sell, transfer, dispose or divest any assets (whether
          tangible or intangible), rights, properties, products or businesses of Purchaser, its
          Affiliates or, after the Closing, the Acquired Assets, (iii) agree to the termination,

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          modification, or assignment of existing relationships, joint ventures, Contracts or
          obligations of Purchaser or its Affiliates or (iv) agree to any limitations on conduct or
          actions of members of Purchaser, its Affiliates or after the Closing, the Acquired Assets.

                   (c)    The Parties commit to instruct their respective counsel to cooperate with
          each other and use reasonable best efforts to facilitate and expedite obtaining any
          clearances, Consents, approvals, waivers, actions, waiting period expirations or
          terminations, non-actions or other authorizations under the HSR Act or Foreign
          Competition Laws at the earliest practicable dates and, in any event, prior to the Outside
          Date. Such reasonable best efforts and cooperation shall include each Party and its
          respective counsel undertaking to (i) promptly notify the other Party or its counsel of,
          and, if in writing, furnish such other Party or its counsel with copies of (or, in the case of
          oral communications, advise such other Party or its counsel of the contents of), any
          communication received by such Person from a Governmental Body in connection with
          the filings made pursuant to this Section 6.5 and (ii) keep the other Party or its counsel
          informed with respect to the status of any applicable submissions and filings to any
          Governmental Body in connection with this Agreement and the Transactions and any
          developments, meetings or discussions with any Governmental Body in respect thereof,
          including with respect to (A) the receipt of any non-action, action, clearance, Consent,
          approval, waiver, or other authorizations, (B) the expiration or termination of any waiting
          period, (C) the commencement or proposed or threatened commencement of any
          investigation, litigation or administrative or judicial Action or proceeding under
          applicable Laws, including any proceeding initiated by a private party, and (D) the nature
          and status of any objections raised or proposed or threatened to be raised by any
          Governmental Body with respect to this Agreement and the Transactions. Neither Sellers
          nor Purchaser will participate in any meeting or discussion with any Governmental Body
          with respect of any such filings, applications, investigation or other inquiry relating to the
          Transaction without giving the other Party reasonable prior notice of the meeting or
          discussion and, unless prohibited by the relevant Governmental Body, the opportunity to
          attend and participate in such meeting or discussion. Each Party will have the right to
          review and approve the content of any draft notifications, formal notifications, filing,
          submission or other written communication (and any analyses, memoranda,
          presentations, white papers, correspondence or other written materials submitted
          therewith) to be submitted by the other Party to any Governmental Body in advance of
          any such submission. Each Party acknowledges that, with respect to any non-public
          information provided by a Party to the other under this Section 6.5, each Party may
          (1) designate such material as restricted to “outside counsel only” and any such material
          shall not be shared with employees, officers or directors or their equivalents of the
          receiving Party without approval of the disclosing Party and (2) make appropriately
          limited redactions necessary to satisfy contractual confidentiality obligations, preserve
          attorney-client privilege or protect material relating to the valuation of the Acquired
          Assets.

                 (d)      Purchaser will not, and will not permit any member of the Purchaser
          Group or their respective Affiliates to, engage in any action or enter into any transaction
          or permit any action to be taken or transaction to be entered into that would reasonably be
          expected to (i) impose a material delay in the obtaining of, or materially increase the risk

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          of not obtaining, any clearances, Consents, approvals, waivers, actions, waiting period
          expirations or terminations, non-actions or other authorizations under the HSR Act or
          Foreign Competition Laws from any Governmental Body necessary to consummate the
          Transactions, (ii) materially increase the risk of any Governmental Body entering an
          Order preventing, delaying or prohibiting the consummation of the Transactions or (iii)
          delay the consummation of the Transactions.

          Section 6.6    Reasonable Efforts; Cooperation.

                  (a)     Subject to the other terms of this Agreement, each Party shall (whether
          directly or through its Advisors) use its reasonable best efforts to perform its obligations
          hereunder and to take, or cause to be taken, and do, or cause to be done, all things
          necessary, proper or advisable to cause the Transactions to be effected as soon as
          practicable, but in any event on or prior to the Outside Date, in accordance with the terms
          hereof and to cooperate with each other Party and its Advisors in connection with any
          step required to be taken as a part of its obligations hereunder.

                  (b)     The obligations of Sellers pursuant to this Agreement, including this
          Section 6.6, shall be subject to any Orders entered, or approvals or authorizations granted
          or required, by or under the Bankruptcy Court or the Bankruptcy Code (including in
          connection with the Bankruptcy Cases), Sellers’ debtor-in-possession financing, and
          Sellers’ obligations as debtors-in-possession to comply with any Order of the Bankruptcy
          Court (including the Bidding Procedures Order, and the Sale Order), and Sellers’ duty to
          seek and obtain the highest or otherwise best price for the Acquired Assets as required by
          the Bankruptcy Code.

          Section 6.7    Certain Financing Matters.

                   (a)     From the date hereof until the Closing Date, Sellers shall (whether directly
          or through their respective Advisors) use their commercially reasonable efforts to provide
          all cooperation reasonably requested by Purchaser in connection with the Financing, at
          Purchaser’s sole expense, including by using commercially reasonable efforts to (i)
          furnish Purchaser on a reasonably timely basis with such documentation and information
          (including financial information) that Purchaser or Purchaser’s financing sources have
          reasonably requested in writing (including electronic correspondence) in connection with
          obtaining or consummating the Financing, (ii) assist with the preparations for (but not the
          execution of) the provision of guarantees and the pledging of collateral (it being
          understood that no such pledging of collateral will be made by any Seller or be effective
          until at or after the Closing), (iii) provide all documentation and other information
          required by bank regulatory authorities under applicable “know-your-customer”,
          anti-money laundering rules and regulations, including the PATRIOT Act and beneficial
          ownership regulations, at least three (3) Business Days prior to Closing, reasonably
          requested no later than five (5) Business Days prior to the Closing by Purchaser, and (iv)
          facilitate the taking of all actions reasonably requested by Purchaser in connection with
          the Financing; provided that (A) no personal liability shall be imposed on any of the
          Advisors, employees, officers or directors of Sellers involved in the foregoing
          cooperation, (B) Sellers will not be required to pay any commitment or other fees or

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          expenses in connection with Purchaser’s debt financing, and (C) no Advisor, director or
          officer of any of Sellers shall be obligated to execute any documentation in connection
          with Purchaser’s debt financing unless continuing in such capacity after the Closing.

                  (b)    None of Sellers shall be required to take any action pursuant to this
          Section 6.7 that would subject it to actual or potential Liability for which it would not be
          indemnified hereunder or to bear any cost or expense or to pay any commitment or other
          fee or provide or agree to provide any indemnity in connection with the Financing or any
          of the foregoing prior to the Closing. Purchaser shall indemnify and hold harmless the
          Seller Parties from and against any and all Liabilities, losses, damages, claims, costs,
          expenses, interest, awards, judgments and penalties suffered or incurred by them in
          connection with this Section 6.7 and any information utilized in connection therewith.
          Purchaser shall, promptly upon request by Elixir, reimburse Sellers for all reasonable
          out-of-pocket costs incurred by them in connection with this Section 6.7.

                  (c)     Notwithstanding this Section 6.7 or anything else in this Agreement,
          Purchaser acknowledges and agrees that (i) it is not a condition to the Closing or to any
          of Purchaser’s other obligations under this Agreement that Purchaser obtain the
          Financing. The Parties agree that this Section 6.7 (and not Section 6.6 or Section 6.8) sets
          forth Sellers’ sole obligations with respect to the Financing and (ii) the condition set forth
          in Section 7.2(b), as it applies to Sellers’ obligations under this Section 6.7, shall be
          deemed satisfied unless the failure to obtain the Financing is a direct result of Sellers’
          knowing and material willful breach of their obligations under this Section 6.7.

         Section 6.8 Further Assurances. From time to time, as and when requested by any
 Party and at such requesting Party’s expense, any other Party will execute and deliver, or cause
 to be executed and delivered, all such documents and instruments and will take, or cause to be
 taken, all such further or other actions as such requesting Party may reasonably deem necessary
 or desirable to evidence and effectuate the Transactions.

          Section 6.9    Insurance Matters.

                  (a)     Purchaser acknowledges that, upon Closing, all nontransferable insurance
          coverage provided in relation to any Seller and the Acquired Assets that is maintained by
          such Seller (whether such policies are maintained with third party insurers or with any
          Seller) shall cease to provide any coverage to Purchaser and the Acquired Assets and no
          further coverage shall be available to Purchaser or the Acquired Assets under any such
          policies.

                  (b)    To the extent that (i) any insurance policies issued for the benefit of any
          Seller (the “Sellers’ Insurance Policies”) cover any Liability relating to the Acquired
          Assets and relating to or arising out of occurrences or events on or prior to the Closing
          (“Pre-Closing Matters”) and (ii) the Sellers’ Insurance Policies continue to offer coverage
          after the Closing to permit claims to be made thereunder with respect to Pre-Closing
          Matters, the Sellers shall cooperate with Purchaser in submitting claims and seeking
          recovery with respect to Pre-Closing Matters on behalf of Purchaser under the Seller’s
          Insurance Policies. Purchaser shall not make any such claims if, and to the extent that,

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          such claims are covered by insurance policies held by Purchaser or its Affiliates. The
          Sellers shall, on request from Purchaser, with respect to any claim arising from an
          Assumed Liability that is covered or potentially covered the Sellers’ Insurance Policies,
          (i) report such claim to the appropriate insurer as promptly as practicable after such claim
          is reported to the Sellers, and (ii) instruct that any proceeds of such insurance policy are
          paid directly to Purchaser, the attorneys handling the defense of such claim or, where
          applicable, to the claimant as a result of any judgment or settlement, rather than to the
          Sellers (but subject to all limitations and deductibles and exclusions under such policies
          and net of Sellers’ out-of-pocket costs and expenses of seeking such recovery and any
          Taxes incurred by Sellers with respect to such recovery, all of which shall be paid
          directly to Sellers); provided that Purchaser shall notify the Sellers promptly of any such
          claim or potential claim and shall reasonably cooperate in the investigation and pursuit of
          any such claim or potential claim.

          Section 6.10 Receipt of Misdirected Assets; Liabilities.

                  (a)     From and after the Closing, if any Seller or any of its respective Affiliates
          receives any right, property or asset that is an Acquired Asset, the applicable Seller shall
          promptly transfer or cause such of its Affiliates to transfer such right, property or asset
          (and shall promptly endorse and deliver any such asset that is received in the form of
          cash, checks or other documents) to Purchaser, and such asset will be deemed the
          property of Purchaser held in trust by such Seller for Purchaser until so transferred. From
          and after the Closing, if Purchaser or any of its Affiliates receives any right, property or
          asset that is an Excluded Asset, Purchaser shall promptly transfer or cause such of its
          Affiliates to transfer such asset (and shall promptly endorse and deliver any such right,
          property or asset that is received in the form of cash, checks, or other documents) to the
          applicable Seller, and such asset will be deemed the property of such Seller held in trust
          by Purchaser for such Seller until so transferred.

                  (b)      From and after the Closing, if any Seller or any of its Affiliates is subject
          to a Liability that should belong to Purchaser or its Affiliates pursuant to the terms of this
          Agreement, such Seller shall promptly transfer or cause such of its Affiliates to transfer
          such Liability to Purchaser, and Purchaser shall assume and accept such Liability. From
          and after the Closing, if Purchaser or any of its Affiliates is subject to a Liability that
          should belong to a Seller or its Affiliates pursuant to the terms of this Agreement,
          Purchaser shall promptly transfer or cause such of its Affiliates to transfer such Liability
          to the applicable Seller or its Affiliates, and such Seller or its Affiliates shall assume and
          accept such Liability.

          Section 6.11 Guarantees; Third Party Assurances.

                   (a)    Purchaser acknowledges Sellers and their Affiliates have entered into
          various arrangements (i) in which guarantees, letters of credit, sureties, bonds or similar
          arrangements were issued by Sellers or their Affiliates and (ii) in which Sellers or their
          Affiliates are the primary obligors on other Contracts, in any such case to support or
          facilitate Sellers, in each case, set forth in Schedule 6.11(a) ( “Seller Support
          Obligations”). It is understood that the Seller Support Obligations are not intended to

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          continue after the Closing. Purchaser agrees that it shall use its reasonable best efforts to
          obtain replacements for the Seller Support Obligations (which shall include the full and
          unconditional release of Sellers and their Affiliates) that will be in effect at the Closing
          or, in the case of Seller Support Obligations described in the foregoing clause (ii), will
          use its commercially reasonable efforts to arrange for itself or one of its Subsidiaries to
          be substituted as the primary obligor thereon as of the Closing through an assumption,
          accession, acknowledgement or similar agreement (which shall include the full and
          unconditional release of Sellers and their Affiliates) with the beneficiary of the applicable
          Seller Support Obligation. Whether or not Purchaser is able to satisfy the terms of the
          immediately preceding sentence, Purchaser shall indemnify Sellers and their Affiliates
          and each of their respective officers, directors, employees, agents and representatives
          from and against any and all Liabilities incurred by any of them relating to the Seller
          Support Obligations. Purchaser agrees that, with respect to any Seller Support Obligation,
          its reasonable best efforts pursuant to this Section 6.11 shall include, if requested, the
          execution and delivery by Purchaser, or by an Affiliate of Purchaser acceptable to the
          beneficiary of such Seller Support Obligation, of a replacement guarantee that is
          substantially in the form of such Seller Support Obligation. All costs and expenses
          incurred in connection with providing the release or substitution of the Seller Support
          Obligations shall be borne by Purchaser.

                  (b)     At or prior to the Closing, Purchaser shall at its sole cost and expense
          arrange for the issuance of replacement surety bonds or similar instruments or post cash
          collateral to the issuer with respect to all outstanding surety bonds or similar instruments
          issued with respect to the Business and which are set forth in Schedule 6.11(b)
          (collectively, the “Third Party Assurances”) such that all Third Party Assurances may be
          returned, terminated or otherwise unwound in full as of the Closing.

          Section 6.12 Acknowledgment by Purchaser.

                  (a)     Purchaser acknowledges and agrees, on its own behalf and on behalf of
          the Purchaser Group, that it has conducted to its full satisfaction an independent
          investigation and verification of the Business (including its financial condition, results of
          operations, assets, Liabilities, properties, Contracts, environmental, health or safety
          conditions and compliance, employee matters, regulatory compliance, business risks and
          prospects), and the Acquired Assets and the Assumed Liabilities, and, in making its
          determination to proceed with the Transactions, Purchaser and the Purchaser Group have
          relied solely, are relying, and will rely, solely, on the Express Representations and the
          results of the Purchaser Group’s own independent investigation and verification and have
          not relied on, are not relying on, and will not rely on, any information, statements,
          disclosures, documents, projections, forecasts or other material made available to
          Purchaser or any of its Affiliates or Advisors in the Dataroom, any Information
          Presentation, or the Projections or any other information, statements, disclosures or
          materials, in each case, whether written or oral, made or provided by or on behalf of any
          Seller or any other Seller Party, or any failure of any of the foregoing to disclose or
          contain any information, except for the Express Representations (it being understood that
          Purchaser and the Purchaser Group have relied only on the Express Representations).
          Purchaser acknowledges and agrees, on its own behalf and on behalf of the Purchaser

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          Group, that (i) the Express Representations are the sole and exclusive representations,
          warranties and statements of any kind made to Purchaser or any member of the Purchaser
          Group and on which Purchaser or any member of the Purchaser Group may rely in
          connection with the Transactions and (ii) all other representations, warranties and
          statements of any kind or nature expressed or implied, whether in written, electronic or
          oral form, including (A) the completeness or accuracy of, or any omission to state or to
          disclose, any information (other than solely to the extent expressly set forth in the
          Express Representations) including in the Dataroom, Information Presentation,
          Projections, meetings, calls or correspondence with management of any Seller, any of the
          Seller Parties or any other Person on behalf of any Seller or any of the Seller Parties or
          any of their respective Affiliates or Advisors and (B) any other statement relating to the
          historical, current or future business, financial condition, results of operations, assets,
          Liabilities, properties, Contracts, environmental, health or safety conditions and
          compliance, employee matters, regulatory compliance, business risks and prospects of the
          Business, or the quality, quantity or condition of any of the Acquired Assets are, in each
          case, specifically disclaimed by each Seller, on its behalf and on behalf of the Seller
          Parties. Purchaser, on its own behalf and on behalf of the Purchaser Group: (1) disclaims
          reliance on the items in clause (ii) in the immediately preceding sentence; and (2)
          acknowledges and agrees that it has relied on, is relying on and will rely on only the items
          in clause (i) in the immediately preceding sentence (which do not, for the avoidance of
          doubt, include Purchaser’s or Purchaser Group’s reliance on the Express
          Representations). Without limiting the generality of the foregoing, Purchaser
          acknowledges and agrees, on its own behalf and on behalf of the Purchaser Group, that
          neither Sellers, nor any other Person (including the Seller Parties), has made, is making
          or is authorized to make, and subject to Section 6.12(c), Purchaser, on its own behalf and
          on behalf of the Purchaser Group, hereby waives, all rights and claims it or they may
          have against any Seller Party with respect to the accuracy of, any omission or
          concealment of, or any misstatement with respect to, (x) any potentially material
          information regarding any Seller or any of their respective assets (including the Acquired
          Assets), Liabilities (including the Assumed Liabilities) or operations and (y) any warranty
          or representation (whether in written, electronic or oral form), express or implied, as to
          the quality, merchantability, fitness for a particular purpose, or condition of any Seller’s
          business (including the Business), operations, assets, Liabilities, Contracts,
          environmental, health or safety conditions and compliance, employee matters, regulatory
          compliance, business risks and prospects or any portion thereof, except, in each case,
          solely to the extent expressly set forth in the Express Representations.

                   (b)     Without limiting the generality of the foregoing, in connection with the
          investigation by the Purchaser Group of the Business, Purchaser and the members of the
          Purchaser Group, and the Advisors of each of the foregoing, have received or may
          receive, from or on behalf of any Seller, or other Seller Parties, certain projections,
          forward-looking statements and other forecasts (whether in written, electronic, or oral
          form, and including in the Information Presentation, Dataroom, management meetings,
          etc.) (collectively, “Projections”). Purchaser acknowledges and agrees, on its own behalf
          and on behalf of the Purchaser Group, that (i) such Projections are being provided solely
          for the convenience of Purchaser to facilitate its own independent investigation of Sellers,
          (ii) there are uncertainties inherent in attempting to make such Projections, (iii) Purchaser

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          is familiar with such uncertainties, and (iv) Purchaser is taking full responsibility for
          making their own evaluation of the adequacy and accuracy of all Projections (including
          the reasonableness of the assumptions underlying such Projections).

                 (c)     Nothing in this Section 6.12 shall limit any rights or remedies available to
          Purchaser in the case of a claim for Fraud.

                  (d)     Purchaser acknowledges and agrees, on its own behalf and on behalf of
          the Purchaser Group, that it will not assert, institute, or maintain, and will cause each
          member of the Purchaser Group not to assert, institute or maintain, any Action that makes
          any claim contrary to the agreements and covenants set forth in this Section 6.12,
          including any such Action with respect to the distribution to Purchaser or any member of
          the Purchaser Group, or Purchaser’s or any member of the Purchaser Group’s use, of the
          information, statements, disclosures or materials in the Information Presentation, the
          Dataroom or Projections or any other information, statements, disclosures, or materials,
          in each case whether written or oral, provided by them or any other Seller Party or any
          failure of any of the foregoing to disclose any information.

          Section 6.13 Guaranty.

                   (a)    Guarantor hereby irrevocably, absolutely and unconditionally guarantees
          to Sellers (i) the due and punctual performance, when and as due, of all obligations,
          covenants and agreements of Purchaser arising under or pursuant to this Agreement;
          (ii) the accuracy of Purchaser’s representations and warranties set forth herein; and
          (iii) the punctual payment of all sums, if any, now or hereafter owed by Purchaser under
          and in accordance with the terms of this Agreement, including the payment obligations of
          the Purchaser pursuant to Section 2.1 (the matters set forth in clauses (i), (ii), and (iii),
          collectively, “Guaranteed Obligations”).

                  (b)    If Purchaser fails to perform any of the Guaranteed Obligations, then
          Guarantor shall itself be jointly and severally liable for the Guaranteed Obligations and
          shall perform or take whatever steps as may be necessary to procure performance of the
          same.

                  (c)    Notwithstanding any other provision of this Section 6.13, nothing herein
          shall be construed as imposing greater obligations or Liabilities on Guarantor than for
          which Purchaser itself would be liable under this Agreement or obliging Guarantor to
          indemnify and hold harmless Sellers against any losses, costs, or expenses for which
          Purchaser itself would not be liable under this Agreement, except as set forth in this
          Section 6.13, including Section 6.13(f) and Section 6.13(h).

                  (d)    The obligations of Sellers under this Agreement shall conclusively be
          deemed to have been created, contracted, or incurred in reliance upon this Section 6.13
          and all dealings between Sellers and Purchaser shall likewise be conclusively presumed
          to have been consummated in reliance upon this Section 6.13.

                 (e)    Guarantor’s obligations hereunder shall not be affected by any facts or
          circumstances that might constitute a legal or equitable bar, discharge or defense to any
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          Guaranteed Obligations available to Guarantor but not available to Purchaser, and
          Guarantor hereby expressly waives and renounces any and all such bars, discharges and
          defenses.

                  (f)     The guarantee by Guarantor contained herein shall be a continuing
          guarantee, shall remain in full force and effect and shall continue to be enforceable by
          Sellers until the performance by Purchaser of all of the Guaranteed Obligations
          (notwithstanding any change, restructuring, bankruptcy, insolvency or termination of the
          corporate structure or existence of any Seller or any of its Subsidiaries) and that upon
          completion of all of the Guaranteed Obligations, this guarantee shall terminate
          automatically and Guarantor shall stand discharged of all of its obligations under this
          guarantee. Guarantor shall indemnify Sellers for any costs and expenses incurred by
          Sellers in enforcing this Section 6.13, including the fees and expenses of counsel and
          other Advisors of Sellers in the investigation and prosecution of any Action with respect
          hereto. Guarantor’s obligations under this Section 6.13 shall not be terminated, modified,
          affected or impaired by reason of any relief or discharge of Purchaser from any of
          Purchaser’s respective obligations in bankruptcy or similar proceedings, or by liquidation
          or dissolution.

                (g)      The liability of Guarantor under this Section 6.13 shall be unlimited and
          unconditional, and this Section 6.13 shall be a continuing guaranty.

                  (h)    Guarantor hereby makes the representations and warranties set forth in
          Article IV as to itself, and such representations and warranties shall apply mutatis
          mutandis as if Guarantor were substituted for Purchaser therein.

          Section 6.14 Confidentiality.

                 (a)     The Confidentiality Agreement is hereby incorporated herein by reference
          and shall continue in full force and effect in accordance with its terms; provided that from
          and after the Closing, all of Purchaser’s and its Affiliates obligations under the
          Confidentiality Agreement with respect to confidential information that constitutes an
          Acquired Asset or Assumed Liability, shall terminate and be of no further force or effect.

                 (b)      From and after the Closing the confidential information and trade secrets
          included in the Acquired Assets (“Business Confidential Information”) will be the
          confidential information of Purchaser; provided that Business Confidential Information
          shall not include any information that is or, after the Closing, becomes generally
          available to the public other than as a result of disclosure, directly or indirectly, by Sellers
          in violation of this Section 6.14. The Sellers will not use the Business Confidential
          Information except to (i) provide the services under the TSA, or (ii) comply with
          applicable Law or a Contract that is an Excluded Asset and solely for the purpose of
          complying with such Contract,, (iii) enforce Sellers’ rights hereunder, or (iv) participate
          in commercial arrangements between Sellers and their Affiliates, on the one hand, and
          Purchaser and its Affiliates, on the other hand ((i) through (iv), the “Permitted
          Purposes”).


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                  (c)     Following the Sellers’ delivery of the Acquired Assets to Purchaser and
          Purchaser’s confirmation of receipt of the Acquired Assets, the Sellers will use
          commercially reasonable efforts to permanently delete and erase from the Sellers’
          systems and storage locations all software and other technology that is not needed by the
          Sellers to provide the services under the TSA, except Sellers may retain such documents,
          records, and copies as are be required in order to satisfy any retention policies, internal
          compliance procedures or regulations or Law to which Seller is subject, or where it is not
          reasonably possible to destroy copies that have been created by ordinary course electronic
          backup procedures, provided that (x) the obligations in this Section 6.14 shall continue to
          apply to such documents, records and copies and (y) in each case, such documents,
          records and copies are only available and accessible to employees of Seller with a need to
          know solely for the foregoing purposes. Following the termination or expiration of the
          TSA, Sellers will use commercially reasonable efforts permanently delete and erase from
          the Sellers’ systems and storage locations all of the software and other technology
          included in the Acquired Assets that was needed by the Sellers to perform obligations
          under the TSA, except Sellers may retain such documents, records, and copies as are be
          required in order to satisfy any retention policies, internal compliance procedures or
          regulations or Law to which Seller is subject, or where it is not reasonably possible to
          destroy copies that have been created by ordinary course electronic backup procedures,
          provided that (x) the obligations in this Section 6.14 shall continue to apply to such
          documents, records and copies and (y) in each case, such documents, records and copies
          are only available and accessible to employees of Seller with a need to know solely for
          the foregoing purposes.

                  (d)     From and after the Closing, except with the prior written consent of
          Purchaser, the Sellers agree to keep confidential and not disclose the Business
          Confidential Information, except to the extent that (A) such information has otherwise
          been made public other than as a result of disclosure, directly or indirectly, by Sellers in
          violation of this Section 6.14, (B) any such information is reasonably necessary for
          enforcing the Sellers’ rights hereunder and is disclosed to any Governmental Body in
          connection with any Actions involving a dispute between any Seller and any Purchaser
          Group member, (C) any Seller is required by applicable Law (including, in connection
          with the Bankruptcy Cases) to divulge or disclose any such information (in which case
          Sellers shall promptly notify Purchaser in advance of disclosing such information and use
          commercially reasonable efforts to cooperate with Purchaser to limit such disclosure, to
          the extent permitted under applicable Law), and (D) to its Affiliates and Advisors solely
          on a need to know basis in connection with the Permitted Purposes and solely for the
          Permitted Purposes.

                  (e)     Purchaser acknowledges that Sellers’ and their Affiliates’ directors,
          officers and employees may unavoidably retain unassisted mental impressions of
          Business Confidential Information that were not the result of such individuals having
          studied, memorized, or reviewed Business Confidential Information for the purpose of
          remembering, preserving, replicating or otherwise using such Business Confidential
          Information (“Mental Impressions”), and such retention of such Mental Impressions shall
          not in and of itself constitute a breach of this Section 6.14. In addition, to the extent such
          Mental Impressions are recalled indirectly or subconsciously as part of such individual’s

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          general industry knowledge, and not as such individual’s direct or conscious recollection
          (i) of Business Confidential Information or (ii) as information relating to or having been
          included in the Acquired Assets, such individual’s actions or omissions, to the extent
          based on such general industry knowledge and not on specific Business Confidential
          Information, shall not in and of themselves constitute a breach of this Section 6.14.
          However, and notwithstanding anything to the contrary, this Section 6.14(e) will not (x)
          affect in any manner whatsoever Purchaser’s rights in the Acquired Intellectual Property
          or (y) assign to Sellers or their Affiliates or any other Person or otherwise grant to Sellers
          or their Affiliates or any other Person any license or other rights whatsoever to, any of the
          Acquired Intellectual Property.

         Section 6.15 No Successor Liability. The Parties intend that, to the fullest extent
 permitted by applicable Law (including under Section 363 of the Bankruptcy Code), upon the
 closing, Purchaser shall not be deemed to: (a) be the successor of any Seller, (b) have, de facto,
 or otherwise, merged with or into Sellers, (c) be a mere continuation or substantial continuation
 of Sellers or the enterprise(s) of Sellers or (d) be liable or have any Liability for any acts or
 omissions of Sellers in the conduct of their businesses or arising under or related to the Acquired
 Assets other than as expressly set forth and agreed in this Agreement. Without limiting the
 generality of the foregoing, and except as otherwise expressly provided in this Agreement, the
 Parties intend that Purchaser shall have no Liability for any Encumbrance (other than the
 Assumed Liabilities and Permitted Encumbrances on the Acquired Assets) against Sellers or any
 of Sellers predecessors or Affiliates, and Purchaser shall have no successor or vicarious liability
 of any kind or character whether known or unknown as of the Closing Date or in connection with
 the transactions contemplated to occur on the Closing, whether now existing or hereafter arising,
 or whether fixed or contingent, with respect to the businesses of Sellers, the Acquired Assets or
 any Liability of Sellers arising prior to, or relating to any period occurring prior to, the Closing
 Date. The Parties agree that the Sale Order shall contain provisions substantially in the form set
 forth in this Section 6.15.

         Section 6.16 Retained Privileged Materials. Following the Closing (i) in the event of
 a dispute between Purchaser and its Affiliates, on the one hand, and a third party (other than
 Sellers), on the other hand, Purchaser shall have the right to, or to require Sellers to, assert the
 attorney-client privilege to prevent disclosure of any Retained Privileged Materials to a third
 party, and (ii) without Purchaser’s prior written consent, Sellers shall not, unless required by
 applicable Law, disclose, transfer or otherwise make available any Retained Privileged Materials
 to any third-party, in any manner that would reasonably be expected to result in the waiver of the
 attorney-client privilege with respect to such materials.

         Section 6.17 Notification of Certain Matters. The Sellers will promptly (and, in any
 event, within ten (10) days) notify Purchaser in writing of: (i) any notice or other communication
 from any Person alleging that the Consent of such Person is or may be required in connection
 with the Transactions; (ii) any notice or other communication from any Governmental Body, or
 any Action by any Governmental Body, related to or in connection with the Transactions
 (including that may restrain, enjoin or otherwise prohibit the consummation of the Transactions);
 and (iii) the discovery of any variances from, or the existence or occurrence of any event, fact or
 circumstance arising after the execution of this Agreement that would reasonably be expected to


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 cause, any of the representations and warranties contained in Article III to be untrue or inaccurate
 such that the condition set forth in Section 7.2(a) will not be satisfied.

         Section 6.18 Change of Name. Promptly (and, in any event, within 60 days) following
 the Closing, each Seller shall, and shall cause their Subsidiaries (other than EIC) to, discontinue
 the use of their current legal entity name (and any other trade names or “d/b/a” names currently
 utilized by each Seller) and shall not subsequently change any of their names to or otherwise use
 or employ any name which includes the words “Elixir,” “Ascend,” “Laker,” and/or “Tonic” and
 the other names listed on Schedule 6.18 without the prior written consent of Purchaser, and each
 Seller shall cause the name of Sellers in the caption of the Bankruptcy Cases to be changed to the
 new names of each Seller.

         Section 6.19 Open Source Remediation. Prior to Closing, Seller shall obtain and pay
 for commercial licenses for iTextSharp, ServiceStack and jqGrid software sufficient to permit
 Seller’s use of such software.

         Section 6.20 CMS Novation[intentionally omitted]. As promptly as practicable, and
 in any event not later than ten (10) Business Days, after the date hereof, Sellers shall cause EIC
 to jointly prepare with EIC and to file with CMS a request for CMS to approve and consent to
 the novation of the CMS Contracts from EIC to Purchaser pursuant to the Novation Agreement,
 by and among CMS, EIC (as transferor) and Purchaser (as transferee) (“Novation Agreement”).
 Sellers shall cause EIC to include in such request all of the information and documentation
 required pursuant to 42 CFR § 423.552 and any additional information required or advisable
 pursuant to applicable Law. Thereafter, Sellers shall cause EIC, in coordination with Purchaser,
 to promptly update, as necessary or appropriate, the Novation Agreement request to include all
 of the information required pursuant to 42 CFR § 423.552 and any additional information
 required or advisable pursuant to applicable Law, including all information requested by CMS.
 Sellers shall cause EIC to furnish to Purchaser, and Purchaser shall furnish to Sellers, all
 necessary information as the other Party may reasonably request in connection with its
 preparation of any filing or submission in connection with the Novation Agreement, and shall
 keep the other Party apprised of the status of any communications with, and inquiries or requests
 for additional information from, CMS or other Governmental Body. Sellers shall cause EIC to,
 and Purchaser shall, comply promptly with any such inquiry or request of CMS related to the
 Novation Agreement. Sellers shall cause EIC to, and Purchaser shall, satisfy all requirements
 applicable to the Novation Agreement pursuant to 42 CFR §§ 423.551 AND 423.552. In the
 event that the Novation Agreement is not obtained pursuant to the terms and conditions set forth
 in this Section 6.20, the terms and conditions set forth in Section 1.7 shall become null and void.
 Notwithstanding this Section 6.20 or anything else in this Agreement, Purchaser acknowledges
 and agrees that (a) it is not a condition to the Closing or to any of Purchaser’s other obligations
 under this Agreement that the Parties obtain the Novation Agreement. The Parties agree that this
 Section 6.20 (and not Section 6.6 or Section 6.8) sets forth Sellers’ sole obligations with respect
 to the potential Novation Agreement and (ii) the condition set forth in Section 7.2(b), as it
 applies to Sellers’ obligations under this Section 6.20, shall be deemed satisfied unless the
 failure to obtain the Novation Agreement is a direct result of Sellers’ knowing and material
 willful breach of their obligations under this Section 6.20.



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         Section 6.21 Completion of TSA Schedules[intentionally omitted]. Purchaser and
 Sellers shall cooperate in good faith to finalize the TSA to the reasonable satisfaction of the
 Purchaser and Sellers as soon as reasonably practicable following the date hereof and in any
 event on or prior to November 13, 2023. Purchaser and Sellers shall negotiate in good faith to
 modify and finalize the schedules to and the economic terms of the TSA; provided that Purchaser
 and Sellers acknowledge and agree that the form of TSA attached as Exhibit G is considered
 substantially complete but there are open matters relating primarily to finalizing the services and
 economic terms, which may include revisions to the body of the TSA.

          .

          Section 6.22 Privacy Compliance. For twelve (12) months following the Closing,
 Purchaser agrees that it and each Designated Purchaser shall operate the Business and administer
 the Acquired Assets in compliance, in all material respects, with (i) all Laws applicable to the
 Purchaser or the Designated Purchaser, as applicable, including HIPAA and Privacy Laws (as
 applicable); and (ii) all written and publicly available privacy policies and notices of privacy
 practices of the Purchaser or the Designated Purchaser, as applicable, applicable to the Acquired
 Assets, which the Purchaser or the Designated Purchaser, as applicable, may modify at any time
 in accordance with applicable Laws. Purchaser acknowledges that any “protected health
 information” (as such term is defined by HIPAA, “PHI”) transferred to Purchaser or the
 applicable Designated Purchaser pursuant to this Agreement is received by Purchaser or such
 Designated Purchaser in Purchaser’s capacity as a “business associate” or the applicable
 Designated Purchaser in its capacity as a “covered entity” (as such terms are defined by HIPAA),
 and as applicable with respect to Purchaser, pursuant to a “business associate contract” (as such
 term is used under HIPAA) that is an Assigned Contract. For twelve (12) months following
 Closing, Purchaser agrees that all such PHI transferred to Purchaser pursuant to this Agreement
 that is protected under an Assigned Contract that is a business associate contract shall remain
 protected under a HIPAA-compliant business associate contract. The Parties agree that PHI,
 which is maintained by a covered entity at the time of transfer, in its capacity as a covered entity,
 that is transferred pursuant to this Agreement shall be received by or on behalf of a Designated
 Purchaser that is a covered entity. To the extent that such PHI is maintained by or on behalf of a
 pharmacy at the time of transfer, the Parties acknowledge that such PHI is being transferred
 hereunder for the purposes of carrying out pharmacy-related services by or on behalf of a
 Designated Purchaser that is a pharmacy and for other purposes in compliance with such
 Designated Purchaser’s privacy policies and notice of privacy practices.

                                         ARTICLE VII
                                      CONDITIONS TO CLOSING

         Section 7.1 Conditions Precedent to the Obligations of Purchaser and Sellers. The
 respective obligations of each Party to consummate the Closing are subject to the satisfaction (or
 to the extent permitted by Law, written waiver by Sellers and Purchaser) on or prior to the
 Closing Date, of each of the following conditions:



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                 (a)     the expiration or termination of any required waiting period under the
          HSR Act or under the Foreign Competition Laws set forth in Schedule 7.1(a) related to
          the Transactions, and receipt of any necessary approval related to the Transactions under
          the Foreign Competition Laws or other regulations set forth in Schedule 7.1(a);

                 (b)     no court of competent jurisdiction shall have issued, enacted, entered,
          promulgated or enforced any Order (including any temporary restraining Order or
          preliminary or permanent injunction) restraining, enjoining or otherwise prohibiting the
          Transactions that is still in effect; and

                  (c)     the Bankruptcy Court shall have entered the Sale Order and the Sale Order
          shall not have been stayed, reversed, or modified in a manner not reasonably acceptable
          to the Parties.

        Section 7.2 Conditions Precedent to the Obligations of Purchaser. The obligations
 of Purchaser to consummate the Closing are subject to the satisfaction (or to the extent permitted
 by Law, written waiver by Purchaser in its sole discretion), on or prior to the Closing Date, of
 each of the following conditions:

                  (a)    (i) the representations and warranties made by Sellers in Article III (in
          each case, other than the Fundamental Representations and the Seller Sufficiency
          Representations) shall be true and correct in each case in all respects as of the Closing
          Date as though made on and as of the Closing Date (other than representations and
          warranties that are made as of a specified date need be true and correct only as of such
          date), except where the failure of such representations and warranties to be true and
          correct (without giving effect to any limitation as to “materiality”, “Material Adverse
          Effect” or similar qualifiers contained therein (other than “material weaknesses” in
          Section 3.4(d) and the word “Material” when used in the instances of the defined term
          “Material Contract” and “Material Adverse Effect” in Section 3.19)) has not had, and
          would not reasonably be expected to have, individually or in the aggregate, a Material
          Adverse Effect, (ii) the representations and warranties set forth in Section 3.1,
          Section 3.2, Section 3.5(a) and Section 3.17 (collectively, the “Fundamental
          Representations”) shall be true and correct in all respects other than for de minimis
          inaccuracies, in each case as of the Closing Date as though all such representations and
          warranties had been made as of the Closing Date (other than representations and
          warranties that by their terms address matters only as of another specified date, which
          shall be so true and correct only as of such other specified date) and (iii) the
          representations and warranties set forth in Section 3.5(b) (the “Seller Sufficiency
          Representations”) shall be true and correct in all respects, in each case as of the Closing
          Date as though such representations and warranties had been made as of the Closing
          Date;

                 (b)    Sellers shall have performed or complied with, or caused to be performed
          or complied with, in all material respects, all of the obligations and covenants required by
          this Agreement to be performed or complied with by Sellers on or prior to the Closing;



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                  (c)     Sellers shall have delivered, or caused to be delivered, to Purchaser all of
          the items set forth in Section 2.4;

                 (d)    From the date of this Agreement, there shall not have occurred any
          Material Adverse Effect.

         Section 7.3 Conditions Precedent to the Obligations of Sellers. The obligations of
 Sellers to consummate the Closing are subject to the satisfaction (or to the extent permitted by
 Law, written waiver by Sellers in their sole discretion), on or prior to the Closing Date, of each
 of the following conditions:

                  (a)    the representations and warranties made by Purchaser in Article IV shall
          be true and correct, in each case as of the Closing Date, with the same force and effect as
          though all such representations and warranties had been made as of the Closing Date
          (other than representations and warranties that by their terms address matters only as of
          another specified date, which shall be so true and correct only as of such other specified
          date), except where the failure of such representations or warranties to be so true and
          correct (without giving effect to any limitation as to “materiality”, “material adverse
          effect”, “Material Adverse Effect” or similar qualifiers contained therein) would not
          materially impair or prevent Purchaser’s ability to consummate the Transactions;

                 (b)     Purchaser shall have performed or complied with, or caused to be
          performed or complied with, in all material respects, all of the obligations and covenants
          required by this Agreement to be performed or complied with by Purchaser on or prior to
          the Closing; and

                  (c)     Purchaser shall have delivered, or caused to be delivered, to Sellers all of
          the items set forth in Section 2.5.

         Section 7.4 Waiver of Conditions. Upon the occurrence of the Closing, any condition
 set forth in this Article VII that was not satisfied as of the Closing will be deemed to have been
 waived for all purposes by the Party having the benefit of such condition as of and after the
 Closing. None of Purchaser or Sellers may rely on the failure of any condition set forth in this
 Article VII, as applicable, to be satisfied if such failure was caused by such Party’s failure to
 perform any of its obligations under this Agreement, including its obligation to use its reasonable
 best efforts to consummate the Transactions as required under this Agreement.

                                              ARTICLE VIII
                                             TERMINATION

         Section 8.1 Termination of Agreement. This Agreement may be terminated at any
 time prior to the Closing only in accordance with this Section 8.1, and in no other manner:

                       (a)   by the mutual written consent of Sellers and Purchaser;

                 (b)    by written notice of either Purchaser or Sellers, upon the issuance of an
          Order by a court of competent jurisdiction restraining, enjoining or otherwise prohibiting
          the consummation of the Closing or declaring unlawful the Transactions, and such Order

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          having become final, binding and non-appealable; provided that no Party may terminate
          this Agreement under this Section 8.1(b) if the issuance of such Order was caused by
          such Party’s failure to perform any of its obligations under this Agreement;

                   (c)    by written notice of either Purchaser or Sellers, if the Closing shall not
          have occurred on or before May 31, 2024 (the “Outside Date”); provided that a Party
          shall not be permitted to terminate this Agreement pursuant to this Section 8.1(c) if the
          failure of the Closing to have occurred by the Outside Date was caused by such Party’s
          failure to perform any of its obligations under this Agreement;

                   (d)     by written notice from Sellers to Purchaser, upon a breach of any covenant
          or agreement on the part of Purchaser, or if any representation or warranty of Purchaser
          will have become untrue, in each case, such that the conditions set forth in Section 7.3(a)
          or Section 7.3(b) would not be satisfied, including a breach of Purchaser’s obligation to
          consummate the Closing; provided that (i) if such breach is curable by Purchaser (other
          than a breach or failure by Purchaser to close when required pursuant to Section 2.3) then
          Sellers may not terminate this Agreement under this Section 8.1(d) unless such breach
          has not been cured by the date which that the earlier of (A) two (2) Business Days prior to
          the Outside Date and (B) 30 days after Sellers notify Purchaser of such breach and
          (ii) Sellers’ right to terminate this Agreement pursuant to this Section 8.1(d) will not be
          available to Sellers at any time that Sellers are in material breach of, any covenant,
          representation or warranty hereunder;

                  (e)    by written notice from Purchaser to Sellers, upon a breach of any covenant
          or agreement on the part of Sellers, or if any representation or warranty of the Sellers will
          have become untrue, in each case, such that the conditions set forth in Section 7.2(a)
          or Section 7.2(b) would not be satisfied; provided that (i) if such breach is curable by
          Sellers then Purchaser may not terminate this Agreement under this Section 8.1(e) unless
          such breach has not been cured by the date which is the earlier of (A) two (2) Business
          Days prior to the Outside Date and (B) 30 days after Purchaser notifies Sellers of such
          breach and (ii) the right to terminate this Agreement pursuant to this Section 8.1(e) will
          not be available to Purchaser at any time that Purchaser is in material breach of, any
          covenant, representation or warranty hereunder;

                  (f)     by written notice from Sellers to Purchaser, if (i) all of the conditions set
          forth in Section 7.1 and Section 7.2 have been satisfied (other than conditions that by
          their nature are to be satisfied at the Closing, but which conditions are capable of being
          satisfied) or waived, (ii) Sellers have confirmed in writing to Purchaser that Sellers are
          ready, willing, and able to consummate the Closing, and (iii) Purchaser fails to complete
          the Closing by, or at, the later of (A) three Business Days of receipt of the notice
          described in clause (ii), and (B) the time required by Section 2.3;

                  (g)     by written notice from Sellers to Purchaser, if any Seller or the board of
          directors (or similar governing body) of any Seller determines that proceeding with the
          Transactions or failing to terminate this Agreement would be inconsistent with its or such
          Person’s or body’s fiduciary duties;


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                  (h)    by written notice of either Purchaser or Sellers, if (i) any Seller enters into
          one or more Alternative Transactions with one or more Persons other than Purchaser or
          the Successful Bidder or the Backup Bidder at the Auction or (ii) the Bankruptcy Court
          approves an Alternative Transaction other than with the Successful Bidder or the Backup
          Bidder;

                  (i)    by written notice from either Purchaser or Sellers, if Purchaser (i) is not
          the Successful Bidder or the Backup Bidder at the Auction or (ii) is the Backup Bidder at
          the Auction and Sellers consummate an Alternative Transaction with the Successful
          Bidder;

                 (j)     by Sellers or Purchaser, if the Bankruptcy Cases are dismissed or
          converted to a case or cases under chapter 7 of the Bankruptcy Code, or if a trustee or
          examiner with expanded powers to operate or manage the financial affairs or
          reorganization of the Sellers is appointed in the Bankruptcy Cases;

                (k)    by Purchaser if Sellers withdraw or seek authority to withdraw the Bidding
          Procedures Motion;

                 (l)     by Purchaser if (i) following entry by the Bankruptcy Court of the Bidding
          Procedures Order, such order is (A) amended, modified or supplemented in a manner
          reasonably expected to be adverse to Purchaser without Purchaser’s prior written consent
          or (B) voided, reversed or vacated or is subject to a stay, or (ii) following entry by the
          Bankruptcy Court of the Sale Order, the Sale Order is (A) amended, modified or
          supplemented in an adverse way without Purchaser’s prior written consent or (B) voided,
          reversed or vacated or is subject to a stay;

                       (m)   by Purchaser, if any of the Bankruptcy Court Milestones are not met;

                       (n)   by Purchaser, in its sole discretion, on or prior to October 23, 2023;

                       (o)   by Purchaser, in its sole discretion, on or prior to November 8, 2023; or

                 (p)     by written notice from Sellers to Purchaser, upon a breach of
          Section 2.2(a) on the part of Purchaser.

          Section 8.2        Effect of Termination.

                  (a)     In the event of termination of this Agreement pursuant to Section 8.1, this
          Agreement shall forthwith become null and void and no Party or any of its partners,
          officers, directors, managers or equityholders will have any Liability under this
          Agreement; provided that Section 2.2, Section 6.2(b), Section 6.14, this Section 8.2 and
          Article X shall survive any such termination; provided further that no termination will
          relieve any Party from any Liability for any Willful Breach of this Agreement prior to the
          date of such termination; provided further that, subject to Section 10.12, the maximum
          Liability of Purchaser under, or arising out of, this Agreement shall be equal to the
          Deposit. Subject to Section 10.12, nothing in this Section 8.2 will be deemed to impair
          the right of any Party to be entitled to specific performance or other equitable remedies to

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          enforce specifically the terms and provisions of this Agreement. Notwithstanding
          anything contained herein to the contrary, (i) retaining the Deposit pursuant to
          Section 2.2(b) is Sellers' sole and exclusive remedy arising from (A) Seller’s termination
          of this Agreement pursuant to Section 8.1(p) or any other section of Section 8.1 (or upon
          any other grounds) as a result of Purchaser’s breach of Section 2.2(a) or Section 4.4, and
          (B) Purchaser’s breach of Section 2.2(a) or Section 4.4, and (ii) retaining the Deposit
          pursuant to Section 2.2(b) is Sellers’ sole and exclusive remedy arising from Purchaser’s
          termination of this Agreement pursuant to Section 8.1(n) or Section 8.1(o). For the
          avoidance of doubt, Sellers will not be entitled to specific performance or other equitable
          remedies to enforce specifically (1) the terms and provisions of Section 2.2(a) requiring
          Purchaser to make the Second Deposit or Final Deposit, or (2) requiring Purchaser to
          cure any breach of Section 4.4.

                  (b)    If this Agreement is terminated other than pursuant to Section 8.1(a),
          Section 8.1(d), Section 8.1(f), Section 8.1(n), Section 8.1(o), or Section 8.1(p), then the
          Sellers will pay to Purchaser by wire transfer of immediately available funds within
          three (3) Business Days following such termination of this Agreement an amount equal to
          the reasonable and documented out-of-pocket costs and expenses (including fees and
          expenses of counsel) incurred by Purchaser in connection with the negotiation, diligence,
          execution, performance and enforcement of this Agreement, which amount will shall not
          exceed $8,625,000 (“Expense Reimbursement”).

                  (c)    In consideration for Purchaser having expended considerable time and
          expense in connection with this Agreement and the negotiation thereof, if this Agreement
          is terminated pursuant to Section 8.1(c), Section 8.1(e), Section 8.1(g),
          Section 8.1(h), Section 8.1(i), Section 8.1(j), Section 8.1(k), or Section 8.1(l), Sellers
          shall pay to Purchaser a break-up fee in an amount equal to $11,500,000 (the “Breakup
          Fee”); provided that the Breakup Fee shall be payable concurrently with the
          consummation of, and only out of the cash proceeds of, an Alternative Transaction, to an
          account designated by Purchaser in writing to Elixir.

                  (d)     Each of the Parties acknowledges and agrees that the agreements
          contained in this Section 8.2(b) are an integral part of this Agreement and that the
          Breakup Fee and Expense Reimbursement are not a penalty, but rather represent
          liquidated damages in a reasonable amount that will reasonably compensate Purchaser in
          the circumstances in which such and Breakup Fee and Expense Reimbursement, as
          applicable, are payable for the efforts and resources expended and opportunities foregone
          by Purchaser while negotiating and pursuing this Agreement and in reasonable reliance
          on this Agreement and on the reasonable expectation of the consummation of the
          Transactions, which amount would otherwise be impossible to calculate with precision.

                 (e)      Subject in all cases to Section 10.12, prior to the applicable Closing, in the
          event of any breach by any Seller of this Agreement, the sole and exclusive remedy of
          Purchaser shall be to terminate this Agreement in accordance with Section 8.1 and, if
          applicable, to receive the and Expense Reimbursement or the Breakup Fee, as applicable,
          in accordance with Section 8.2(b). Pursuant to the Bidding Procedures Order and subject
          to approval by the Bankruptcy Court and entry of the Sale Order, the claim of Purchaser

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          in respect of the Expense Reimbursement or the Breakup Fee is and constitutes an
          allowed administrative expense claim against Sellers under section 503 of the Bankruptcy
          Code in the Bankruptcy Case.

                                           ARTICLE IX
                                             TAXES

         Section 9.1 Transfer Taxes. Any U.S. federal, state, local, and non-U.S., GST/HST,
 sales Tax, consumption sales, use, excise, value added, registration, real property, purchase,
 transfer, franchise, deed, fixed asset, stamp, documentary stamp, use or other Taxes and
 recording charges (including all related interest, penalties, and additions to any of the foregoing)
 payable by reason of the sale of the Acquired Assets or the assumption of the Assumed
 Liabilities under this Agreement or the Transactions (the “Transfer Taxes”) shall be borne and
 timely paid by Purchaser, and Purchaser shall timely file all Tax Returns related to any Transfer
 Taxes with the appropriate Taxing Authority.

         Section 9.2 Allocation of Purchase Price. For U.S. federal and applicable state and
 local income Tax purposes, Purchaser, Sellers, and their respective Affiliates shall allocate the
 Purchase Price (and any Assumed Liabilities or other amounts treated as part of the purchase
 price for U.S. federal income Tax purposes) among the Acquired Assets in accordance with the
 methodology set forth in Schedule 9.2 (the “Allocation Methodology”). As soon as commercially
 practicable, but no later than 90 days following the determination of the final Purchase Price,
 Purchaser shall provide a proposed allocation to Sellers setting forth the allocation of the
 Purchase Price (and other amounts treated as part of the purchase price for U.S. federal income
 Tax purposes) among the Acquired Assets in accordance with the Allocation Methodology (the
 “Allocation”) subject to Sellers’ review and approval, and Purchaser shall incorporate any
 changes reasonably requested by Sellers with respect to such Allocation. If Sellers deliver a
 written objection within 30 days after receipt of the draft Allocation proposed by Purchaser, then
 Purchaser and Sellers shall negotiate in good faith to resolve any such objection, and, if Sellers
 and Purchaser cannot resolve such dispute within 30 days of Purchaser’s receipt of Sellers’
 objection, then a nationally recognized accounting firm mutually acceptable to Purchaser and
 Sellers shall resolve such dispute, with the costs of such resolution to be allocated by such
 accounting firm between Purchaser and Sellers based upon the percentage of the aggregate
 contested amount submitted to such accounting firm that is ultimately awarded to Purchaser, on
 the one hand, or Sellers on the other hand, such that Purchaser bears a percentage of such costs
 and expenses equal to the percentage of the contested amount awarded to Sellers and Sellers
 bears a percentage of such costs and expenses equal to the percentage of the contested amount
 awarded to Purchaser. The Parties and their respective Affiliates shall file all Tax Returns in
 accordance with such Allocation (as finally determined under this Section 9.2) and not take any
 Tax related action inconsistent with the Allocation, in each case, unless otherwise required by a
 “determination” within the meaning of section 1313(a) of the Tax Code.

         Section 9.3 Cooperation. Purchaser and Sellers shall reasonably cooperate, as and to
 the extent reasonably requested by the other Party, in connection with the filing of Tax Returns
 and any Action, audit, litigation, or other proceeding with respect to Taxes; provided that in
 providing such information, assistance and access, each Party shall be entitled to redact


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 information that is not related to the Business. Notwithstanding anything to the contrary in this
 Agreement, the Sellers shall not be obligated to provide or disclose any Excluded Tax Returns.

         Section 9.4 Post-Closing Actions. Unless consented to by Sellers in writing (such
 consent not to be unreasonably withheld, conditioned, or delayed), or required by Applicable
 Law, Purchaser shall not, and shall cause its Affiliates not to, in each case with respect to the
 Acquired Assets, or the Business, (i) make or change any Tax election with retroactive effect to a
 Pre-Closing Tax Period, (ii) file any amended Tax Return for a Pre-Closing Tax Period, or (iii)
 make or initiate any voluntary discussion, examination or Contract with a Taxing Authority
 (including any voluntary disclosure agreement or similar process) for a Pre-Closing Tax Period,
 in each case, that would reasonably be expected to result in any increased Tax Liability or
 reduction of any Tax refund or credit of the Sellers.

          Section 9.5    Preparation of Tax Returns and Payment of Taxes.

                  (a)     Except as otherwise provided by Section 9.1, Sellers shall prepare and
          timely file (i) all Tax Returns with respect to the Acquired Assets and the Business for
          any Tax period ending on or before the Closing Date (and Purchaser shall cooperate with
          Sellers in causing such Tax Returns to be filed) that has not been filed prior to the
          Closing Date and (ii) all income Tax Returns of Sellers. Each such Tax Return described
          in this Section 9.5(a)(i) shall (A) be prepared in accordance with the terms of this
          Agreement, and (B) and Sellers shall use commercially reasonable efforts to submit such
          Tax Returns to Purchaser at least fifteen (15) Business Days prior to the filing of such
          Tax Return (taking into account any extensions of the time to file), or as soon as
          reasonably practicable if such timing is not possible, for Purchaser’s reasonable review
          and Seller shall consider any reasonable written comments provided by Purchaser after
          receiving such Tax Return.

                  (b)     Purchaser shall prepare and timely file all Tax Returns with respect to the
          Acquired Assets and the Business for any Tax period ending after the Closing Date. With
          respect to any Straddle Period, Purchaser shall prepare such Tax Returns consistent with
          past practice, and shall use commercially reasonable efforts to provide Sellers or their
          successors in rights, as applicable, with a draft of such Tax Returns at least fifteen (15)
          Business Days prior to the filing of any such Tax Return (taking into account any
          extensions of the time to file), or as soon as reasonably practicable if such timing is not
          possible, for Sellers’ reasonable review and Purchaser shall consider any reasonable
          written comments provided by Sellers after receiving any such Tax Return to the extent
          failing to do so would adversely impact the Liability of the Sellers (including under this
          Agreement).

                  (c)     Allocation of Taxes for Straddle Periods. The amount of Taxes allocable
          to either the Pre-Closing Tax Period or Post-Closing Tax Period of any Straddle Period
          shall equal: (a) for any Taxes imposed on a periodic basis (such as real, personal and
          intangible property Taxes), the amount of such Taxes for the entire Straddle Period
          multiplied by a fraction, the denominator of which is the total number of days in the
          Straddle Period, and the numerator being either (i) the number of days during the Straddle
          Period that are in the Pre-Closing Tax Period (for the Pre-Closing Tax Period), or (ii) the

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          number of days during the Straddle Period that are in the Post-Closing Tax Period (for
          the Post-Closing Tax Period) and (b) for all other Taxes, determined on an interim
          closing of the books basis, effective as of the end of the Closing Date. Any payment by a
          Party with respect to Taxes for a Straddle Period shall be credited towards such Party’s
          Liability for their share of any Taxes with respect to a Straddle Period allocable to such
          Person under this Section 9.5.

                                            ARTICLE X
                                           MISCELLANEOUS

         Section 10.1 Non-Survival of Representations and Warranties and Certain
 Covenants; Certain Waivers. Each of the representations and warranties and the covenants and
 agreements (to the extent such covenant or agreement contemplates or requires performance by
 such Party prior to the Closing) of the Parties set forth in this Agreement or in any other
 document contemplated hereby, or in any certificate delivered hereunder or thereunder, will
 terminate effective immediately as of the Closing such that no claim for breach of any such
 representation, warranty, covenant or agreement, detrimental reliance or other right or remedy
 (whether in contract, in tort or at law or in equity) may be brought with respect thereto after the
 Closing. Each covenant and agreement that explicitly contemplates performance after the
 Closing, will, in each case and to such extent, expressly survive the Closing in accordance with
 its terms, and if no term is specified, then for seven (7) years following the Closing Date, and
 nothing in this Section 10.1 will be deemed to limit any rights or remedies of any Person for
 breach of any such surviving covenant or agreement. Purchaser and Sellers acknowledge and
 agree, on their own behalf and on behalf of the Purchaser Group or the Seller Parties, as the case
 may be, that the agreements contained in this Section 10.1 (a) require performance after the
 Closing to the maximum extent permitted by applicable Law and will survive the Closing for
 five years and (b) are an integral part of the Transactions and that, without the agreements set
 forth in this Section 10.1, none of the Parties would enter into this Agreement. The Purchaser on
 behalf of itself and the Purchaser Group hereby waives all rights and remedies with respect to
 any environmental, health or safety matters, including those arising under the Comprehensive
 Environmental Response, Compensation and Liability Act of 1980, or any other Environmental
 Laws, relating to this Agreement or the Transactions. Notwithstanding anything contained in this
 Agreement to the contrary (including in this Section 10.1), nothing set forth herein shall limit any
 rights or remedies available to Purchaser in respect of any claim for Fraud (subject in any event
 to the provisions of Section 10.7, which, insofar as they relate to Non-Recourse Persons, shall
 not be limited hereby in any way).

         Section 10.2 Expenses. Whether or not the Closing takes place, except as otherwise
 provided herein, all fees, costs and expenses (including fees, costs and expenses of Advisors)
 incurred in connection with the negotiation of this Agreement and the other agreements
 contemplated hereby, the performance of this Agreement and the other agreements contemplated
 hereby and the consummation of the Transactions will be paid by the Party incurring such fees,
 costs and expenses; it being acknowledged and agreed that (a) all filing fees in connection with
 any filing or submission under the HSR Act and any Foreign Competition Laws will be allocated
 pursuant to Section 6.5, (b) all Transfer Taxes will be allocated pursuant to Section 9.1, and (c)
 all Cure Costs will be allocated pursuant to Section 5.2.


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         Section 10.3 Notices. Except as otherwise expressly provided herein, all notices,
 demands and other communications to be given or delivered under or by reason of the provisions
 of this Agreement will be in writing and will be deemed to have been given (a) when personally
 delivered, (b) when transmitted by electronic mail (having obtained electronic delivery
 confirmation thereof), if delivered by 5:00 P.M. local time of the recipient on a Business Day and
 otherwise on the following Business Day, (c) the day following the day on which the same has
 been delivered prepaid to a reputable national overnight air courier service or (d) the third
 Business Day following the day on which the same is sent by certified or registered mail, postage
 prepaid, in each case, to the respective Party at the number, electronic mail address or street
 address, as applicable, set forth below, or at such other number, electronic mail address or street
 address as such Party may specify by written notice to the other Party.

                       Notices to Purchaser:

                       MedImpact
                       10181 Scripps Gateway Ct
                       San Diego, California 92131
                       Attention:    James Gollaher
                       Email:        james.gollaher@medimpact.com

                       with a copy to (which shall not constitute notice):

                       DLA Piper LLP (US)
                       4365 Executive Drive, Suite 1100
                       San Diego, California 92121
                       Attention:    David M. Clark
                       Email:        David.Clark@us.dlapiper.com

                       and

                       DLA Piper LLP (US)
                       444 West Lake Street, Suite 900
                       Chicago, Illinois 60606
                       Attention:     Richard A. Chesley
                       Email:         richard.chesley@us.dlapiper.com

                       Notices to Sellers:

                       Hunter Lane, LLC
                       c/o Rite Aid Corporation
                       200 Newberry Commons
                       Etters, PA 17319
                       Attention:    Thomas Sabatino
                       Email:        Thomas.Sabatino@riteaid.com




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                       with copies to (which shall not constitute notice):

                       Kirkland & Ellis LLP
                       601 Lexington Avenue
                       New York, NY 10022
                       Attention:    Aparna Yenamandra, P.C.

                       Email:         aparna.yenamandra@kirkland.com



                       Kirkland & Ellis LLP
                       300 N. Lasalle
                       Chicago, IL 60654
                       Attention:     Steve Toth
                       Email:         steve.toth@kirkland.com

          Section 10.4 Binding Effect; Assignment; Designated Purchasers.

                  (a)    This Agreement shall be binding upon Purchaser and, subject to the terms
          of the Bidding Procedures Order (with respect to the matters covered thereby) and the
          entry and terms of the Sale Order, Sellers, and shall inure to the benefit of and be so
          binding on the Parties and their respective successors and permitted assigns, including
          any trustee or estate representative appointed in the Bankruptcy Cases or any successor
          Chapter 7 cases; provided that, subject to Section 10.4(b), neither this Agreement nor any
          of the rights or obligations hereunder may be assigned or delegated without the prior
          written consent of Purchaser and Sellers, and any attempted assignment or delegation
          without such prior written consent shall be null and void; provided further that Purchaser
          (subject to Purchaser remaining liable for its obligations hereunder in the event such
          obligations are not performed in accordance with their terms) may assign any of its rights
          or obligations hereunder to any of its Affiliates without the consent of any Person.

                  (b)     At any time prior to the Closing, Purchaser shall be entitled to designate,
          by written notice to Sellers no later than five (5) Business Days prior to the Closing Date,
          one or more Affiliates to (i) purchase any of the Acquired Assets and pay the
          corresponding Purchase Price amount, (ii) assume Assumed Liabilities, or (iii) take title
          directly to any Acquired Asset (any such Affiliate that shall be designated in accordance
          with this clause, a “Designated Purchaser”), and, to the extent of any such designation,
          this Agreement shall be binding upon such Designated Purchaser, its successors and
          permitted assigns, which shall be treated as Purchaser to such extent. In addition, and for
          the avoidance of doubt, a Designated Purchaser shall be entitled to employ any of the
          Transferred Employees on and after the Closing Date and to perform any other covenants
          or agreements of Purchaser under this Agreement. Notwithstanding the foregoing,
          Purchaser’s designation of any Designated Purchaser shall not relieve Purchaser of its
          obligations under this Agreement in the event such obligations are not performed by any
          such Designated Purchaser in accordance with their terms.


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         Section 10.5 Amendment and Waiver. Any provision of this Agreement or the
 Schedules or exhibits hereto may be (a) amended only in a writing signed by Purchaser and
 Sellers or (b) waived only in a writing executed by the Party against which enforcement of such
 waiver is sought. No waiver of any provision hereunder or any breach or default thereof will
 extend to or affect in any way any other provision or prior or subsequent breach or default.

         Section 10.6 Third Party Beneficiaries. Except as otherwise expressly provided
 herein, nothing expressed or referred to in this Agreement will be construed to give any Person
 other than (i) for purposes of Section 10.7, the Non-Recourse Persons, and (ii) the Parties hereto
 and such permitted assigns, any legal or equitable right, remedy, or claim under or with respect
 to this Agreement or any provision of this Agreement.

         Section 10.7 Non-Recourse. This Agreement may only be enforced against, and any
 Action based upon, arising out of or related to this Agreement may only be brought against, the
 Persons that are expressly named as parties to this Agreement. Except to the extent named as a
 party to this Agreement, and then only to the extent of the specific obligations of such parties set
 forth in this Agreement, no past, present or future shareholder, member, partner, manager,
 director, officer, employee, Affiliate, agent or Advisor of any Party (each, a “Non-Recourse
 Person”) will have any Liability (whether in contract, tort, equity or otherwise) for any of the
 representations, warranties, covenants, agreements or other obligations or Liabilities of any of
 the parties to this Agreement or for any Agreement Dispute and each of such Persons are
 intended third party beneficiaries of this Section 10.7 and shall be entitled to enforce this
 Section 10.7 as if a party directly hereto.

         Section 10.8 Severability. Whenever possible, each provision of this Agreement will
 be interpreted in such manner as to be effective and valid under applicable Law, but if any
 provision of this Agreement is held to be prohibited by or invalid under applicable Law in any
 jurisdiction, such provision will be ineffective only to the extent of such prohibition or invalidity
 in such jurisdiction, without invalidating the remainder of such provision or the remaining
 provisions of this Agreement or in any other jurisdiction.

         Section 10.9 Construction. The language used in this Agreement will be deemed to be
 the language chosen by the Parties to express their mutual intent, and no rule of strict
 construction will be applied against any Person. The headings of the sections and paragraphs of
 this Agreement have been inserted for convenience of reference only and will in no way restrict
 or otherwise modify any of the terms or provisions hereof.

         Section 10.10 Schedules. The Schedules have been arranged for purposes of
 convenience in separately numbered sections corresponding to the sections of this Agreement;
 provided that each section of the Schedules will be deemed to incorporate by reference all
 information disclosed in any other section of the Schedules, and any disclosure in the Schedules
 will be deemed a disclosure against any representation or warranty set forth in this Agreement in
 each case, to the extent (and solely to the extent) the relevance of such disclosure to such other
 section of the Schedules or such other representation or warranty set forth in this Agreement is
 reasonably apparent on the face of such disclosure (without review or other examination of the
 underlying documents listed therein). Capitalized terms used in the Schedules and not otherwise
 defined therein have the meanings given to them in this Agreement. The specification of any

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 dollar amount or the inclusion of any item in the representations and warranties contained in this
 Agreement, the Schedules or the attached exhibits is not intended to imply that the amounts, or
 higher or lower amounts, or the items so included, or other items, are or are not required to be
 disclosed (including whether such amounts or items are required to be disclosed as material or
 threatened). In addition, matters reflected in the Schedules are not necessarily limited to matters
 required by this Agreement to be reflected in the Schedules. Such additional matters are set forth
 for informational purposes only and do not necessarily include other matters of a similar nature.
 No information set forth in the Schedules will be deemed to broaden in any way the scope of the
 Parties’ representations and warranties. Any description of any agreement, document,
 instrument, plan, arrangement or other item set forth on any Schedule is qualified in its entirety
 by the terms of such agreement, document, instrument, plan, arrangement, or item which terms
 will be deemed disclosed for all purposes of this Agreement, in each case, solely to the extent
 made available to Purchaser in accordance with Section 11.3(i). The information contained in
 this Agreement, in the Schedules and exhibits hereto is disclosed solely for purposes of this
 Agreement, and no information contained herein or therein will be deemed to be an admission by
 any Party to any third party of any matter whatsoever, including any violation of Law or breach
 of Contract.

         Section 10.11 Complete Agreement. This Agreement, together with the Confidentiality
 Agreement and any other agreements expressly referred to herein or therein, contains the entire
 agreement of the Parties respecting the sale and purchase of the Acquired Assets and the
 Assumed Liabilities and the Transactions and supersedes all prior agreements among the Parties
 respecting the sale and purchase of the Acquired Assets and the Assumed Liabilities and the
 Transactions. In the event an ambiguity or question of intent or interpretation arises with respect
 to this Agreement, the terms and provisions of the execution version of this Agreement will
 control and prior drafts of this Agreement and the documents referenced herein will not be
 considered or analyzed for any purpose (including in support of parol evidence proffered by any
 Person in connection with this Agreement), will be deemed not to provide any evidence as to the
 meaning of the provisions hereof or the intent of the Parties with respect hereto and will be
 deemed joint work product of the Parties.

         Section 10.12 Specific Performance. The Parties agree that irreparable damage, for
 which monetary relief, even if available, would not be an adequate remedy, would occur in the
 event that any provision of this Agreement is not performed in accordance with its specific terms
 or is otherwise breached, including if any of the Parties fails to take any action required of it
 hereunder to consummate the Transactions. It is accordingly agreed that (a) the Parties will be
 entitled to an injunction or injunctions, specific performance or other equitable relief to prevent
 breaches of this Agreement and to enforce specifically the terms and provisions hereof in the
 courts described in Section 10.13 without proof of damages or otherwise, this being in addition
 to any other remedy to which they are entitled under this Agreement, and (b) the right of specific
 performance and other equitable relief is an integral part of the Transactions and without that
 right, neither Sellers nor Purchaser would have entered into this Agreement. The Parties
 acknowledge and agree that any Party pursuing an injunction or injunctions or other Order to
 prevent breaches of this Agreement and to enforce specifically the terms and provisions of this
 Agreement in accordance with this Section 10.12 will not be required to provide any bond or
 other security in connection with any such Order. The remedies available to the Parties pursuant
 to this Section 10.12 will be in addition to any other remedy to which they were entitled at law or

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 in equity, and the election to pursue an injunction or specific performance will not restrict,
 impair or otherwise limit any Party from seeking to collect or collecting damages. If, prior to the
 Outside Date, any Party brings any action, in each case in accordance with Section 10.13, to
 enforce specifically the performance of the terms and provisions hereof by any other Party, the
 Outside Date will automatically be extended (i) for the period during which such action is
 pending, plus ten (10) Business Days or (ii) by such other time period established by the court
 presiding over such action, as the case may be.

         Section 10.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees
 that any Action of any kind whatsoever, including a counterclaim, cross-claim, or defense,
 regardless of the legal theory under which any Liability or obligation may be sought to be
 imposed, whether sounding in contract or in tort or under statute, or whether at law or in equity,
 or otherwise under any legal or equitable theory, that may be based upon, arising out of, or
 related to this Agreement or the negotiation, execution, or performance of this Agreement or the
 Transactions and any questions concerning the construction, interpretation, validity and
 enforceability of this Agreement (each, an “Agreement Dispute”) brought by any other Party or
 its successors or assigns will be brought and determined only in (a) the Bankruptcy Court and
 any federal court to which an appeal from the Bankruptcy Court may be validly taken or (b) if the
 Bankruptcy Court is unwilling or unable to hear such Action, in the Court of Chancery of the
 State of Delaware (or if such court lacks jurisdiction, any other state or federal court sitting in the
 State of Delaware) (the “Chosen Courts”), and each of the Parties hereby irrevocably submits to
 the exclusive jurisdiction of the Chosen Courts for itself and with respect to its property,
 generally and unconditionally, with regard to any Agreement Dispute. Each of the Parties agrees
 not to commence any Agreement Dispute except in the Chosen Courts, other than Actions in any
 court of competent jurisdiction to enforce any Order, decree or award rendered by any Chosen
 Courts, and no Party will file a motion to dismiss any Agreement Dispute filed in a Chosen
 Court on any jurisdictional or venue-related grounds, including the doctrine of forum
 non-conveniens. The Parties irrevocably agree that venue would be proper in any of the Chosen
 Court, and hereby irrevocably waive any objection that any such court is an improper or
 inconvenient forum for the resolution of any Agreement Dispute. Each of the Parties further
 irrevocably and unconditionally consents to service of process in the manner provided for notices
 in Section 10.3. Nothing in this Agreement will affect the right of any Party to serve process in
 any other manner permitted by Law.

          Section 10.14 Governing Law; Waiver of Jury Trial.

                  (a)     Except to the extent the mandatory provisions of the Bankruptcy Code
          apply, this Agreement and any Agreement Dispute will be governed by and construed in
          accordance with the internal Laws of the State of Delaware applicable to agreements
          executed and performed entirely within such State without regards to conflicts of law
          principles of the State of Delaware or any other jurisdiction that would cause the Laws of
          any jurisdiction other than the State of Delaware to apply.

                (b)  EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
          AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND
          DIFFICULT ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST
          EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A

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          TRIAL BY JURY IN ANY AGREEMENT DISPUTE. EACH OF THE PARTIES
          AGREES AND CONSENTS THAT ANY SUCH AGREEMENT DISPUTE WILL BE
          DECIDED BY COURT TRIAL WITHOUT A JURY AND THAT THE PARTIES MAY
          FILE AN ORIGINAL COUNTERPART OF A COPY OF THIS AGREEMENT WITH
          ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES TO
          THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY. EACH
          PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
          REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY
          WOULD NOT, IN THE EVENT OF ANY AGREEMENT DISPUTE, SEEK TO
          ENFORCE THE FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT
          AND THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS
          AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
          CERTIFICATIONS IN THIS SECTION 10.14(B).

        Section 10.15 No Right of Set-Off. Purchaser, on its own behalf and on behalf the
 Purchaser Group and its and their respective successors and permitted assigns, hereby waives
 any rights of set-off, netting, offset, recoupment or similar rights that Purchaser, any member of
 the Purchaser Group or any of its or their respective successors and permitted assigns has or may
 have with respect to the payment of the Purchase Price or any other payments to be made by
 Purchaser pursuant to this Agreement or any other document or instrument delivered by
 Purchaser in connection herewith.

         Section 10.16 Counterparts and PDF. This Agreement and any other agreements
 referred to herein or therein, and any amendments hereto or thereto, may be executed in multiple
 counterparts, any one of which need not contain the signature of more than one party hereto or
 thereto, but all such counterparts taken together will constitute one and the same instrument. Any
 counterpart, to the extent signed and delivered by means of a .PDF or other electronic
 transmission, will be treated in all manner and respects as an original Contract and will be
 considered to have the same binding legal effects as if it were the original signed version thereof
 delivered in person. Minor variations in the form of the signature page to this Agreement or any
 agreement or instrument contemplated hereby, including footers from earlier versions of this
 Agreement or any such other document, will be disregarded in determining the effectiveness of
 such signature. At the request of any party or pursuant to any such Contract, each other party
 hereto or thereto will re-execute original forms thereof and deliver them to all other parties. No
 party hereto or to any such Contract will raise the use of a .PDF or other electronic transmission
 to deliver a signature or the fact that any signature or Contract was transmitted or communicated
 through the use of PDF or other electronic transmission as a defense to the formation of a
 Contract and each such party forever waives any such defense.

         Section 10.17 Publicity. Neither Sellers (nor any of their Affiliates) nor Purchaser shall
 issue any press release or public announcement concerning this Agreement or the Transactions
 without obtaining the prior written approval of the other Party, which approval will not be
 unreasonably conditioned, withheld or delayed, unless, in the reasonable judgment of Purchaser
 or Sellers, disclosure is otherwise required by applicable Law or by the Bankruptcy Court with
 respect to filings to be made with the Bankruptcy Court in connection with this Agreement or by
 the applicable rules of any stock exchange on which Purchaser or Sellers (or their respective
 Affiliates) lists securities; provided that the Party intending to make such release shall use its

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 reasonable efforts consistent with such applicable Law or Bankruptcy Court requirement to
 consult with the other Party with respect to the text thereof.

         Section 10.18 Bulk Sales Laws. The Parties intend that pursuant to section 363(f) of the
 Bankruptcy Code, the transfer of the Acquired Assets shall be free and clear of any
 Encumbrances in the Acquired Assets including any liens or claims arising out of the bulk
 transfer Laws except Permitted Encumbrances, and the Parties shall take such steps as may be
 necessary or appropriate to so provide in the Sale Order. In furtherance of the foregoing, each
 Party hereby waives compliance by the Parties with the “bulk sales,” “bulk transfers” or similar
 Laws and all other similar Laws in all applicable jurisdictions in respect of the Transactions.

         Section 10.19 Sellers’ Representative. Each Party agrees that Elixir has the power and
 authority to unilaterally act on behalf of all or any of the Sellers for the purposes specified under
 this Agreement. Such power will include the power to make all decisions, actions, Consents and
 determinations on behalf of the Sellers, including to make any waiver of any Closing condition
 or agree to any amendment to this Agreement. No Seller shall have any right to object, dissent,
 protest or otherwise contest the same. Purchaser shall be entitled to rely on any action or
 omission taken by Elixir on behalf of the Sellers.

         Section 10.20 Financing Sources. Each of the Sellers hereby waives any rights or
 claims against the Financing Sources (as defined below) and hereby agrees that in no event shall
 any of the Financing Sources have any liability or obligation to any Seller, or the respective
 Affiliates of any Seller, and in no event shall any Seller (or the respective Affiliates of any
 Seller) seek or obtain any other damages of any kind against any Financing Source (including
 without limitation, direct, economic, consequential, special, indirect or punitive damages), in
 each case, relating to or arising out of this Agreement, any Financing (as defined below) or the
 transactions contemplated hereby or thereby. Further, notwithstanding anything to the contrary
 herein, (i) the Financing Sources shall be third party beneficiaries of, and shall be entitled to
 enforce the provisions of this Section 10.20 (including the following clause (iii)), (ii) this
 Section 10.20 shall survive the termination of this Agreement, and (iii) the provisions set forth in
 this Section 10.20 may not be amended, modified or altered in any manner that could be adverse
 to the interests of any Financing Source in any respect without the prior written consent of the
 Financing Sources. Further, if for any reason pursuant to Section 2.2 or otherwise, the Sellers
 shall have the right to retain all or any portion of the Deposit, then each Seller hereby
 acknowledges and agrees (for itself and its Affiliates) that such retention of such Deposit amount
 by the Sellers shall also satisfy in full any claims that any Sellers might assert against any
 Financing Source. In this Section 10.20: (a) “Financing Sources” means all agents, arrangers,
 lenders, bookrunners, letter of credit providers and other entities that have provided, or have
 committed to provide, or will after the date of this Agreement provide, or arrange or otherwise
 enter into agreements in connection with, any Financing, with the Purchaser and/or any of its
 Affiliates, including the parties to any credit agreement, indenture or other financing or lending
 agreement, or any commitment or engagement letter (including any joinder thereto) or other
 agreements entered pursuant thereto or relating thereto, together with their respective Affiliates
 and the current, former or future officers, directors, employees, partners, trustees, shareholders,
 equityholders, managers, members, limited partners, controlling persons, agents and
 representatives of each of them and their respective Affiliates, and the successors and assigns of
 the foregoing Persons; and (b) “Financing” means any debt or other financings entered into by

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 the Purchaser or any of its Affiliates in connection with the consummation of the transactions
 contemplated by this Agreement prior to, on, or after the date hereof, including any borrowing of
 loans and any related commitment letter, engagement letter, credit agreement, indenture, and any
 other related documentation governing such debt or other financing including any credit facilities
 or capital markets debt financing.

                                        ARTICLE XI
                       ADDITIONAL DEFINITIONS AND INTERPRETIVE MATTERS

          Section 11.1 Certain Definitions.

                  (a)    “Action” means any action, claim (including any “claim” as defined in the
          Bankruptcy Code), suit, litigation, arbitration, mediation, complaint, audit, proceeding
          (including any civil, criminal, administrative, investigative or appellate proceeding) or
          prosecution, contest, hearing, inquiry, inquest, audit, examination or investigation of any
          kind whatsoever whether sounding in contract or tort, or whether at law or in equity, or
          otherwise under any legal or equitable theory, commenced, brought, conducted or heard
          by or before, or otherwise involving, any Governmental Body.

                  (b)    “Advisors” means, with respect to any Person as of any relevant time, any
          directors, officers, employees, investment bankers, financial advisors, accountants,
          agents, attorneys, consultants, or other representatives of such Person.

                  (c)     “Affiliate” means, with respect to any Person, any other Person that,
          directly or indirectly through one or more intermediaries, controls, or is controlled by, or
          is under common control with, such Person, and the term “control” (including the terms
          “controlled by” and “under common control with”) means the possession, directly or
          indirectly, of the power to direct or cause the direction of the management, affairs and
          policies of such Person, whether through ownership of voting securities, by Contract or
          otherwise.

                  (d)     “Alternative Transaction” means any transaction (or series of
          transactions), whether direct or indirect, whereby any Person or group of Persons (other
          than Sellers and their Affiliates or Purchaser and its Affiliates) acquires a material portion
          of the Acquired Assets, in each case whether by merger, sale of assets or equity,
          recapitalization, plan of reorganization or otherwise. Notwithstanding the foregoing, a
          liquidation or wind-down of Sellers’ estates shall not be an Alternative Transaction.

                  (e)     “Anti-Corruption Laws” means all anti-corruption Laws applicable to the
          Sellers, including the United States Foreign Corrupt Practices Act of 1977 (15 U.S.C. §§
          78dd- 1, et seq.), and any other applicable anti-bribery or anti-corruption Law (including
          any Laws relating to the making of any unlawful payment to any foreign or domestic
          government official), including any rules, regulations and guidance promulgated under
          any of the foregoing that prohibit bribery, corruption, or substantially similar conduct.

                (f)     “Auction” shall have the meaning ascribed to such term in the Bidding
          Procedures Order.


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                  (g)     “Bidding Deadline” means the deadline by which binding bids for the
          Sellers’ assets must be submitted in the Auction, pursuant to the Bidding Procedures
          Order.

                 (h)     “Bidding Procedures” means procedures governing submission and
          evaluation of bids to purchase some, all, or substantially all of the Sellers’ assets,
          pursuant to the Bidding Procedures Order.

                  (i)     “Bidding Procedures Motion” means the motion seeking entry of the
          Bidding Procedures Order, which shall be in form and substance reasonably satisfactory
          to the Sellers and Purchaser.

                 (j)    “Bidding Procedures Order” means an Order of the Bankruptcy Court
          approving the Bidding Procedures Motion, in the form attached labeled as Exhibit F.

                   (k)    “Business” means the business operations of Sellers as of the date hereof,
          including the provision of (i) pharmacy benefits manager services (including plan design
          and administration, cash card programs, formulary management, claims processing and
          associated clinical services, and trade and rebate administration) and (ii) specialty and
          mail order pharmacy services, including fulfillment actives associated therewith. For
          clarity, such business operations include the use, reproduction, modification, distribution,
          and licensing of the Laker Software.

                  (l)  “Business Day” means any day other than a Saturday, Sunday or other day
          on which banks in New York City, New York are authorized or required by Law to be
          closed.

                 (m)     “Business Employee” means each (i) employee of any of the Sellers, and
          (ii) employee of any non-Seller Affiliate of any Seller whose duties and responsibilities
          are dedicated primarily to the Business and set forth on Section 3.14(a), together with any
          replacement, if any, of any such individual only to the extent permitted by and in
          accordance with Section 6.1(b)(v).

                 (n)     “Cash and Cash Equivalents” means all of Sellers cash (including checks
          and deposits in transit, demand deposits, money markets or similar accounts), checking
          account balances, marketable securities, certificates of deposits, time deposits, bankers’
          acceptances, commercial paper, security entitlements, securities accounts, commodity
          Contracts, commodity accounts, government securities, and any other cash equivalents
          whether on hand, in transit, in banks or other financial institutions, or otherwise held.

                  (o)     “Closing Working Capital” means: (a) Current Assets, less (b) Current
          Liabilities, determined as of 11:59 PM Eastern time on the date immediately preceding
          the Closing Date.

                  (p)    “CMS” means the Centers for Medicare & Medicaid Services, an agency
          within the U.S. Department of Health and Human Services.



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                  (q)      “CMS Receivable” means all amounts payable to Seller or any of its
          Affiliates (i) by or on behalf of CMS pursuant to 42 C.F.R. Part 423 and the Contract by
          and between CMS and EIC for contract year 2023 and any predecessor Contracts by and
          between CMS and EIC for prior contract years or (ii) related to any financing of any
          historical amounts that are or would previously have been included in clause (i).

                (r)    “Confidentiality Agreement” means that certain Confidentiality
          Agreement, dated as of August 3, 2023, by and between Rite Aid Corporation and
          MedImpact Healthcare Systems, Inc.

                 (s)     “Consent” means any approval, consent, ratification, permission, waiver
          or authorization, or an Order of the Bankruptcy Court that deems or renders unnecessary
          the same.

                  (t)    “Contract” means any written contract, license, arrangement, promise,
          obligation, indenture, note, bond, Lease, sublease, mortgage, agreement, guarantee,
          purchase order, service order, sales order, commitment, or other agreement or instrument,
          whether written or oral, that is binding upon a Person or any of its property.

                  (u)    “Current Assets” means, without duplication, the total current assets of
          Sellers using those line items used in the example calculation attached hereto as Exhibit
          E attached hereto, as determined in accordance with the GAAP consistently applied and
          in respect of Taxes, in accordance with the Tax Principles.

                 (v)    “Cure Costs” mean all cure costs required to be paid pursuant to section
          365 of the Bankruptcy Code in connection with the assumption and assignment of the
          Assigned Contracts.

                   (w)     “Current Liabilities” means, without duplication, the total current
          liabilities of Sellers using those line items used in the example calculation attached hereto
          as Exhibit E attached hereto, as determined in accordance with the GAAP consistently
          applied and in respect of Taxes, in accordance with the Tax Principles.

                (x)    “Debtors” means, collectively, the debtors-in-possession under the
          Bankruptcy Cases.

                  (y)      “Delayed Transferred Employee” means a Transferred Employee whose
          employment is not eligible for immediate transfer to Purchaser at or prior to the Closing
          as a result of (i) requirements under applicable Law or (ii) a leave of absence, but in each
          case, who successfully transfers to Purchaser within twelve (12) months of the Closing.

                  (z)    “Documents” means all of Sellers’ written files, documents, instruments,
          papers, books, reports, records, tapes, microfilms, photographs, letters, budgets, forecasts,
          plans, operating records, safety and environmental reports, data, studies, and documents,
          Tax Returns, ledgers, journals, title policies, customer lists, regulatory filings, operating
          data and plans, research material, technical documentation (design specifications,
          engineering information, test results, logic manuals, processes, flow charts, etc.), user
          documentation (installation guides, user manuals, training materials, release notes,

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          working papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web
          pages, etc.), and other similar materials, in each case whether or not in electronic form
          and, without limiting the generality of the foregoing, (i) any and all medical records,
          billing records, prescriptions, prescription files and records, pharmacy customer lists,
          signature logs and patient profiles including refill status reports and insurance coverages,
          co-pay and payment records (the information in this clause (ii), collectively, “Company
          Rx Data”) relating to customers of the mail order and specialty pharmacy business
          (which shall in any event include no less than twenty four (24) months for any Company
          Rx Data relating to customers of the mail order and specialty pharmacy business
          maintained electronically or in hard copy.

                  (aa) “EGWP Contracts" mean any EIC Contract (or portions thereof), pursuant
          to which EGWP plans are provided or administered to Medicare Part D eligible retirees
          and/or their Medicare Part D eligible spouses or dependents.

                  (bb) “Employee Benefit Plan” means each “employee benefit plan” within the
          meaning of Section 3(3) of ERISA, each other deferred compensation, bonus or incentive
          compensation, pension, retiree medical, disability or life insurance, or supplemental plan,
          program, Contract, agreement or arrangement, each employment, severance,
          change-of-control and each other employee benefit or compensation plan, program,
          Contract, agreement or arrangement, whether oral or written, whether or not subject to
          ERISA, whether funded or unfunded, in each case (i) that is maintained, sponsored,
          administered or contributed or required to be contributed to by any Seller or any ERISA
          Affiliate or any of their respective Affiliates for the benefit of Business Employees or
          former Business Employees, or (ii) with respect to which any Seller has any Liability;
          provided that the term “Employee Benefit Plan” shall not include any statutory benefit
          plan to which any of the Sellers are required to participate in or comply with that is
          sponsored and administered by a Governmental Body (such as Social Security).

                  (cc) “Encumbrance” means any lien (as defined in section 101(37) of the
          Bankruptcy Code), encumbrance, claim (as defined in section 101(5) of the Bankruptcy
          Code), charge, mortgage, deed of trust, option, pledge, security interest or similar
          interests, title defects, hypothecations, easements, rights of way, encroachments, Orders,
          conditional sale or other title retention agreements and other similar impositions,
          imperfections or defects of title or restrictions on transfer or use.

                  (dd) “Environmental Laws” all applicable Laws concerning pollution or
          protection of the environment.

                  (ee) “Equipment” means any and all equipment, computers, furniture,
          furnishings, fixtures, office supplies, vehicles and all other fixed assets.

                  (ff)    “Equity Interests” means, with respect to a Person, any membership
          interests, partnership interests, profits interests, capital stock or other equity securities
          (including profit participation features or equity appreciation rights, phantom stock rights
          or other similar rights) or ownership interests of such Person, or any securities (including
          debt securities or other indebtedness) exercisable or exchangeable for or convertible into,

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          or other rights to acquire, membership interests, partnership interests, capital stock or
          other equity securities or ownership interests of such Person (or otherwise constituting an
          investment in such Person).

                       (gg)   “ERISA” means the Employee Retirement Income Security Act of 1974.

                 (hh) “Escrow Agreement” means that certain Escrow Agreement entered into
          by Purchaser, Sellers and the Escrow Agent dated as of the date hereof.

                       (ii)   “Escrow Agent” means Acquiom Clearinghouse LLC.

                  (jj)   “Excluded Tax Returns” means Tax Returns (or any portion of any Tax
          Return) and other books and records related to (i) Taxes that are not related primarily to
          any Acquired Asset or the Business or (ii) any consolidated, combined, affiliated or
          unitary group for Tax purposes that includes any Seller or any of its Affiliates.

                  (kk) “Fraud” means an act committed by (a) Sellers, in the making to Purchaser
          the representations and warranties in Article III or in the certificate delivered pursuant to
          Section 2.4(i) or (b) Purchaser, in the making to the Sellers the representations and
          warranties in Article IV or in the certificate delivered pursuant to Section 2.5(h), in any
          such case, with intent to deceive another Party, or to induce such other Party to enter into
          this Agreement and requires (i) a false representation of material fact made in such
          representation; (ii) with knowledge that such representation is false; (iii) with an intention
          to induce the Party to whom such representation is made to act or refrain from acting in
          reliance upon it; (iv) causing that Party, in justifiable reliance upon such false
          representation, to take or refrain from taking action; and (v) causing such Party to suffer
          damage by reason of such reliance, which together constitutes common law fraud under
          Delaware Law (and does not include any fraud claim based on constructive knowledge,
          negligent misrepresentation, recklessness or a similar theory).

                  (ll)   “First Day Pleadings” means the first-day pleadings that the Sellers
          determine are necessary or desirable to file in the Bankruptcy Court on or around the
          Petition Date.

                  (mm) “GAAP” means United States generally accepted accounting principles as
          in effect from time to time.

                  (nn) “Governmental Authorization” means any permit, Healthcare Permit,
          license, franchise, certificate, approval, application, registration, drug listing, consent,
          permission, clearance, waiver, notification, designation, registration, certification,
          making, exemption, variance, order, tariff, rate schedule, qualification, or authorization
          issued, granted, given or otherwise made available by or under the authority of any
          Governmental Body or pursuant to any Law, including any Healthcare Law.

                 (oo) “Governmental Body” means any government, quasi-governmental entity,
          or other governmental or regulatory body, agency or political subdivision thereof of any
          nature, whether foreign, federal, state or local, or any agency, branch, department,


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          official, entity, instrumentality or authority thereof, or any court or arbitrator of applicable
          jurisdiction.

                  (pp) “Governmental Health Program” means any federal health care program
          as defined in 42 U.S.C. § 1320a-7b(f), including, but not limited to, Medicare, Medicaid,
          TRICARE, CHAMPVA, and state programs that provide or otherwise make available
          healthcare coverage to certain of its residents.

                 (qq) “Group Purchasing Organization” means any group purchasing
          organization, rebate aggregator, or other Person performing similar services.

                 (rr)    “Hazardous Material” means any substance, pollutant, contaminant,
          material and waste that is regulated by any Law or judgment or is classified in any
          Environmental Law as “hazardous,” “toxic,” “dangerous,” a “pollutant,” a “contaminant”
          or words of similar meaning, including asbestos, asbestos-containing materials,
          polychlorinated biphenyls, gasoline, diesel fuel, petroleum, petroleum by-products or
          petroleum products, radioactive materials and radon gas, per- and polyfluoroalkyl
          substances, and any other chemicals, materials, substances or wastes in any amount or
          concentration which are regulated under or for which Liability may be imposed under any
          Environmental Law.

                  (ss)   “Healthcare Law”, means (a) all applicable healthcare Laws of any
          Governmental Body, or Governmental Health Program, relating to the provision,
          administration of, and payment for, healthcare services, including: (i) (A) Title XVIII of
          the Social Security Act, 42 U.S.C. § 1395, et seq. (the Medicare statute), and 42 U.S.C. §
          1395nn (Stark Law); (B) Title XIX of the Social Security Act, 42 U.S.C. §§
          1396-1396w-5 (the Medicaid statute); (C) the Federal Health Care Program
          Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b); (D) the False Claims Act, 31 U.S.C. §§
          3729-3733; (E) the exclusion law, 42 U.S.C. § 1320a-7; (F) the civil monetary penalties
          law, 42 U.S.C. § 1320 a-7a; (G) the False Claim Law, 42 U.S.C. § 1320a-7b(a); (H) the
          anti-inducement law, 42 U.S.C. § 1320a-7a(a)(5); (I) HIPAA (as defined herein); (J) the
          Patient Protection and Affordable Care Act of 2010; (K) the Beneficiary Inducement
          Statute (42 U.S.C. § 1320a-7a(a)(5)); (L) the Prescription Drug Marketing Act of 1987;
          (M) the Confidentiality of Alcohol and Drug Abuse Patient Records law and regulations
          and any similar law (42 U.S.C. § 290dd-2, 42 C.F.R. Part 2); (ii) (A) any Laws with
          respect to healthcare-related fraud and abuse, false claims, staffing, rebates, pharmacy
          services, coverage reimbursement, corporate practice of medicine, credentialing, and
          Healthcare Permits (as defined herein); (B) any Laws with respect to engaging in the
          business of insurance; establishing, marketing and managing healthcare and pharmacy
          provider networks, and insurance fraud; (iii) in each case, as amended, and all regulations
          promulgated thereunder and (b) any and all state law equivalents to those Laws set forth
          in subsections (i), (ii) and (iii) above.

                 (tt)   “Healthcare Permit” means any and all licenses, certifications, consents,
          enrollments, authorizations, approvals, registrations, accreditations, and any other
          permission that is required by applicable Law for the operation of the Business and is


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          issued or enforced by a Governmental Body or Governmental Health Program with
          jurisdiction over any Healthcare Law.

                  (uu) “HIPAA” means the following, as the same may be amended, modified or
          supplemented from time to time, any successor statute thereto, and together with any and
          all rules or regulations promulgated from time to time thereunder: (i) the Health
          Insurance Portability and Accountability Act of 1996; (ii) the Health Information
          Technology for Economic and Clinical Health Act (Title XIII of the American Recovery
          and Reinvestment Act of 2009); and (iii) applicable state Laws regarding patient privacy
          and the security, use or disclosure of healthcare records.

                 (vv) “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of
          1976 and the rules and regulations promulgated thereunder.

                  (ww) “Intellectual Property” means all of the following: (i) inventions,
          improvements, designs, methods and processes (whether or not patentable), patents
          (including utility and design patents), patent applications and patent disclosures
          (including invention disclosures, records of invention, certificates of invention, and
          applications for certificates of inventions and priority rights filed with a Registration
          Office); (ii) trademarks, service marks, trade dress, corporate names, logos, insignias,
          designs, symbols, trade names and fictitious business names, emblems, signs, slogans,
          other similar designations of source or origin and general intangibles of like nature and
          Internet domain names, social media accounts and profiles, together with all goodwill
          associated with each of the foregoing; (iii) copyrights, works of authorship and mask
          works and all other rights corresponding thereto throughout the world, including
          databases, data compilations and collections and economic rights in copyrights; (iv)
          registrations and applications for any of the foregoing; (v) know-how, formularies,
          clinical data, research and development information, technology, product roadmaps,
          customer lists, trade secrets and other non-public confidential and proprietary
          information; (vi) computer software (which includes firmware, middleware, code,
          programs, libraries, and applications); (vii) drawings, schematics and other technical
          plans; and (viii) all other intellectual property.

                  (xx) “Inventory” means all inventory (including active pharmaceutical
          ingredients, finished goods, supplies, raw materials, work in progress, spare, replacement
          and component parts, and packaging containers, labels and other similar items)
          maintained or held by, stored by or on behalf of, or in transit to, any of Sellers, whether
          for sale or non-commercial use (e.g., validation) or otherwise, together with any interests
          therein, including (x) being held by customers pursuant to consignment arrangements or
          (y) being held by suppliers or vendors under tolling or similar arrangements.

                 (yy) “Knowledge of Seller”, “Knowledge of Sellers”, or words of like import
          means the actual knowledge, of Chris DuPaul, Rand Greenblatt, Anna Khais, Corrine
          Whisler, Cindy Pigg, and Alan Reicher, after reasonable inquiry of their direct reports
          with respect to the applicable subject matter, none of whom, for the sake of clarity and



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          avoidance of doubt, shall have any personal Liability or obligations regarding such
          knowledge.

                  (zz) “Laker Software” means the software generally known as the Laker
          Software, including all modules, versions, releases of such software, which software is
          used to provide comprehensive pharmacy claim adjudication solutions for all populations
          segments, including through the “PBM Express” suite of applications.

                  (aaa) “Law” means any federal, state, provincial, local, municipal, foreign or
          international, multinational or other law, Healthcare Law, statute, legislation,
          constitution, principle of common law, resolution, ordinance, code, edict, decree,
          proclamation, treaty, convention, rule, regulation, ruling, directive or requirement issued,
          enacted, adopted, promulgated, implemented or otherwise put into effect by or under the
          authority of any Governmental Body anywhere in the world

                 (bbb) “Lease” means all leases, subleases, licenses, concessions and other
          agreements (written or oral) pursuant to which any Seller holds any Leased Real
          Property.

                  (ccc) “Liability” means, as to any Person, any debt, adverse claim, liability,
          duty, responsibility, obligation, commitment, assessment, cost, expense, loss,
          expenditure, charge, fee, penalty, fine, contribution, or premium of any kind or nature
          whatsoever, whether known or unknown, asserted or unasserted, absolute or contingent,
          direct or indirect, accrued or unaccrued, liquidated or unliquidated, or due or to become
          due, and regardless of when sustained, incurred or asserted or when the relevant events
          occurred or circumstances existed.

                  (ddd) “Material Adverse Effect” means any matter, event, change, development,
          occurrence, circumstance or effect (each, an “Effect”) that, individually or in the
          aggregate (a) has, or would reasonably be expected to have, a material adverse effect on
          the Acquired Assets, Assumed Liabilities, taken as a whole, or on the results of
          operations or condition (financial or otherwise) of the Business, or (b) would reasonably
          be expected to impair, in any material respect, the ability of the Sellers to consummate
          the Transactions; provided that, for purposes of clause (a), none of the following shall
          constitute, or be taken into account in determining whether or not there has been, a
          Material Adverse Effect: any Effect arising from or relating (and solely to the extent
          arising from or relating) to (i) general business or economic conditions affecting the
          industry in which Sellers operate, including the effects of general competition therein and
          any change in market share or loss or non-renewal of customers; (ii) national or
          international political or social conditions, the engagement by the United States or other
          country in hostilities or the escalation thereof, whether or not pursuant to the declaration
          of a national emergency or war, or the occurrence or the escalation of any military, cyber
          or terrorist (whether or not state-sponsored) attack upon the United States or any other
          country, or any of its territories, possessions, or diplomatic or consular offices or military
          installations; (iii) any fire, flood, hurricane, earthquake, tornado, windstorm, other
          calamity or act of God, global or national health epidemic, pandemic (whether or not
          declared as such by any Governmental Body), viral outbreak (including “Coronavirus” or

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          “COVID-19” or the worsening thereof) or any quarantine or trade restrictions related
          thereto or any other force majeure; (iv) financial, banking, or securities markets
          (including any increased cost, or decreased availability, of capital or pricing or terms
          related to any financing for the Transactions); (v) changes in GAAP; (vi) changes in
          Laws (including, for the avoidance of doubt, any such items related to Section 6.5) and
          any increase (or decrease) in the terms or enforcement of (or negotiations or disputes with
          respect to) any of the foregoing; (vii) the failure to take any action if such action is
          prohibited by this Agreement; (viii) Purchaser’s failure to consent to any of the actions
          restricted in Section 6.1; (ix) the negotiation, announcement, or pendency of this
          Agreement or the Transactions, the identity, nature, or ownership of Purchaser or
          Purchaser’s plans with respect to the Acquired Assets and Assumed Liabilities, including
          the impact thereof on the relationships, contractual or otherwise, of the Business with
          employees, customers, lessors, suppliers, vendors, or other commercial partners or
          litigation arising from or relating to this Agreement or the Transactions; (x) any failure,
          in and of itself, of Sellers to achieve any budgets, projections, forecasts, estimates,
          predictions, performance metrics or operating statistics or the inputs into such items
          (whether or not shared with Purchaser or its Affiliates or Advisors) or failure to win or
          maintain customers; provided that the Effects giving rise to or contributing to such failure
          may be deemed to constitute, or be taken into account in determining whether there has
          been a Material Adverse Effect; (xi) the Effect of any action taken by Purchaser or its
          Affiliates with respect to the Transactions or the financing thereof or any breach by
          Purchaser of this Agreement; (xii) the matters set forth on the Schedules; or (xiii)(A) the
          commencement or pendency of the Bankruptcy Cases; (B) any objections in the
          Bankruptcy Court to (1) this Agreement or any of the Transactions or thereby, (2) the
          Bidding Procedures Order, the Sale Order or the reorganization or liquidation of Sellers
          or their Affiliates, or (3) the assumption or rejection of any Assigned Contract or any
          Acquired Lease; or (C) any Order of the Bankruptcy Court or any actions or omissions of
          Sellers or their Affiliates in compliance therewith; provided that any adverse Effect
          resulting or arising from any matter described in clauses (i) through (iv) may be taken
          into account in determining whether there has been a Material Adverse Effect to the
          extent, and only to the extent, that such Effect has had a materially disproportionate
          adverse effect on the Business relative to similarly situated participants in the industries
          and geographic areas in which the Sellers operate (in which case only such incremental
          materially disproportionate adverse effect may be taken into account in determining
          whether there has been a Material Adverse Effect).

                  (eee) “Open License Terms” means license terms that are, or are substantially
          similar to, licenses now or in the future approved by the Open Source Initiative, or are
          considered “free” or “open source software” by the Open Source Initiative or the Free
          Software Foundation, which include: (i) the GNU General Public License (GPL); (ii)
          Lesser/Library GPL (LGPL); (iii) the Common Development and Distribution License
          (CDDL); (iv) the Artistic License (including PERL); (v) the Netscape Public License;
          (vi) the Sun Community Source License (SCSL) or the Sun Industry Standards License
          (SISL); (vii) the Apache License; (viii) the Common Public License; (ix) the Affero GPL
          (AGPL); (x) the Berkeley Software Distribution (BSD); (xi) the Mozilla Public License
          (MPL), (xii) the Microsoft Limited Public License, (xiii) MongoDB, Inc.’s Server Side


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          Public License, and (xiv) any other licenses that are defined as OSI (Open Source
          Initiative) licenses as listed on the site www.opensource.org.

                  (fff) “Order” means any award. order, injunction, order, decree, ruling, writ,
          assessment, judgment, decision, subpoena, mandate, precept, command, directive,
          consent, approval, award (including any arbitration award) or similar determination or
          finding entered, issued, made or rendered by any Governmental Body, including any
          order entered by the Bankruptcy Court in the Bankruptcy Cases (including the Sale
          Order).

                (ggg) “Ordinary Course” means the ordinary and usual course of operations or
          conduct of the Business, taking into account the contemplation, commencement and
          pendency of the Bankruptcy Cases.

                  (hhh) “Organizational Documents” means, with respect to any Person other than
          a natural person, the documents by which such Person was organized (such as a
          certificate of incorporation, certificate of formation, certificate of limited partnership or
          articles of organization, and including any certificates of designation for preferred stock
          or other forms of preferred equity) or which relate to the internal governance of such
          Person (such as bylaws, a partnership agreement or an operating, limited liability or
          members agreement).

                  (iii) “Permitted Encumbrances” means (i) Encumbrances for utilities and
          Taxes not yet due and payable or that are being contested in good faith, or the
          nonpayment of which is permitted or required by the Bankruptcy Code, or that are being
          contested in good faith, or the nonpayment of which is permitted or required by the
          Bankruptcy Code, (ii) easements, rights of way, restrictive covenants, encroachments and
          similar non-monetary Encumbrances or non-monetary impediments against any of the
          Acquired Assets which do not, individually or in the aggregate, adversely affect the
          operation of the Acquired Assets and, in the case of the Owned Real Property and Leased
          Real Property, which do not, individually or in the aggregate, adversely affect, or
          materially restrict or impair the use or occupancy of such Owned Real Property or Leased
          Real Property as it relates to the operation of the Acquired Assets, (iii) applicable zoning
          Laws, building codes, land use restrictions and other similar restrictions imposed by Law
          which are not violated by the current use or occupancy of such Owned Real Property and
          Leased Real Property, as applicable, (iv) Intellectual Property licenses granted by a Seller
          to customers on a non-exclusive basis in the Ordinary Course, and (v) solely prior to
          Closing, any Encumbrances that will be removed or released by operation of the Sale
          Order.

                 (jjj) “Person” means an individual, corporation, partnership, limited liability
          company, joint venture, association, trust, unincorporated organization, labor union,
          organization, estate, Governmental Body or other entity or group.

                  (kkk) “Personal Information” means (i) any representation of information that
          permits the identity of an individual to whom the information applies to be reasonably
          inferred by either direct or indirect means, including (1) any information that can be used

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          to distinguish or trace an individual’s identity, such as name, email address, phone
          number, social security number, date and place of birth, mother’s maiden name, and
          (2) any other information that is linked or linkable to an individual, such as financial
          information; and (ii) any information defined as personal information, personal data,
          personally identifiable information, or similar term under any Privacy Requirements.

                 (lll) “Post-Closing Tax Period” means any taxable period beginning on or after
          the Closing Date and the portion of any Straddle Period attributable to the portion of the
          period beginning after the Closing Date.

                 (mmm)         “Pre-Closing Tax Period” means any Tax period ending on or
          before the Closing Date and the portion of any Straddle Period through the end of the
          Closing Date.

                 (nnn) “Privacy Requirements” means Privacy Laws, Privacy and Information
          Security Policies, and Privacy Agreements.

                  (ooo) “Products” means the medicinal or pharmaceutical products, product
          candidates or therapies that are or have been researched, developed, packaged, labeled,
          used, marketed, imported, exported tested (including through clinical trials),
          commercialized, manufactured, stored, sold, licensed, or distributed by or on behalf of
          any of the Sellers or any of their Affiliates, or which the process has taken substantial
          steps towards manufacturing, commercializing, developing, packaging, labeling, storing,
          using, marketing, importing, exporting, distributing or selling, including all products that
          are regulated as human or animal drugs, medical devices, or other health care products
          under Healthcare Laws, including drug and biological candidates, compounds or products
          being researched, tested, stored, developed, labeled, manufactured, packed, marketed,
          sold and/or distributed by any of the Sellers or any of their Affiliates.

                 (ppp) “Public Software” means any software, libraries or other code that is
          licensed under or is otherwise subject to Open License Terms.

                 (qqq) “Purchaser Group” means Purchaser (including any Designated
          Purchaser), any Affiliate of Purchaser and each of their respective former, current or
          future Affiliates, officers, directors, employees, partners, members, managers, agents,
          Advisors, successors or permitted assigns.

                       (rrr)   “Purchase Price Adjustment Escrow Amount” means $14,375,000.

                 (sss) “Rebate Assets” means all accounts receivable, or other amounts, owing
          from any Person, including pharmaceutical drug manufacturers or Group Purchasing
          Organizations, with respect to rebates, discounts, or similar claims.

                 (ttt) “Release” means any actual or threatened release, spilling, leaking,
          pumping, pouring, emitting, emptying, discharging, injecting, escaping, leaching,
          dumping, abandonment, disposing or allowing to escape or migrate into or through the
          environment (including, without limitation, ambient air (indoor or outdoor), surface


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          water, groundwater, land surface or subsurface strata or within any building, structure,
          facility or fixture).

                 (uuu) “Sale Order” means the Order (i) approving this Agreement and the terms
          and conditions hereof, including pursuant to sections 363 and 365 of the Bankruptcy
          Code and (ii) approving and authorizing Sellers to consummate the Transactions, in form
          and substance reasonably acceptable to Sellers and Purchaser.

                  (vvv) “Second Day Hearing” means the hearing before the Bankruptcy Court to
          consider approval of, among other things, certain of the First Day Pleadings on a final
          basis, but in any event shall not mean the initial hearing to consider the First Day
          Pleadings before the Bankruptcy Court on or around the Petition Date.

                  (www) “Securities Act” means the Securities Act of 1933 and the rules and
          regulations promulgated thereunder.

                  (xxx) “Seller Parties” means each Seller and its former, current, or future
          Affiliates, officers, directors, employees, partners, members, equityholders, controlling or
          controlled Persons, managers, agents, Advisors, successors or permitted assigns.

                 (yyy) “Straddle Period” means any taxable period that includes but does not end
          on the Closing Date.

                  (zzz) “Subsidiary” or “Subsidiaries” means, with respect to any Person, any
          corporation, limited liability company or other entity of which a majority of the total
          voting power of shares of stock or other Equity Interests entitled (without regard to the
          occurrence of any contingency) to vote in the election of directors, managers or trustees
          or other governing body or Person thereof is at the time owned or controlled, directly or
          indirectly, by such Person or one or more of the other Subsidiaries of such Person or a
          combination thereof or any partnership, association or other business entity of which a
          majority of the partnership or other similar ownership interest is at the time owned or
          controlled, directly or indirectly, by such Person or one or more Subsidiaries of such
          Person or a combination thereof.

                       (aaaa) “Target Working Capital” means negative $206,628,000.

                   (bbbb) “Tax” or “Taxes” means any federal, state, local, foreign or other income,
          gross receipts, capital stock, franchise, profits, withholding, social security,
          unemployment, disability, real property, ad valorem/personal property, stamp, excise,
          occupation, sales, use, transfer, value added, goods and services, unclaimed property,
          import, export, alternative minimum or estimated tax, including any interest, penalty or
          addition thereto in each case whether payable directly or a primary or secondary liability,
          or as a legal successor or transferee.

                (cccc) “Tax Code” means the United States Internal Revenue Code of 1986, as
          amended.



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                   (dddd) “Tax Principles” means, with respect to any Taxes, the principles that
          such Taxes should be: (i) calculated consistent with the past procedures and practices in
          preparing Tax Returns for such Taxes to the extent consistent with applicable Law,
          (ii) for any Straddle Period, calculated in accordance with the principles set forth in
          Section 9.5, (iii) calculated without regard to any increase in Tax liabilities by reason of
          actions described in Section 9.4, and (iv) calculated by excluding any deferred Tax assets
          and deferred Tax liabilities.

                 (eeee) “Tax Return” means any return, claim for refund, report, statement or
          information return relating to Taxes required to be filed with a Governmental Body,
          including any schedule or attachment thereto, and including any amendments thereof.

                 (ffff) “Taxing Authority” means any U.S. federal, state, local, municipal, or
          foreign government, any subdivision, agency, commission or authority thereof or any
          quasi-Governmental Body exercising Tax regulatory authority.

                (gggg) “Transaction Agreements” means this Agreement and any other
          agreements, instruments or documents entered into pursuant to this Agreement.

                 (hhhh) “Transactions” means the transactions contemplated by this Agreement
          and the other Transaction Agreements.

                 (iiii) “TSA” means a Transition Services Agreement, subject to Section 6.21,
          substantially in the form attached hereto as Exhibit G.

                 (jjjj) “Willful Breach” shall mean a deliberate act or a deliberate failure to act
          regardless of whether breaching was the conscious object of the act or failure to act.




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        Section 11.3 Rules of Interpretation. Unless otherwise expressly provided in this
 Agreement, the following will apply to this Agreement, the Schedules and any other certificate,
 instrument, agreement or other document contemplated hereby or delivered hereunder.

                  (a)     The terms “hereof,” “herein” and “hereunder” and terms of similar import
          are references to this Agreement as a whole and not to any particular provision of this
          Agreement. Section, clause, Schedule and exhibit references contained in this Agreement
          are references to sections, clauses, Schedules and exhibits in or to this Agreement, unless
          otherwise specified. All Exhibits and Schedules annexed hereto or referred to herein are
          hereby incorporated in and made a part of this Agreement as if set forth in full herein.
          Any capitalized terms used in any Schedule or Exhibit but not otherwise defined therein
          shall be defined as set forth in this Agreement.

                 (b)    Whenever the words “include,” “includes” or “including” are used in this
          Agreement, they will be deemed to be followed by the words “without limitation.” Where
          the context permits, the use of the term “or” will be equivalent to the use of the term
          “and/or.”

                 (c)     The words “to the extent” shall mean “the degree by which” and not
          simply “if.”

                  (d)     When calculating the period of time before which, within which or
          following which any act is to be done or step taken pursuant to this Agreement, the date
          that is the reference date in calculating such period will be excluded. If the last day of



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          such period is a day other than a Business Day, the period in question will end on the
          next succeeding Business Day.

                  (e)     Words denoting any gender will include all genders, including the neutral
          gender. Where a word is defined herein, references to the singular will include references
          to the plural and vice versa.

                 (f)    The word “will” will be construed to have the same meaning and effect as
          the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is
          permissive.

                 (g)    All references to “$” and dollars will be deemed to refer to United States
          currency unless otherwise specifically provided.

                 (h)     All references to a day or days will be deemed to refer to a calendar day or
          calendar days, as applicable, unless otherwise specifically provided.

                 (i)     Any document or item will be deemed “delivered,” “provided” or “made
          available” by Sellers, within the meaning of this Agreement if such document or item is
          included in the Dataroom, by 5:00 p.m. New York time on the date that is two (2)
          Business Days prior to the date of this Agreement.

                (j)     Any reference to any agreement or Contract will be a reference to such
          agreement or Contract, as amended, modified, supplemented or waived.

                  (k)     Any reference to any particular Bankruptcy Code or Tax Code section or
          any Law will be interpreted to include any amendment to, revision of or successor to that
          section or Law regardless of how it is numbered or classified; provided that, for the
          purposes of the representations and warranties set forth herein, with respect to any
          violation of or non-compliance with, or alleged violation of or non-compliance, with any
          Bankruptcy Code or Tax Code section or Law, the reference to such Bankruptcy Code or
          Tax Code section or Law means such Bankruptcy Code or Tax Code section or Law as in
          effect at the time of such violation or non-compliance or alleged violation or
          non-compliance.

                 (l)     A reference to any Party to this Agreement or any other agreement or
          document shall include such Party’s successors and assigns, but only if such successors
          and assigns are not prohibited by this Agreement.

                 (m)    A reference to a Person in a particular capacity excludes such Person in
          any other capacity or individually.

                                       [Signature pages follow.]




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#                                  Contract Counterparty                     Debtor Entity             Contract Description   Estimated Cure Amount
     1 1 STOP PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     2 10K ARCHITECTURE PLLC. - BRONZE 404                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
     3 111TH PHARMA FAMILY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     4 112 PHARMACY & SURGICAL                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     5 133RD STREET PHARMACY INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     6 2010 PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     7 222 DUTCH LANES - SILVER 302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
     8 38TH STREET PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
     9 39TH STREET PHARMACY INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    10 3C MECHANICAL TECHNOLOGIES - ESSENTIAL PLUS 5000    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    11 49AVEN                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    12 49GPPA                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    13 49MNVH                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    14 49PDRX                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    15 49PPTN                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    16 49PPTP                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    17 49PRPC                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    18 49SCPH                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    19 49TUTN                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    20 49WSCP                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    21 49YATH                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    22 4EVERCLEAR POOL CHEMICAL CO. - GOLD 200             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    23 5 POINTS ELECTRICAL LLC. - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    24 5 STAR PHARMACY & MEDICAL SUPPLY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    25 5 STAR PHARMACY & SURGICAL SUPPLIES                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    26 6122 PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    27 7 CORNERS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    28 71 CONSTRUCTION - GOLD 200 PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    29 71 CONSTRUCTION - SILVER 303 PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    30 986 INFUSION PHARMACY #1, INC.                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    31 9TH & GIRARD PHARMACY INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    32 A & F PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    33 A AND W PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    34 A NO 1 AIR, INC. - OPTION 1                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    35 A NO 1 AIR, INC. - OPTION 2                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    36 A NO 1 AIR, INC. - OPTION 3                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    37 A NO 1 AIR, INC. - OPTION 4                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    38 A Plus Federal Credit Union                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
    39 A PLUS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    40 A S MEDICATION SOLUTIONS LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    41 A T FERRELL COMPANY, INC.                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    42 A TO Z PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    43 A&R PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    44 A.L. HANSEN MFG. CO. - HDHP FAMILY                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    45 A.L. HANSEN MFG. CO. - HDHP INDIVIDUAL              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    46 A.L. HANSEN MFG. CO. - PPO EXECUTIVE PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    47 A.L. HANSEN MFG. CO. - PPO PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    48 A.M. PHARMACY II, INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    49 A1 PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    50 A-1 PORTABLE BUILDINGS, INC. - 1500 CP PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    51 AAA DRUGS INC                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
    52 AAA PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    53 AARON PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    54 AASEN DRUG INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    55 ABBEVILLE CHC PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    56 ABC COMPOUNDING PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    57 ABC DRUGS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    58 ABC PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    59 ABC PHARMACY OF BEVERLY HILLS                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    60 ABERDEEN AREA IHS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    61 ABERDEEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    62 ABM PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    63 ABS LLC SO CAL AND IMW                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    64 ABSAROKA ENERGY & ENVIRONMENTAL SOLUTIONS - P101    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    65 ABSOLUTERX PHARMACY INC.                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    66 ACADEMY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    67 ACARE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    68 ACCELERATED RECEIVABLES SOLUTIONS - GOLD 200        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    69 ACCELERATED RECEIVABLES SOLUTIONS - SILVER 303      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    70 ACCESS FAMILY CARE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    71 ACCESS FAMILY HEALTH - IN-HOUSE PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    72 ACCESS FAMILY HEALTH IN-HOUSE PHARMACY, TREMONT     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    73 ACCESS HEALTH - HDHP/HSA                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
    74 ACCESS TO CARE LLC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    75 ACCREDO HEALTH GROUP INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    76 ACEVEDO MEDICAL CARE GROUP                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
    77 Action Door                                         Elixir Pharmacy, LLC              Vendor Contract                               $1,262.77
    78 ACTON VALE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
    79 ADAMS AUTOMOTIVE GROUP, INC - BRONZE 403            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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#                              Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
 80 ADAMS AUTOMOTIVE GROUP, INC -GOLD 200 PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 81 ADAMS CUMBERLAND PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 82 ADDISON DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 83 ADIRONDACK PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 84 ADM Two Exhibits & Displays, Inc.                    Elixir Rx Options, LLC            Vendor Contract                               $3,786.00
 85 ADVANCE CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 86 ADVANCED HEALTHCARE PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 87 ADVANCED INFUSIONCARE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 88 ADVANCED INFUSIONCARE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 89 ADVANCED INFUSIONCARE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 90 Advanced Medical Reviews Inc                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
 91 ADVANCED VITAL CARE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 92 ADVANT-EDGE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 93 ADVANT-EDGE PHARMACY #2                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 94 ADVENTHEALTH HOME INFUSION CENTRAL FLORIDA           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 95 ADVENTHEALTH OUTPATIENT PHARMACY ALTAMONTE           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 96 ADVENTHEALTH OUTPATIENT PHARMACY APOPKA              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 97 ADVENTHEALTH OUTPATIENT PHARMACY CELEBRATION         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 98 ADVENTHEALTH OUTPATIENT PHARMACY EAST                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 99 ADVENTHEALTH OUTPATIENT PHARMACY GINSBURG            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
100 ADVENTHEALTH OUTPATIENT PHARMACY KISSIMMEE           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
101 ADVENTHEALTH OUTPATIENT PHARMACY ORLANDO             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
102 ADVENTHEALTH OUTPATIENT PHARMACY WINTER PARK         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
103 ADVENTHEALTH PHARMACY SHAWNEE MISSION                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
104 ADVOCATE HOME CARE PRODUCTS, INC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
105 Aero Industries Inc                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
106 AETNA BETTER HEALTH OF CALIFORNIA                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
107 AFFORDABLE SCRIPT                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
108 AG TECHNOLOGIES, LLC. - GOLD 203                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
109 AG VALLEY COOPERATIVE                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
110 Agadia System, Inc.                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
111 AgeWell New York MAPD                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
112 AGRA PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
113 AI INNOVATIONS                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
114 AIDS HEALTHCARE FOUNDATION                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
115 AIRLINE DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
116 AJRX                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
117 AJ'S #63                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
118 ALAN HOME CARE SERVICES - BRONZE 405                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
119 ALASKA NATIVE MEDICAL CENTER MEDISET PHARMACY        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
120 ALASKA NATIVE MEDICAL CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
121 Alaskan Copper & Brass Company & Alaskan Copper Wo   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
122 ALBA RX                                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
123 ALBERTSONS LLC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
124 ALBRIGHTON PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
125 ALBUQUERQUE AREA OFFICE                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
126 ALDAV PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
127 ALDRIDGES FAMILY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
128 ALEXANDRIA HEALTH DEPT PHCY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
129 ALG TRUCK & TRAILER REPAIR                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
130 ALGOMA HOMETOWN PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
131 AlgoSec Inc                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
132 ALIGNRX RURAL                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
133 ALIVIA HOME DELIVERY LLC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
134 ALIVIA INFUSION SERVICES                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
135 ALIVIA SPECIALTY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
136 ALIVIO PHARMACY, LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
137 ALL CARE HEALTH CENTER                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
138 ALL PAWS RETREAT, LLC. - PLATINUM 102                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
139 ALL RX PHARMACY II INC.                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
140 ALL RX PHARMACY III LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
141 ALL RX PHARMACY INC.                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
142 ALL SOUTH DOOR & HARDWARE, INC. - 3000 CP            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
143 ALL TRADES STAFFING, INC. - MEC PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
144 ALLCARE DISCOUNT PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
145 ALLEGHANY FAMILY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
146 ALLEGHENY HEALTH NETWORK HOME INFUSION               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
147 Allegis Group Holdings Inc DBA Actalent Inc          Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
148 ALLEN COUNTY HEALTH PARTNERS PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
149 ALLEN PHARMACY & WELLNESS                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
150 Allergan USA, INC.                                   Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
151 ALLERGY PARTNERS THERAPEUTICS                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
152 Alliance Coal LLC                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
153 ALLIANCE HEALTHCARE SERVICES DOUGLASS PHARMACY       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
154 AllMed Healthcare Management LLC                     Elixir Rx Options, LLC            Vendor Contract                              $14,270.00
155 ALLMED PHARMACY LLC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
156 ALLTOWN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
157 ALLURE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
158 ALPHA DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                            Contract Counterparty                          Debtor Entity             Contract Description   Estimated Cure Amount
159 ALPHA PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
160 ALPINE DRUGS                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
161 ALPS SPECIALTY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
162 ALTERNATIVES IN PSYCH CONSULT, S.C. - GOLD 201        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
163 ALTERNATIVES IN PSYCH CONSULT, S.C. - PLAT 101        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
164 ALTERWOOD ADVANTAGE                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
165 ALTO PHARMACY, LLC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
166 ALTOONA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
167 Alttrax                                               Elixir Rx Options, LLC            Vendor Contract                                   $0.00
168 ALVARADO DRUGS                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
169 ALWAYS FIRST PHARMACY LLC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
170 AM PHARMACY INC.                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
171 Amarillo Independent School District                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
172 AMBERWELL ATCHISON ASSOCIATION - PPO PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
173 AMBERWELL HERINGTON HOSPITAL, INC. - PPO PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
174 AMBERWELL HIAWATHA - HDHP PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
175 AMBERWELL HIAWATHA - STANDARD PPO PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
176 AMBERWELL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
177 AMBERWELL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
178 AMBIKA PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
179 AMBULATORY INFUSION CARE NORTH                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
180 AMERICAN DOLLAR PHARMACY CORP.                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
181 American Electric Company                             Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
182 American Electric Company                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
183 American Electric Power                               Elixir Pharmacy, LLC              Vendor Contract                               $4,649.93
184 AMERICAN GLASS & MIRROR CO, INC. - 1500 CP PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
185 AMERICAN GLASS & MIRROR CO, INC. -5000 HSA CP PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
186 AMERICAN HEALTH ADVANTAGE OF MISSISSIPPI              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
187 AMERICAN HEALTH ADVANTAGE OF MISSOURI                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
188 AMERICAN HEALTH ADVANTAGE OF OK                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
189 AMERICAN HEALTH ADVANTAGE OF TENNESSEE                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
190 AMERICAN HEALTH ADVANTAGE OF TEXAS                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
191 AMERICAN HEALTH ADVANTAGE OF UTAH                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
192 AMERICAN PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
193 AMERICAN RIGGERS SUPPLY, INC.                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
194 AMERICAN STAFFCORP, INC. - MEC PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
195 AMERICAN STAFFCORP, INC. - MVP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
196 AMERICAN STAFFING, INC. - MEC PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
197 AMERICAN STAFFING, LLC. - MEC PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
198 AMERICAN TRUETZSCHLER, INC. - BASE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
199 AMERIHEALTH CARITAS PA                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
200 Amerisource Bergen                                    Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
201 AMERITA INC                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
202 AMERITA INC DALLAS                                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
203 AMES DRUG STORE                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
204 AMWINS                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
205 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
206 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
207 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
208 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
209 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
210 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
211 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
212 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
213 AMWINS INDIMNITY                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
214 AN I.V., LLC                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
215 AN PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
216 ANCHORAGE NATIVE PRIMARY CARE CENTER PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
217 ANDERSON AND HAILE DRUG COMPANY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
218 ANDERSON BROS ELEC, PLUMBING & HEAT - PLATINUM 101    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
219 ANDERSON MANAGEMENT SERVICES                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
220 ANDOVER COMPANIES                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
221 ANDREWS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
222 ANDY'S PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
223 ANESTHESIA ASSOCIATES OF KC, P.A. - CHOICE HD         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
224 ANESTHESIA ASSOCIATES OF KC, P.A. - ESSENTIAL E       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
225 ANESTHESIA ASSOCIATES OF KC, P.A. - SELECT P          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
226 ANGEL CARE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
227 ANIKKAN INUIT ILUQUTAAT SUBREGIONAL PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
228 ANKROLAB BREWING COMPANY -GOLD 202                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
229 ANKROLAB BREWING COMPANY -PLATINUM 101                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
230 ANNA'S DULUTH PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
231 ANNETTE HOWELL TURNER CENTER FOR THE ARTS -1500 CP    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
232 ANNETTE ISLAND SERVICE UNIT                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
233 ANNEX PHARMACY AND MEDICAL SUPPLY INC                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
234 ANOVORX GROUP LLC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
235 ANTHC INTERNAL MEDICINE PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
236 ANTHC OUTPATIENT SURGERY CENTER OUTPATIENT PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
237 AOK PLUMBING & HEATING, INC. -BRONZE 403              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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#                             Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
238 AOM INFUSION                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
239 APEX - $1,000 PPO                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
240 APEX - $1,000 PPO COBRA                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
241 APEX - $1,000 PPO UTAH                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
242 APEX - $1,000 PPO UTAH COBRA                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
243 APEX - $2,000 PPO                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
244 APEX - $2,000 PPO COBRA                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
245 APEX - $2,000 PPO UTAH                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
246 APEX - $3,000 HDHP FAMILY                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
247 APEX - $3,000 HDHP FAMILY COBRA                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
248 APEX - $3,000 HDHP FAMILY UTAH                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
249 APEX - $3,000 HDHP SINGLE                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
250 APEX - $3,000 HDHP SINGLE COBRA                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
251 APEX - $3,000 HDHP SINGLE UTAH                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
252 APEX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
253 APN                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
254 APO Pumps & Compressors                            Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
255 APOTHECARE - COLUMBUS                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
256 APOTHECARE - FORT SCOTT                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
257 APOTHECARE - IOLA                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
258 APOTHECARE - NORTH PITTSBURG                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
259 APOTHECARE - PLEASANTON                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
260 APOTHECARE - SOUTH PITTSBURG                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
261 APPALACHIAN DRUG                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
262 APPALACHIAN PLASTICS, INC.                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
263 APPALACHIAN RX LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
264 APPLE DISCOUNT DRUGS                               Elixir Rx Options, LLC            Vendor Contract                                   $0.00
265 APPLE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
266 APPLE PHARMACY III                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
267 APPLE RX PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
268 APPLETON HOMETOWN PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
269 ARARAT PLAZA PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
270 ARCADIA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
271 ARCELY PHARMACY INC.                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
272 ARISING INDUSTRIES, INC - 1500 CP PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
273 ARISING INDUSTRIES, INC - 7000 CP PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
274 ARISING INDUSTRIES, INC - SPECTRUM MEC GOLD        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
275 ARISTACARE HEALTH INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
276 ARIZONA DAIRY CO., LLP - BRONZE 405                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
277 ARIZONA HOME CARE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
278 Arizona Sheet Metal Welfare Trust Fund             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
279 ARJ INFUSION SERVICES LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
280 ARJ INFUSION SERVICES, LLC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
281 ARJ INFUSION SERVICES, LLC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
282 ARJ INFUSION SERVICES, LLC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
283 ARKANSAS TECH UNIVERSITY - PLAN 10                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
284 ARLINGTON APOTHECARY INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
285 ARMEN PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
286 ARMUCHEE PHARMACY, LLC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
287 ARONS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
288 ARTHRITIS NORTHWEST, PLLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
289 ARTHUR DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
290 ARTIS DRUG CORPORATION                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
291 ARVIN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
292 ARXIUM                                             Elixir Pharmacy, LLC              Vendor Contract                                 $479.54
293 ASCENSION AT HOME                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
294 ASCENSION AT HOME                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
295 ASCENSION RX 7010                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
296 ASCENSION SAINT CLARES HOSPITAL OF WESTON INC      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
297 ASHEVILLE SCHOOL                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
298 ASHFORD PRESBYTERIAN COMMUNITY PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
299 ASHLAND CITY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
300 ASHLAND DRUG                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
301 Ashland Food Cooperative                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
302 ASHTON COMMUNITY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
303 ASPEN INFUSION                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
304 ASPIRUS MEDFORD HOSPITAL & CLINICS, INC            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
305 ASSOCIATED CREDIT UNION OF TEXAS                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
306 ASSOCIATED TERMINALS, LLC                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
307 Astiva Health Inc.                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
308 Aston Carter Inc                                   Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
309 Aston Carter Inc.                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
310 AT&T                                               Elixir Pharmacy, LLC              Vendor Contract                               $6,338.42
311 ATASCADERO STATE HOSPITAL                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
312 ATC HEALTHCARE SERVICES, LLC - MEC ENHANCED PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
313 ATC HEALTHCARE SERVICES, LLC - MEC PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
314 ATENAS COMMUNITY HEALTH CENTER                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
315 ATKINSON CO. BOARD OF COMMISSIONERS - BRONZE 403   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
316 ATKINSON CO. BOARD OF COMMISSIONERS - GOLD 203     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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#                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
317 ATKINSON DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
318 ATLANTA NETWORK TECHNOLOGIES, INC. - GOLD 202        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
319 ATLANTIC DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
320 ATRIUM HEALTH PHARMACY AT CMC-ED                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
321 ATRIUM HEALTH PHARMACY BIDDLE POINT                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
322 ATRIUM HEALTH PHARMACY MYERS PARK                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
323 ATRIUM HEALTH PHARMACY NORTHPARK                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
324 ATRIUS HEALTH                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
325 ATX DRINKS, LLC - ESSENTIAL + 5000                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
326 ATX DRINKS, LLC - PREMIER 2500                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
327 ATX DRINKS, LLC - PREMIER 500                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
328 AUBURN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
329 AUBURN PHARMACY #133                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
330 AUBURN UNIVERSITY STUDENT HEALTH PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
331 AUDIO, VIDEO & SECURITY, INC. - GOLD 202             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
332 AULTMAN ALLIANCE COMMUNITY HOSPITAL                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
333 AUM PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
334 AURA HOSPICE                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
335 AUROBINDO PHARMA USA                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
336 AURORA PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
337 AUSTIN'S CATTLE COMPANY - 3000 CP PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
338 AUSTIN'S CATTLE COMPANY - SPECTRUM MEC SILVER PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
339 AUTOMATED SHADING INC - ESSENTIAL + 5000             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
340 AUTOMATED SHADING INC - PREMIER 1000                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
341 AUTOMOTIVE OPERATIONS, LP                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
342 AV PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
343 AVASURE LLC - HSA PLAN                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
344 AVASURE LLC - TRADITIONAL PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
345 AVE J ROYAL CARE PHARMACY LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
346 AVELLANEDA PHARMACY & DISCOUNT INC.                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
347 AVENUE 360 HEALTH & WELLNESS PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
348 AVILA UNIVERSITY - PLAN 10                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
349 AVON OAKS COUNTRY CLUB - GOLD 201                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
350 AWESOME PRODUCTS, INC. - CSTAR 6000                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
351 AXA PROFESSIONALS, LLC - BRONZE 403                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
352 AXA PROFESSIONALS, LLC -GOLD 203 PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
353 AXCESS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
354 AXIUM HEALTHCARE DE PUERTO RICO                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
355 AXLINE ADVANCED 04                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
356 AXLINE PHARMACY (03)                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
357 AXLINE PHARMACY (08)                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
358 AXLINE PHARMACY 07                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
359 AZALEA CENTER FOR PLASTIC SURGERY - BRONZE 403       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
360 B & B DISCOUNT DRUGS                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
361 B & J PITRE PHAMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
362 B AND K PRESCRIPTION SHOP                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
363 B&B PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
364 B&B PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
365 B+H APOTHECARY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
366 BAD RIVER HEALTH AND WELLNESS CENTER PHARMACY        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
367 BAILEY FARMS, INC. - BRONZE 403                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
368 BAILEY FARMS, INC. - SILVER 302                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
369 BAILEY'S PHARMACY, INC.                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
370 BAILEYTON DRUG COMPANY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
371 BAJ HOSPITALITY, INC. - 1500 CP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
372 BAJ HOSPITALITY, INC. - 3000 CP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
373 BALDY VISTA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
374 BALL BROTHERS PRODUCE - MEC MVP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
375 BALLS FOUR B CORP                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
376 BANCO POPULAR DE P.R. - TRUST DIVISION - 725         Elixir Puerto Rico, Inc.          Vendor Contract                               $1,097.50
377 BANDYS PHARMACY II                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
378 BANDY'S PHARMACY II                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
379 BANDY'S PHARMACY II                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
380 BANDYS PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
381 Bank of America                                      Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
382 BANKS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
383 BANYAN HEALTH SYSTEMS INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
384 BARBER & HOFFMAN, INC. - HDHP                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
385 BARBOURVILLE HEALTH & REHAB                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
386 BARBOURVILLE HOME PATIENTS                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
387 BARCELONETA PRIMARY HEALTH SERVICES                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
388 BARNSTABLE COUNTY                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
389 BARNWELL FAMILY MEDICINE PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
390 BARRINGER CONSTRUCTION - BUY UP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
391 BARRINGER CONSTRUCTION - CORE PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
392 BASECAMP RECOVERY CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
393 BASHAS' #100                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
394 BASHAS' #102                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
395 BASHAS' #109                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                               Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
396 BASHAS' #11                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
397 BASHAS' #110                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
398 BASHAS' #113                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
399 BASHAS' #116                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
400 BASHAS' #128                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
401 BASHAS' #130                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
402 BASHAS' #137                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
403 BASHAS' #155                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
404 BASHAS' #158                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
405 BASHAS' #160                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
406 BASHAS' #161                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
407 BASHAS' #172                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
408 BASHAS' #28                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
409 BASHAS' #43                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
410 BASHAS' #46                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
411 BASHAS' #47                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
412 BASHAS' #48                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
413 BASHAS' #51                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
414 BASHAS' #52                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
415 BASHAS' #54                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
416 BASHAS' #55                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
417 BASHAS' #7                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
418 BASHAS' #71                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
419 BASHAS' #73                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
420 BASHAS' #79                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
421 BASHAS' #82                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
422 BASHAS' #99                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
423 BASIC HOME INFUSION                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
424 BASICARE PLUS, LLC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
425 BASICARE PLUS, LLC - ACUTECARE                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
426 BASIN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
427 BASSETT MEDICAL CENTER                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
428 BATES COUNTY MEMORIAL HOSPITAL - PLAN 1              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
429 BATES COUNTY MEMORIAL HOSPITAL - PLAN 2              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
430 BATES COUNTY MEMORIAL HOSPITAL - PLAN 3              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
431 BATTEN'S PRESCRIPTION SHOPPE                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
432 BATTLE CREEK FARMERS PRIDE COOP N/S                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
433 BATTLEFIELD PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
434 BAUGO COMMUNITY SCHOOLS                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
435 BAY CHEMISTS LLC                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
436 BAY HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
437 BAY PARKWAY PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
438 BAY PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
439 BAYCARE HOMECARE INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
440 BAYSIDE LAKES FAMILY PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
441 BAYSTATE MEDICAL CENTER INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
442 BC PHARMACY INC.                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
443 BCBE CONSTRUCTION, LLC - ESSENTIAL PLUS 5000         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
444 BCBE CONSTRUCTION, LLC - PREMIER 500                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
445 BCBE CONSTRUCTION, LLC - PREMIER 5000                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
446 BCS Operations, LLC                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
447 BEACH PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
448 BEACH PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
449 Beacon Hill Staffing Group, LLC                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
450 BEAR DRUGS OF KITTY HAWK                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
451 BEASLEY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
452 BEATRICE CONTAINER SYSTEMS, LLC. - S302 COPAY PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
453 BEAUFORT DRUG COMPANY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
454 BEAUMONT HOME INFUSION                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
455 BEAUMONT PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
456 BEAUREGARD DRUGS, INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
457 BEDDINGFIELD DRUGS LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
458 BEE WELL PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
459 BEECHNUT PROFESSIONAL PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
460 BEEMANS HIGHLAND PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
461 BELEN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
462 BELHAVEN UNIVERSITY - PLAN 10                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
463 BELL BOULEVARD PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
464 BELLE OF BATON ROUGE CASINO HOTEL - ACP #1           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
465 BELLE OF BATON ROUGE CASINO HOTEL - PPO 500          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
466 BELLE OF BATON ROUGE CASINO HOTEL - PPO PLAN A       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
467 BELLEVUE CLINIC AND SURGERY CENTER PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
468 BELLEVUE HOSPITAL                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
469 BELLIN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
470 BELLIN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
471 BELLIN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
472 BELLIN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
473 BELLIN HEALTH REMOTE DISPENSING                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
474 BELLIN HEALTH REMOTE DISPENSING                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                                 Contract Counterparty                     Debtor Entity             Contract Description   Estimated Cure Amount
475 BELLS DRUGS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
476 BELL'S HOMETOWN PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
477 BELLS PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
478 BELZIK PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
479 BEMIDJI AREA IHS                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
480 BEMIDJI AREA RED LAKE                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
481 BENGAL PHARMACY ARCO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
482 BENGAL PHARMACY CHALLIS                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
483 BENGAL PHARMACY POCATELLO                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
484 BENNETTS VALLEY PHARMACY INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
485 BENSON CONSTRUCTION, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
486 BERK-TEL COMMUNICATIONS, INC. - PLATINUM 102          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
487 BERLIN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
488 Bernie Little Distributors, Inc                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
489 BERRY PROFESSIONAL PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
490 BERTRAM PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
491 BERTRANDS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
492 BEST OPTION PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
493 BEST PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
494 BETHPAGE MEDICAL PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
495 BETTER HEALTH PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
496 BEULAH DRUG COMPANY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
497 BEVERLY HILLS MEDICAL PLAZA PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
498 BEX RX PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
499 BFSF, INC. - MEC PLAN                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
500 BG&S TRANSMISSIONS OF GRAND ISLAND - W3000 COPAY      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
501 BH SPECIALTY PHARMACY-BR                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
502 BH SPECIALTY PHARMACY-JC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
503 BH SPECIALTY PHARMACY-KPT                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
504 BI LO LLC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
505 BI RITE QUALITY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
506 BIANCARELLI'S PHARMACY, LLC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
507 BIG 8 PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
508 BIG AGNES, INC. - BRONZE 404                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
509 BIG CITY MANUFACTURING - ESSENTIAL PLUS 5000          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
510 BIG CITY MANUFACTURING - PREMIER 1000                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
511 BIG CREEK TRUCKING - 7000 CP                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
512 BIG HORN ROOFING, INC. - PLATINUM 101                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
513 BIG MACK HVAC, LLC. -SILVER 303                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
514 BIG SANDY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
515 BIG SIX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
516 BIG SKY IV CARE                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
517 BIG SPRING PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
518 BIG Y FOODS INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
519 BILLINGS AREA INDIAN HEALTH SERVICE                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
520 BILLY GRAHAM EVANGELISTIC ASSOCIATION                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
521 BINA DRUGS                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
522 BIOLOGIC INFUSION PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
523 BIOMATRIX SPECIALTY PHARMACY CA                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
524 BIOMATRIX SPECIALTY PHARMACY NJ                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
525 BIOMATRIX SPECIALTY PHARMACY TN                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
526 BIOPLUS SPECIALTY PHARMACY SERVICES, LLC              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
527 BioRidge Pharma, LLC                                  Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
528 BIORX LLC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
529 BIRMINGHAM VITAL CARE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
530 BIXBY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
531 BJC HOME CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
532 BJ'S FAMILY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
533 BLACK ROCK MINE SERVICE, LLC - BRONZE 403             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
534 BLAKE PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
535 BLAKE PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
536 BLAKELY OILFIELD MAINTENANCE & CONSTRUCTION           Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
537 BLOCK DRUG STORES                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
538 BLOEMKE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
539 BLOUNT PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
540 BLUE BELL CREAMERIES                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
541 BLUE FRONT DRUG LLC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
542 Blue Pacific Management LLC                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
543 BLUE SKY SOLUTIONS OF SW FLORIDA - PLATINUM 101       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
544 BLUE SKY SOLUTIONS OF SW FLORIDA, LLC - SILVER 302    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
545 BLUEBIRD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
546 BLUEGRASS HEALTH & REHAB                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
547 BLUEGRASS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
548 BLUESKY HEALTHCARE GROUP, LLC. - MEC EXTRA PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
549 BMA CLAIMS                                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
550 BOB JOHNSONS PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
551 BOICEVILLE PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
552 BOIS FORTE MEDICAL CLINIC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
553 BOISE ROUTE WORKS, LLC. - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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#                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
554 BOISE ROUTE WORKS, LLC. - BRONZE 403                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
555 BOISE ROUTE WORKS, LLC. - BRONZE 404                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
556 BON AMI PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
557 BonaKemi USA Inc                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
558 BONSAI DESIGNS LLC - HDHP 5000                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
559 BONSAI DESIGNS LLC - PREMIER 1000                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
560 BOONE PLAZA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
561 BOONE'S PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
562 BOONESPRING SKILLED NURSING AND REHAB                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
563 BOOSTER ENTERPRISES - PLAN 1500                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
564 BOOSTER ENTERPRISES - PLAN 3000                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
565 BOOSTER ENTERPRISES - PLAN 5000                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
566 BORICUA DELIVERY, LLC - SILVER 302                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
567 BORICUA DELIVERY, LLC - BRONZE 404                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
568 BORINQUEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
569 BORUSAN MANNESMANN PIPE US, INC                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
570 BOUNDARY COMMUNITY HOSPITAL PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
571 BOURBON HEIGHTS                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
572 BOWEN PAINTER, LLC. - SILVER 302                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
573 BOYNTON HEALTH PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
574 BRADENTON HOMETOWN PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
575 BRADFORD SQUARE HEALTHCARE                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
576 BRADLEY BEACH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
577 BRADLEY UNIVERSITY - PLAN 22                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
578 BRADY'S PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
579 Brain Dev 4 LLC DBA EC TIC Manager, LLC              Elixir Rx Options, LLC            Vendor Contract                              $63,653.70
580 BRANDON DISCOUNT DRUGS                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
581 BRECKINRIDGE MEMORIAL HOSPITAL                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
582 BREITINGER COMPANY - PPO PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
583 BREMO PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
584 BRENTWOOD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
585 BRENTWOOD PLAZA PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
586 BREWERYTOWN RX PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
587 BREWSTER PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
588 BRIAN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
589 BRIARWOOD DRUGS INC                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
590 BRIARWOOD DRUGS INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
591 BRIDGE POINT CENTER                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
592 BRIDGEPOINTE ASSISTED LIVING                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
593 BRIDGEPORT CLAIMS                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
594 BRIDGEPORT FAMILY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
595 BRIDGEPORT PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
596 BRIGHTON OAKS PHARMACY LLC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
597 BRIGHTON PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
598 BRIGHTSTAR CARE OVERLAND PARK - BRONZE 403           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
599 BRIGHTSTAR CARE OVERLAND PARK - GOLD 200             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
600 BRILLION HOMETOWN PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
601 BRI-MAR SOLUTIONS, LLC. - SILVER 302                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
602 BRINE'S HOMETOWN PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
603 BRISTOL DISCOUNT PHARMACY INC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
604 BRISTOL HOME INFUSION                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
605 BRISTOL MEDICAL PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
606 BRISTOW PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
607 BROAD CREEK PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
608 BROAD PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
609 BROADWAY DRUGS INC.                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
610 BROADWAY PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
611 BROADWAY REMEDY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
612 BRONSON METHODIST HOSPITAL PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
613 BROOKHAVEN PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
614 BROOKLYN PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
615 BROOKS COUNTY BOARD OF COMMISSIONERS - 7000 CP       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
616 BROOKSHIRE BROS INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
617 BROOKSHIRE GROCERY COMPANY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
618 BROOKVALE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
619 BROTHERS PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
620 BROTMAN MEDICAL PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
621 BROWARD HEALTH CORA E BRAYNON FAMILY HEALTH CENTER   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
622 BROWN COUNTY HOSPITAL- COPAY PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
623 BROWN COUNTY HOSPITAL- HDHP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
624 BROWN DRUG STORE                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
625 BROWN'S DRUG STORE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
626 BROWN'S DRUG STORE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
627 BROWN'S MAIN STREET PHARMACY, INC                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
628 BROWNS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
629 BRUBACHER EXCAVATING, INC. - PLAN 1                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
630 BRUBACHER EXCAVATING, INC. - PLAN 2                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
631 BRUBACHER EXCAVATING, INC. - PLAN 3                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
632 BRUNSWICK SQUARE PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
633 BRYAN COMMUNITY HEALTH CENTER PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
634 Bryan D Birch DBA Westport Healthcare Advsy Group    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
635 BSB CONSTRUCTION, INC.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
636 BUCKEYE DRUGS                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
637 BUDERER DRUG COMPANY, AVON                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
638 BUDERER DRUG COMPANY, INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
639 BUDERER DRUG COMPANY, INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
640 BUENA VISTA FAMILY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
641 BUFFALO PRESCRIPTION SHOP                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
642 BULLOCHS DRUG STORE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
643 BURBANK VILLAGE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
644 BURNHAM'S VITAL CARE OF MOBILE                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
645 BUTLER COUNTY HEALTH CARE CENTER - OPTION B          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
646 BUTTERFIELD IPS                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
647 BUY RITE DRUGS # 14                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
648 BUY RITE DRUGS # 15                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
649 BUY RITE DRUGS # 16                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
650 BUY RITE DRUGS #10                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
651 BUY RITE DRUGS #11                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
652 BUY RITE DRUGS #13                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
653 BUY RITE DRUGS #2                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
654 BUY RITE DRUGS #4                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
655 BUY RITE DRUGS #6                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
656 BUY RITE DRUGS #8                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
657 BUY RITE DRUGS #9                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
658 BYRD DRUG COMPANY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
659 BYRT CPA, LLC. - TRADITIONAL PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
660 C AND C DRUGS                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
661 C AND C DRUGS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
662 C.J.W., INC.                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
663 CACHE VALLEY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
664 CADENCE MUSIC, INC. - S302 COPAY                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
665 CAGUAS SUPER PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
666 CAL-COAST REFRIGERATION, INC. - BRONZE 403           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
667 CAL-COAST REFRIGERATION, INC. - PLATINUM 101         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
668 CALDWELL DISCOUNT DRUG COMPANY                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
669 CALDWELL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
670 CALHOUN COMPOUNDING PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
671 CALIFORNIA DAIRIES INC.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
672 CALIFORNIA PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
673 CAMBRIDGE PLACE                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
674 CAMERON REGIONAL MEDICAL CENTER                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
675 CAMPBELL OIL COMPANY                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
676 CAMUY HEALTH SERVICES INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
677 CANAL STREET PHARMACY INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
678 CANCER CARE SPECIALISTS OF CENTRAL IL - HDHP         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
679 CANCER CARE SPECIALISTS OF CENTRAL IL, S.C. -COPAY   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
680 CANCER CENTER PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
681 CANNON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
682 CANONCITO BAND OF NAVAJOS HEALTH CLINIC              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
683 CANTEY FOUNDATION SPECIALISTS - COPAY                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
684 CANTEY FOUNDATION SPECIALISTS - HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
685 CANTON LUMBER COMPANY - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
686 CANTON LUMBER COMPANY - SILVER 302                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
687 CANTON LUMBER COMPANY -SILVER 303                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
688 CANTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
689 CAPE FEAR PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
690 CAPITAL CITY BEVERAGES INC                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
691 CAPITOL HILL PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
692 CAPPEL SALES INCORPORATED - PLATINUM 102             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
693 CAPRI COLLEGE - MEDICAL OPTION 1 PPO NETWORK         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
694 CAPRI COLLEGE - PLAN OPT 1                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
695 CAPRI COLLEGE - PLAN OPT 2                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
696 CAPRI CORK, LLC - PLATINUM 102                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
697 CAPSTONE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
698 CAPSTONE PHARMACY AT PARRISH                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
699 CapTech Ventures Inc                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
700 CARDINAL HEALTH 132, LLC                             Elixir Rx Options, LLC            Pharmacy Contract                            $23,754.43
701 CARDINAL HEALTH LEADER MEMBER SVCS                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
702 CARE ALLIANCE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
703 Care N Care                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
704 CARE PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
705 CARE PLUS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
706 CARE PLUS PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
707 CARE PLUS PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
708 CARE POINT PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
709 CAREFIRSTRX PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
710 CAREMARK LLC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
711 CAREMED PHARMACEUTICAL SERVICES                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
712 CAREPAK PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
713 CarePoint, Inc.                                      Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
714 CAREPRIME PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
715 CARESTL HEALTH #1                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
716 CARESTL HEALTH #2                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
717 CARESTL HEALTH #3                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
718 CARESTL HEALTH #4                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
719 CARGO INTEGRATED LOGISTICS, INC.                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
720 CARGO TRANSPORTERS, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
721 CARILION CLINIC HOSPICE - FRANKLIN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
722 CARILION CLINIC HOSPICE - NEW RIVER VALLEY           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
723 CARILION CLINIC HOSPICE - ROANOKE                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
724 CARINGRX PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
725 CARMEL MANOR                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
726 CARMICHAEL CONSTRUCTION, LLC - BRONZE 401            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
727 CARMICHAEL CONSTRUCTION, LLC - SILVER 301            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
728 CARMICHAELS CASHWAY PHARMACY INC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
729 CAROLINA CHEM-STRIP                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
730 CAROLTON CHRONIC HOSPITAL                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
731 Carroll Distributing                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
732 CARROLL'S SAUSAGE & MEATS - GOLD 203                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
733 CARRS QUALITY CENTER                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
734 CARSON DISCOUNT PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
735 CARSON NEWMAN UNIVERSITY - PLAN 10                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
736 CARTER BANK & TRUST - GOLD PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
737 CARTER BANK & TRUST - SILVER PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
738 CARTERS AT STONEBRIDGE                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
739 CASCADE HEMOPHILIA CONSORTIUM                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
740 CASCADIA COLLEGE - PLAN 42                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
741 CASHWAY PHARMACY OF SCOTT INC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
742 CASINO QUEEN - ACP                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
743 CASINO QUEEN - MEC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
744 CASINO QUEEN - PPO                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
745 CASINO QUEEN - PPO 500 PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
746 CASINO QUEEN MARQUETTE - ACP                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
747 CASINO QUEEN MARQUETTE - MEC                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
748 CASINO QUEEN MARQUETTE - PPO                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
749 CASINO QUEEN MARQUETTE - PPO 500 PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
750 CASSELTON DRUG, INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
751 CASSON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
752 CAST, LLC. - 1500 CP PLAN                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
753 Castle Resorts and Hotels                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
754 Cathedral Corporation                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
755 CATHOLIC COMMUNITY HOSPICE- KS                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
756 CATHOLIC COMMUNITY HOSPICE- MO                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
757 CATTARAUGUS INDIAN RESERVATION HEALTH CENTER         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
758 CAVCO INDUSTRIES - SINGLE HDHP PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
759 CAVCO INDUSTRIES - EMPLOYEE PLUS PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
760 CAVCO INDUSTRIES, INC - PPO PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
761 CAVCO INDUSTRIES, INC PENNWEST HOURLY PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
762 CAVCO INDUSTRIES, INC. - CLARION/COLONY HOURLY PLA   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
763 CCMSI STATE OF MISSISSIPPI                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
764 CCMSI STATE OF MISSISSIPPI - FIRSTFILL               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
765 CCMSI/ INSTITUTION OF HIGHER LEARNING                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
766 CCMSI/INSTITUTION OF HIGHER LEARNING - FIRSTFILL     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
767 CDT PROGRAMA SIDA                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
768 CDW Direct, LLC                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
769 CEDAR CREEK ENERGY -SILVER 303                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
770 CEDAR CREEK ENERGY -GOLD 200 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
771 CEDAR DRUG AND GIFT, INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
772 CEDAR RIDGE NURSING HOME                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
773 CEDARS HEART CLINIC - GOLD 200                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
774 CEDARS HEART CLINIC - GOLD 201                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
775 CEDARS HEART CLINIC - SILVER 302                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
776 CEDARS-SINAI MEDICAL CENTER AHSP PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
777 CEDARS-SINAI MEDICAL CENTER PHARMACY #6              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
778 CEGAL, LLC - 4000 HDHP                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
779 Cement Masons & Plasterers Trust                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
780 CENCAL HEALTH                                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
781 CENLA PROFESSIONAL PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
782 CENTENE CORPORATION HEALTH NET CALLIFORNIA           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
783 CENTENE DELAWARE FIRST HEALTH INC 12G 3QT            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
784 CENTENE MANAGEMENT CORPORATION 456FWT                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
785 CENTENE NM CI MEDICAL                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
786 CENTER DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
787 CENTER FOR FAMILY MEDICINE PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
788 CENTER FOR FAMILY MEDICINE PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
789 CENTER FOR PRIMARY CARE PC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
790 CENTER PHARMACY OF ERIE AVENUE INC                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                             Contract Counterparty                                  Debtor Entity             Contract Description   Estimated Cure Amount
791 CENTRAL AVE PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
792 CENTRAL DAKOTA PHARMACIES                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
793 CENTRAL DRUG COMPANY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
794 CENTRAL DRUG PEERLESS CROSSING                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
795 CENTRAL DRUGS                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
796 CENTRAL ELECTRIC, LLC - BRONZE 404                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
797 CENTRAL ELECTRIC, LLC. -SILVER 302                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
798 CENTRAL FLORIDA HEALTH CARE - WINTER HAVEN PHARMAC             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
799 CENTRAL FLORIDA HEALTH CARE PHARMAC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
800 CENTRAL N ALABAMA HEALTH SERVICES                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
801 CENTRAL PLAINS PROJECT ACCESS - 100 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
802 CENTRAL PLAINS PROJECT ACCESS - 125 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
803 CENTRAL PLAINS PROJECT ACCESS - 150 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
804 CENTRAL PLAINS PROJECT ACCESS - 200 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
805 CENTRAL PLAINS PROJECT ACCESS - 250 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
806 CENTRAL POINT PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
807 CENTRAL VALLEY MEAT HOLDING CO - CALIFORNIA PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
808 CENTRAL VALLEY MEAT HOLDING COMPANY - BRONZE PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
809 CENTRAL VALLEY MEAT HOLDING COMPANY - LIBERTY PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
810 CENTRAL VALLEY MEAT HOLDING COMPANY - RANCH PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
811 CENTRAL WASHINGTON UNIVERSITY - PLANS 41                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
812 CENTRALIA PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
813 CENTRE COLLEGE - PLAN 16                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
814 CENTRO DE MEDICINA INTEGRAL DE MANATI                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
815 CENTRO DE MEDICINA PRIMARIA VA                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
816 CENTRO DE SALUD INTEGRAL EN TOA ALTA II                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
817 CENTRO DE SALUD LARES INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
818 CENTRO DE SERVICIOS PRIMARIOS DE SALUD DE PATILLAS INC         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
819 CENTRO DE SERVICIOS PRIMARIOS DE SALUD PATILLAS INC.           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
820 CENTRO MEDICINA AVANZADA                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
821 CENTRO SAN CRISTOBAL JUANA DIAZ                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
822 CENTRO SAN CRISTOBAL VILLALBA                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
823 CENTRO SERVICIOS PRIMARIOS DE SALUD DE PATILLAS INC.           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
824 CenturyLink                                                    Elixir Rx Options, LLC            Vendor Contract                              $46,691.67
825 CERCO 1, INC.                                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
826 CERTIFIED ROSES, INC. - GOLD 202                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
827 CERTIFIED ROSES, INC. - SILVER 302                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
828 CHADRON COMMUNITY HOSPITAL & HEALTH SERVICES                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
829 CHAMBERS' APOTHECARY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
830 CHAMBERSBURG COUNTRY CLUB -GOLD 200 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
831 CHANCY DRUGS NORTH VALDOSTA LLC                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
832 CHANNELL DRUGS                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
833 CHAPMAN PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
834 CHARAK CENTER FO HEALTH AND WELLNESS - BRONZE 404              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
835 CHARAK CENTER FO HEALTH AND WELLNESS - GOLD 202                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
836 CHARLES B GODDARD HEALTH CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
837 CHARLES DREW HEALTH CENTER, INC. - PLAN A                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
838 CHARLIES PHARMACY OF MULLENS, LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
839 CHARLOTTE COUNTY BOARD OF COUNTY COMMISSIONERS                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
840 CHARLOTTE DRUG COMPANY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
841 CHARLOTTE FAMILY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
842 Charter Communications                                         Elixir Rx Options, LLC            Vendor Contract                               $5,728.90
843 CHARTER SENIOR LIVING                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
844 CHARTWELL PENNSYLVANIA, LP                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
845 CHARTWELL PENNSYLVANIA, LP                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
846 CHARTWELL PENNSYLVANIA, LP                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
847 CHAS HEALTH                                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
848 CHASE DRUG STORE                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
849 CHASE PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
850 CHASE PHARMACY INC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
851 CHATEAU DRUG AND HOMECARE                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
852 CHATEAU DRUGS INC                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
853 CHEHALIS PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
854 CHELSEA ROYAL CARE PHARMACY, INC.                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
855 CHEMIQUE PHARMACEUTICALS, INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
856 CHEMPLUS PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
857 CHEN NEIGHBORHOOD MEDICAL CENTERS                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
858 Chenango County                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
859 CHENOA RX                                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
860 CHEROKEE INDIAN HOSPITAL PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
861 CHERRY STREET HALCYON, LLC - PLATINUM 102                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
862 CHERRY'S PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
863 CHESTER PHARMACY INC.                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
864 CHEWELAH COMMUNITY HEALTH CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
865 CHI PHARMACY                                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
866 CHICKASAW NATION DIVISION OF HEALTH                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
867 CHIEF ANDREW ISAAC HEALTH CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
868 CHILDREN'S HOSPITAL OF WISCONSIN EMPLOYEE PRESCRIPTION CENTE   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
869 CHILDRENS HOSPITAL OF WISCONSIN PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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#                              Contract Counterparty                     Debtor Entity             Contract Description   Estimated Cure Amount
870 CHILDREN'S MERCY EMPLOYEE WELLNESS CENTER          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
871 CHILLICOTHE STEEL COMPANY -PLATINUM 101            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
872 CHINA GROVE DRUG COMPANY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
873 CHINESE HOSPITAL PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
874 CHINESE HOSPITAL PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
875 CHINO HILLS PROFESSIONAL PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
876 CHINOOK HEALTH                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
877 CHIRICAHUA BISBEE PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
878 CHIRICAHUA DOUGLAS PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
879 CHITIMACHA HEALTH CLINIC PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
880 CHOCTAW NATION HEALTH CARE SERVICES                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
881 CHOICE RX                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
882 CHOWAN UNIVERSITY - HIGH OPTION                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
883 CHOWAN UNIVERSITY - LOW OPTION                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
884 CHRIS' PHARMACY IN GONZALES                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
885 CHRIS' PHARMACY IN PORT VINCENT                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
886 CHRISTIAN BROTHERS UNIVERSITY - PLAN 10            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
887 CHRISTIAN HEALTH CENTER                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
888 CHRONICARE LTC RX LLC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
889 CHRONOS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
890 CHURCH AT THE GROVES - 1500 CP PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
891 CHURCHILL PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
892 CIBD PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
893 CID DESIGNS LLC - PREMIER 1000                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
894 CID DESIGNS LLC - PREMIER 2500                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
895 CINERGY HEALTH, INC.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
896 CINERGY HEALTH, INC. - PREFERRED                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
897 CIRCLE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
898 CITIZEN POTAWATOMI NATION WEST CLINIC PHARMACY     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
899 CITIZENS DRUG STORE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
900 CITIZENS PROFESSIONAL PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
901 Citus Health, Inc                                  Elixir Pharmacy, LLC              Vendor Contract                              $13,845.00
902 CITY CARE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
903 CITY CHEMIST II                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
904 CITY DRUG & SURGICAL                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
905 CITY DRUGS OF CURWENSVILLE                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
906 CITY OF ALLIANCE - OPTION C                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
907 CITY OF ARAGON - PLATNUM 100                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
908 CITY OF BOONE, IA - 411 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
909 CITY OF CHADRON - OPTION A (BASE PLAN)             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
910 CITY OF CHADRON - OPTION B (HDHP)                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
911 CITY OF COLUMBUS, NE                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
912 CITY OF COLUMBUS, NE NON-GF $1000 TRAD COPAY       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
913 CITY OF COLUMBUS, NE NON-GF $3500 HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
914 CITY OF COZAD - COPAY PLAN                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
915 CITY OF DANVILLE - BASE PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
916 CITY OF DANVILLE - BUY UP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
917 CITY OF DANVILLE - TRADITIONAL PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
918 CITY OF FITZGERALD - BRONZE 403                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
919 CITY OF FITZGERALD - SILVER 302                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
920 CITY OF GRINNELL, IA - 411 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
921 CITY OF HAYSVILLE                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
922 CITY OF HOMERVILLE -GOLD 202                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
923 CITY OF IMPERIAL - MODIFIED SILVER 300 PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
924 CITY OF IMPERIAL, IMPERIAL MANOR - SILVER 300-B    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
925 CITY OF INDIANOLA, IA - 411 PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
926 CITY OF JACKSON, MO - HSA PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
927 CITY OF JACKSON, MO - PPO PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
928 CITY OF KINGS MOUNTAIN - BRONZE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
929 CITY OF KINGS MOUNTAIN - GOLD PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
930 CITY OF KINGS MOUNTAIN - SILVER PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
931 CITY OF LAKE CHARLES DIRECT                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
932 City of Lakeville                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
933 CITY OF MARSHALLTOWN - 411 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
934 CITY OF MASON CITY, IA - 411 PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
935 City of Moore                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
936 CITY OF NEWTON, IL                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
937 City of North Canton Public Utilities              Elixir Pharmacy, LLC              Vendor Contract                                 $375.91
938 CITY OF OGALLALA - OPTION B                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
939 CITY OF OGALLALA - SILVER PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
940 CITY OF PASCO, WA - LEOFF                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
941 CITY OF PASCO, WA - PERS                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
942 CITY OF PASCO, WA - RETIREE                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
943 CITY OF PHOENIX                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
944 CITY OF SCOTTSBLUFF - HDHP                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
945 CITY OF SCRANTON, PA - ACTIVE FIRE FIGHTER         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
946 CITY OF SCRANTON, PA - ACTIVE POLICE               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
947 CITY OF SCRANTON, PA - ACTIVE POLICE COBRA         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
948 CITY OF SCRANTON, PA - CLERICAL ACTIVE             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                              Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
 949 CITY OF SCRANTON, PA - CLERICAL RETIRED TRAD         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 950 CITY OF SCRANTON, PA - DEPT PUBLIC WORKS ACTIVE      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 951 CITY OF SCRANTON, PA - FF RETIRED PPO W/COPAY        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 952 CITY OF SCRANTON, PA - FIRE FIGHTERS SAFER GROUP     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 953 CITY OF SCRANTON, PA - MANAGEMENT ACTIVE             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 954 CITY OF SCRANTON, PA - MANAGEMENT RETIRED            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 955 CITY OF SCRANTON, PA - OECD NON-UNION ACTIVE         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 956 CITY OF SCRANTON, PA - POLICE RETIRED PPO W/COPAY    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 957 CITY OF SCRANTON,PA - POLICE RETIRED ($0 COPAY)      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 958 CITY OF SCRANTON,PA-DPT PUB WORK RET (PPO W/COPAY)   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 959 CITY OF SCRANTON,PA-FIRE FIGHTER RETIRED($0 COPAY)   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 960 CITY OF SCRANTON,PA-MGT AD NON-UNION (PPO W/COPAY)   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 961 CITY OF SCRANTON,PA-SNGL TAX CLERICAL UNION ACTIVE   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 962 CITY OF SCRANTON,PA-SNGL TAX CLERICAL UNION RET      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 963 CITY OF SIOUX CITY, IA - 411 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 964 CITY OF SPRINGFIELD, IL HDHP PLAN - ACTIVES          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 965 CITY OF SPRINGFIELD, IL HDHP PLAN - NON-ACTIVE       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 966 CITY OF SPRINGFIELD, IL HDHP PLAN - RETIREES         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 967 CITY OF SPRINGFIELD, IL POS PLAN - ACTIVES           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 968 CITY OF SPRINGFIELD, IL POS PLAN - NON-ACTIVE        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 969 CITY OF SPRINGFIELD, IL POS PLAN - RETIREES          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 970 CITY OF SPRINGFIELD, MO                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 971 CITY OF STOW                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 972 CITY OF STOW - NON AFSCME                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 973 CITY OF SYCAMORE - GOLD 203                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 974 CITY OF TOPEKA                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 975 CITY OF TOPEKA - COBRA                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 976 CITY OF TOPEKA - RETIREES                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 977 CITY OF TUKWILA                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
 978 CITY OF VERMILION - PLATINUM 101                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 979 CITY OF WICHITA - PREMIUM PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 980 CITY OF WICHITA - SELECT PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 981 CITY OF WILSON, NC - WORKERS COMP.                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 982 CITYDRUG PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 983 CJB INDUSTRIES, INC. - 1500CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 984 CJB INDUSTRIES, INC. - 5000 HSA CP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 985 CLARENCE WESLEY HEALTH CENTER PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 986 CLARION PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 987 CLARKRANGE DRUG CENTER                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 988 CLAUDE HOWARD LUMBER CO., INC.                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 989 CLAY COUNTY HOSPITAL                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 990 CLAY COUNTY HOSPITAL - HSA                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 991 CLAY COUNTY HOSPITAL - MAXI PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 992 CLEARWATER MARINE AQUARIUM - BASE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 993 CLEARWATER MARINE AQUARIUM - HIGH PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 994 CLEARWATER MARINE AQUARIUM - MID PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 995 CLEARWATER PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 996 CLEBURNE DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
 997 CLIFTON STEEL COMPANY - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 998 CLIFTON STEEL COMPANY - GOLD 201                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
 999 CLIFTON STEEL COMPANY - SILVER 302                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1000 CLINIC PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1001 CLINIC PHARMACY OF MANGHAM LLC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1002 CLINIC SECURITY AND LOGISTICS, INC - 5000 HSA CP     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1003 CLINIC SECURITY AND LOGISTICS, INC. - 3000 CP        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1004 CLINICA DE CUIDADO MEDICO INC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1005 CLINKSCALES DRUGS                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1006 CLINTON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1007 CLINT'S PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1008 CLOSTER PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1009 CLOVER HEALTH, LLC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1010 CLOVER HEALTH, LLC - QHDHP FAMILY                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1011 CLOVER HEALTH, LLC - QHDHP SINGLE                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1012 CMHS PHARMACY SERVICES                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1013 CNC AURORA PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1014 CNY INFUSION SERVICES                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1015 COAL GROVE PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1016 COALINGA STATE HOSPITAL                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1017 COASTAL CAROLINA UNIVERSITY - EZRX PROGRAM           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1018 COASTAL EQUIPMENT RENTAL OF SOUTH WALTON-3000 CP     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1019 COASTAL FAMILY HEALTH CENTER                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1020 COASTAL FAMILY HEALTH CENTER GULFPORT                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1021 COASTAL FAMILY PHARMACY LEAKESVILLE                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1022 COASTAL FAMILY PHARMACY MOSS POINT                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1023 COASTAL PLAIN AREA EOA, INC - 7000 CP                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1024 COASTLINE CARE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1025 COBORNS CORP PHARMACY OFFICE                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1026 COBRE VALLEY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1027 COBURNS PHARMACY LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                             Contract Counterparty                             Debtor Entity             Contract Description   Estimated Cure Amount
1028 COCO SHRIMP LLC - PLATINUM 100                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1029 COCO SHRIMP LLC - SILVER 302                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1030 CODY REGIONAL HEALTH                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1031 COFFEY COUNTY                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1032 Cogent-Works MSA                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1033 COLBURNS NORTHPORT PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1034 COLDSPRING TRANSITIONAL CARE CENTER                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1035 COLEE'S CORNER DRUGS                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1036 COLFAX PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1037 COLLEGE OF DUPAGE - PLAN 10                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1038 COLLEGE OF LAKE COUNTY - PLAN 10                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1039 COLLIER COUNTY SHERIFF'S OFFICE                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1040 COLLIER DRUG STORES INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1041 COLLIER DRUG-CAVE SPRINGS                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1042 COLLOM AND CARNEY CLINIC PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1043 COLON VILLAGE DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1044 COLORADO MENTAL HEALTH INSTITUTE AT FORT LOGAN            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1045 COLORADO MENTAL HEALTH INSTITUTE AT PUEBLO                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1046 COLORADO VETERANS COMMUNITY LIVING CENTER AT FITZSIMONS   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1047 COLSON PRINTING - BRONZE 403                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1048 COLTON PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1049 COLTONS PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1050 COLUMBIA COLLEGE OF CHICAGO - PLAN 10                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1051 COLUMBIA COLLEGE OF MISSOURI - PLAN 16                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1052 COLUMBIA DRUGS                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1053 COLUMBIA HEIGHTS PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1054 COLUMBIA PHARMACY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1055 COLUMBIA VALLEY COMMUNITY HEALTH PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1056 COLUMBUS COMMUNITY HOSPITAL - OPTION A                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1057 COLUMBUS COMMUNITY HOSPITAL - OPTION B                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1058 COLUMBUS COMMUNITY HOSPITAL - OPTION C                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1059 COLVILLE COMMUNITY HEALTH CENTER PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1060 Comdoc Inc.                                               Elixir Rx Options, LLC            Vendor Contract                                   $1.68
1061 ComDoc, Inc.                                              Elixir Pharmacy, LLC              Vendor Contract                               $5,586.88
1062 Comedy Sportz of Philadelphia                             Elixir Rx Options, LLC            Vendor Contract                               $3,000.00
1063 COMMERCIAL EQUIPMENT REPAIR - GOLD 202                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1064 COMMONSHARE HDH                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1065 COMMONWEALTH HEALTHCARE CORPORATION OUTPATIENT PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1066 Communicare CSNP                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1067 Communicare ISNP                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1068 COMMUNITY ACTION PARTNERSHIP WSTN NE -SILVER 303          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1069 COMMUNITY COLLEGES OF SPOKANE - PLAN 42                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1070 COMMUNITY COMPOUNDING PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1071 COMMUNITY CONNECTIONS                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1072 COMMUNITY FIRST HEALTH PLANS                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1073 COMMUNITY HEALTH AND DENTAL CARE                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1074 COMMUNITY HEALTH CENTER OF SOUTHEAST KANSAS               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1075 COMMUNITY HEALTH CENTERS                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1076 COMMUNITY HEALTH CENTERS INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1077 COMMUNITY HEALTH CLINIC PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1078 COMMUNITY HEALTH PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1079 COMMUNITY HOME INFUSION                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1080 COMMUNITY HOSP ANACONDA PHCY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1081 COMMUNITY HOSPITAL - PLAN B                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1082 COMMUNITY HOSPITAL - PPO PLAN                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1083 COMMUNITY MED PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1084 COMMUNITY MEDICAL CENTER PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1085 COMMUNITY MEMORIAL HOSPITAL                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1086 COMMUNITY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1087 COMMUNITY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1088 COMMUNITY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1089 COMMUNITY PHARMACY II                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1090 COMMUNITY PHARMACY III                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1091 COMMWELL HEALTH DISCOUNT PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1092 COMPOUND PHARMACEUTICAL TECHNOLOGIES                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1093 COMPOUNDING SOLUTIONS OF SAVANNAH, LLC                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1094 CONCILIO DE SALUD INTEGRAL DE LOIZA                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1095 CONCORD PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1096 CONCORD PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1097 CONCORDIA UNIVERSITY - PLAN 13                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1098 Concur Technologies                                       Elixir Rx Options, LLC            Vendor Contract                               $2,297.37
1099 CONNECTED HEALTH PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1100 CONNECTED HEALTH PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1101 CONNELL PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1102 CONNET PHARMACY, LLC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1103 CONSOLIDATED CONCRETE                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1104 CONSOLIDATED CONCRETE - HSA PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1105 Consolidated Solutions                                    Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
1106 CONTECH                                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00




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1107 CONTECH                                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1108 CONTECH                                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1109 CONTINUUMRX OF CENTRAL ALABAMA, LLC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1110 CONTINUUMRX OF CENTRAL TENNESSEE, LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1111 CONTINUUMRX OF NORTH ALABAMA, LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1112 CONTINUUMRX OF NORTH VIRGINIA, LLC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1113 CONTINUUMRX, INC.                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1114 CONVENIENT RX                                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1115 COOK CHILDRENS HOME HEALTH                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1116 COOK COUNTY                                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1117 COOK HOSPITAL PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1118 CO-OP PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1119 COOPERS DRUGS INC                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1120 COOPHARMA                                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1121 COORDINATED CARE NETWORK PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1122 COORDINATED CARE NETWORK PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1123 COORDINATED CARE NETWORK PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1124 COORDINATED CARE NETWORK PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1125 COORDINATED CARE NETWORK PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1126 COOR'S PHARMACY, INC                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1127 CORAM LLC                                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1128 CORBIN HEALTH & REHAB                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1129 CORBIN PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1130 CORE PHARMACY                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1131 CORNELIA PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1132 CORNER DRUG                                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1133 CORNER DRUG                                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1134 CORNER DRUG STORE                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1135 CORPORACION DE SERVICIOS MEDICOS FARMACIA SAN MIGUEL           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1136 CORROTEC INCORPORATED                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1137 CORVEL/CITY OF LAKE CHARLES                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1138 COSENTINO ENTERPRISES - PPO$2500                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1139 COSENTINO ENTERPRISES PCB PPO SPIRA                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1140 COSENTINO ENTERPRISES SELECT - PPO                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1141 COSENTINO GROUP - PPO $2500                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1142 COSENTINO GROUP PCB PPO SPIRA                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1143 COSENTINO GROUP SELECT - PPO                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1144 COSLO PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1145 COSMO PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1146 COSSMA HUMACAO, INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1147 COSTA SALUD COMMUNITY HEALTH CENTERS, INC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1148 COSTCO PHARMACIES                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1149 COSTCO PHARMACY #1349                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1150 COSTCO PHARMACY #570                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1151 COTTRILLS PHARMACY, INC.                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1152 COUNTY OF LOS ANGELES DEPT OF HEALTH                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1153 COUNTY OF SHAWNEE                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1154 COVENANT HEALTH PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1155 COVENANT HOME INFUSION: A DIVISION OF METHODIST CHILDREN'S H   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1156 COVENANT SPECIALTY THERAPEUTICS                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1157 CoverMyMeds LLC                                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1158 COWAN TRUCK LINE                                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1159 COX HEALTH SYSTEMS HMO/MEDICARE ADVANTAGE                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1160 COX HEALTHPLANS                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1161 COX HEALTHPLANS                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1162 COX HEALTHPLANS - HMO                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1163 COX HEALTHPLANS - PPO                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1164 COX HEALTHPLANS - SELF-FUNDED                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1165 COX HEALTHPLANS - SHORT TERM PLANS                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1166 COX'S VARIETY AND PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1167 COXS VARIETY AND PHARMACY #5                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1168 CPS HEARTBEAT WELLNESS CENTER-WASHINGTON SHOPPES               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1169 CR LAINE FURNITURE COMPANY, INC.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1170 CRANE PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1171 CRANE SOLUTIONS, INC. - SILVER 302 PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1172 Cream-O-Land Dairies, Inc.                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1173 CREATIVE CIRCLE, LLC - MEC PLAN                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1174 CREDENA HEALTH LLC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1175 CRENSHAW DRUGS INC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1176 CRENSHAW PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1177 CRESCENT ADVISORY & ACCOUNTING, LLC - 5000 HSA CP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1178 CRESCENT HEALTHCARE                                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1179 CRESCENT HEALTHCARE                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1180 CRESTWOOD PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1181 CRITICAL CARE TRANSPORT, INC. - BRONZE 403                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1182 CRNA PHARMACY                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1183 CROFTON PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1184 CROOKED CAN BREWING COMPANY, LLC -PLATINUM 101                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1185 CROSBY DRUG                                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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1186 CROSBY'S DRUGS, INC. - GOLD 202                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1187 CROSETTI HEALTH AND WELLNESS                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1188 CROSS BAY CHEMISTS CORP                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1189 CROSSLINK LIFE SCIENCES, LLC - PLAN 1                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1190 CROSSLINK LIFE SCIENCES, LLC - PLAN 2                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1191 CROSSLINK LIFE SCIENCES, LLC - PLAN 3                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1192 CROSSROADS COOPERATIVE ASSN. - W6000 COPAY PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1193 CROSSROADS COOPERATIVE ASSN. - W6000 HDHP PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1194 CROSSROADS COOPERATIVE ASSOCIATION (MEMBER-OWNERS)   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1195 CROSSROADS FAMILY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1196 CROSSROADS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1197 CROWN DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1198 CROWN POINT CABINETRY - EPO PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1199 CROWN POINT CABINETRY - FAMILY HDHP                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1200 CROWN POINT CABINETRY - INDIVIDUAL HDHP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1201 CROWN SERVICES, INC. - MEC PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1202 CROWN SERVICES, INC. DBA CROWN STAFFING              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1203 CRUMP HEATING AND AIR CONDITIONING, LLC - 7000 CP    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1204 CSI PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1205 CST INDUSTRIES, INC. - HSA OPTION 3                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1206 CST INDUSTRIES, INC. - HSA OPTION 4                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1207 CST INDUSTRIES, INC. - PPO OPTION 1                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1208 CST INDUSTRIES, INC. - PPO OPTION 2                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1209 CST INDUSTRIES, INC. - UNION                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1210 CSU - DONMINQUEZ HILLS - PLAN 60                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1211 CT MANAGEMENT, INC.                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1212 CTCA/RX                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1213 CUCAMONGA COMMUNITY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1214 CUMBERLAND VITAL CARE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1215 CUMMING PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1216 CUNNINGHAM PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1217 CURE STAT RX                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1218 CURSON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1219 CURTIS MARUYASU                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1220 CURTIS PACKING CO., INC. - SILVER 302                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1221 CUSTOM CARE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1222 CUSTOM RX PHARMACY & WELLNESS CONCEPTS               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1223 CUSTOM SOLUTIONS GROUP LLC - PREMIER 1000            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1224 CUSTOM STEEL PROCESSING, INC.                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1225 CUSTOMEDICO PHARMACY + WELLNESS                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1226 CUSTOMPLUS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1227 CVS PHARMACY IN TARGET                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1228 CVS PHARMACY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1229 CVS PHARMACY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1230 CVS PHARMACY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1231 CYNTHIANA HOME PATIENTS                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1232 Cyracom LLC                                          Elixir Rx Options, LLC            Vendor Contract                                  $33.15
1233 D J JACOBETTI HOME FOR VETERANS                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1234 D PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1235 D&T PROCESS OPTIMIZATION, LLC - 1500 CP PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1236 D.C. DRUG                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1237 D.R. DIEDRICH & CO., LTD - MEC PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1238 D2D ZEN, LLC. - SILVER 302                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1239 DABBS FAMILY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1240 Dade Parent Inc DadeSystems Inc                      Elixir Rx Options, LLC            Vendor Contract                               $2,066.13
1241 DAISY HILL ALF                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1242 DAISY OUTDOOR PRODUCTS - BUY UP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1243 DAISY OUTDOOR PRODUCTS - CORE PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1244 DAISY OUTDOOR PRODUCTS - HSA FAMILY PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1245 DAISY OUTDOOR PRODUCTS - HSA INDIVIDUAL PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1246 DAKOTA DRUG CO STANLEY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1247 Dakota Electric Association                          Elixir Rx Options, LLC            Vendor Contract                                 $431.59
1248 DALE'S SOUTHLAKE PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1249 DAL-HERN PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1250 DALLAS EXPRESS PHARMACY INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1251 DALTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1252 DALTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1253 DALTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1254 DALTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1255 DALTON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1256 DAN HECHT CHEVROLET-TOYOTA HDHP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1257 DAN HECHT CHEVROLET-TOYOTA TRADITIONAL PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1258 DANHS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1259 DANIA DISCOUNT DRUG INC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1260 Daniels Sharpsmart Inc                               Elixir Pharmacy, LLC              Vendor Contract                                 $445.90
1261 DANVILLE-PITTSYLVANIA COMMUNITY SVC - HD PLAN A      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1262 DANVILLE-PITTSYLVANIA COMMUNITY SVC - HD PLAN B      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1263 DANVILLE-PITTSYLVANIA COMMUNITY SVC - PPO            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1264 DataSpan Holdings Inc                                Elixir Rx Options, LLC            Vendor Contract                                 $697.71




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1265 DATE PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1266 DAUPHIN PROFESSIONAL PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1267 DAVE STEEL COMPANY, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1268 DAVIS CITY PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1269 DAWN PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1270 DAWSON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1271 DAY STREET PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1272 Daytona Beverage, LLC                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1273 DCFP                                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1274 DCHD                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1275 DCSTX                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1276 DDE PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1277 DE LA STAR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1278 De Lage Landen Financial Serives Inc                 Elixir Puerto Rico, Inc.          Vendor Contract                                   $0.00
1279 DEAR DRUGS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1280 DECATUR VILLAGE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1281 DEDICATED SENIOR MEDICAL                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1282 DEDICATED SENIOR MEDICAL CENTER EASTPOINTE           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1283 Dee Brown, Inc.                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1284 DEER PARK PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1285 DEHAVEN CHEVROLET, INC. - HDHP                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1286 DEHAVEN CHEVROLET, INC. - TRADITIONAL PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1287 DELAWARE COUNTY COMMUNITY COLLEGE - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1288 DELAWARE RESOURCE GROUP - OPTION 1                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1289 DELAWARE RESOURCE GROUP - OPTION 2                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1290 DELCO PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1291 DELIGHT PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1292 DELIVERIT INFUSION & SPECIALTY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1293 DEL-KAR PHARMACY INC.                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1294 DELRAY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1295 DELTA DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1296 DELTA HEALTH CENTER , INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1297 DELTA HEALTH-THE MEDICAL CENTER SPECIALTY PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1298 Delta Marine Industries Inc                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1299 DELTA PERSONNEL SERVICES, INC. - BRONZE 403          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1300 DELTA PERSONNEL SERVICES, INC. - PLATINUM 102        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1301 DELTA TECH SERVICES, INC                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1302 DEMLA BROTHERS GROUP, LLC - MEC PREMIUM              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1303 DENMAR ASSOCIATES - PPO HIGH                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1304 DENMAR ASSOCIATES - PPO LOW                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1305 DENMAR ASSOCIATES - QHDHP FAMILY POLICY              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1306 DENMAR ASSOCIATES - QHDHP INDIVIDUAL POLICY          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1307 DENMARK MEDICAL CENTER                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1308 DENTAL CENTER OF VIDALIA - PLATINUM 101              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1309 DEPARTMENT OF VERMONT HEALTH ACCESS                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1310 DEPARTMENT OF VETERANS AFFAIRS                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1311 DEPAUL UNIVERSITY - EZRX PROGRAM                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1312 DEPERE HOMETOWN PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1313 DERAMED SPECIALTY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1314 DES MOINES AREA COMMUNITY COLLEGE - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1315 DES MOINES PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1316 DESERT SHORES PEDIATRICS, PC - BRONZE 403            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1317 DESERT SHORES PEDIATRICS, PC - SILVER 302            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1318 DESERT SHORES PEDIATRICS, PC -GOLD 201               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1319 DESIGNRX                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1320 DEV PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1321 DIACARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1322 DICHTER PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1323 DICKSON DIVELEY MIDWEST - BUY-UP PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1324 DICKSON DIVELEY MIDWEST - HDHP                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1325 DICKSON MEDICAL PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1326 DIERKEN'S PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1327 Digital Insurance                                    Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
1328 DIGNITY HEALTH PLAN                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1329 DILLEY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1330 DIOCESE OF PALM BEACH - PREMIUM PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1331 DIOCESE OF PALM BEACH - STANDARD PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1332 DIRECT MEDS OF JERSEY CITY LLC                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1333 DIRT ROCKS CONST. INDUSTRY SOL., LLC - SILVER 302    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1334 DIRT ROCKS CONST. INDUSTRY SOL., LLC - GOLD 202      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1335 DISCOUNT DRUG MART INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1336 DISCOUNT PHARMACY SERVICES                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1337 DISCOVERY POINT - 7000 UME CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1338 DISCOVERY POINT - MEC SILVER SP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1339 DITMAS PHARMACY CORP                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1340 DIXIE SIGNS, INC. - PREMIER 1000                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1341 DIXIE SIGNS, INC. - PREMIER 5000                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1342 DIXIE VITAL CARE                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1343 DIXON SNYDER PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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1344 DIY GROUP, INC. -SILVER 303                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1345 DIYA CARE, INC. - MEC PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1346 DMS PHARMACY, LLC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1347 DMVA PHARMACIES                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1348 DOAK CONSTRUCTION, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1349 DOBBS FERRY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1350 DOCTORS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1351 DOCTOR'S PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1352 DOCTOR'S PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1353 DOKIMOS EAST MAIN PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1354 DOKIMOS NEVADA CITY PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1355 DOLLAR RX PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1356 Dominion East Ohio                                  Elixir Pharmacy, LLC              Vendor Contract                                 $513.85
1357 Dominion Energy Ohio                                Elixir Rx Options, LLC            Vendor Contract                               $1,947.07
1358 DOMINION SENIOR LIVING                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1359 DON PEELER PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1360 DONEGAL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1361 DONOHOO PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1362 DONS PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1363 DORAN PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1364 DORCHESTER FAMILY HEALTH CENTER                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1365 DOUGHERTY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1366 DOUGHERTY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1367 DOUGLAS COUNTY EMPLOYEE BENEFIT TRUST               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1368 DOUGLAS COUNTY HEALTH CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1369 DOVER MANOR                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1370 DOVES LANDING PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1371 DR PETER LINDER                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1372 Dr Reddys Laboratories Inc                          Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
1373 DRAGON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1374 DRAYTON DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1375 DREUMEX USA, INC. -GOLD 200 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1376 DREW CENTER PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1377 D-REX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1378 D-REX PHARMACY YADKINVILLE                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1379 DREXLER DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1380 DRISCOLL PHARMACY, INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1381 DRIVE IN DRUG STORE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1382 DRIVER PIPELINE CO. INC.                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1383 DRUG CENTER DISCOUNT PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1384 DRUG CENTER PHARMACY II                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1385 DRURY UNIVERSITY - ACADEMIC - PLAN 10               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1386 DRURY UNIVERSITY - ATHLETIC - PLAN 10               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1387 DSHS PHARMACIES                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1388 DUET PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1389 DUHS-CHAIN                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1390 DUKE HOME INFUSION                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1391 DULUTH PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1392 DUPAGE CARE CENTER OUTPATIENT PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1393 DUSHORE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1394 DUSON'S CASHWAY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1395 DUTCHLAND INC - PPO PLAN 1                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1396 DUTCHLAND INC - PPO PLAN 2                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1397 DUTCHLAND INC - PPO PLAN 4                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1398 DUTCHLAND INC - PPO PLAN 5                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1399 DUTCHLAND INC - QHDHP PLAN 3                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1400 DUTCHLAND INC - QHDHP PLAN 6                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1401 DUVALS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1402 DVI Technologies Inc                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1403 DYKEMA EXCAVATORS - COIT                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1404 DYKEMA EXCAVATORS - HDHP FAMILY                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1405 DYKEMA EXCAVATORS - HDHP INDIVIDUAL                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1406 DYKEMA EXCAVATORS - VALUE                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1407 DYKER HEIGHTS PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1408 E MEDRX SOLUTIONS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1409 E MEDRX SOLUTIONS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1410 E.E. HALL, INC. - BRONZE 402                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1411 E.E. HALL, INC. - SILVER 301                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1412 EAGLE DRUG                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1413 EAGLE EYE EXPRESS, INC. - S302 PPO                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1414 EAGLESCRIPTS APOTHECARY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1415 EAKLE VINEYARD MANAGEMENT, LLC. - GOLD 200          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1416 EAST BAY DRAYAGE DRIVERS SECURITY FUND              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1417 EAST CENTRAL REGIONAL HOSPITAL                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1418 EAST COUNTY HEALTH SERVICES PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1419 EAST HICKMAN PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1420 EAST LA PHARMACY, CORP                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1421 EAST LOS ANGELES COLLEGE - PLAN 62                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1422 EAST PEORIA ELEMENTARY SCHOOL DISTRICT #86-PLAN A   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                               Contract Counterparty                     Debtor Entity             Contract Description   Estimated Cure Amount
1423 EAST REMEDY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1424 EAST SHORE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1425 EAST SIDE FAMILY CLINIC PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1426 EAST TEXAS CONTAINERS, INC.                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1427 EAST VILLAGE PRESCRIPTION CENTER                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1428 EASTGATE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1429 EASTON SPECIALTY PHARMACY INC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1430 EASTPARK PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1431 EBA ENGINEERING INC.                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1432 EBY DRUG                                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1433 EC ELECTRIC, INC. - HSA PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1434 EC ELECTRIC, INC. - SILVER PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1435 E-CARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1436 ECKERDS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1437 ECKERDS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1438 ECKERDS SPECIALTY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1439 ECOM Atlantic Inc.                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1440 ECONOMICAL PHARMACY SERVICES                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1441 ECONOMY DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1442 ECONOMY DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1443 ECR SOFTWARE CORPORATION                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1444 EDDIE'S DRUG STORE                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1445 EDEN II PROGRAMS                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1446 EDGE PERFORMANCE SPORTS - BRONZE 405                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1447 EDGE PERFORMANCE SPORTS - SILVER 302 PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1448 EDGELEY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1449 EDGEMONT HEALTHCARE                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1450 EDGEMOOR GERIATRIC HOSPITAL PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1451 EDGEPARK MEDICAL SUPPLIES                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1452 EDMONDS COLLEGE - PLAN 42                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1453 EDWARD M. KENNEDY COMMUNITY HEALTH CENTER           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1454 EDWARD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1455 EDWARDS GARMENT COMPANY - HDHP MID PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1456 EDWARDS GARMENT COMPANY - TOP PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1457 EDWARDS GARMENT COMPANY-FAMILY HDHP BASE PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1458 EDWARDS GARMENT COMPANY-INDIVIDUAL HDHP BASE PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1459 EILERS MACHINE & WELDING, INC. - W6000              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1460 EILERS MACHINE & WELDING, INC. - W6000 HDHP         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1461 Eisai Inc                                           Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
1462 EKG SECURITY, INC. - 3000 CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1463 EKG SECURITY, INC. - 7000 CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1464 EL CAMINO SCHOOL DISTRICT - PLAN 60                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1465 EL DORADO DRUG STORE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1466 EL NORTE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1467 EL PASO FIRST HEALTH PLANS INC                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1468 EL RIO EL PUEBLO PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1469 EL RIO GRANT ROAD PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1470 EL RIO HEALTH CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1471 EL RIO NORTHWEST PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1472 EL RIO SOUTHEAST PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1473 EL RIO SOUTHWEST PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1474 EL RIO WEST PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1475 ELBOWOODS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1476 ELECTRIC MOTORS&SPECIALTIES,INC.-TRADITIONAL PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1477 ELEVATE PROVIDER NETWORK 626                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1478 ELEVATE PROVIDER NETWORK 638                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1479 ELEVATE PROVIDER NETWORK 904                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1480 ELEVATE PROVIDER NETWORK 959                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1481 ELGIN COMMUNITY COLLEGE - PLAN 10                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1482 ELITE MANAGEMENT PERSONNEL - PREMIER 1000           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1483 ELITE MANAGEMENT PERSONNEL - PREMIER 500            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1484 ELLAS TOP CORRAL - MEC GOLD PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1485 ELLENDALE PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1486 ELLICOTTVILLE PHARMACY INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1487 ELON UNIVERSITY - PLAN 10                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1488 EMA CARE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1489 EMANUEL MEDICAL CENTER                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1490 EMBASSY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1491 EMERALD TRACE                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1492 EMERITUS CLINICAL SOLUTIONS - PREMIER 2500          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1493 EMPIRE HOME INFU SVCS                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1494 Employee Painters Trust                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1495 EMPLOYEE STAFFING GROUP, LLC - MEC PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1496 Employers Health Purchasing Corp                    Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
1497 ENCORE PIPE AND CONTRUCTION LLC                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1498 ENGELHARD MEDICAL CENTER PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1499 Ennis Steel Industries Inc.                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1500 ENPOWER, INC. - BRONZE 403                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1501 ENPOWER, INC. - PLATINUM 101                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                             Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
1502 ENPOWER, INC. - SILVER 302                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1503 EN-R-G FOODS - GOLD 200 PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1504 EN-R-G FOODS - GOLD 201                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1505 ENTREGA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1506 ENVIRO-LOG COMPANY, LLC - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1507 ENVIRO-LOG COMPANY, LLC - SILVER 302               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1508 ENVIROSPEC, LLC. - 7000 CP                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1509 EP AMERICAN FOOTWEAR - PLATINUM 102                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1510 EPIC AMUSEMENT, LLC - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1511 EPIC AMUSEMENT, LLC - SILVER 302                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1512 EPIC PHARMACY NETWORK INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1513 EPPYS DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1514 EPPYS IV INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1515 ERECTED STEEL PRODUCTS OF ALABAMA                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1516 ERVIN INDUSTRIES                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1517 ESCHOOL CONSULTANTS - BRONZE 404                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1518 ESCHOOL CONSULTANTS - GOLD 202                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1519 ESCHOOL CONSULTANTS - PLATINUM 102                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1520 ESKENAZI HEALTH                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1521 ESPERANZA HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1522 ESPERANZA HEALTH CENTER 5TH ST                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1523 ESTABLISHED DRUGS                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1524 ETCON EMPLOYMENT SOLUTIONS, INC. - MEC PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1525 ETHICAL FACTOR RX                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1526 EVERFLOW SUPPLIES, INC. - MEC EXTRA PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1527 EVERGREEN HOSPICE CARE, LLC                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1528 EVERSANA LIFE SCIENCE SERVICES, LLC                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1529 EVERYAGE                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1530 EVERYSTEP HOSPICE CENTERVILLE                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1531 EVERYSTEP HOSPICE COUNCIL BLUFFS                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1532 EVERYSTEP HOSPICE KAVANAGH HOUSE                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1533 EVERYSTEP HOSPICE METRO                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1534 EVERYSTEP HOSPICE MT.AYR                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1535 EVERYSTEP HOSPICE MT.PLEASANT                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1536 EVERYSTEP HOSPICE OSCEOLA                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1537 EVOLVE SPECIALTY PHARMACY & WELLNESS               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1538 EXCEL ELECTRIC OF NAPLES, INC. - PREMIER 5000      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1539 EXCEL PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1540 EXCELCARE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1541 EXCELS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1542 EXCELSIOR SPRINGS COMMUNITY PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1543 EXCLUSIVE MEDICAL PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1544 EXECUTIVE INFUSION SERVICES                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1545 EXECUTIVE INFUSION SERVICES LLC                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1546 EXEMPLAR HEALTH U50                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1547 EXEMPLAR PRORX SOLUTIONS                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1548 Expedient\Continental Broadband LLC                Elixir Rx Options, LLC            Vendor Contract                              $10,169.17
1549 EXPRESS DIRECT, LLC. - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1550 EXPRESS DISCOUNT PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1551 EXPRESS MED PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1552 EXPRESS MED PHARMACY 2 MANGILAO                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1553 EXPRESS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1554 EXPRESS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1555 EXPRESS RX                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1556 EXPRESS SAVINGS PHARMACY, LLC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1557 EZ PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1558 EZCARE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1559 EZRX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1560 F W RICHARDS JR INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1561 F.E.B. DISTRIBUTING CO., INC.                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1562 FABRI-QUILT, INC.                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1563 FADMO HEALTH & HOME CARE AGENCY, INC. - SV5850     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1564 FAIRDALE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1565 FAIRFAX COUNTY HEALTH DEPARTMENT PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1566 FAIRFIELD BAY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1567 FAIRFIELD PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1568 FAIRMOUNT PRIMARY CARE CENTER                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1569 FAIRVIEW HEALTH SERVICES                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1570 FAIRVIEW PHARMACY SERVICES LLC SERV                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1571 FAIRVIEW RANGE HOSPICE - HIBBING                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1572 FAITH HOME HEALTH AND HOSPICE - MISSOURI           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1573 FAITH HOME HEALTH AND HOSPICE - OVERLAND PARK      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1574 FAITH HOME HEALTH AND HOSPICE - TOPEKA, KS         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1575 FAITH HOME HEALTH AND HOSPICE - WICHITA            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1576 FALAK PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1577 FALK PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1578 FALL RIVER HEALTH SERVICES                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1579 FAMILY CARE HEALTH CENTERS PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1580 FAMILY CARE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                           Contract Counterparty                           Debtor Entity             Contract Description   Estimated Cure Amount
1581 FAMILY CARE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1582 FAMILY DRUG MART                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1583 FAMILY DRUG MART #2                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1584 FAMILY DRUG MART OF BRANDON                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1585 FAMILY DRUG MART OF POPLARVILLE                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1586 FAMILY DRUG MART OF SUMRALL                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1587 FAMILY DRUG MART#3                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1588 FAMILY DRUG OF WHEELWRIGHT                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1589 FAMILY DRUG PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1590 FAMILY DRUGS OF INDIANTOWN LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1591 FAMILY FIRST PAINTING-BRONZE 403                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1592 FAMILY FIRST PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1593 FAMILY HEALTH CARE CENTER - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1594 FAMILY HEALTH CENTER INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1595 FAMILY HEALTH CENTER OF WORCESTER, INC. PHARMACY      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1596 FAMILY HEALTH CENTERS PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1597 FAMILY HEALTH CENTERS PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1598 FAMILY HEALTH CENTERS, INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1599 FAMILY HEALTH SOURCE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1600 FAMILY HEALTHCARE NETWORK                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1601 FAMILY HEALTHCARE NETWORK                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1602 FAMILY HEALTHCARE NETWORK                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1603 FAMILY HEALTHCARE NETWORK                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1604 FAMILY HEALTHCARE NETWORK PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1605 FAMILY HEALTHCARE NETWORK PHARMACY #2                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1606 FAMILY HEALTHCARE PHARMACY SOUTH                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1607 FAMILY HEALTHCARE PHARMACY, NDSU                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1608 FAMILY MEDICAL PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1609 FAMILY PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1610 FAMILY PHARMACY CUMBERLAND                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1611 FAMILY PHARMACY PLUS                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1612 FAMILY PHARMACY-CLINIC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1613 FAMILY PHYSICAL THERAPY & SPORTS CENTER, PC - B403    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1614 FAMILY PHYSICAL THERAPY & SPORTS CENTER, PC - G201    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1615 FAMILY WELLNESS PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1616 FARIS PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1617 FARMA AHORROS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1618 FARMA EXPRESS,INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1619 FARMACIA                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1620 FARMACIA ACADEMICA                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1621 FARMACIA AGUADILLA MEDICAL SERVICES INC               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1622 FARMACIA ALICIA                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1623 FARMACIA AMADEO                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1624 FARMACIA BABILONIA                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1625 FARMACIA BAYAMONCITO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1626 FARMACIA BELIA                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1627 FARMACIA BUEN SAMARITANO                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1628 FARMACIA CANEY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1629 FARMACIA CARDENAS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1630 FARMACIA CARIDAD #15                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1631 FARMACIA CARIMAS                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1632 FARMACIA CARIMAS #1                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1633 FARMACIA CARIMAS #3                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1634 FARMACIA CCB                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1635 FARMACIA CDT DR JAVIER J ANTON                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1636 FARMACIA CDT DR. ENRIQUE KOPPISCH                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1637 FARMACIA CDT DR. GUALBERTO RABELL                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1638 FARMACIA CDT GMSP INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1639 FARMACIA CDT LARES MED CENTER                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1640 FARMACIA CDT PEPINO HEALTH GROUP                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1641 FARMACIA CDT POLICLINICA FAMILIAR F                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1642 FARMACIA CDT POLICLINICA FAMILIAR FACTOR              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1643 FARMACIA CEDROS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1644 FARMACIA CENTRAL                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1645 FARMACIA CENTRAL                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1646 FARMACIA CENTRAL DE SABANA GRANDE                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1647 FARMACIA CENTRO DE INTEGRADOS DE SERVICIOS DE SALUD   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1648 FARMACIA CENTRO DE SALUD INTEGRAL EN BAYAMON          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1649 FARMACIA CENTRO DE SALUD MARIANO RIVERA RAMOS         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1650 FARMACIA CENTRO DE SERVICIOS MEDICOS DE LEVITTOW      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1651 FARMACIA CENTRO INTEGRAL DE SALUD                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1652 FARMACIA CENTRO SALUD INTEGRAL BARRANQUITAS           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1653 FARMACIA CENTRO SALUD INTEGRAL EN COMERIO             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1654 FARMACIA CENTRO SALUD INTEGRAL EN COROZAL             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1655 FARMACIA CENTRO SALUD INTEGRAL NARANJITO              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1656 FARMACIA CENTRO SALUD INTEGRAL OROCOVIS               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1657 FARMACIA CLINICA LAS AMERICAS                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1658 FARMACIA COMMUNITYMED                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1659 FARMACIA COOP SAN MIGUEL                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                          Contract Counterparty                         Debtor Entity             Contract Description   Estimated Cure Amount
1660 FARMACIA COSSMA AIBONITO                            Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1661 FARMACIA COSSMA CIDRA                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1662 FARMACIA COSSMA LAS PIEDRAS                         Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1663 FARMACIA COSSMA SAN LORENZO                         Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1664 FARMACIA COSSMA YABUCOA                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1665 FARMACIA COSTA SALUD AGUADA                         Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1666 FARMACIA CSFA                                       Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1667 FARMACIA CSM ARECIBO                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1668 FARMACIA CSM UTUADO                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1669 FARMACIA DE DIEGO                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1670 FARMACIA DEJIREH CORP                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1671 FARMACIA DEL CARMEN                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1672 FARMACIA DEL PUEBLO 2                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1673 FARMACIA DEL PUEBLO I                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1674 FARMACIA ENCARNACION                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1675 FARMACIA EXPRESO                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1676 FARMACIA GARCIA                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1677 FARMACIA GIANONI                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1678 FARMACIA GLENVIEW                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1679 FARMACIA HAYDEE                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1680 FARMACIA HOSPITAL DOCTORS CENTER                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1681 FARMACIA JURILDA                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1682 FARMACIA KRISTEL                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1683 FARMACIA LA CASA DEL PENSIONADO                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1684 FARMACIA LA FAMILIA                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1685 FARMACIA LA FE                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1686 FARMACIA LA IDEAL INC                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1687 FARMACIA LA INMACULADA                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1688 FARMACIA LA SALUD                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1689 FARMACIA LAS MONJAS INC                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1690 FARMACIA LEMAR                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1691 FARMACIA LEMAR 2                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1692 FARMACIA LEMAR III                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1693 FARMACIA LOUDGAR, RODRIGUEZ SANTOS.INC              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1694 FARMACIA M AND F                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1695 FARMACIA MARENA                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1696 FARMACIA MARILU                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1697 FARMACIA MED CENTRO, INC. CDT PENUELAS              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1698 FARMACIA MEDINA 4                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1699 FARMACIA MELMAR INC.                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1700 FARMACIA MENAA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1701 FARMACIA MIGRANT HEALTH CENTER                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1702 FARMACIA MIGRANT HEALTH CENTER                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1703 FARMACIA MIGRANT HEALTH CENTER                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1704 FARMACIA MIGRANT HEALTH CENTER                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1705 FARMACIA MIGRANT HEALTH CENTER MARICAO              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1706 FARMACIA MODELO COROZAL                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1707 FARMACIA MONTEBELLO                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1708 FARMACIA NEOMED CENTER , INC. SAN LORENZO           Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1709 FARMACIA NUEVA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1710 FARMACIA NUEVA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1711 FARMACIA NUEVA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1712 FARMACIA NUEVA INC                                  Elixir Rx Options, LLC           Vendor Contract                                   $0.00
1713 FARMACIA NUEVA INC.                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1714 FARMACIA ORESTE                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1715 FARMACIA PADUA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1716 FARMACIA PARQUE                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1717 FARMACIA PLAZA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1718 FARMACIA PLAZA 12                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1719 FARMACIA RABANAL                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1720 FARMACIA RAMOS                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1721 FARMACIA RECETAS Y MAS #2                           Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1722 FARMACIA REPARTO                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1723 FARMACIA RYDER MEMORIAL HOSPITAL                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1724 FARMACIA SAMARITANA II                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1725 FARMACIA SAN ANTONIO                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1726 FARMACIA SAN BLAS                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1727 FARMACIA SAN FRANCISCO                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1728 FARMACIA SAN ISIDRO                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1729 FARMACIA SAN MIGUEL                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1730 FARMACIA SANDIN                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1731 FARMACIA SANDUT                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1732 FARMACIA SANTA ANA                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1733 FARMACIA SANTA ANA                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1734 FARMACIA SANTA ANA INC                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1735 FARMACIA SANTA RITA                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1736 FARMACIA TOA BAJA                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1737 FARMACIA TU FAVORITA                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
1738 FARMACIA UNIVERSITY GARDENS                         Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00




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 #                              Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
1739 FARMACIA VENUS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1740 FARMACIA VICARIO INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1741 FARMAPLUS PLAYA                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1742 FARMERS COOPERATIVE ELEVATOR CO. -GOLD E201          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1743 FARMERS COOPERATIVE ELEVATOR CO. -PLATINUM E101      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1744 FARMERS COOPERATIVE ELEVATOR CO. -SILVER E303        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1745 FARMERS OCONEE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1746 FARMERS PRESCRIPTION SHOP INC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1747 FARMERS UNION COOPERATIVE COMPANY - BRONZE           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1748 FARRIS FAB & MACHINE CO., INC.                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1749 FAXTON - ST LUKES HEALTHCARE                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1750 FCB BANKS                                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1751 FedEx                                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1752 FELICITA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1753 FENDER AUTOMOTIVE - 3000 CP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1754 FF THOMPSON HOSPITAL PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1755 FFF Enterprises, Inc.                                Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
1756 FIDDELKE HEATING AND AIR CONDITIONING, INC. - G201   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1757 Fifth Third Bank                                     Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
1758 FIRST BANKERS TRUSTSHARES, INC. - HDHP PLAN 3        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1759 FIRST BANKERS TRUSTSHARES, INC. PLAN 1               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1760 FIRST BANKERS TRUSTSHARES, INC. PLAN 2               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1761 FIRST CHOICE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1762 FIRST CLASS RX PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1763 FIRST CO BANCORP, INC.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1764 FIRST HOTEL MANAGEMENT, LLC. - BRONZE 403            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1765 FIRST PHARMACY SERVICES OF COUNTRY VILLAGE           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1766 FIRST STRING SPACE, INC. - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1767 FIRST STRING SPACE, INC. - PLATINUM 101              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1768 FISCHBECK'S PHARMACY, INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1769 Fisher59                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1770 FITZGERALD PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1771 FIVE POINT FEDERAL CREDIT UNION                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1772 FIVE RIVERS HEALTH CENTERS PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1773 FIVE RIVERS HEALTH CENTERS PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1774 FIVE STAR PIZZA CO., INC - 3000 CP PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1775 FIVE STAR PIZZA CO., INC - 7000 CP PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1776 Five9, Inc.                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1777 FL COMM HEALTH CENTER-CLEWISTON                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1778 FLANAGAN HEALTH MART PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1779 FLEAUX SERVICES OF LOUSIANA, LLC                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1780 FLEET FEET HOUSTON LP - PREMIER 1000                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1781 FLEET FEET HOUSTON, LP - 4000 HDHP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1782 FLEET FEET HOUSTON, LP - PREMIER 5000                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1783 FLEXSOL PACKAGING CORP.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1784 FLEXSOL PACKAGING CORP.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1785 FLEXSOL PACKAGING CORP.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1786 FLEXSOL PACKAGING CORP.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1787 FLORA PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1788 FLORAL PARK DRUGS INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1789 FLORENCE PHARMACY & MEDICAL SUPPLY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1790 FLORIDA DEPARTMENT OF HEALTH                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1791 FLORIDA PRIMARY HEALTH CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1792 FOLEY, LLC. - BRONZE 403                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1793 FOLTMER DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1794 FOND DU LAC CAIR PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1795 FOND DU LAC MASHKIKI WAAKAAIGAN PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1796 FOOD CITY #108                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1797 FOOD CITY #111                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1798 FOOD CITY #154                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1799 FOOD CITY #156                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1800 FOOD CITY #60                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1801 FOOD CITY #69                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1802 FOOD CITY #94                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1803 FOOD CITY K VA T FOOD STORES INC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1804 FOOD LION LLC                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1805 FOOTHILL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1806 FORBES PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1807 FORDHAM FAMILY PHARMACY & SURGICAL INC.              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1808 FOREMOST MGMT., INC. -GOLD 200 PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1809 FORMAN DRUG INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1810 FORMULA PHARMACY, INC.                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1811 FORREST GENERAL HOSPITAL                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1812 FORSYTH COUNTY DEPARTMENT PUBLIC HEALTH PHARMACY     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1813 FORT DEFIANCE INDIAN HOSPITAL                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1814 FORT LEE PHARMACY AND SURGICALS INC                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1815 FORT MYERS PRESCRIPTION SHOP                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1816 Fortra LLC                                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1817 FORVIS, LLP - (BKD) HDHP                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                               Contract Counterparty                     Debtor Entity             Contract Description   Estimated Cure Amount
1818 FORVIS, LLP - (BKD) PPO                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1819 FORVIS, LLP - (DHG) HDHP                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1820 FORVIS, LLP - (DHG) PPO                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1821 FOUNDCARE INC.                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1822 FOUNTAIN VALLEY CENTRAL PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1823 FOUR B CORPORATION                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1824 FRANCONIA PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1825 FRANKFORT CARE AND REHAB                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1826 FRANKFORT HOME PATIENTS                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1827 FRANKLIN MEDICAL CENTER                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1828 FRANKLIN RX INC                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1829 FRANKLIN'S SPRING CREEK FORD, LLC. - SILVER 302     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1830 FRANKS DRUGS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1831 FRANK'S PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1832 FRANKS PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1833 FRANK'S SPECIALTY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1834 FRANWIN PHARMACY MINEOLA SURGICAL                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1835 FREDERICK & MAY CONSTRUCTION CO., INC. - 3000 CP    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1836 FREDONIA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1837 FREDS WESTSIDE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1838 FREEDOM LOGISTICS, INC. - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1839 FREEDOM LOGISTICS, INC. - BRONZE 405                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1840 FREEDOM LOGISTICS, INC. - SILVER 302                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1841 FREEDOM OILFIELD SERVICES, INC.                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1842 FREEHOLD CARTAGE, INC.                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1843 FREEHOLD CARTAGE, INC. - DRIVERS                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1844 FRESNO COMMUNITY COLLEGE - PLAN 61                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1845 FRIENDLY DRUG & SURGICAL                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1846 FRIENDLYRX                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1847 FRIENDSHIP PHARMACY INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1848 FRIENDSHIP VILLAGE OF DUBLIN - BRONZE PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1849 FRIENDSHIP VILLAGE OF DUBLIN - GOLD PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1850 FRIENDSHIP VILLAGE OF DUBLIN - SILVER PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1851 FRISCIA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1852 FRONT STREET PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1853 FRONTERA CATTLE COMPANY II, LLC. - SILVER 302       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1854 FRONTIER HOME MEDICAL - GOLD 200-B                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1855 FRONTIER HOME MEDICAL - GOLD 201-B                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1856 FRUTH PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1857 FTA MANAGEMENT SERVICES - 4000 HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1858 FTA MANAGEMENT SERVICES - PREMIER 2500              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1859 FULTON COUNTY MEDICAL CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1860 FULTON MEDICINE PLACE                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1861 FULTON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1862 FUSION SPECIALTY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1863 GAGE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1864 GAHANNA ANIMAL HOSPITAL, INC - BRONZE 404           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1865 GAHANNA ANIMAL HOSPITAL, INC. - BRONZE 403          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1866 GAHANNA ANIMAL HOSPITAL, INC. -GOLD 202             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1867 GAINESVILLE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1868 GALAX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1869 Gallagher Benefit Services, Inc.                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
1870 GALLATIN PRESCRIPTION SHOP                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1871 GALUVI PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1872 GARDEN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1873 GARDEN PLAZA PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1874 GARDNER SOUTH COUNTY HEALTH CENTER PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1875 GARRETT PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1876 GARRETT TIRE AND TREADS - PPO PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1877 GARRETTS DRUG CENTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1878 GARVEY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1879 GAS EXPRESS, LLC. - BRONZE 403                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1880 GAS EXPRESS, LLC. - BRONZE 405                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1881 GAS EXPRESS, LLC. - SILVER 302                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1882 GATESVILLE DRUG CO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1883 GATEWAY CIRCLE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1884 GATHRIGHT REED                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1885 GATOR BORING & TRENCHING, INC. - 5000 HSA CP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1886 GATOR BORING & TRENCHING, INC. - 7000 CP            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1887 GATOR-MADE, INC.                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1888 GEISINGER HOME INFUSION SVCS.                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1889 GENE POLKS PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1890 GENERAL TRUCK SALES, INC. - HDHP PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1891 GENERAL TRUCK SALES, INC. - TRADITIONAL PPO PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1892 GENESIS AVIATION, INC. - BASE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1893 GENESIS AVIATION, INC. - BUY-UP PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1894 GENESIS FAMILY HEALTH PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1895 GENOA HEALTHCARE, LLC                               Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
1896 GENOA HEALTHCARE, LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                            Contract Counterparty                         Debtor Entity             Contract Description   Estimated Cure Amount
1897 GENRX DRUG                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1898 Genzyme Corporation                                  Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
1899 GEORGIA CHRISTIAN SCHOOL - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1900 GEORGIA HEALTH ADVANTAGE                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1901 GEORGIA PETROLEUM, INC. - GOLD 202                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1902 GEORGIA PRINTCO, LLC. - 7000 CP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1903 GEORGIA PRINTCO, LLC. - MEC SPECTRUM SILVER          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1904 Geotex Engineering                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
1905 GERIATRIC RESOURCE CONSULTANTS, LLC - SC20           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1906 GERIATRIC RESOURCE CONSULTANTS, LLC - SC5            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1907 GERIMED LTC NETWORK INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1908 GET WELL RX INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1909 GHC PHARMACY SAUK TRAILS                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1910 GHC HATCHERY HILL PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1911 GHC PHARMACY CAPITOL                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1912 GIANT EAGLE INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1913 GILL PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1914 GLASGOW PRESCRIPTION CENTER                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1915 GLC ON-THE-GO, INC. - ADVANTAGE PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1916 GLC ON-THE-GO, INC. - BASE LOW                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1917 GLEN HEAD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1918 GLEN ULLIN PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1919 GLENBROOK DODGE, INC. - HIGH CD0280                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1920 GLENBROOK DODGE, INC. - LOW CD0250                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1921 GLENDALE URGENT CARE PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1922 GLENDORA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1923 GLENMED PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1924 GLENMORE SPECIALTY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1925 GLENN LAKES PHARMACY INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1926 GLENS FALLS HOSPITAL COMMUNITY PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1927 GLENVISTA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1928 GLOBAL                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1929 GLOBAL ENERGY SERVICES - PPO PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1930 GLOBAL EXPRESS PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1931 GLOBAL PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1932 GLOBAL RECOVERY CORP                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1933 GLOBAL RX PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1934 GLOSTER DISCOUNT PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1935 GM PHARMACY INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1936 GM Voices                                            Elixir Rx Options, LLC            Vendor Contract                                 $224.00
1937 GMS BENEFITS - HRA1000H                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1938 GMS BENEFITS - HRA1000T6                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1939 GMS BENEFITS - HRA1500T4                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1940 GMS BENEFITS - HRA2000H                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1941 GMS BENEFITS - HRA3000H                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1942 GMS BENEFITS - HRA3000T6                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1943 GMS BENEFITS - HRA500H                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1944 GMS BENEFITS - HRA500T4                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1945 GMS BENEFITS - HSA A                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1946 GMS BENEFITS - HSA B                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1947 GMS BENEFITS - HSA C                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1948 GMS BENEFITS - HSA D                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1949 GMS BENEFITS - HSA D1                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1950 GMS BENEFITS - HSA E                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1951 GMS BENEFITS - HSA F                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1952 GMS BENEFITS - MEC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1953 GMS BENEFITS - TRAD 1                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1954 GMS BENEFITS - TRAD 2                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1955 GMS BENEFITS - TRAD 3                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1956 GMS BENEFITS - TRAD 4                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1957 GMS BENEFITS - TRAD 5                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1958 GMS BENEFITS - TRAD 5A & 5B                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1959 GMS BENEFITS - TRAD 6                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1960 GMS BENEFITS - TRAD 7                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1961 GMS BENEFITS - TRAD 8                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1962 GMS BENEFITS -HRA1500H                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1963 GMS BENEFITS -TRAD1A&1B,TRAD 8A,HRA500T8-HRA2000T8   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1964 GODFREY'S PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1965 GOLDEN COVE PHARMACY AND HOME HEALTHCARE             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1966 GOLDEN EAGLE DISTRIBUTING CO. - PLAN 1               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1967 GOLDEN EAGLE DISTRIBUTING CO. - PLAN 2               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1968 GOLDEN EAGLE DISTRIBUTING CO. - PLAN 3               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1969 GOLDEN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1970 GOLDEN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1971 GOLDEN RX PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1972 GOLDEN STATE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1973 GOMPERS PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
1974 GONZAGA UNIVERSITY - PLAN 43                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
1975 GONZALEZ PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                           Contract Counterparty                          Debtor Entity              Contract Description   Estimated Cure Amount
1976 GOOD GRACES PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1977 GOOD PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1978 GOOD PRICE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1979 GOOD SHEPHERD COMMUNITY NURSING CENTER               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1980 GOODING PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1981 GOODLARK PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1982 GOODLARK PHARMACY AT FAIRVIEW                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1983 GoodRx, Inc.                                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
1984 GORDONSVILLE DRUGS                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
1985 GOT YOUR SIX DELIVERY SERVICE, LLC. - SILVER 302     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1986 GOT YOUR SIX DELIVERY SERVICE, LLC. -GOLD 200 PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1987 GovDocs Inc.                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00
1988 GPHA - CENTRAL BILLING OFFICE - OPTION 1             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1989 GPHA - CHEYENNE COUNTY HOSPITAL - OPTION 1           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1990 GPHA - CHEYENNE COUNTY HOSPITAL - OPTION 2           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1991 GPHA - DATA CENTER - OPTION 1                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1992 GPHA - ELLINWOOD DISTRICT HOSPITAL - OPTION 1        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1993 GPHA - ELLINWOOD DISTRICT HOSPITAL - OPTION 2        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1994 GPHA - KIOWA COUNTY MEM HOSPITAL - OPTION 1          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1995 GPHA - KIOWA COUNTY MEM HOSPITAL - OPTION 2          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1996 GPHA - LANE COUNTY HOSPITAL - OPTION 1               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1997 GPHA - LANE COUNTY HOSPITAL - OPTION 2               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1998 GPHA - MINNEOLA DISTRICT HOSPITAL - OPTION 1         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
1999 GPHA - MINNEOLA DISTRICT HOSPITAL - OPTION 2         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2000 GPHA - MITCHELL COUNTY HOSPITAL OPTION 1             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2001 GPHA - MITCHELL COUNTY HOSPITAL OPTION 2             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2002 GPHA - OTTAWA COUNTY HEALTH CNTR - OPTION 1          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2003 GPHA - OTTAWA COUNTY HEALTH CNTR - OPTION 2          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2004 GPHA - PHILLIPSBURG - OPTION 1                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2005 GPHA - REPUBLIC COUNTY HOSPITAL - OPTION 1           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2006 GPHA - REPUBLIC COUNTY HOSPITAL - OPTION 2           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2007 GPHA - SABETHA COMMUNITY HOSPITAL - OPTION 1         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2008 GPHA - SABETHA COMMUNITY HOSPITAL - OPTION 2         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2009 GPHA - SATANTA HOSPITAL - OPTION 1                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2010 GPHA - SATANTA HOSPITAL - OPTION 2                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2011 GPHA - SMITH COUNTY MEM HOSPITAL - OPTION 1          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2012 GPHA - SMITH COUNTY MEM HOSPITAL - OPTION 2          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2013 GPHA - TREGO CNTY LEMKE MEM HSPT - OPTION 1          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2014 GPHA - TREGO CNTY LEMKE MEM HSPT - OPTION 2          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2015 GPHA - WICHITA - OPTION 1                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2016 GPHA-CHEYENNE COUNTY HOSPITAL-HDHP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2017 GPHA-KIOWA COUNTY MEMORIAL HOSPITAL-HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2018 GPHA-MINNEOLA DISTRICT HOSPITAL-HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2019 GPHA-MITCHELL COUNTY HOSPITAL-HDHP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2020 GPHA-REPUBLIC COUNTY HOSPITAL-HDHP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2021 GPHA-SABETHA COMMUNITY HOSPITAL-HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2022 GPHA-SATANTA HOSPITAL-HDHP                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2023 GPHA-SMITH COUNTY MEMORIAL HOSPITAL-HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2024 GPW AND ASSOCIATES INC.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
2025 GRACE HEALTH PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2026 GRACE HEALTHCARE SERVICES, INC - GOLD 202            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2027 GRACE HEALTHCARE SERVICES, INC. -PLATINUM 101        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2028 GRACE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2029 GRACE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2030 GRACELAND UNIVERSITY - PLAN 10                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2031 GRAFTON DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2032 GRAMERCY DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2033 GRAND AVENUE PHARMACY INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2034 GRAND HAVEN NURSING HOME                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2035 GRAND RAPIDS - PLAN 50                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2036 GRAND RAPIDS HOME FOR VETERANS                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2037 GRAND RONDE HEALTH & WELLNESS PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2038 GRAND SPECIALTY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2039 GRANTS PASS PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2040 GRAPHIC SOLUTIONS GROUP INC.                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
2041 GREAT AMERICAN COBBLER COMPANY - 7000 CP PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2042 GREAT BAY DISTRIBUTORS INC                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
2043 GREATER SEACOAST COMMUNITY HEALTH                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2044 GREATER VIDALIA CHAMBER OF COMMERCE - 1500 CP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2045 GREEN BENCH BREWING CO. LLC. - SILVER 302            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2046 GREEN BENCH BREWING CO. LLC. -GOLD 200 PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2047 GREEN CIRCLE DEMOLITION - PLATINUM 101               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2048 GREEN RIVER COLLEGE - PLAN 42                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
2049 GREENBRIER MEDICAL ARTS PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2050 GREENBRIER MEDICAL ARTS PHARMACY-NORTH               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2051 GREENBRIER MEDICAL ARTS PHARMACY-WSS                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2052 GREENBUSH PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2053 GREENE VILLAGE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
2054 GREENHILL SPECIALTY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00




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 #                            Contract Counterparty                         Debtor Entity             Contract Description   Estimated Cure Amount
2055 GREENVILLE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2056 GREENWOOD COUNTY HOSPITAL                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2057 GREINER INDUSTRIES, INC. - BASE PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2058 GREINER INDUSTRIES, INC. - BUY-UP PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2059 GROUP MANAGEMENT SERVICES - PLAN A                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2060 GROUP MANAGEMENT SERVICES - PLAN B                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2061 GROVE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2062 GROVE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2063 GROVELAND PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2064 GSRS - ACE DYNASTY TRANSPORTATION                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2065 GSRS - GULF ISLAND FABRICATION                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2066 GSRS - IBERIA PARISH/GULF SOUTH RISK SERVICES        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2067 GSRS - PLAQUEMINES PARISH SCHOOL BOARD               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2068 GSRS - PLAQUEMINES PARISH SHERIFFS OFFICE            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2069 GSRS - ST. LANDRY SCHOOL BOARD                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2070 GSRS - ST. TAMMANY PARISH SCHOOL BOARD               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2071 GSRS - TERREBONNE GENERAL MED CENTER                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2072 GSRS - TERREBONNE PARISH SCHOOL BOARD                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2073 GT MIDWEST - 3000 HDHP PLAN A                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2074 GT MIDWEST - 3000 HDHP PLAN B                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2075 GT MIDWEST - PPO 1000 PLAN A                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2076 GT MIDWEST - PPO 1500 PLAN A                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2077 GUAM SDA CLINIC PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2078 GUARDIAN PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2079 GUARDIAN TECHNOLOGIES & SECURITY INC- 1500 CP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2080 GUAYNABO CITY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2081 GUIDONI USA, INC. -7000 CP                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2082 GULFCOAST CITRUS CARETAKING - HDHP 5000              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2083 GULFCOAST CITRUS CARETAKING - PREMIER 2500           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2084 GUN LAKE TRIBE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2085 GUNDERSEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2086 GUNDERSEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2087 GUNDERSEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2088 GUNDERSEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2089 GUNDERSEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2090 GUY BREWER PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2091 GW MECHANICAL, INC. -GOLD 200 PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2092 GWYNN OAK PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2093 H & S CAR CARRIER - 3000 CP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2094 H & W DRUG STORE                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2095 H P PRODUCTS                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2096 H&K TRUCKING, LLC                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2097 HACIENDA HEIGHTS PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2098 HAGERMAN VALLEY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2099 HAGGEN PHARMACIES                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2100 HAMILTON PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2101 HAMPEL OIL DISTRIBUTORS, INC.                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2102 HAMPEL OIL DISTRIBUTORS, INC.                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2103 HAMPEL OIL DISTRIBUTORS, INC. - HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2104 HAMPSHIRE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2105 HANLIN RAINALDI CONSTRUCTION CORP. -PLATINUM 101     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2106 HANNAFORD BROS CO LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2107 HANOVER PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2108 HARBOR DRUG COMPANY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2109 HARBOR HEALTHY LIVING PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2110 HARBOR PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2111 HARBOR PHARMACY 3                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2112 HARBOR TOWN PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2113 HARLAN HEALTH & REHAB                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2114 HARLEM PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2115 HARMONS CITY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2116 HARPELL CHEMISTS INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2117 HARPELL DITMARS PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2118 HARPER COLLEGE - PLAN 10                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2119 HARRIS FARMS- CALIFORNIA PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2120 HARRIS FARMS- LIBERTY PLAN                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2121 HARRIS FARMS- RANCH PLAN                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2122 HARRIS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2123 HARRIS PHARMACY AND HOME HEALTHCARE                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2124 HARRISBURG AREA COMMUNITY COLLEGE - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2125 HARRISBURG PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2126 HARRISON HEALTHCARE INC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2127 HARRY RACE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2128 HARTIG DRUG CO CORP                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2129 HASTINGS AUTOMOTIVE COMPANY - B404 HDHP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2130 HASTINGS AUTOMOTIVE COMPANY - G200 PPO               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2131 HASTINGS AUTOMOTIVE COMPANY - S302 PPO               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2132 HAU GIANG PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2133 HAU'PAL RED TAIL HAWK HEALTH CENTER PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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2134 HAVEN PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2135 HAWAII CANCER CARE                                             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2136 Hawaii National Bank                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2137 HAWKEYE COMMUNITY COLLEGE - PLAN 10                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2138 HAYDEN'S PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2139 HAYES COUNTY                                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2140 HAYES DRUG                                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2141 Haystack Aulstralia Pty Ltd                                    Elixir Rx Options, LLC            Vendor Contract                               $5,500.00
2142 HAZARD HEALTH & REHAB                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2143 HAZARD HOME PATIENTS                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2144 HAZELWOOD PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2145 HCCHC PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2146 HCP PHARMACY 2                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2147 HEAD START OF NORTHEASTERN NEVADA - GOLD 201                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2148 HEADLAND PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2149 HEALING ARTS & SPECIALTY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2150 HEALING TOUCH PHARMACY 02                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2151 HEALING TOUCH PHARMACY 04                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2152 HEALTH CARE MEDICAL INFUSION SPECIALTIES                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2153 HEALTH CARE PARTNERS OF S.C.                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2154 HEALTH CARE PARTNERS OF SC                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2155 HEALTH CARE PARTNERS PHARMACY MARION                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2156 HEALTH CARE PARTNERS PHARMACY-JOHNSONVILLE                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2157 HEALTH CENTER #1 PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2158 HEALTH CENTER PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2159 HEALTH GUARD PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2160 HEALTH MART ATLAS 605                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2161 HEALTH MART ATLAS 630                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2162 HEALTH MART ATLAS 841                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2163 HEALTH ON SOUTH RX LLC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2164 HEALTH PRO PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2165 HEALTH SERVICES PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2166 HEALTHCARE EVOLUTION                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2167 HEALTHCARE MANAGEMENT CONSULTANTS, INC.-SILVER 302             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2168 HEALTHCARE MEDICAL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2169 HEALTHCARE NETWORK OF SWFL..., & PHARMACY CARE IMMOKALEE       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2170 HEALTHFIRST NETWORK, INC FKA/FAMILY PLANNING HEALTH SERVICES   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2171 HEALTHLAND PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2172 HEALTHPRO PHARMACY & WELLNESS CENTER                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2173 HEALTHTECH BIOACTIVES USA, INC. - PLATINUM 102                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2174 HEALTHTECH BIOACTIVES USA, INC. -GOLD 200 PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2175 HEALTHWISE PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2176 HEALTH-WISE PHARMACY OF MANSFIELD                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2177 HEALTH-WISE PHARMACY PLLC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2178 HEALTH-WISE PHARMACY PLLC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2179 HEALTHY CORNER PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2180 HEALTHY FAMILY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2181 HEALTHY HEIGHTS PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2182 HEALTHY PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2183 HEALTHY SOLUTIONS PHARMACY & MEDICAL SUPPLIES                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2184 HEALTHY WAY PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2185 HEART DRUGS PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2186 HEART OF AMERICA BEVERAGE                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2187 HEART OF AMERICA BEVERAGE (JOPLIN)                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2188 HEARTLAND DISCOUNT PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2189 HEARTLAND HEALTH CENTER - PPO PLATINUM 101 PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2190 HEARTLAND HEALTH CENTER -SILVER HDHP                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2191 HEARTLAND HEATING & COOLING LLC - S300-B                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2192 HEAT AND FROST LOCAL 16                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2193 H-E-B LP                                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2194 HEIGHTS STUDEWOOD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2195 HEMATOLOGY & ONCOLOGY CONSULTANTS OF PENNSYLVANIA              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2196 HEMOPHILIA OF GEORGIA                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2197 HENDERSON FAMILY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2198 HENDRIX PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2199 HENNIKER PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2200 HENNING LOGISTICS, INC. - BRONZE 405                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2201 HENNING LOGISTICS, INC. - GOLD 200                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2202 HENNING LOGISTICS, INC. - SILVER 302                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2203 HERBERTS PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2204 HERD CO.                                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2205 HERDRICH PETROLEUM - SILVER 302                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2206 HERDRICH PETROLEUM CORP. - BRONZE 403                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2207 HERITAGE BIOLOGICS, LLC                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2208 HERITAGE HALL                                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2209 Heritage Medical Associates P.C.                               Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2210 HERMANN AREA DISTRICT HOSPITAL                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2211 HERMANN FAMILY DRUGSTORE                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2212 HERRING FARMS, INC. - 3000 CP PLAN                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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2213 HERRMANN THRIFTY WHITE                               Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2214 HERSHEY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2215 Hexaware Technologies, Inc                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2216 HH EMPLOYEE HOLDINGS, LLC - MEC EXTRA PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2217 HIBBARD'S PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2218 HIGH STREET PRESCRIPTION CENTER                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2219 HIGHALANDSPRING OF FT. THOMAS                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2220 HIGHGROVE ALF                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2221 HIGHLAND HOSPITAL OUTPATIENT PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2222 HIGHLINE COLLEGE - PLAN 42                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2223 HIGH-TEC INDUSTRIAL SERVICES, INC. - SILVER 302      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2224 HILL CITY PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2225 HILLCREST HEALTH & REHAB                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2226 HILLCREST HOSPICE CARE                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2227 HILLCREST HOSPICE CARE - COUNCIL BLUFFS              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2228 HILLMAN CENTER PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2229 HILLMAN PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2230 HILLS DRUG JUSTICE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2231 HILLS DRUG PALOS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2232 HILLSIDE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2233 HILLSIDE UNIT PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2234 HILLTOP PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2235 HILLTOP PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2236 HILLYARD INDUSTRIES, INC. - PPO PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2237 HILLYARD INDUSTRIES, INC. - QHDHP HIGH               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2238 HILLYARD INDUSTRIES, INC. - QHDHP LOW                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2239 HILLYARD, INC. - PPO PLAN                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2240 HILLYARD, INC. - QHDHP HIGH                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2241 HILLYARD, INC. - QHDHP LOW                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2242 Hilscher-Clarke Electric Co. Inc                     Elixir Pharmacy, LLC              Vendor Contract                               $1,314.32
2243 HIPIOWA - PLAN A                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2244 HIPIOWA - PLAN B                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2245 HIPIOWA - PLAN C                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2246 HIPIOWA - PLAN D                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2247 HIPIOWA - PLAN E                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2248 HIPIOWA - PLAN F                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2249 HIXENBAUGH'S DRUG STORE                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2250 HIXSON DRUG                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2251 HK PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2252 HKS PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2253 HMC LONG TERM CARE PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2254 HMD SERVICES - BRONZE 403                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2255 HMD SERVICES - BRONZE 405                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2256 HMD SERVICES - SILVER 302                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2257 HO CHUNK HEALTH CARE PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2258 HO-CHUNK HEALTH CARE CENTER PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2259 HOFFMAN DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2260 HOFFMAN DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2261 HOLDREGE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2262 HOLLIS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2263 HOLLY PARK PHARMACY - ICHS                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2264 HOLLY PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2265 HOLLYWOOD CASINO BATON ROUGE - ACP #1                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2266 HOLLYWOOD CASINO BATON ROUGE - MEC GREEN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2267 HOLLYWOOD CASINO BATON ROUGE - PPO 500               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2268 HOLLYWOOD CASINO BATON ROUGE - PPO PLAN A            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2269 HOLMAN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2270 HOLT'S PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2271 HOLY ROSARY HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2272 HOME CHOICE PARTNERS INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2273 HOME HEALTH CARE, INC. - BRONZE 404                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2274 HOME HEALTH CARE, INC. - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2275 HOME HEALTH OF KANSAS                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2276 HOME I V CARE INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2277 HOMEBANK - HSA PLAN                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2278 HOMECARE & HOSPICE, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2279 HOMEDALE DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2280 HOMEPLACE AT MIDWAY                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2281 HOMERX HEALTHCARE                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2282 HOMES PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2283 HOMETOWN MARKET - CALHOUN CITY                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2284 HOMETOWN RX                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2285 HOMETRENDS, LLC. - BRONZE 404                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2286 HOMETRENDS, LLC. - SILVER 302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2287 HONDA OF SOUTH GEORGIA IN TIFTON - SILVER 302        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2288 HONEOYE FALLS PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2289 HONK HOME PATIENTS                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2290 HONOR HOSPICE                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2291 HOPE FAMILY PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                            Contract Counterparty                         Debtor Entity             Contract Description   Estimated Cure Amount
2292 HOPE HOME CARE, LLC - SC10                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2293 HOPE HOME CARE, LLC - SV35                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2294 HOPE PHARMACY LTD                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2295 HOPKINS APOTHECARY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2296 HORIZON HOSPICE                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2297 HORIZON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2298 HORIZONTAL BORING & TUNNELING & FRANK BLACK PIPE     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2299 HORIZONTAL BORING & TUNNELING CO. - HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2300 HOSPARUS INC.                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2301 HOSPICE OF OLATHE MEDICAL CENTER                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2302 HOSPICE OF OLATHE MEDICAL CENTER- HOSPICE HOUSE      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2303 HOSPICE OF SCOTLAND COUNTY - NC                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2304 HOSPICE OF SCOTLAND COUNTY - SC                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2305 HOSPICE OF WASHINGTON COUNTY                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2306 HOSPICE SAVANNAH INC - PLAN 1                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2307 HOSPICE SAVANNAH INC - PLAN 2                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2308 HOSPICE SAVANNAH INC - PLAN 3                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2309 HOSPICE SAVANNAH INC - PLAN 4                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2310 HOSPITAL PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2311 HOSPITAL PHARMACY WEST                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2312 HOSPITALITY STAFFING SOLUTIONS, LLC - MEC ENHANCED   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2313 HOT SPRINGS MEDICAL CENTER PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2314 HOTSY CLEANING SYSTEMS, INC. - B404 HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2315 HOTSY CLEANING SYSTEMS, INC. - S302 COPAY PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2316 HOUSE OF WELLNESS CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2317 HOUSE OF WELLNESS PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2318 HOWARD INDUSTRIES                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2319 HOWARD'S PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2320 HOWARD'S PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2321 HPI OF TEXAS - ENHANCED ADVANTAGE - ST. DOMINIC      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2322 HPI OF TEXAS - ENHANCED ADVANTAGE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2323 HPI OF TEXAS - ENHANCED BASIC PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2324 HPI OF TEXAS - ENHANCED ELITE PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2325 HPI OF TEXAS - ENHANCED PLUS PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2326 HPI OF TEXAS - ENHANCED PLUS PLAN - ST. DOMINIC      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2327 HPI OF TEXAS - ESSENTIAL ADVANTAGE PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2328 HPI OF TEXAS - ESSENTIAL PLUS PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2329 HPI OF TEXAS - VALUE ADVANTAGE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2330 HPI OF TEXAS - VALUE BASIC PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2331 HPI OF TEXAS - VALUE BASIC PLAN - ST. DOMINIC        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2332 HPI OF TEXAS - VALUE PLUS PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2333 HS PHARMACY INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2334 HU HU KAM MEMORIAL HOSPITAL                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2335 HUBBARD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2336 HUDSON TITLE GROUP - HDHP 3000                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2337 HUDSON TITLE GROUP - PREMIER 1000                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2338 HUDSON TITLE GROUP - PREMIER 2500                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2339 HUISMAN NORTH AMERICA SERVICES - SILVER 302          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2340 HUISMAN NORTH AMERICA SERVICES -SILVER 303           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2341 Human Resource Administration of Hawaii              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2342 HUME PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2343 HUNT CLEANERS, INC. - S302 COPAY PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2344 HUNTINGTON DRUGS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2345 HURLEY MEDICAL CENTER                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2346 HURSH DRUGS                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2347 HUTCHINSON REGIONAL MEDICAL CENTER, INC.             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2348 HUTCHINSON REGIONAL MEDICAL CENTER, INC. - HDHP      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2349 HYDEN HEALTH & REHAB                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2350 HYDROSOLUTIONS OF DULUTH, INC. - GOLD 201            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2351 HY-VEE INC                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2352 I AND L EXPRESS PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2353 I H S PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2354 I V CARE OPTIONS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2355 IAM BENEFITS, LLC                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2356 IAM BENEFITS, LLC - HSA PLAN                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2357 IBERIA COMPREHENSIVE CHC PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2358 ICARE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2359 ICHS SHORELINE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2360 ICIRCLE                                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2361 ICT INDUSTRIES INC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2362 ICT INDUSTRIES INC - BUY UP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2363 IDER DISCOUNT DRUGS INC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2364 IHC HEALTH SERVICES INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2365 IMPACT PARTNERSHIP SERVICES, INC. -PLATINUM 101      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2366 IMPERIAL HEALTH PLAN                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2367 IMPERIAL INSURANCE COMPANIES INC.                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2368 IMPERIAL PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2369 INCHELIUM HEALTH CENTER PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2370 INCOMMONS BANK                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00




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 #                              Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
2371 Independence Business Supply                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2372 INDEPENDENT STAVE CO.                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2373 INDEX PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2374 INDIAN HEALTH RESOURCE CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2375 INDIANA HEMOPHILIA & THROMBOSIS CENTER               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2376 INDUSTRIAL SALES COMPANY, INC. - GOLD 201            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2377 INFINITE HEALTH PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2378 Infosys Limited                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2379 INFUSION CONNECTION PHARMACY SERVICES INC            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2380 INFUSION LLC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2381 INFUSION PARTNERS INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2382 INFUSION PLUS                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2383 INFUSION SOLUTIONS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2384 INFUSION SOLUTIONS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2385 INGLES MARKETS PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2386 INHEALTH SPECIALTY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2387 INLAND VALLEY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2388 INMAN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2389 INNATE CONCEPTS - BRONZE E404                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2390 INNATE CONCEPTS - SILVER E302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2391 INNATE CONCEPTS - SILVER E303                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2392 INNOVATIVE FINANCIAL TECHNOLOGIES                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2393 INNOVATIVE LIVESTOCK SERVICES OPTION 1               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2394 INNOVATIVE LIVESTOCK SERVICES OPTION 2               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2395 INNOVATIVE STAFF SOLUTIONS, INC.                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2396 INNOVU                                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2397 Inovalon Inc                                         Elixir Pharmacy, LLC              Vendor Contract                             $246,395.22
2398 Inovalon Provider Inc                                Elixir Rx Options, LLC            Vendor Contract                                 $336.26
2399 Insight Global LLC                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2400 INSTY MEDS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2401 Insulators Local 32 Welfare Fund                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2402 Insulators Local 45                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2403 INTEGRATED COMMUNITY, INC. -SILVER 302               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2404 INTEGRATED COMMUNITY, INC. -SILVER 303               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2405 INTEGRITY HCC SERVICES, LLC - GOLD 203               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2406 INTEGRITY HCC SERVICES, LLC - PLATINUM 102           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2407 INTEGRITY HCC SERVICES, LLC - SILVER 302             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2408 INTELLICOM COMPUTER CONSULTING, INC. - BRONZE 404    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2409 INTERIM HEALTHCARE & HOSPICE OF WICHITA              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2410 INTERNATIONAL COMMUNITY HEALTH SERVICES              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2411 INTERNATIONAL HOLISTIC PHARMACY INC.                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2412 INTERNATIONAL HOUSE OF PRAYER - BRONZE               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2413 INTERNATIONAL HOUSE OF PRAYER - GOLD                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2414 INTERNATIONAL HOUSE OF PRAYER - SILVER               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2415 INTERNATIONAL MACHINE TECHNOLOGY, IN -PLATINUM 101   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2416 INTRACOASTAL REALTY CORP.                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2417 INTRAMED PLUS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2418 INTRAMED PLUS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2419 INTRAMED PLUS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2420 INTRA-NATIONAL PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2421 INTRUST BANK - COPAY PLAN                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2422 INTRUST BANK - HDHP                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2423 INVESTORS MANAGEMENT CO. OF VALDOSTA - BRONZE 403    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2424 INVESTORS MANAGEMENT CO. OF VALDOSTA - SILVER 302    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2425 IOLA PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2426 IOLA PHARMACY CLINIC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2427 Iolani Schools                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2428 IOWA CITY HOSPICE                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2429 IOWA HEALTH ADVANTAGE                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2430 IPHARMACY DISCOUNT INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2431 IRON MOUNTAIN                                        Elixir Pharmacy, LLC              Vendor Contract                               $5,865.90
2432 IRVINE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2433 IRWIN & ASSOCIATES OF LOUISIANA, LLC - SILVER 302    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2434 IRWIN & ASSOCIATES OF LOUISIANA, LLC -PLATINUM 101   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2435 IRWIN-POTTER DRUG                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2436 ISAAC COGGS HERITAGE HEALTH CENTER                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2437 ISHAM BROADWAY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2438 ISLAND SUPPLY WELDING CO. - W1000 COPAY              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2439 ISLAND SUPPLY WELDING CO. - W2000 HDHP               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2440 ISOTEC INTERNATIONAL, INC. - GOLD 201                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2441 ISOTEC INTERNATIONAL, INC. - PLATINUM 101            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2442 ITC PHARMACY II                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2443 IU HEALTH ADVANCED THERAPIES PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2444 IV CARE                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2445 IV SOLUTIONS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2446 IV SOLUTIONS LLC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2447 IV SOLUTIONS RX                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2448 IVANHOE FAMILY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2449 IVY KNOLL                                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
2450 IVYLEA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2451 IVYWILD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2452 J & C HAULING, INC. - GOLD 202                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2453 J & M DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2454 J AND L PHARMACY CORP                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2455 J&B KELLY INC                                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2456 J.B. POINDEXTER & CO. INC. - BRONZE PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2457 J.B. POINDEXTER & CO. INC. - CIBOLO PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2458 J.B. POINDEXTER & CO. INC. - GOLD PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2459 J.B. POINDEXTER & CO. INC. - SILVER PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2460 J.B. POINDEXTER & CO. INC. - SWH GOLD PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2461 J.C. Communications, Inc.                            Elixir Rx Solutions, LLC (MO)     Vendor Contract                                 $961.26
2462 JACKSON HOP, LLC - SILVER 302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2463 JACOB STERN & SONS, INC. - HDHP HSA PLAN 3           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2464 JACOB STERN & SONS, INC. - HIGH DEDUCTIBLE PLAN 2    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2465 JACOBSON HOLDINGS, INC. - AFFORDABLE HEALTH PLAN     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2466 JACOBSON HOLDINGS, INC. - EMPLOYEE BENEFIT PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2467 JADTIS INDUSTRIES, LP - HRA PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2468 JADTIS INDUSTRIES, LP - POS PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2469 James Edward Farmer Jr DBA Redmond Consulting LLC    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2470 JAMES FRANCIS ELECTRIC, INC - BRONZE 403             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2471 JAMESON OUTPATIENT PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2472 JAMESTOWN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2473 JANGSU PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2474 JANSSEN & SONS, INC.                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2475 JE DUNN CONSTRUCTION - BLUE SAVER PLAN FAMILY        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2476 JE DUNN CONSTRUCTION - BLUE SAVER PLAN INDIVIDUAL    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2477 JE DUNN CONSTRUCTION - COPAY BLUE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2478 JEANS' EXTRUSIONS                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2479 JEFFERSON STATE COMMUNITY COLLEGE - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2480 JEMEZ HEALTH CENTER                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2481 JENNIE STUART MEDICAL CENTER SATELLITE PHARMACY      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2482 JENNY'S PHARMACY & DISCOUNT INC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2483 JEROME DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2484 JEROME DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2485 JIREH PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2486 JK GROUP OF COMPANIES, LLC. - SILVER 302             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2487 JMC PHARMACY, INC. - FARMACIA LATINA                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2488 JMP PIZZA, INC. DBA DOMINO'S - BRONZE 403            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2489 JOHNS DISCOUNT DRUGS                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2490 JOHNS DISCOUNT DRUGS INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2491 JOHNS GREAT CARS, INC. - BRONZE 404                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2492 JOHNS GREAT CARS, INC. -SILVER 303                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2493 JOHNSON & JOHNSON CLAIMS MANAGEMENT LLC              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2494 JOHNSON C SMITH UNIVERSITY - BRONZE PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2495 JOHNSON C SMITH UNIVERSITY - SILVER PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2496 JOHNSON CNTY,KS GOV'T-BLUESAVER $3000 RETIREE HDHP   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2497 JOHNSON COUNTY COMMUNITY COLLEGE - PLAN 23           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2498 JOHNSON COUNTY PARK & RECREATION DISTRICT-HDHP       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2499 JOHNSON COUNTY PARK & RECREATION DISTRICT-PPO PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2500 JOHNSON COUNTY PARK & RECREATION DISTRICT-SPIRA      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2501 Johnson County, Kansas Government                    Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
2502 JOHNSON COUNTY, KS BLUESAVER FAMILY HDHP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2503 JOHNSON COUNTY, KS BLUESAVER INDIVIDUAL HDHP         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2504 JOHNSON COUNTY, KS GOV'T - PPO                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2505 JOHNSON COUNTY, KS GOV'T - RETIREE HDHP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2506 JOHNSON RESTAURANT GROUP - GOLD 200 PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2507 JOHNSON RESTAURANT GROUP - SILVER 303 PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2508 JOHNSTON COUNTY INDUSTRIES                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2509 JOHNSTON DRUG INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2510 JOLLEYS COMPOUNDING PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2511 JOLLEYS PHARMACY REDWOOD                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2512 JON WAYNE SERVICE COMPANY, LTD                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2513 JONES DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2514 JONES DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2515 JONES DRUGS #002                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2516 JONES DRUGS #003                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2517 JONES DRUGS #005                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2518 JONES DRUGS 6                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2519 JONES TOTAL HEALTH PHARMACY LLC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2520 JORDAN HOLMAN LUMBER COMPANY, INC.                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2521 Jordanos                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2522 JOSEFS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2523 JOSEFS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2524 JOULE WELLNESS PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2525 JP PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2526 JPS HEALTH SYSTEM OUTPATIENT PHARMACIES              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2527 JR EVANS ENGINEERING PA - HDHP 3000                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2528 JR EVANS ENGINEERING PA - PREMIER 1000               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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2529 JR EVANS ENGINEERING PA - PREMIER 2500             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2530 JSM BUILDERS, INC. -SILVER 303                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2531 JST GLOBAL, LLC                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2532 JST GLOBAL, LLC - HDHP HSA PLAN 3                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2533 JST GLOBAL, LLC - HIGH DEDUCTIBLE PLAN 2           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2534 JULIOS PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2535 JUSTICE FURNITURE                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2536 JUSTIN TAYLOR COMPANIES, LLC. -GOLD 200 PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2537 JW NUTRITIONAL, LLC - PREMIER PLAN 2500            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2538 JW PHARMACY LLC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2539 K MART PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2540 K PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2541 K.E. MCCARTNEY & ASSOC., INC. - COPAY PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2542 K.E. MCCARTNEY & ASSOC., INC. - HSA                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2543 KA WOLFE, LLC - 4000 HDHP                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2544 KA WOLFE, LLC - PREMIER 2500                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2545 KABAFUSION                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2546 KABAFUSION IL                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2547 KABAFUSION IL                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2548 KABAFUSION MI                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2549 KABAFUSION NJ                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2550 KABAFUSION NV                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2551 KABAFUSION TX                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2552 KABAFUSION, INC.                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2553 KABAFUSION, INC.                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2554 KABAFUSION, LLC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2555 KANA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2556 KANAB UNITED DRUG                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2557 KANAKANAK HOSPITAL                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2558 KANEQUIP, INC. - PPO PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2559 KANEQUIP, INC. - QHDHP PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2560 KANIKSU COMMUNITY HEALTH                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2561 KANSAS CITY ORTHOPAEDIC INSTITUTE - BUY-UP PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2562 KANSAS CITY ORTHOPAEDIC INSTITUTE - HDHP           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2563 KANSAS FEEDS                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2564 KANSAS HEALTH ADVANTAGE                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2565 KAPOLEI PROFESSIONAL PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2566 KAREN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2567 KASHMIR DRUG MART                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2568 KATRINA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2569 KAWEAH HEALTH HOME INFUSION PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2570 KAY PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2571 KAYS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2572 KC STEAK MGMT & SUPPORT                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2573 KC STEAK PRODUCTION                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2574 KCH HOME INFUSION PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2575 KD PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2576 KEARNEY EYE INSTITUTE, P.C. - BRONZE 404           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2577 KEARNY COUNTY HOSPITAL                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2578 KEAVENY DRUG                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2579 KEEZAC PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2580 KELLY DRUGS                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2581 KEMIRA CHEMICALS INC                               Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
2582 KEMPSON REXALL DRUGS INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2583 KEMPSVILLE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2584 KENMARE DRUG                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2585 KENS PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2586 KENTON COMMUNITY HEALTH CENTER PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2587 Kentucky Department of Insurance                   Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
2588 Kentucky Eagle Inc.                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2589 KENTUCKY LABORERS                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2590 KETCHIKAN INDIAN COMMUNITY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2591 KEVCO ELECTRICAL CONSTRUCTION, INC. - BRONZE 403   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2592 KEVCO ELECTRICAL CONSTRUCTION, INC. - BRONZE 405   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2593 KEWAUNEE HOMETOWN PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2594 KICKAPOO HEALTH CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2595 KICKAPOO NATION HEALTH CENTER                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2596 KID CITY USA ENTERPRISES, INC. - BRONZE 405        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2597 KID CITY USA ENTERPRISES, INC. - SILVER 302        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2598 KIDNEY SPECIALISTS, INC. - GOLD 201                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2599 KIDNEY SPECIALISTS, INC. - PLATINUM 102            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2600 KIEU AN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2601 KILGORES MEDICAL PHARMACY - COPAY PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2602 KILGORES MEDICAL PHARMACY - HSA                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2603 KILLDEER PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2604 KILLEEN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2605 KIM PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2606 KIMAW MEDICAL CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2607 KIMBERLY HOMETOWN PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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2608 KIMROS MEDICINE PLACE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2609 KINDCARE PHARMACY AND MEDICAL SUPPLY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2610 KING KULLEN PHARMACY CORP                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2611 KING PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2612 KING PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2613 KINGS DISCOUNT PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2614 KINGS PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2615 KINGS PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2616 KING'S PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2617 KING'S PHARMACY AND COMPOUNDING CENTER                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2618 KINNEY DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2619 KINSLEY DRUG                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2620 KINTEGRA FAMILY MEDICINE - KINGS MOUNTAIN WEST PHA    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2621 KIOWA COUNTY PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2622 KIOWA PRESCRIPTIONS PLUS                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2623 KIRBY WHITTEN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2624 KIRKLIN CLINIC PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2625 Kirksey Architects, Inc. DBA Kirksey                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2626 KIRKWOOD COMMUNITY COLLEGE - PLAN 10                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2627 KISER HARRISS CHEMICAL - BASE PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2628 KISER HARRISS CHEMICAL - HSA BUY UP PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2629 KJL Management Services LLC                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2630 KLAMATH OPEN DOOR PHARMACY FAMILY PRACTICE PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2631 KLAMATH TRIBAL PHARMACY - CHILOQUIN                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2632 KLINGENSMITHS DRUG STORE INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2633 KLINGENSMITH'S DRUG STORES #2                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2634 KLINGENSMITH'S DRUG STORES #9                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2635 KNIGHTS ROAD PHARMACY LLC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2636 KNOTT COUNTY HEALTH & REHAB                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2637 Kobayashi Travel                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2638 KOHAL PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2639 KOHAL PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2640 KOHAL PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2641 KOMATKE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2642 KO'OLAULOA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2643 KRAMER'S FORSYTH PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2644 KRESS SPECIALTY APOTHECARY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2645 KREWSTOWN PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2646 KRIEN PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2647 KRINOS FOODS, LLC - EPO PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2648 KRINOS FOODS, LLC - PPO PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2649 KRUSE & ASSOCIATES 1000 - PLAN 1                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2650 KRUSE & ASSOCIATES 2000 - PLAN 2                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2651 KRUSE & ASSOCIATES 2500 - PLAN 4                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2652 KRUSE & ASSOCIATES 5000 - PLAN 3                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2653 KS PHARM LLC                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2654 KWICKMED FARMACIA                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2655 L FERNANDEZ PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2656 LA BOTICA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2657 LA CRESCENTA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2658 LA JOLLA DISCOUNT PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2659 LA MAESTRA COMMUNITY PHARMACY CITY HEIGHTS            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2660 LA NUEVA MARIANA                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2661 LA PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2662 LAC COURTE OREILLES PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2663 LAC VIEUX DESERT HEALTH CLINIC AND PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2664 LACON'S PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2665 LACY CONSTRUCTION COMPANY - HDHP                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2666 LACY CONSTRUCTION COMPANY - PPO PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2667 LAFOURCHE PARISH SCHOOL BOARD                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2668 Laika LLC                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2669 LAKE COUNTRY COMPOUNDING & WELLNESS                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2670 LAKE SPOKANE COMM HLTH CNTR PHCY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2671 LAKE WASHINGTON INSTITUTE OF TECHNOLOGY - PLAN 42     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2672 LAKESHORE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2673 LAKESHORE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2674 LAKESIDE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2675 LAKETOWN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2676 LAKEVIEW NEURO REHAB CENTER MIDWEST, INC.             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2677 LAKEVIEW SPECIALTY HOSPITAL & REHAB                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2678 LAKEWOOD HEALTH SYSTEMS HOSPITAL PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2679 LAM PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2680 LANDCARE GROUP, INC. - BRONZE 402 MVP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2681 LANDCARE GROUP, INC. - GOLD 200                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2682 LANDCARE GROUP, INC. - MEC PLUS                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2683 LANDCARE GROUP, INC. - PLATINUM 100                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2684 LANDMARK HEALTHCARE, INC.                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2685 LANDMARK OF ELKHORN CITY                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2686 LANDMARK PROPERTIES - HSA 4000                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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2687 LANDMARK PROPERTIES - PPO 1500                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2688 LANDMARK PROPERTIES - PPO 2500                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2689 LANDMARK PROPERTIES - PPO 3500                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2690 LANDMARK SNACKS, LLC - W3000/7000 HDHP               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2691 LANDOLL CORPORATION HEALTHCARE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2692 LANE COMMUNITY COLLEGE - PLAN 47                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2693 LANGDALE CAPITAL ASSETS, INC. - 1500 CP PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2694 Language Line Services, Inc.                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2695 LANIER COUNTY BOARD OF COMMISSIONERS- 7000 CP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2696 LANNING PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2697 LANSDOWNE COMMUNITY PHARMACY INC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2698 LANSDOWNE-MOODY CO., LP                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2699 LARSEN SERVICE DRUG                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2700 LARSEN SERVICE DRUG INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2701 LARSON DRUG                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2702 LAS VEGAS COMMUNITY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2703 LAS VEGAS PAIUTE TRIBE CLINIC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2704 LASSEN INDIAN HEALTH CENTER                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2705 LASSUS BROTHERS OIL, INC. - HDHP                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2706 LASSUS BROTHERS OIL, INC. - TRADITIONAL PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2707 LATROBE AREA HOSPITAL PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2708 LAUREL MEDICAL CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2709 LC SCRIPTS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2710 LEADER DRUG STORES INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2711 LEADER PUERTO RICO                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2712 Leaf Health, LLC                                     Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
2713 LEBANON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2714 LECHS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2715 LECHS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2716 LEDWELL & SON ENTERPRISES, INC.                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2717 LEE CO COOPERATIVE CLINIC PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2718 LEGGETT AND PLATT INC.                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2719 LEGGETT DRUG                                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2720 LEHAN DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2721 LEONARD ASSOCIATES MANUFACTURING, LLC                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2722 LETCHER MANOR                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2723 LETHERER TRUSS, INC.                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2724 LEUPP HEALTH CENTER PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2725 LEVANDERS, LLC - P101-B                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2726 LE-VEL BRANDS, LLC                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2727 LEVY & ASSOCIATES, LLC - GOLD 203                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2728 LEVY & ASSOCIATES, LLC. - BRONZE 403                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2729 LEVY & ASSOCIATES, LLC. - BRONZE 404                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2730 LEWIS DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2731 LEWIS DRUGS, INC.                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2732 LEWIS UNIVERSITY - PLAN 28                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2733 LEXINGTON COUNTRY PLACE                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2734 LEXINGTON DRUG                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2735 LEXINGTON FAMILY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2736 LEXINGTON HOME PATIENTS                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2737 LexisNexis                                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2738 LIBERTY CLINIC PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2739 LIBERTY HILL PHARMACY & COMPOUNDING CENTER           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2740 LIBERTY MEDICAL SPECIALTIES INC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2741 Liberty Mobile Puerto Rico                           Elixir Puerto Rico, Inc.          Vendor Contract                                 $477.63
2742 LIBERTY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2743 LIBERTY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2744 LIEB PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2745 LIFEBRITE COMMUNITY HOSPITAL OF STOKES               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2746 LIFE'S COMPANION PCA, INC. - MEC MVP PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2747 LIFESPAN, INC.                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2748 LIHUE CLINIC PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2749 LIL DAVES                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2750 LIMESTONE LOGISTICS, INC. - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2751 LIMESTONE LOGISTICS, INC. - BRONZE 405               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2752 LIMESTONE LOGISTICS, INC. - SILVER 302               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2753 LINCOLN PARK MANOR - MODIFIED ESSENTIAL PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2754 LINCOLN PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2755 LINDA VISTA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2756 LINDER EQUIPMENT COMPANY - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2757 LINDSAY DRUG CO (LONG-TERM CARE)                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2758 LINDSEY CONTRACTORS, INC. - PLATINUM 101             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2759 LINE CREEK BREWING CO. - BRONZE 403                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2760 LINESVILLE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2761 LINFIELD CHRISTIAN SCHOOL - PLANS 50                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2762 LINHS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2763 LINKUS PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2764 LIONEL R JOHN HEALTH CENTER                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2765 LIPMAN FAMILY FARMS - MANAGEMENT 1 HDHP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                           Contract Counterparty                             Debtor Entity             Contract Description   Estimated Cure Amount
2766 LIPMAN FAMILY FARMS - MANAGEMENT 2                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2767 LIPMAN FAMILY FARMS - MANAGEMENT 3                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2768 LIPMAN FAMILY FARMS - MANAGEMENT 4                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2769 LIPMAN FAMILY FARMS - SEASONAL                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2770 LIPMAN FAMILY FARMS - UNION HIGH                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2771 LIPMAN FAMILY FARMS - UNION LOW                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2772 LIPMAN FAMILY FARMS - UNION LOW UFP                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2773 LIPSCOMB UNIVERSITY - PLAN 10                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2774 LITTLE DRUGS FAMILY WELLNESS CENTER                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2775 LITTLE RIVER MEDICAL CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2776 LITTLE RIVER MEDICAL CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2777 LITTLETON WB CONSTRUCTION & SONES, INC.                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2778 LIVERS BRONZE COMPANY                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2779 LIVING WELL PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2780 LIVINGSTON PARISH SCHOOL BOARD                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2781 LIVINGSTON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2782 LLOYD WALLER FEEDLOT -W8500                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2783 LMH HEALTH - HDHP                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2784 LMH HEALTH - PREMIER PLAN                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2785 LNR COMPANIES, INC. - GOLD 201                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2786 LNR COMPANIES, INC. - PLATINUM 101                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2787 LOBAR ASSOCIATES, INC.                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2788 LOCKPORT APOTHECARY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2789 LOCUST VALLEY CHEMISTS                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2790 LOGAN INDUSTRIES INTERNATIONAL CORPORATION              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2791 LOGICAL SOLUTIONS, INC.                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2792 LOGISTICAL MANAGEMENT ASSOC, INC. - PLATINUM 102        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2793 LOMA LINDA PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2794 LOMPOC VALLEY MEDICAL CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2795 LONE STAR FAMILY HEALTH CENTER INC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2796 LONE STAR MILK TRANSPOSRT, INC.                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2797 LONG MCARTHUR - PLAN 1                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2798 LONG MCARTHUR - PLAN 2                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2799 LONGBELLA DRUG INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2800 LONG'S DRUG STORE                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2801 LONGS DRUG STORES CALIFORNIA LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2802 Lorain County                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2803 LOREN COOK                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2804 LORENA PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2805 LOS ANGELES CITY COLLEGE - PLAN 62                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2806 LOS ANGELES MISSION COLLEGE - PLAN 62                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2807 LOS ANGELES PIERCE COLLEGE - PLAN 62                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2808 LOS ANGELES TRADE TECH COLLEGE - PLAN 62                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2809 LOS ANGELES VALLEY COLLEGE - PLAN 62                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2810 LOST AND FOUND PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2811 LOTT FAMILY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2812 LOTUS PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2813 LOUISIANA CENTER FOR ADVANCED MEDICINE                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2814 LOW COUNTRY HEALTH CARE SYSTEM                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2815 LOW COUNTRY PHARMACY OF BAMBERG                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2816 LOWEN HOSPITALITY MGMT, LLC. - MEC SPECTRUM SILVER      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2817 LOWEN HOSPITALITY MGMT, LLC.-MEC SPECTRUM PLATINUM      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2818 LOWER CAPE FEAR HOSPICE - CORE PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2819 LOWER CAPE FEAR HOSPICE - ENHANCED PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2820 LOWER CAPE FEAR HOSPICE - HDHP FAMILY POLICY            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2821 LOWER CAPE FEAR HOSPICE - HDHP INDIVIDUAL POLICY        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2822 LOWER COLUMBIA COLLEGE - PLAN 70                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2823 LOXLEY DRUGS                                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2824 LOYOLA UNIVERSITY - PLAN 10                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2825 LOYOLA UNIVERSITY NEW ORLEANS                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2826 LP PHARMACEUTICALS LLC                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2827 LST GARDEN PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2828 LTC CEDAR DRUG AND GIFT                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2829 LTC HEALTH SOLUTIONS - BRONZE PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2830 LTC HEALTH SOLUTIONS - GOLD PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2831 LTC HEALTH SOLUTIONS - SILVER PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2832 LTC PRESCRIPTION PROVIDERS INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2833 LUCILE PACKARD CHILDRENS HOSPITAL OUTPATIENT PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2834 LUKE'S FAMILY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2835 LUMBERTON DRUG COMPANY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2836 LUMBERTON DRUG WEST                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2837 LUMICERA HEALTH SERVICES LLC                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2838 LUMINOUS NEON, INC.                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2839 LUNA PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2840 LVRX PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2841 LYONS DRUG STORE                                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2842 LYONS PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2843 M B DRUGS INC                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2844 MAC RX OF MISSOURI LLC                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00




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2845 MACARTHUR PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2846 MACO MANAGEMENT CO., INC.                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2847 MACOMB CUSD #185 - HDHP                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2848 MACOMB CUSD #185 - STANDARD PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2849 MACT PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2850 MACTRONIX SYSTEMS - BRONZE 403                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2851 MADIGAN ARMY MEDICAL CTR                             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2852 MADISON PARK PHARMACY & WELLNESS CENTER              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2853 MADONNA MANOR                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2854 MAG MUTUAL INSURANCE COMPANY - HDHP                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2855 MAG MUTUAL INSURANCE COMPANY - PPO                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2856 MAGEE-WOMENS HOSPITAL PHARMACY NO. TWO               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2857 MAGELLAN COMPLETE CARE OF VIRGINIA                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2858 MAGNACARE - HRA PLAN                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2859 MAGNACARE - PPO PLAN                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2860 MAGNOLIA DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2861 MAGNOLIA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2862 MAGNOLIA SPRINGS SENIOR LIVING - LEX                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2863 MAGPIES GIFT SHOPS, LLC - HDHP 4000                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2864 MAHOGANY RIDGE BREWERY & GRILL -BRONZE 403           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2865 MAILAN HERITAGE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2866 MAIMONIDES MEDICAL CENTER                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2867 MAIN STREET DRUG                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2868 MAIN STREET DRUG                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2869 MAIN STREET PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2870 MAIN STREET PHARMACY & WELLNESS CENTER               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2871 MAINLINE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2872 MAINLINE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2873 MAINLINE PHARMACY - ALTOONA                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2874 MAINLINE PHARMACY - BLAIRSVILLE                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2875 MAINLINE PHARMACY - CRESSON                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2876 MAINLINE PHARMACY - PORTAGE                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2877 MAINLINE PHARMACY - SOMERSET                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2878 MAINLINE PHARMACY DAVIDSVILLE                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2879 MAINLINE PHARMACY HARRISON CITY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2880 MAINLINE PHARMACY HASTINGS                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2881 MAINLINE PHARMACY MURRYSVILLE                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2882 MAINSCAPE, INC. - MEC MVP PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2883 MAINSCAPE, INC. - MEC PLAN                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2884 MAINSCAPE, INC. - MEC PREMIUM                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2885 MAMA VILLAGE RX & WELLNESS                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2886 Managed Medical Review Organization                  Elixir Rx Options, LLC            Vendor Contract                               $2,130.00
2887 MANAGEMENT ANALYSIS & UTILIZATION, INC. - ENHANCED   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2888 MANAGEMENT ANALYSIS AND UTILIZATION, INC.            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2889 MANAGEMENT CONSULTANTS, INC. - MEC PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2890 MANATI MEDICAL CENTER DR OTERO LOPEZ                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2891 MANATTS, INC.                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2892 MANCAN, INC. - MEC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2893 MANGO HOUSE                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2894 MANIILAQ HEALTH CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2895 MANITO PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2896 Mantaline Corporation                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2897 MANTUA STATION DRUG COMPANY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2898 MAPLE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2899 MAPLEWOOD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2900 MARANA HEALTH CENTER                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2901 MARANA HEALTH CENTER                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2902 MARANA HEALTH CENTER                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2903 MARANATHA CHRISTIAN SCHOOLS - PLAN 50                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2904 MARANATHA HIGH SCHOOL - PLAN 50                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2905 MARC, INC.                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2906 MARCO DRUGS AND COMPOUNDING                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2907 MARIA DE LOS SANTOS HEALTH CENTER                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2908 MARIAN MEDICAL CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2909 MARIAN UNIVERSITY - PLAN 10                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2910 MARIETTA SPECIALTY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2911 MARIMN HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2912 MARIN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2913 MARIO'S PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2914 MARIPOSA PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2915 MARIPOSA PHARMACY AT RIO RICO                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2916 MARK MILFORD HICKSVILLE TOWNSHIP HOSPI -GOLD 200     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2917 MARMIE MOTORS, INC. BASE HDHP                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2918 MARMIE MOTORS, LLC. - PLAN B                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2919 MARS HILL MEDICAL CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2920 MARS HILL UNIVERSITY - HDHP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2921 MARS HILL UNIVERSITY - PPO PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2922 MARSH VILLAGE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2923 MARSHALL SCHOOL - PLAN 50                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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2924 MARSHFIELD CLINIC PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2925 MARTIN COUNTY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2926 MARTIN FAMILY FARMS                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2927 MARTIN FAMILY FARMS HDHP                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2928 Martin Foods                                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2929 MARTIN'S PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2930 MARTINSVILLE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2931 MARY MAHONEY MEMORIAL HEALTH CENTER PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2932 MASHBURN MEDICAL CENTER PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2933 MASON COUNTY                                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2934 MASON GENERAL HOSPITAL                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2935 MATTHEW REARDON CENTER FOR AUTISM - SILVER 302          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2936 MATTHEW REARDON CENTER FOR AUTISM, INC. - GOLD 200      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2937 MATTSON PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2938 MAUCH CHUNK PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2939 MAX DISCOUNT PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2940 MAX DRUGS                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2941 MAXEY ENERGY CO. - MEC PREMIUM                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2942 MAXOR NATIONAL PHARMACY SERVICES LLC                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2943 MAXOR SPECIALTY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2944 MAXORXPRESS                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2945 MAXSON MEDICAL PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2946 MAY PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2947 MAYERS MEMORIAL HOSPITAL DISTRICT                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2948 MAYFAIR MANOR                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2949 MAYFLOWER PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2950 MAYO CLINIC HEALTH SYSTEM HOLMEN PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2951 MAYO CLINIC HEALTH SYSTEM LA CROSSE HOSPITAL PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2952 MAYO CLINIC HEALTH SYSTEM NORTHWEST                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2953 MAYO CLINIC HEALTH SYSTEM PHARMACY - ALBERT LEA         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2954 MAYO CLINIC HEALTH SYSTEM-AUSTIN CLINIC PHARMACY        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2955 MAYO CLINIC PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2956 MAYO HOSPITAL OUTPATIENT PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2957 MAYO PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2958 M-CARE PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2959 MCARTHUR NEXT LLC                                       Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
2960 MCARTHUR NEXT LLC                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2961 MCCALL & ASSOCIATES, INC. - PLATINUM 101                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2962 MCCOY ROCKFORD, INC                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2963 MCGRAW PHARMACY INC.                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2964 MCGREGOR PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2965 MCHS CLINIC PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2966 MCHS ONALASKA PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2967 MCP RX                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2968 MCR HEALTH, INC.                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2969 MCS Life Insurance Co.                                  Elixir Puerto Rico, Inc.          Vendor Contract                                   $0.00
2970 MCT Credit Union                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
2971 MD PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2972 MDS RX                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2973 MEADOR PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2974 MEADOWMONT PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2975 MEADOWTHORPE ASSISTED LIVING                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2976 MEANS NURSERY, INC. - BRONZE 405                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2977 MEANS NURSERY, INC. - GOLD 201                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2978 MEBC- AUGLAIZE COUNTY, OH                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2979 MEBC- MERCER COUNTY, OH                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2980 MECHANICAL SYSTEMS & SERVICES - HDHP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2981 MECHANICAL SYSTEMS & SERVICES - PPO                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2982 MED CARE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2983 MED CENTER PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2984 MED CENTRO INC                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2985 MED CENTRO INC.                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2986 MED CENTRO, INC. FARMACIA VILLALBA                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2987 MED FAST COMPOUNDING PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2988 MED SCRIPTS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2989 MED ZONE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2990 MED-AID PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2991 MED-CARE MEDICAL CERNTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2992 MEDCARE PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2993 MEDCURA HEALTH INC - BRONZE 404                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2994 MEDCURA HEALTH, INC - SILVER 302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2995 MEDCURA HEALTH, INC -PLATINUM 101                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
2996 MEDEX PHARMACIES                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2997 MedHOK, Inc.                                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
2998 MEDIC PHARMACY INC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
2999 MEDICAL ALTERNATIVES                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3000 MEDICAL ARTS CHEMISTS & SURGICALS                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3001 MEDICAL ARTS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3002 MEDICAL ARTS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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3003 MEDICAL ARTS REXALL PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3004 Medical Card System                                            Elixir Puerto Rico, Inc.          Customer Contract                                 $0.00
3005 Medical Card System - Part B                                   Elixir Puerto Rico, Inc.          Customer Contract                                 $0.00
3006 MEDICAL CENTER EAST PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3007 MEDICAL CENTER NORTH SHORE PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3008 MEDICAL CENTER PHARMACY OF WYANDANCH                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3009 MEDICAL CENTRE SPECIALTY PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3010 Medical Eval Spec LLC DBA MES Peer Review Services             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3011 MEDICAL HOME PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3012 MEDICAL PARK PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3013 Medical Review Institute of America                            Elixir Rx Options, LLC            Vendor Contract                               $1,790.98
3014 MEDICAP PHARMACIES INC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3015 MEDICINE CHEST                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3016 MEDICINE LAND PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3017 MEDICINE SHOPPE                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3018 MEDICINE SHOPPE 1457                                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3019 MEDICINE WORLD INC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3020 MEDICMASTERS PHARMACY AND SURGICAL SUPPLIES INC                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3021 MEDI-SPACE DRUGS                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3022 Med-Pay                                                        Elixir Rx Solutions, LLC (MO)     Vendor Contract                                   $0.00
3023 MEDPLUS PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3024 MEDPLUS SPECIALTY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3025 MEDS MADE EASY PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3026 MED-SAVE NICHOLASVILLE                                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3027 MEDSCRIPTS PHARMACY LLC                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3028 MEDSTAR FRANKLIN SQUARE MEDICAL CENTER OUTPATIENT              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3029 MEDTOWN                                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3030 MEGA FORCE STAFFING GROUP, INC.                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3031 MEGAFAB                                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3032 MEIJER INC                                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3033 MEKAGREEN PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3034 MEKASON PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3035 MEKASON PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3036 MELBOURNE RX                                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3037 MELVINS DISCOUNT PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3038 MEMORIAL HOME INFUSION                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3039 MEMORIAL HOSPITAL FOR CANCER AND ALLIED DISEASES - SPECIALTY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3040 MEMORIAL MEDICAL PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3041 MENOMINEE INDIAN TRIBE OF WISCONSIN                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3042 MEN'S HEALTH FOUNDATION                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3043 MENTAL HEALTH CENTER PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3044 MENTAL HEALTH CENTER PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3045 MERCED MEDICAL PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3046 MERCER PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3047 Merck Sharp & Dohme Corp                                       Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
3048 MERCY CARE PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3049 MERCY MEDICAL CENTER PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3050 MERCY PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3051 MERCY SOUTH GATE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3052 MERCYONE DES MOINES HOME INFUSION                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3053 MERRICK MEDICAL CENTER                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3054 MERRILL AXLE & WHEEL SERVICE, INC. - W6000 HDHP                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3055 MESKWAKI PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3056 METAL PANEL SYSTEMS - BRONZE 403                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3057 METAL-FAB INC                                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3058 METCARE RX                                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3059 METCARE RX                                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3060 METHODIST COMMUNITY PHARMACY - CHARLTON                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3061 METHODIST COMMUNITY PHARMACY - DALLAS                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3062 METRO PHARMACY HOSPITAL METROPOLITANO                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3063 METROMEDS                                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3064 METROPLEX VITAL CARE                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3065 METROPOLITAN COMM COLLEGE OF KANSAS CITY - PLAN 17             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3066 METROPOLITAN PROPERTY MGMT, LLC - 5000 HSA CP PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3067 METROPOLITAN PROPERTY MGMT, LLC. - 7000 PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3068 METROPOLITAN STATE HOSPITAL                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3069 METSCRIPT PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3070 METSCRIPT PHARMACY#2                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3071 METTESAVE DISCOUNT DRUGS INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3072 MHA LONG TERM CARE NETWORK                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3073 MHC INTEGRATED CARE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3074 MIAMI BEACH COMMUNITY HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3075 MIAMI BEACH COMMUNITY HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3076 MIAMI BEACH COMMUNITY HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3077 MICHIE PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3078 MICHOUD PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3079 MIDAMERICA HOTELS CORPORATION - BRONZE PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3080 MIDAMERICA HOTELS CORPORATION - GOLD PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3081 MIDAMERICA HOTELS CORPORATION - SILVER PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                            Contract Counterparty                                   Debtor Entity             Contract Description   Estimated Cure Amount
3082 MID-CONTINENT ANESTHESIOLOGY - HDHP                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3083 MID-CONTINENT ANESTHESIOLOGY - PPO                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3084 MIDCOUNTY CLINIC PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3085 MIDDLE FLINT BEHAVIORAL HEALTH PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3086 MIDDLE TENN STATE UNIVERSITY ATHLETES - PLAN 23                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3087 MIDDLE TENNESSEE STATE UNIVERSITY - PLAN 23                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3088 MIDDLESBORO NURSING & REHAB                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3089 MIDDLETOWN CITY SCHOOL DISTRICT                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3090 MIDTOWN EAST PHARMACY & SURGICAL LLC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3091 MIDWEST PMS, LLC                                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3092 MIGRANT HEALTH CENTER WESTERN REGION INC FARMACIA LAS MARIAS   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3093 MIGRANT HEALTH CENTER WESTERN REGION, INC                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3094 MIKES PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3095 MIKE'S PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3096 MILFORD PHARMACY AND WELLNESS CENTER                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3097 MILLE LACS HEALTH SYSTEM                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3098 MILLER HARDWARE COMPANY - BRONZE 404                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3099 MILLER HARDWARE COMPANY - SILVER 302                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3100 MILLER HARDWARE COMPANY -GOLD 200 PLAN                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3101 MILLER ZELL INC - HRA PLAN                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3102 MILLER ZELL INC - HSA PLAN                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3103 MILLER'S PHARMACY, INC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3104 MILLERSBURG PHARMACY INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3105 MILLS PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3106 MILLTOWN PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3107 MIN NO AYA WIN PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3108 MINDEN MACHINE SHOP - 2800 HDHP                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3109 MINDEN MACHINE SHOP - B404 PPO                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3110 MINDEN MACHINE SHOP - G202 PPO                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3111 MINERSVILLE PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3112 MINIMED DISTRIBUTION CORP                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3113 MINUTES RX PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3114 MISSISSIPPI CENTER FOR ADVANCED MEDICINE                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3115 MISSISSIPPI COLLEGE - PLAN 11                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3116 MISSISSIPPI DEPARTMENT OF PUBLIC SAFETY                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3117 MISSISSIPPI DISCOUNT DRUGS #2 LTC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3118 MISSISSIPPI HOSPITAL SOLUTIONS                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3119 MISSISSIPPI POWER                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3120 MISSOURI COOPERATIVES - BASIC 2000 PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3121 MISSOURI COOPERATIVES - BASIC PLAN                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3122 MISSOURI COOPERATIVES - ENHANCED 1500 PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3123 MISSOURI COOPERATIVES - ENHANCED PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3124 MISSOURI COOPERATIVES - HDHP                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3125 MISSOURI SOUTHERN STATE UNIVERSITY - PLAN 10                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3126 MISSOURI STATE UNIVERSITY - BASE PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3127 MISSOURI STATE UNIVERSITY - BUY-UP PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3128 MISSOURI WESTERN STATE UNIVERSITY - PLAN 10                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3129 MITCHELL EQUIPMENT, LLC - GOLD E200                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3130 MITCHELL EQUIPMENT, LLC - GOLD E201                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3131 MITCHELL EQUIPMENT, LLC -SILVER E303                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3132 MITCHELLS PARK STREET PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3133 MIXMED PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3134 MJ MORGAN GROUP, LLC - BASE HIGH PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3135 MJ MORGAN GROUP, LLC - VALUE PLAN                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3136 MK INFUSION PHARMACY, LLC.                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3137 MKA INTERNATIONAL                                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3138 MKT SPECIALTY PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3139 MLK HERTIAGE CLINIC                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3140 MMS SOLUTIONS                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3141 MOCA EXPRESS PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3142 MODERN FARM EQUIPMENT, CORP. - BRONZE 404-B                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3143 MO-KAN SHEET METAL WORKERS                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3144 MOLINA HEALTHCARE OF UTAH                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3145 MOLINA'S PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3146 MOLOKAI DRUGS INC                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3147 MOMENTUM SKILLED SERVICES - SILVER 302                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3148 MOMENTUM SKILLED SERVICES - BRONZE 403                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3149 MOMENTUM SKILLED SERVICES - BRONZE 404                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3150 MOMENTUM SKILLED SERVICES - BRONZE 405                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3151 MONARCH HOSPICE & PALLIATIVE CARE                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3152 MONARCH HOSPICE & PALLIATIVE CARE - MISSOURI                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3153 MONARCH PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3154 MONDAY NIGHT BREWING - ESSENTIAL                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3155 MONICOS PHARMACY LLC                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3156 MONMOUTH UNIVERSITY - PLAN 10                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3157 MONNIG INDUSTRIES, INC.                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3158 MONNIG INDUSTRIES, INC. - HDHP                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3159 MONROE DRUGS                                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3160 MONROE FAMILY PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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3161 MONROE MEDICAL CLINIC PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3162 MONSERRATE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3163 MONTALUCE MANAGEMENT, LLC - BRONZE 404               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3164 MONTALUCE MANAGEMENT, LLC. - SILVER 302              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3165 MONTALUCE MANAGEMENT, LLC. -GOLD 203 PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3166 MONTCLAIR PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3167 MONTEREY DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3168 MONTEREY PENINSULA - PLAN 61                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3169 MONTEZUMA DRUG COMPANY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3170 MONTGOMERY CO BOARD OF COMMISSIONERS - BRONZE 403    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3171 MONTGOMERY PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3172 MOORES PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3173 MOORE'S PHARMACY OF LENA                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3174 MOORE'S PHARMACY OF SEBASTOPOL                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3175 MOORE'S PHARMACY OF WALNUT GROVE                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3176 MORAINE VALLEY COMMUNITY COLLEGE - PLAN 10           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3177 MORALES ENTERPRISES, INC. - MEC ENHANCED             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3178 MORGAN CORPORATION                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3179 MORGAN WINDOW AND GLASS, INC. - 3000 CP PLAN         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3180 MORGAN WINDOW AND GLASS, INC. - MEC GOLD PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3181 MORGANTON DRUG, INC.                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3182 MORIAH PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3183 MORITZ CONCRETE, INC. - PLAN A (NON-UNION)           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3184 MORITZ CONCRETE, INC. - PLAN B (UNION)               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3185 MORNING POINTE ASSISTED LIVING                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3186 MORNINGSIDE MEDICAL PHARMACY INC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3187 MORONGO INDIAN CLINIC PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3188 MOROVIS COMMUNITY HEALTH CENTER INC                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3189 MORRELL PARK PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3190 MORTENSEN WOODWORK, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3191 MORTON'S HILLTOP PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3192 MOSES LAKE COMMUNITY HEALTH CENTER                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3193 MOTION PICTURE AND TELEVISION HSP PHY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3194 MOULTRIE COLQUITT COUNTY PARKS & REC AUTH- 3000 CP   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3195 MOUNT CARROLL PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3196 MOUNT HOOD COMMUNITY COLLEGE - PLAN 42               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3197 MOUNT SAN ANTONIO COLLEGE - PLAN 60                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3198 MOUNTAIN COMMUNITY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3199 MOUNTAIN PARK HEALTH CENTER- PHARMACY BASELINE       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3200 MOUNTAIN PARK HEALTH CENTER PHARMACY MARYVALE        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3201 MOUNTAIN PLAZA PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3202 MOUNTAIN ST PHARMACY INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3203 MOUNTAIN VIEW NURSING                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3204 MOUNTAINSIDE FITNESS ACQUISITIONS - MEC PLUS         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3205 MOUTON PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3206 MR. BURRITO, LLC - BRONZE 403                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3207 MSKTD & ASSOCIATES, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3208 MTM PHARMACY I                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3209 MTM PHARMACY IV                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3210 MUD CREEK CLINIC PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3211 MUNDY SERVICE CORPORATION                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3212 MUNSON HEALTHCARE OTSEGO MEMORIAL HOSPITAL           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3213 MURDOCK HOMETOWN PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3214 MURRAY DRUGS INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3215 MURRAYS CONDON PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3216 MUSC HEALTH - HF MABRY CENTER                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3217 MUSC JAMES ISLAND FAMILY MEDICINE PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3218 MUSC MAIL ORDER PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3219 MVA FAIRMONT CLINIC PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3220 MVPRX                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3221 MY BROTHER'S KEEPER - MEC PLUS                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3222 MY Choice Wisconsin                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3223 MY DOCTOR MEDICAL GROUP, CORP.                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3224 MY HEALTHCARE, LLC. - MEC MVP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3225 MY HEALTHCARE, LLC. - MEC PREMIUM                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3226 MY KEY PHARMACY, LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3227 MY LOCAL PLUMBER, LLC - ESSENTIAL + 5000             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3228 MY PHARMACIST ON CALL                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3229 MY PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3230 MY PHARMACY OF TAMPA                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3231 MYALLY HEALTH                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3232 MYBAR SERVICES, INC. - MEC EXTRA PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3233 MYMED PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3234 MYMICHIGAN HOME CARE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3235 MYRTLE DRUGS INC                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3236 MYRX                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3237 N C A&T STATE UNIVERSITY STUDENT HEALTH CENTER PHA   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3238 N. MN-WI Area Retail Food Health & Welfare Fund      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3239 NAI SATURN EASTERN LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                               Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
3240 NAPA STATE HOSPITAL                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3241 NAPOLEON DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3242 NARA INDIAN HEALTH CLINIC PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3243 NARANJA DISCOUNT PHARMACY, LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3244 NARAYAN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3245 NASCENTIA HEALTH PLUS                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3246 NATIONAL BEEF - DC PRODUCTION EPO                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3247 NATIONAL BEEF - HDHP                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3248 NATIONAL BEEF - IOWA PREMIUM BEEF                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3249 NATIONAL BEEF - OHIO MANAGEMENT PPO                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3250 NATIONAL BEEF - OHIO PRODUCTION 80/20 PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3251 NATIONAL BEEF - OHIO PRODUCTION 90/10 PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3252 NATIONAL BEEF - OUTSIDE MANAGEMENT                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3253 NATIONAL BEEF - PLAN B1                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3254 NATIONAL BEEF - PLAN E                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3255 NATIONAL BEEF - PLAN J                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3256 NATIONAL BEEF - PLAN K                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3257 NATIONAL BEEF - PLAN L                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3258 NATIONAL BEEF HDHP - PLAN B                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3259 NATIONAL BEEF LEATHERS, LLC. - PRODUCTION             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3260 NATIONAL CARRIERS - DRIVERS HDHP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3261 NATIONAL CARRIERS - HDHP PLAN B                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3262 NATIONAL CARRIERS - NON-DRIVERS EPO PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3263 NATIONAL CARRIERS - NON-DRIVERS PPO PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3264 NATIONAL CARRIERS - PPO PLAN DRIVERS                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3265 NATIONAL CARRIERS HDHP                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3266 National Council for Prescription Drug                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3267 NATIONAL FROZEN FOOD CORPORATION                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3268 National Office Services                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3269 NATIONAL PAIN CUSTOM PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3270 NATIONWIDE CHILDRENS HOSPITAL PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3271 NATURE MED PHARMACY LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3272 NATURE'S PRESCRIPTIONS LLC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3273 NAVAJO AREA IHS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3274 NAVARRO DISCOUNT PHARMACIES LLC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3275 NAZ PHARMACY INC.                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3276 NE IA SHING CLINIC PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3277 NE OH NEIGHBORHOOD HEALTH SRVS                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3278 NEBRASKA LTC PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3279 NEBRASKA MEDICINE HUB PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3280 NEBRASKA MEDICINE VILLAGE POINTE PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3281 NEBRASKA PLASTICS, INC. - CORE PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3282 NEBRASKA PLASTICS, INC. - HSA PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3283 NEC Networks LLC DBA CaptureRx                        Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
3284 NEENAH HOMETOWN PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3285 NEIGHBOR CARE PHARMACY INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3286 NEIGHBORHOOD PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3287 NEIGHBORS FEDERAL CREDIT UNION                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3288 NEMS - CLEMENT PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3289 NEMS- EASTMOOR PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3290 NEMS- LUNDY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3291 NEMS-NORIEGA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3292 NEMS-SAN BRUNO PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3293 NEOMED CENTER - CLINIC PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3294 NEOMED CENTER - FARMACIA DE GURABO                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3295 NEOMED CENTER - GURABO PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3296 NEOMED CENTER TRUJILLO ALTO                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3297 NEPHRON PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3298 NETREX, LLC - EPO PLAN A                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3299 NETREX, LLC - EPO PLAN B                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3300 NETREX, LLC - PPO PLAN                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3301 NEW 1 PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3302 NEW ALBERTSONS LP                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3303 NEW CARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3304 NEW CARLISLE COMMUNITY HEALTH CENTER PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3305 NEW CASTLE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3306 NEW DAY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3307 NEW ENGLAND DRUG                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3308 NEW ENGLAND HOME THERAPIES                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3309 NEW GRACE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3310 NEW GRACE PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3311 NEW HAVEN HOSPICE                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3312 NEW HOPE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3313 NEW LONDON COUNTY                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3314 NEW LOTS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3315 NEW MEXICO BEHAVIORAL HEALTH INSTITUTE AT LAS VEGAS   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3316 NEW OAK ACADEMY, LLC. - SPECTRUM MEC SILVER           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3317 NEW PHNOM PICH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3318 NEW SALEM PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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3319 NEW STANTON PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3320 NEW UTRECHT PHARMACY INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3321 NEW VISTA PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3322 NEW YORK DRUGS AND SURGICALS INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3323 NEWARK PARCEL SERVICE COMPANY - BRONZE 403                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3324 NEWARK WAYNE COMMUNITY HOSPITAL PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3325 NEWCOMB SPRING CORPORATION - PREMIUM                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3326 NEWCOMB SPRING CORPORATION - PRIMARY                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3327 NEWCOMER FUNERAL SERVICE GROUP, INC. - OPTION 1                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3328 NEWCOMER FUNERAL SERVICE GROUP, INC. - OPTION 2                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3329 NEWE MEDICAL CLINIC                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3330 Newell Endicia                                                 Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
3331 NEWFANE PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3332 NEWPORT NEWS PUBLIC SCHOOLS                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3333 NEXT DOOR RX PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3334 Nextera Communications                                         Elixir Rx Options, LLC            Vendor Contract                               $2,235.81
3335 NEXTGEN PHARMACY                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3336 NEXTRX                                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3337 NEXUS PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3338 NGOC MAI PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3339 NIAGARA APOTHECARY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3340 NICHOLASVILLE HEALTH AND REHAB                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3341 NICKEL CITY PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3342 NICK'S PHARMACY                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3343 NIELSENS CITY DRUG                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3344 NIELSENS PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3345 NIMIIPUU HEALTH                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3346 NIPOMO REXALL DRUGS                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3347 NISSEN & ASSOCIATES STAFFING - ADVANTAGE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3348 NMMC OUTPATIENT INFUSION SERVICE                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3349 NMMIP - $1,000 MEDICAL PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3350 NMMIP - $2,000 MEDICAL PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3351 NMMIP - $5,000 MEDICAL PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3352 NMMIP - $500 MEDICAL PLAN                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3353 NMMIP - SPAP                                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3354 NO HUDL, INC. - BRONZE 403                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3355 NO HUDL, INC. - GOLD 200                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3356 NO HUDL, INC. - SILVER 302                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3357 NOBLE PHARMACY INC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3358 NORDIC EXCAVATING - GOLD 202                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3359 NORDIC EXCAVATING -SILVER 303                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3360 NORFIELD MEDICAL CENTER PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3361 NORTH CAROLINA CHOICE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3362 NORTH CENTURY PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3363 NORTH COUNTRY HEALTHCARE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3364 NORTH DAKOTA STATE HOSPITAL PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3365 NORTH DODGE PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3366 NORTH EAST MEDICAL SERVICES PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3367 NORTH KANSAS CITY HOSPITAL OUTPATIENT PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3368 NORTH MISSISSIPPI VITAL CARE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3369 NORTH MONTGOMERY COMMUNITY SCHOOLS CORP                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3370 NORTH MONTGOMERY COMMUNITY SCHOOLS CORP                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3371 NORTH OAKS DISCOUNT PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3372 NORTH PORT HEALTH CENTER PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3373 NORTH PORTLAND CLINIC PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3374 NORTH SEATTLE COLLEGE - PLAN 40                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3375 NORTH VALLEY CENTER FOR FAMILY AND COMMUNITY HEALTH PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3376 NORTHEAST CLINIC PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3377 NORTHEAST HEALTH CENTER PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3378 NORTHEAST PHCY SVCE CORP                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3379 NORTHEAST VALLEY HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3380 NORTHEASTERN TRIBAL HEALTH SYSTEM                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3381 NORTHERN KENTUCKY UNIVERSITY - PLAN 10                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3382 NORTHERN MONTANA HOSPITAL                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3383 NORTHERN REGIONAL HOSPITAL                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3384 NORTHLAND HOMETOWN PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3385 NORTHPOINT HEALTH & WELLNESS CENTER PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3386 NORTHPOINT HEALTH CENTER                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3387 NORTHSIDE HOME INFUSION                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3388 NORTHWEST COMPOUNDING PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3389 NORTHWEST IRONWORKERS                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3390 NORTHWEST KIDNEY CENTER PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3391 NORTHWEST MISSOURI STATE UNIVERSITY - PLAN 10                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3392 NORTHWEST SHEET METAL WORKERS                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3393 NORTHWEST UNIVERSITY - PLAN 42                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3394 NORTHWESTERN JOINT FIRE DISTRICT - PLATINUM 102                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3395 NORTHWESTERN MEDICINE SPECIALTY PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3396 NORTON SOUND REGIONAL HOSPITAL                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3397 NORWALK HOUSING AUTHORITY                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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3398 NORWOOD HILLS COUNTRY CLUB - ACP 17                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3399 NORWOOD HILLS COUNTRY CLUB - EPO $1,500              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3400 NORWOOD HILLS COUNTRY CLUB - EPO $6,000              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3401 NORWOOD HILLS COUNTRY CLUB - PPO                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3402 NOVA INFUSION                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3403 NOVUS LIFE CARE HOSPICE OF MISSOURI                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3404 NPS PHARMACY AT MY HOUSE                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3405 NUCARA PHARMACY #17                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3406 NUESTRA FARMACIA Y COLMADO ALTURAS, INC.             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3407 NUFACTOR INC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3408 NUFACTOR INC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3409 NUFACTOR INC                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3410 NUTMEG PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3411 NUTMEG PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3412 NUTMEG PHARMACY MOODUS LLC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3413 NUTMEG PHARMACY NEW LONDON LLC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3414 NUTMEG PHARRMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3415 NYA HEALTH SERVICES, INC. - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3416 O & H BRAND DESIGN LLC - HDHP 3000                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3417 O & H BRAND DESIGN LLC - PREMIER 2500                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3418 OAK GROVE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3419 OAKLAND PARK PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3420 OAKLAND PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3421 OAKLEY TRANSPORT, INC. - BASE PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3422 OAKLEY TRANSPORT, INC. - HIGH BENEFIT PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3423 OAKLEY TRANSPORT, INC. - PREFERRED PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3424 OAKS PHARMACY, LLC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3425 OAKSIDE CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3426 OAKSTEAD INFUSION VITAL CARE                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3427 OAKWOOD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3428 OALH OUTPATIENT PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3429 OBENDORF HOP, INC. - SILVER 302                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3430 OBRIST & COMPANY, INC -W2000 HDHP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3431 OC PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3432 OCEAN PARK PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3433 OCEAN SHORES PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3434 OCONNELL PHARMACY LTD                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3435 O'CONNOR OUTPATIENT PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3436 OCU HEALTH & WELFARE TRUST                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3437 Office Depot                                         Elixir Puerto Rico, Inc.          Vendor Contract                                 $558.95
3438 Ohana Pacific Management Company                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3439 OHIO ECOLOGICAL FOOD & FARM ASSOCIA - PLATINUM 102   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3440 OHIO EDISON                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3441 OHIO NURSES ASSOCIATION - GOLD 201                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3442 OHIO VETERANS HOME                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3443 OJAI VALLEY COMMUNITY HOSPITAL PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3444 OK AREA INDIAN HEALTH SERVICE PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3445 OKAW PROPERTIES INC. - ADVANTAGE PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3446 OKIE'S PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3447 OKLAHOMA CITY INDIAN CLINIC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3448 OLANTA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3449 OLE TOWNE FAMILY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3450 OLYBROS, LLC - MEC                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3451 OLYMPIA PLAZA PHARMACY INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3452 OMEGA INTEGRATED SERVICES                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3453 OMEGA PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3454 OMHSAS BUREAU COMMUNITY & HOSPITAL                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3455 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3456 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3457 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3458 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3459 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3460 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3461 OMNI FAMILY HEALTH                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3462 OMNI PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3463 OMNICARE, LLC                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3464 OMNICARE, LLC                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3465 OMNICELL SPECIALTY PHARMACY SERVICE                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3466 ON TRACK CONSTRUCTION, LLC. -SILVER 303 HSA PLAN     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3467 ONAMIA DRUG                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3468 ONCOLOGY PHARMACY SERVICES INC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3469 ONCOMED SPECIALTY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3470 ONE STOP PRESCRIPTION LAS AMERICAS                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3471 ONEALS DRUG STORE INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3472 ONEIDA COMMUNITY HEALTH CENTER PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3473 ONPOINT PHARMACY OF PORT JEFFERSON                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3474 ONTRACK STAFFING - MEC PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3475 ONYX CONTRACTORS OPERATIONS, LP                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3476 OPTIMA HEALTH                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                              Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
3477 OPTIME CARE, INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3478 OPTION CARE ENTERPRISES INC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3479 OPTUM FRONTIER THERAPIES II LLC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3480 OPTUM FRONTIER THERAPIES, LLC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3481 OPTUM INFUSION SERVICES, INC.                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3482 OPTUM SPECIALTY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3483 OPTUMRX INC.                                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3484 ORBY PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3485 OREGON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3486 Oregon Shakespeare Festival                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3487 OREGON STATE HOSPITAL PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3488 OREGON TRAIL EYE CENTER - BRONZE 404                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3489 OREGON TRAIL EYE CENTER - GOLD 201 PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3490 Organon LLC                                         Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
3491 ORGLIFE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3492 ORLANDCARE PHARMACY AND MEDICAL SUPPLY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3493 ORSINI PHARMACEUTICAL SERVICES LLC                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3494 ORTHOPAEDIC HOSPITAL OUTPATIENT PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3495 ORTIZ MEDICAL PHARMACY, INC.                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3496 OSF HEALTHCARE HOME INFUSION PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3497 OSI STAFFING, INC. - ADVANTAGE PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3498 OSWALD-CROW AGENCY, LLC. - GOLD 202                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3499 OTHELLO PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3500 OTT AND MCHENRY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3501 OUR PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3502 OUTSIDE IN PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3503 OWNER-OPERATOR INDEPENDENT DRIVERS ASSOC.           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3504 OWYHEE COMMUNITY HEALTH FACILITY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3505 OXFORD CIRCLE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3506 OXFORD GLOBAL RESOURCES, LLC.                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3507 OYATE HEALTH CENTER PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3508 OZARKS COCA COLA/ DR PEPPER BOTTLING CO.            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3509 OZARKS COCA-COLA/DR PEPPER (NON-UN ACTIVE PLAN)     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3510 PACE DRIVERS, INC. - BASE HIGH PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3511 PACIFIC FARM MANAGEMENT, INC. - GOLD 200            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3512 PACIFIC MEDICAL PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3513 PACIFIC MEDICAL PHARMACY 2                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3514 PACIFIC MEDICAL PHARMACY 3                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3515 PACIFIC PLAZA PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3516 PAIELLI'S BAKERY, INC - BRONZE 403                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3517 PALA GROUP LLC                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3518 PALENQUE MANAGEMENT LLC - PLATINUM 101              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3519 PALM VILLAGE RETIREMENT COMMUNITY - PLAN A          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3520 PALMETTO ENVIRONMENTAL GROUP,LLC - PLATINUM 102     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3521 PALMETTO FAMILY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3522 PALMETTO INFUSION SERVICES                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3523 PALMS PHARMACY OF BELL                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3524 PALMS PHARMACY OF CHIEFLAND                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3525 PALMS PHARMACY OF TRENTON                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3526 PANACEA COMPOUNDING PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3527 PANCARE PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3528 PANTHERX SPECIALTY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3529 PANTHERX SPECIALTY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3530 PANTHERX SPECIALTY PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3531 PARADISE ROOTS PHARMACY INC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3532 PARAGON - HDHP FAMILY                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3533 PARAGON - PPO                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3534 PARAGON- HDHP INDIVIDUAL                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3535 PARAGON PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3536 PARAGON SITEWORK CONSTRUCTORS, INC. - BRONZE PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3537 PARAGON SITEWORK CONSTRUCTORS, INC. - SILVER PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3538 PARAMOUNT FAMILY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3539 PARAS DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3540 ParcelShield Holdings, LLC                          Elixir Pharmacy, LLC              Vendor Contract                              $41,728.88
3541 PARK DUVALLE NEWBURG COMMUNITY PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3542 PARK UNIVERSITY ACADEMIC - PLAN 23                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3543 PARK UNIVERSITY ATHLETIC - PLAN 23                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3544 PARKCHESTER FAMILY PHRM AND SURG INC                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3545 PARKCREST DENTAL (LOW DEDUCTIBLE)                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3546 PARKERSBURG FAMILY CARE PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3547 PARKMEDIA PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3548 PARKSIDE PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3549 Parkview Analytics LLC                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3550 PARKVIEW NURSING & REHAB                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3551 PARKWAY PHARMACY SOUTH                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3552 PARKWAY PLAZA PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3553 PARKWOOD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3554 PAROWAN DRUG AND GIFT                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3555 PARS GROUP                                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00




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3556 PARTNERS PERSONNEL MGMT SERVICES - MEC ENHANCED                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3557 PASSAMAQUODDY HEALTH CENTER                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3558 PATHS - HDHP WITH HSA PLAN                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3559 PATHS - PPO PLAN                                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3560 PATIENT CARE AMERICA                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3561 PATIENT FIRST CORPORATION                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3562 PATRIOT PICKLE - MEC EXTRA PLAN                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3563 PATTON PHARMACY V & S VARIETY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3564 PATTON STATE HOSPITAL                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3565 PAUL REED CONSTRUCTION & SUPPLY, INC. - COPAY PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3566 PAUL REED CONSTRUCTION & SUPPLY, INC. - HDHP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3567 PAULSEN, INC. - BRONZE HDHP                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3568 PAULSEN, INC. - GOLD COPAY                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3569 PAVLICH, INC.                                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3570 PAX PHARMACY                                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3571 PEACE PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3572 PEACHVIEW DRUGS                                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3573 PEAK SECURITY - BRONZE 404                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3574 PEAK SECURITY - BRONZE 405                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3575 PECHANGA INDIAN HEALTH CLINIC PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3576 PEDIATRIC CARDIAC CARE OF ARIZONA, LL - BRONZE 403             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3577 PEDIATRIC CARDIAC CARE OF ARIZONA, LLC - GOLD 203              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3578 PELOT PHARMACY                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3579 PELPHREYS PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3580 PENINSULA COLLEGE - PLAN 42                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3581 PENINSULA COMMUNITY HEALTH SERVICES - KEY PENINSULA PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3582 PENINSULA COMMUNITY HEALTH SERVICES BREMERTON                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3583 PENINSULA COMMUNITY HEALTH SERVICES PHARMACY - BELFAIR         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3584 PENINSULA COMMUNITY HEALTH SERVICES PHARMACY-POULSBO           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3585 PENINSULA COMMUNITY HEALTH SERVICES PT ORCHARD                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3586 PENN HOME INFUSION THERAPY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3587 PENOBSCOT NATION HEALTH DEPARTMNT                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3588 PENTEC HEALTH, INC                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3589 PENTEC HEALTH, INC.                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3590 PEOPLES CLINIC PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3591 PEOPLES DRUG AND GIFT                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3592 PEOPLES MEDICAL PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3593 PEOPLE'S PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3594 PEORIA COUNTY - 2022 IMRF                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3595 PEORIA COUNTY - 2022 FAMILY QHDHP                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3596 PEORIA COUNTY - 2022 SINGLE QHDHP                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3597 PEORIA COUNTY - 2022 STANDARD PLAN                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3598 PEORIA PUBLIC SCHOOL DISTRICT #150 - PLAN A                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3599 PEORIA PUBLIC SCHOOL DISTRICT #150 - PLAN B                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3600 PEORIA PUBLIC SCHOOL DISTRICT #150 - PLAN C                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3601 PEPSI-COLA OF THE HUDSON VALLEY                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3602 PEREZVILLE PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3603 PERFECT STRIKE DELIVERY, LLC. - BRONZE 403                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3604 PERFECT STRIKE DELIVERY, LLC. - GOLD 200                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3605 PERFECT STRIKE DELIVERY, LLC. - SILVER 302                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3606 PERFECTION BAKERIES INC.                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3607 PERFECTION BAKERIES INC.                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3608 PERHAM HEALTH HOSPITAL PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3609 PERIMETER CHURCH - HDHP PLAN                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3610 PERIMETER CHURCH - PPO PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3611 PERRY COUNTY                                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3612 PERSONNEL MANAGEMENT GROUP, INC. - ADVANTAGE PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3613 PERSONNEL MANAGEMENT GROUP, INC. -BASE HIGH                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3614 PETE S. COURY MD, PLLC -GOLD 201                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3615 PETE S. COURY MD, PLLC. - SILVER 302                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3616 PETE S. COURY MD, PLLC. -GOLD 200 PLAN                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3617 PETER CHRISTENSEN HEALTH CENTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3618 PETER CORPORATION - BRONZE 403                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3619 PETER CORPORATION - GOLD 201                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3620 Peter Mikhail DBA RxTalents                                    Elixir Rx Options, LLC            Vendor Contract                                 $967.74
3621 PETERS HEATING & AC, INC.                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3622 PETERSON MANUFACTURING COMPANY                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3623 PETROLIA PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3624 PHARMA CASA, INC                                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3625 PHARMACARE HEALTH SPECIALISTS LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3626 PHARMACY 2000                                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3627 PHARMACY ASSISTANCE CENTER                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3628 PHARMACY CORPORATION OF AMERICA                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3629 PHARMACY FIRST                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3630 PHARMACY FIRST                                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3631 PHARMACY FIRST PR                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3632 PHARMACY HEALTH SERVICES                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3633 PHARMACY INNOVATIONS                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3634 PHARMACY OF GRACE                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                             Contract Counterparty                      Debtor Entity              Contract Description   Estimated Cure Amount
3635 PHARMACY OF THE STARS                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3636 PHARMACY ON THE PARK                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3637 PHARMACY OVER THE RHINE                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3638 PHARMACY SPECIALISTS                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3639 PHARMACY STRAWBERRY MANSION HEALTH CENTER          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3640 PHARMASCRIPT INC.                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3641 PharmaStrategies, LLC                              Elixir Savings, LLC               Cash Card Contract                                 $0.00
3642 PHARMERICA                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3643 PHARMERICA                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3644 PHARMERICA                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3645 PHELPS FARMS, INC. - GOLD 201                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3646 PHELPS FARMS, INC. - PLATINUM 102                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3647 PHI PHARMACY DANDAN                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3648 PHI PHARMACY GARAPAN                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3649 PHI PHARMACY KAGMAN                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3650 PHI PHARMACY TINIAN                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3651 PHIL HUGHES AUTO GROUP                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
3652 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3653 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3654 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3655 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3656 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3657 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3658 PHILADELPHIA HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3659 PHILLIPS SAFETY PRODUCTS - BRONZE 405 ARCHIVED     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3660 PHILLIPS SAFETY PRODUCTS - SILVER 302 ARCHIVED     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3661 PHILLY DRUGSTORE                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3662 PHIL'S DISCOUNT DRUGS                              Elixir Rx Options, LLC            Vendor Contract                                    $0.00
3663 PHOENIX AREA IHS                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3664 PHOENIX CHILDRENS HOSPITAL HOPE                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3665 PHOENIX PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3666 PHYSICIANS' CHOICE INFUSION                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3667 PHYTOGENICS SPECIALTY PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3668 PICKER PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3669 PICO SQUARE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3670 PICO UNION PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3671 PICOU'S DRUG STORE                                 Elixir Rx Options, LLC            Vendor Contract                                    $0.00
3672 PICWOOD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3673 PIEDMONT COMMUNITY SERVICES - BASE PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3674 PIEDMONT COMMUNITY SERVICES - HDHP/HSA PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3675 PIEDMONT HOME INFUSION                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3676 PIEDMONT INTERNAL MEDICINE - LEVEL 1               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3677 PIEDMONT INTERNAL MEDICINE - LEVEL 2               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3678 PIEDMONT INTERNAL MEDICINE - LEVEL 3               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3679 PIEDMONT PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3680 PIERCE COLLEGE - PLANS 43                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3681 PIKE DRUG                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3682 PIKEVILLE COMMUNITY PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3683 PIKEVILLE HOME PATIENTS                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3684 PILL BOX PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3685 PIMA COUNTY COMMUNITY COLLEGE - PLAN 10            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3686 PINE GROVE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3687 PINE HILL HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3688 PINE MEADOWS HEALTHCARE                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3689 PINNACLE APOTHECARY CANDLER                        Elixir Rx Options, LLC            Vendor Contract                                    $0.00
3690 PINO PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3691 PIONEERS HOME PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3692 Pitney Bowes Global Financial Services LLC         Elixir Rx Options, LLC            Vendor Contract                                $3,248.05
3693 PLACENTIA LINDA PHARMACY INC                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3694 PLANET PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3695 PLATEAU EXCAVATION INC - BUY UP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3696 PLATEAU EXCAVATION INC - CORE                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3697 PLATEAU EXCAVATION INC - HDHP                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3698 PLATINUM CARE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3699 PLAZA HOME CARE PHARMACY INC                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3700 PLAZA PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3701 PLAZA UNITED PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3702 PLAZA WEST PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3703 PLEASANT POINT HEALTH CENTER                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3704 PLENTYWOOD DRUG INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3705 PLEOTINT - TIG HDHP PLAN                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3706 PLEOTINT - TIG MINIMUM VALUE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3707 PLEOTINT - TIG TRADITIONAL PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3708 PLI HOLDINGS, INC - COINSURANCE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3709 PLI HOLDINGS, INC - COPAY PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3710 PLOVER HOMETOWN PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
3711 PLUMBERS & PIPEFITTERS LOCAL 551                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3712 PLUMBERS & PIPEFITTERS LOCAL 653                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
3713 PLUMBING DISTRIBUTORS, INC - $1K DEDUCTIBLE        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00




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 #                             Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
3714 PLUMBING DISTRIBUTORS, INC - $4K DEDUCTIBLE          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3715 PLUMBING DISTRIBUTORS, INC - HDHP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3716 POARCH CREEK INDIAN HEALTH DEPT                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3717 POINT BANK                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3718 POINTE PHARMACY PLLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3719 POKAGON BAND HEALTH SERVICES PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3720 POLARIS ENTERTAINMENT PARTNERS, LLC. - GOLD 200      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3721 POLARIS ENTERTAINMENT PARTNERS, LLC. - GOLD 201      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3722 POLARIS ENTERTAINMENT PARTNERS,LLC. - PLATINUM 101   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3723 POLO CUSTOM PRODUCTS                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3724 POLYMEDIC PHARMACY & MINIMART                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3725 Polynesian Adventure Tours                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3726 PONCA HILLS HEALTH AND WELLNESS CENTER               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3727 PORT CONSOLIDATED                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3728 Port of Bellingham                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3729 PORTA DEL SOL FARMA                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3730 PORTLAND AREA IHS                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3731 POTTER CONCRETE, LTD. - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3732 POUDRE INFUSION THERAPY LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3733 POWER ZONE EQUIPMENT, INC. -GOLD 200                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3734 POWER ZONE EQUIPMENT, INC. -SILVER 303 HSA PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3735 PRADON CONSTRUCTION AND TRUCKING INC                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3736 PRAIRIE BAND POTAWATOMI HEALTH CENTER PHARMACY       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3737 PRAIRIE HILLS PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3738 PRATER'S PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3739 PreCheck, Inc.                                       Elixir Rx Options, LLC            Vendor Contract                               $2,019.90
3740 PRECISION CARE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3741 PREFERRED ADMINISTRATORS                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3742 PREFERRED ADMINISTRATORS                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3743 PREFERRED EXCELLENT CARE                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3744 PREMIER CARE                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3745 PREMIER CHOICE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3746 PREMIER DISTRIBUTING COMPANY                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3747 PREMIER INFUSION AND HEALTHCARE SERVICES, INC.       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3748 PREMIER PHARMACY & WELLNESS                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3749 PREMIER PSAO                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3750 PREMIER PSAO                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3751 PREMIUM PHARMACY AND MEDICAL CO                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3752 PREMIUM PHARMACY DISCOUNT                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3753 PRESCRIPTION CENTER                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3754 PRESCRIPTION CENTER LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3755 PRESCRIPTION CENTER PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3756 PRESCRIPTION DEN PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3757 PRESCRIPTION DRUG STORE                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3758 PRESCRIPTION DRUG STORE LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3759 PRESCRIPTION SHOPPE OF GEORGETOWN                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3760 PRESCRIPTION WORLD                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3761 PRESCRIPTIONS INC.                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3762 PRESERVATION TREE CARE, INC. - GOLD 200              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3763 PRESERVATION TREE CARE, INC. - PLATINUM 102          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3764 PRESERVATION TREE CARE, INC. - SILVER 300            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3765 PRESTIGE RX LLC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3766 PRESTON TAYLOR PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3767 PRICE CHOPPER HOUSE CALLS PHARMA                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3768 PRIMARY CARE & HOPE CLINIC PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3769 PRIMARY CARE & HOPE CLINIC PHARMACY SHELBYVILLE      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3770 PRIMARY CARE AND HOPE CLINIC PHARMACY SMYRNA         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3771 PRIMARY CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3772 PRIMARY CARE PHARMACY SERVICES INC                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3773 PRIMARY CARE PHARMACY SERVICES INC                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3774 PRIMARY PEDIATRICS FAMILY PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3775 PRIME MED PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3776 PRIME ONE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3777 PRIMEWAY FEDERAL CREDIT UNION                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3778 PRINCE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3779 PRINCETON DRUG                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3780 PRINCETON PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3781 PRIORITY HEALTH CARE PHARMACY GRETNA                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3782 PRO HEALTH PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3783 PROCARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3784 PROCARE PHARMACY CARE                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3785 PROCARE PHARMACY LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3786 PROCARE PHARMACY LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3787 PRODUCTIV, INC. - MEC PLUS                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3788 PROFESSIONAL HOME IV                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3789 PROFESSIONAL OFFICE BUILDING PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3790 PROFESSIONAL ORTHOPEDIC&SPORTS PT - CHOICE POS       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3791 PROFESSIONAL ORTHOPEDIC&SPORTS PT-LOW OPEN ACCESS    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3792 PROFESSIONAL ORTHOPEDIC&SPORTS PT-MED OPEN ACCESS    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                                Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
3793 PROFESSIONAL PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3794 PROFESSIONAL PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3795 PROFESSIONAL PHARMACY FAIRVIEW                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3796 PROFESSIONAL PHARMACY SANTA ANA                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3797 PROFESSIONAL PHARMACY WESTMINSTER                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3798 PROFESSIONAL PHARMACY, LLC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3799 PROFESSIONAL SERVICE PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3800 PROGRAM CIS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3801 Progress Software Corporation                         Elixir Rx Options, LLC            Vendor Contract                                 $368.11
3802 PROMPT CARE HOME INFUSION LLC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3803 PROMPTCARE HOME INFUSION LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3804 PROMTPCARE HOME INFUSION                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3805 Proper Consulting Group LLC                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3806 PROSCRIPT AMERICA                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3807 PROSCRIPT AMERICA                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3808 PROVIDENCE APOTHECARY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3809 PROVIDENCE FAMILY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3810 PROVIDENCE GALLATIN                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3811 PROVIDENCE HOME INFUSION LA COUNTY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3812 PROVIDENCE HOME INFUSION ORANGE COUNTY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3813 PROVIDENCE HOMESTEAD                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3814 PROVIDENCE INFUSION AND PHARMACY SERVICES             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3815 PROVIDENCE INFUSION AND PHARMACY SERVICES             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3816 PROVIDENCE MEDICAL CENTER                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3817 PROVIDENCE MOTHER JOSEPH CCP                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3818 PROVIDENCE MUTUAL                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3819 PROVIDENCE PAVILION                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3820 PROVIDENCE SPECIALTY PHARMACY SERVICES-INFUSION/SPP   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3821 PROVIDENCE SPECIALTY PHARMACY SERVICES-LTC            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3822 Provider Partners Illinois Advantage Plan             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3823 Provider Partners Maryland Advantage Plan             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3824 Provider Partners Missouri Advantage Plan             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3825 Provider Partners Pennsylvania Advantage Plan         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3826 Provider Partners Texas Advantage Plan                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3827 PROVIDER PAY                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3828 PROVINCE OF THE SACRED HEART ORDER OF FRIARS MINOR    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3829 PROVISIONS LIVING AT BEAUMONT                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3830 PRX PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3831 PRYMED MEDICAL CARE INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3832 PRYMED MEDICAL CARE INC VB                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3833 PS SEASONING & SPICES, INC. - BRONZE 404              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3834 PS SEASONING & SPICES, INC. - GOLD 203                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3835 PS SEASONING & SPICES, INC. - SILVER 302              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3836 PSC GROUP LLC                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3837 PUBLIC HEALTH PHARMACY- LOMPOC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3838 PUBLIC HEALTH PHARMACY SANTA MARIA                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3839 PUGET SOUND ELECTRICAL WORKERS                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3840 Purchase Power                                        Elixir Rx Options, LLC            Vendor Contract                               $2,338.46
3841 PURDUE UNIVERSITY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3842 PURDY COST LESS PRESCRIPTIONS                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3843 PUYALLUP TRIBAL CLINIC PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3844 PW FOODS, LLC - GOLD 200                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3845 PW FOODS, LLC. - BRONZE 404                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3846 PYRAMID LAKE TRIBAL HEALTH CLINIC PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3847 PYRAMIDS INFUSION CENTER                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3848 Q CARE PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3849 Q PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3850 QHR PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3851 QHR PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3852 QRC PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3853 QUAIL CREEK PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3854 QUALICARE PHARMACY SERVICES                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3855 QUALITY AIR, LLC. - 3000 CP PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3856 QUALITY CARE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3857 QUALITY CARGO TRAILERS, LLC. - 7000 CP PLAN           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3858 QUALITY IV CARE                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3859 QUARTZ HILL PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3860 QUARVE DRUG                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3861 QUEENSBRIDGE PLAZA PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3862 QUEENSCARE HEALTH CENTER - EAST LA PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3863 QUEENSCARE HEALTH CENTER - HOLLYWOOD PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3864 Quest Analytics                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3865 QUICK AID PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3866 QUICK CARE COMMUNITY HEALTH CENTER PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3867 QUICKEST TRADESHOW SERVICES - 3000 CP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3868 QUINCY COMMUNITY HEALTH CENTER PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3869 R & A ENTERPRISES OF CARBONDALE, INC.                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3870 R & B COURIERS, LLC. - 1500 CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3871 R & M FAMILY PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                              Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
3872 R & R PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3873 R AND R PHARMACY TWIN FALLS                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3874 R&T PZA CORPORATION - 1500 CP PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3875 R.K. ELITE HYDRO-VAC SERVICES, INC.                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3876 R.T. Hampton Plumbing & Heating, Inc                 Elixir Pharmacy, LLC              Vendor Contract                              $12,827.00
3877 RAAN PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3878 RACK BUILDERS, INC.                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3879 RAILROAD DRUG AND OLD TIME SODA FOUNTAIN             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3880 RAINBOW CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3881 RAINBOW PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3882 RALEY'S                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3883 RALLY CREDIT UNION                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3884 RAMEY-ESTEP HOMES, INC.                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3885 RAMIREZ PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3886 RAMSEY INDUSTRIES, INC.                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3887 RANDALL SMITH TRUCKING CO., INC. -GOLD 200 PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3888 RANDALLS FOOD & DRUGS LP                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3889 RANDOLPHS RX PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3890 RANDYS FAMILY DRUG                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3891 RANGAM CONSULTANTS - MEC EXTRA PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3892 RANGAM CONSULTANTS - MEC PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3893 RANIER'S RX LABORATORY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3894 RAWLINGS FINANCIAL                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3895 Rawlings Financial Services LLC                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3896 RAY & SON HEATING AND A/C - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3897 RAY FISHER PHARMACY, INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3898 RAY'S CITY DRUG                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3899 RAYVILLE FAMILY PHARMACY, LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3900 RCB BANK - HDHP FAMILY                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3901 RCB BANK - HDHP SINGLE                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3902 RCB BANK - PPO                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3903 RCB BANK - PPO COBRA                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3904 RCS CORPORATION - BUY UP                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3905 RCS CORPORATION - CORE HDHP                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3906 REA CLINIC PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3907 READYWORK, INC. - BRONZE 405                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3908 READYWORK, INC. - GOLD 200                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3909 REAGAN MEMORIAL HOSPITAL                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3910 REAL ESTATE SOLUTIONS UNLIMITED INC- 3000 CP PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3911 REAMS CONSTRUCTION CO. - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3912 REAVIS DRUG                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3913 REBER MACHINE AND TOOL CO                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3914 RECETAS Y MAS INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3915 RECOVERY CARE LLC DBA CARE PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3916 RED CLIFF COMMUNITY HEALTH CENTER PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3917 RED CROSS DRUG STORE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3918 RED EYE, INC. - GOLD 203                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3919 RED EYE, INC. - SILVER 302                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3920 RED EYE, INC. -SILVER 303 HSA PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3921 RED HOOK PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3922 RED UNDERGROUND & UTILITY SERVICE - ESSENTIAL+5000   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3923 RED UNDERGROUND & UTILITY SERVICES, - PREMIER 1000   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3924 RED UNDERGROUND & UTILITY SERVICES, - PREMIER 5000   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3925 RED WILLOW AVIATION & SPRAYING, INC. - HDHP          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3926 RED ZA, INC. - 3000 CP PLAN                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3927 REDBIRD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3928 REDLINE PHARMACY SOLUTIONS, LLC. - PPO PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3929 REEDSBURG AREA MEDICAL CENTER COMMUNITY PHARMACY     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3930 REEDSBURG AREA MEDICAL CENTER PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3931 REEDSBURG AREA MEDICAL CENTER VIKING PHARMACY        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3932 REFORMATION HOLDINGS, LLC - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3933 REFORMATION HOLDINGS, LLC - SILVER 302               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3934 REGION IV MH MR COMMISSION PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3935 REGIONAL WEST HEALTH SERVICES - COPAY                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3936 REGIONAL WEST HEALTH SERVICES - HDHP                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3937 REHABVISIONS, INC - HDHP                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3938 REHABVISIONS, INC - PPO                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3939 RELAY GRADUATE SCHOOL OF EDUCATION - EPO PLAN A      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3940 RELAY GRADUATE SCHOOL OF EDUCATION - PPO PLAN B      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3941 RelayHealth                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3942 RELIABLE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3943 RELIANCE PACKAGING LLC                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3944 RELIANT HEALTHCARE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3945 REMANUFACTURING SALES CO.                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3946 Remodelers Contracting                               Elixir Pharmacy, LLC              Vendor Contract                               $5,050.63
3947 REMSEN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3948 REMTEX INC - PREMIER 500                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3949 REND LAKE COLLEGE                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3950 RENO-SPARKS TRIBAL HEALTH CENTER PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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3951 Rentokil North America Inc DBA Ambius              Elixir Rx Options, LLC            Vendor Contract                                 $314.60
3952 Resources Global Professionals                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3953 Retarus Inc.                                       Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
3954 RETRACTABLE TECHNOLOGIES INC                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3955 REVOLVE MANAGEMENT CO., LLC - BASE PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3956 REVOLVE MANAGEMENT CO., LLC - BUY UP PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3957 REYNOLDS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3958 RIALTO FAMILY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3959 RICHFIELD COMMUNITY PHARMACY LLC                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3960 RICHLAND FAMILY PRESCRIPTION CENTER                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3961 RICHLAND HEALTH PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3962 RICHMOND PLACE (BROOKDALE)                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3963 RIDLEYS FOOD AND DRUG                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3964 RIGIDPLY RAFTERS, INC.                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3965 RILEY SPENCE MANAGEMENT CO., LLC - MEC PLUS        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3966 RILEY SPENCE MANAGEMENT CO., LLC - MEC PREMIUM     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3967 RILEYS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3968 RIMPULL CORPORATION                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3969 RIO GRANDE BIBLE COLLEGE - PLAN 10                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3970 RIO GRANDE HEMATOLOGY AND ONCOLOGY                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3971 RIPLEY FAMILY MEDICINE PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3972 RIPON AWARDJACKETS, INC. - HSA                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3973 RIPON AWARDJACKETS, INC. - PPO                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3974 RIPON DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3975 RITCHEYS TRUCK REPAIR, INC. -PLATINUM 101          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3976 RITE AID                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
3977 RITE AID CORPORATION                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3978 RITE AID CORPORATION                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3979 RITE AID CORPORATION                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3980 RITESCRIPTS PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3981 RITEWAY PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3982 RITTERSVILLE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3983 RIVER OAKS PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3984 RIVER VALLEY HEALTH AND WELLNESS CENTER            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3985 RIVERVIEW HEALTHCARE PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3986 RJ Health Systems                                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3987 RMK Consulting Inc                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3988 RMQ, INC. -GOLD 200 PLAN                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3989 RMQ, INC. -SILVER 303                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3990 ROAD RANGER, LLC. - BRONZE 404                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3991 ROADWAY PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3992 Robert Half Management Resources                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
3993 ROBERTS' PHARMACY LLC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3994 ROBERTSON CENTER PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3995 ROBERTSON SPECIALTY PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3996 ROBIN BUILDERS, INC. - 1500 CP PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
3997 ROCKCASTLE REGIONAL HOSPITAL PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3998 ROCKET CITY VITAL CARE                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
3999 ROCKING HORSE COMMUNITY HEALTH CENTER              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4000 ROCKWOOD HEALTH CLINIC PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4001 ROCKY BOY HEALTH CENTER                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4002 ROCKY RIDGE DRUG CO                                Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4003 ROEHR'S MACHINERY, INC. - GOLD E200                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4004 ROGERS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4005 ROMES URGENT CARE SERVICES, LLC. - BRONZE 403      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4006 RONCO DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4007 Roofers Local 149 Security Benefit Trust Fund      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4008 ROOFERS LOCAL NO. 20 HEALTH AND WELFARE FUND       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4009 ROOFING FORCE, LLC - GOLD 201                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4010 ROOFING FORCE, LLC. - SILVER 302                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4011 ROR MADISON PHARMACY INC                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4012 ROSA 1 PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4013 ROSA CLARK MEDICAL CLINIC PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4014 ROSA II PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4015 ROSA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4016 ROSE CITY DRUG                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4017 ROSEDALE MANOR                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4018 ROSIE ON THE HOUSE - BRONZE 403 PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4019 ROSIE ON THE HOUSE - SILVER 302 PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4020 ROSINA FOOD PRODUCTS, INC.                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4021 ROSS GRANT AVE PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4022 ROSVOLOS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4023 ROSWELL PARK CANCER INSTITUTE CORP                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4024 ROSYS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4025 ROTA HEALTH CENTER PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4026 ROY O. MARTIN                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4027 ROYAL STYLE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4028 RR RIDGE, LLC. - BRONZE 405                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4029 RR RIDGE, LLC. - PLATINUM 101                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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4030 RUBENSTEIN MEMORIAL HEALTH CENTER PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4031 RUBY TUESDAY LLC                                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4032 RUBY'S PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4033 RURAL HEALTH CARE INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4034 RUSH CANCER CENTER PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4035 RUSH MEDICAL OFFICE BUILDING PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4036 RUSKIN HEALTH CENTER                                 Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4037 RUSSELL FORK PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4038 RUST COLLEGE - PPO PLAN                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4039 RUTH'S HOSPITALITY GROUP INC.                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4040 RUTT'S HEATING & AIR CONDITIONING, INC - B404 HDHP   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4041 RUTT'S HEATING & AIR CONDITIONING, INC - S302 PPO    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4042 RV WHOLESALERS - BRONZE 403                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4043 RV WHOLESALERS - BRONZE 404                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4044 RWK Services Inc                                     Elixir Pharmacy, LLC              Vendor Contract                               $11,598.45
4045 RX CENTER                                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4046 RX CHOICE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4047 RX EXPRESS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4048 RX MEDS INC                                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4049 RX PLUS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4050 RX POINT PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4051 RX SOLUTION PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4052 RXALL PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4053 RxCompare LLC                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
4054 RXCOMPLETE 360                                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4055 RXCOMPLETE 360                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4056 RXONE ST DOMINIC                                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4057 RXONE TOWER DRIVE                                    Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4058 RXSELECT PHARMACY NETWORK                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4059 RxSense                                              Elixir Savings, LLC               Cash Card Contract                                 $0.00
4060 S & H FARM SUPPLY, INC..                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4061 S Abraham and Sons                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4062 S AND S PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4063 S AND T PHARMACIE                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4064 S.R. KEY PLUMBING & MECHANICAL, LLC - PLATINUM 102   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4065 SAAR'S SUPER SAVER PHARMACY 610                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4066 SABAN COMMUNITY CLINIC PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4067 SABAN COMMUNITY CLINIC PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4068 SADDLEBACK VALLEY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4069 SAFEMED PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4070 SAFEWAY INC                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4071 SAGAN AMOT PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4072 SAGE MEMORIAL HOSPITAL                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4073 SAIGON PHARMACARE                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4074 SAINT BERNARD HOSPITAL OUTPATIENT PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4075 SAINT GEORGE MEDICAL CENTER PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4076 SAINT LUKE'S HOSPICE - HOSPICE HOUSE                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4077 SAINT LUKE'S HOSPICE - LEAVENWORTH                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4078 SAINT LUKE'S HOSPICE - METRO                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4079 SAINT LUKE'S HOSPICE - NORTHEAST                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4080 SAINT LUKE'S HOSPICE - SOUTH                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4081 SAINT PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4082 SAINT THOMAS HICKMAN HOSPITAL PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4083 SALEM CROSSROADS APOTHECARY                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4084 SALEM CRSSRDS APOTHECARY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4085 SALEM DRUG COMPANY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4086 SALEMS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4087 SALT RIVER PIMA-MARICOPA INDIAN COMMUNITY            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4088 SAM KORF PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4089 SAMARITAN HOSPITAL OUTPATIENT PHARMACY               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4090 SAMJAN GROUP, INC - PLATINUM 102                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4091 SAM'S CLUB EAST & WEST INC                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4092 SAM'S HEALTH MART PHARMACY, INC. - BRONZE 403        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4093 SAMUEL SIMMONDS MEM HOSP PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4094 SAN ANDREAS PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4095 SAN ANTONIO PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4096 SAN CARLOS APACHE HEALTHCARE CORPORATION PHARMACY    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4097 SAN CARLOS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4098 SAN DIEGO OPTIMUM PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4099 SAN FELIPE HEALTH CLINIC PHCY                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4100 SAN GABRIEL MEDICAL PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4101 SAN JOAQUIN COUNTY MENTAL HEALTH SERVICES PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4102 SAN JORGE CHILDRENS HOSPITAL INC                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4103 San Jose Development Inc                             Elixir Puerto Rico, Inc.          Lease Contract                                   $675.00
4104 SAN JOSE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4105 San Jose Unified School District                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4106 SAN JUAN DRUG                                        Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4107 SAN JUAN REGIONAL MEDICAL CENTER - ASSURANCE PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4108 SAN JUAN REGIONAL MEDICAL CENTER-PREMIUM PPO PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00




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 #                           Contract Counterparty                       Debtor Entity             Contract Description   Estimated Cure Amount
4109 SAN LAZARO PHARMACY AND DISCOUNT                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4110 SAN MANUEL INDIAN HEALTH CLINIC PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4111 SAN MATEO MEDICAL CENTER OUTPATIENT               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4112 SAN RAFAEL SPECIALTY PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4113 SANATOGA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4114 Sandoz Inc                                        Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4115 SANFORD PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4116 SANFORD SCHOOL DISTRICT - BRONZE 401              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4117 SANTA CLARA VALLEY HEALTH AND HOSPITAL            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4118 SANTA ELENA PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4119 SANTA MONICA PHARMACY AND MEDICAL SUPPLIES        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4120 SANTA ROSA PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4121 SANTA TERESA PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4122 SANTAQUIN PHARMACY & DIABETES CENTER              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4123 SANTEE TRIBAL CLINIC PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4124 SANTO DOMINGO PUEBLO HEALTH CENTER                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4125 SARASOTA COUNTY HEALTH DEPARTMENT PHARMACY        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4126 SATER PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4127 SAUGERTIES PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4128 SAUNDERS MEDICAL CENTER LTC PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4129 SAV MOR DRUG                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4130 SAV MOR DRUG STORES                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4131 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4132 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4133 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4134 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4135 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4136 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4137 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4138 SAV MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4139 SAVANNA PALLETS - MEC PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4140 SAVANNAH LUGGAGE WORKS - MEC GOLD PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4141 SAVANNAH LUGGAGE WORKS -7000 CP PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4142 SAVE-RITE DRUGS RADCLIFF                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4143 SAVERX DISCOUNT PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4144 SAV-MAX MERRIMAN PHARMACY LLC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4145 SAV-MOR PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4146 SAWYER STREET HOMETOWN PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4147 SAYRE CHRISTIAN VILLAGE                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4148 SCALES, SYSTEMS & AUTOMATION - 7000 CP            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4149 SCENIC BLUFFS COMMUNITY HEALTH CENTER INC         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4150 SCF RASU PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4151 SCHEER DRUGS                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4152 SCHLEY COUNTY BOARD OF COMMISSIONERS - GOLD 202   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4153 SCHOOL DISTRICT OF SPRINGFIELD R-12 - BASE PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4154 SCHOOL DISTRICT OF SPRINGFIELD R-12 - HDHP HSA    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4155 SCHOOL DISTRICT OF SPRINGFIELD R-12-BUY-UP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4156 SCHOOLCRAFT COLLEGE - PLAN 10                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4157 SCHROON LAKE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4158 SCHUYLER HOSPITAL PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4159 SCOTT AND ASSOCIATES, PC                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4160 SCOTT DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4161 SCOTTS BLUFF COUNTY, NE - HDHP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4162 SCRIPTWORX LLC                                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4163 SCURLOCK INDUSTRIES                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4164 SCURLOCK INDUSTRIES- OK/PCC                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4165 SEA ISLAND                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4166 SEASONS AT ALEXANDRIA                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4167 SEATTLE CENTRAL COLLEGE - PLAN 40                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4168 SEATTLE CHILDRENS FOREST OUTPATIENT PHARMACY      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4169 SEATTLE CHILDRENS OUTPATIENT PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4170 SEATTLE INDIAN HEALTH BOARD                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4171 SEATTLE PACIFIC UNIVERSITY - PLAN 42              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4172 SEAVIEW PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4173 SECURITY 1ST TITLE LLC                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4174 SECURITY FIRE EQUIPMENT CO., INC. - BRONZE 403    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4175 SEITZ DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4176 SELECT SOURCE INTERNATIONAL - MEC PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4177 SENECA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4178 SENTARA INFUSION SERVICES                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4179 SENTRY DRUG CENTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4180 SENTRY DRUG CENTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4181 SENTRY DRUG CENTER 3 LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4182 SERV U PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4183 SERVAC PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4184 SERVICE DRUG COMPANY INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4185 SERVICE REXALL DRUGS                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4186 SETON MEDICAL CENTER COASTSIDE                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4187 SEVA PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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4188 SEXTON COMPANIES                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4189 SHANNON PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4190 SHARON PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4191 SHARP OILFIELD SERVICES, LLC                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4192 SHAWS SUPERMARKETS INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4193 Sheet Metal Workers 7 Zone 3                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4194 SHEET METAL WORKERS LOCAL 17                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4195 SHELBY COUNTY, IL                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4196 SHELBY DRUGSTORE INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4197 SHELBY VALLEY CLINIC PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4198 SHELL FEDERAL CREDIT UNION                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4199 SHEPHERD APOTHECARY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4200 SHIELD ENERGY, LLC. - GOLD 203                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4201 SHIELD ENERGY, LLC. - BRONZE 404                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4202 SHIELD ENERGY, LLC. -SILVER 303                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4203 SHILOH APOTHECARY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4204 SHORELINE COMMUNITY COLLEGE - PLAN 42                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4205 SHOW ME STATE VITAL CARE                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4206 SIDNEY HILLMAN HEALTH CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4207 SIERRA SAN ANTONIO PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4208 SIGLER PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4209 SIGLER PHARMACY LAWRENCE FAMILY PRACTICE                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4210 SIGLER PRAIRE STAR PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4211 SIGNATURE ADVANTAGE                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4212 SIGNATURE HEALTHCARE                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4213 SIGNATURE HEALTHCARE OF PIKEVILLE                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4214 Silco Fire Protection Company                            Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4215 SILETZ COMMUNITY HEALTH CLINIC PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4216 SILVER SPRAY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4217 SILVER STATE PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4218 SIMPLIFIED DRIVER STAFFING, LLC. - GOLD 200              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4219 SIMPLIFIED DRIVER STAFFING, LLC. - GOLD 202              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4220 SIMPLY SAVANNAH EVENTS, LLC. -SILVER 302                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4221 SINA RX PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4222 SINAI COMMUNITY PHARMACY INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4223 SINCLAIR HEALTH CLINIC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4224 SIOUXLAND COMMUNITY HEALTH CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4225 SIOUXLAND COMMUNITY HEALTH CENTER PHARMACY OF NEBRASKA   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4226 SISKIYOU COMMUNITY HEALTH CENTER                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4227 SISKIYOU COMMUNITY HEALTH CENTER PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4228 SITTER AND BARFOOT VETERANS CARE CENTER                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4229 SIVERSON'S PHARMACY & GIFTS LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4230 SIX 55 PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4231 SIXTH AVENUE MEDICAL PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4232 SKIDWAY PHARMACY LLC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4233 SKIL RESOURCE CENTER, INC. - OPTION 1                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4234 SKIL RESOURCE CENTER, INC. - OPTION 2                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4235 SKILLGIGS, INC. - PLATINUM 102                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4236 SKILLGIGS, INC. - SILVER 302                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4237 SKY HIGH LABOR, INC. - SILVER 302                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4238 SKYLAND PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4239 SMALL TOWN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4240 SMALL TOWN PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4241 SMALL TOWN PHARMACY 2                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4242 SMART REVIEWS, LLC. - MEC SPECTRUM GOLD                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4243 SMART REVIEWS, LLC. - MEC SPECTRUM PLATINUM              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4244 SMARTSCRIPT PHARMACY LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4245 SMITH COUNTY                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4246 Smith Drug Company                                       Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4247 SMITH PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4248 SMP PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4249 SMW LOCAL 91 HEALTH & WELFARE FUND                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4250 SMYLIE ONE HEATING & COOLING, INC. - GOLD 200            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4251 SMYLIE ONE HEATING & COOLING, INC. - SILVER 302          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4252 SNG PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4253 SNOW COLLEGE - PLAN 10                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4254 SNYDER PAPER CORPORATION - PPO PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4255 SNYDER PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4256 SNYDERS PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4257 SOBOBA INDIAN HEALTH CLINIC PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4258 SOCIAL CIRCLE PHARMACY AND SUPPLIES INC                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4259 Software One, Inc.                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4260 SOFTWORLD TECHNOLOGIES, LLC. - BRONZE 403                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4261 SOKAOGON CHIPPEWA HEALTH CLINIC PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4262 SOLANO HEMATOLOGY ONCOLOGY INC                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4263 SOLANO PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4264 SOLANO PHARMACY #2                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4265 SOLEO HEALTH                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4266 SOLEO HEALTH                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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 #                               Contract Counterparty                             Debtor Entity             Contract Description   Estimated Cure Amount
4267 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4268 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4269 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4270 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4271 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4272 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4273 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4274 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4275 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4276 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4277 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4278 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4279 SOLEO HEALTH INC.                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4280 SOLUTIONS INFUSION THERAPY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4281 SOMERSET PHARMACY LLC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4282 SONAIRETAIL, LLC. - SILVER 302                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4283 Sonder Health Plans                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4284 SONNYS PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4285 SONOMA COUNTY INDIAN HEALTH PROJECT PHARMACY INCORPORATED   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4286 SONTERRA RX                                                 Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4287 SOPHIE TRETTEVICK INDIAN HEALTH CENTER                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4288 SOPURE PHARMACY                                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4289 SOUTH CAROLINA RURAL WATER ASSN. - GOLD 200                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4290 SOUTH COAST PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4291 SOUTH DAKOTA DEVELOPMENTAL CENTER                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4292 SOUTH DAKOTA STATE VETERANS HOME PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4293 SOUTH GATE PHARMACY INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4294 SOUTH GATE ROSE PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4295 SOUTH GEORGIA MACHINE & FABRICATION - 7000 CP PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4296 SOUTH GEORGIA TOXICOLOGY, INC - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4297 SOUTH GEORGIA TOXICOLOGY, INC. - GOLD 202                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4298 SOUTH GEORGIA TOXICOLOGY, INC. -PLATINUM 101                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4299 SOUTH MARINA PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4300 SOUTH PARK FAMILY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4301 SOUTH SEATTLE COLLEGE - PLAN 40                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4302 SOUTH STAR PLUS PHARMACY INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4303 SOUTH VALLEY COMPOUNDING PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4304 SOUTHEAST HEALTH CLINIC PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4305 SOUTHEAST MISSOURI STATE UNIVERSITY - PLAN 10               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4306 SOUTHEAST MOWER & SAW SHOP -1500 CP PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4307 SOUTHEAST POWER SYSTEMS, INC.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4308 SOUTHEASTERN MN FOR INDEPENDENT LIVING,INC.-MEC             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4309 SOUTHERN ARKANSAS UNIVERSITY - PLAN 10                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4310 SOUTHERN CROWN PARTNERS, LLC                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4311 Southern Eagle Distributing Inc                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4312 SOUTHERN HILLS UNITED METHODIST CHURCH - 3000 CP            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4313 SOUTHERN PEDIATRIC CLINIC, LLC. - SILVER 302                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4314 Southern Tier Building Trades Benefit                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4315 SOUTHERN UTE HEALTH CENTER                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4316 SOUTHERN VILLAGE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4317 SOUTHERN WOOD COMPONENTS - BRONZE 403                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4318 SOUTHERN WOOD COMPONENTS, LLC. -SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4319 SOUTHLAND CONTRACTORS, INC. - 3000 CP                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4320 SOUTHLAND CONTRACTORS, INC. - 1500 CP PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4321 SOUTHPOINTE PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4322 SOUTHSIDE COMMUNITY HOSPITAL, INC.                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4323 SOUTHSIDE TIRE COMPANY, INC. - G201 HDHP                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4324 SOUTHSIDE TIRE COMPANY, INC. - S302 COPAY PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4325 SOUTHWEST HEALTH CENTER                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4326 SOUTHWEST MISSOURI INVESTEMENTS, INC.                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4327 SP FOUNDRY                                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4328 SPARTANBURG TECHNOLOGY SOLUTIONS - SILVER 302               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4329 SPAULDING PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4330 SPECIAL CARE PHARMACY SERVICES, LLC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4331 SPECIALTY CARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4332 Specialty Pharmacy Nursing Network, Inc.                    Elixir Pharmacy, LLC              Vendor Contract                               $2,093.75
4333 SPECTRUM INFUSION INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4334 SPECTRUM PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4335 SPEEDY AIR CONDITIONING INC - ESSENTIAL 5000                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4336 SPEEDY AIR CONDITIONING INC - PREMIER 1000                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4337 SPENCERS PRESCRIPTION PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4338 SPRING CREEK ASSOCIATION - PLATINUM 102                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4339 SPRINGFIELD - GREENE COUNTY LIBRARY                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4340 SPRINGFIELD REMANUFACTURING CORP.                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4341 SPS SPECIALTY PHARMACY SERVICES INC                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4342 SRC AUTOMOTIVE, INC.                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4343 SRC HOLDINGS CORPORATION                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4344 SRC LOGISTICS - ILLINOIS, INC.                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4345 SRC LOGISTICS, INC.                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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4346 SSM HEALTH ST MARY'S CARE CENTER                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4347 ST ANTHONY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4348 ST ANTONY PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4349 ST CROIX TRIBAL HEALTH CENTER PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4350 ST ELIZABETHS MED CNTR PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4351 ST FRANCIS MEDICAL CENTER                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4352 ST JAMES HEALTH CENTER PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4353 ST JAMES PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4354 ST JOSEPH HEALTHCARE PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4355 ST JOSEPH MONTESSORI SCHOOL - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4356 ST JOSEPHS MC-ST VINCENTS WESTCHESTER DIVISION         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4357 ST JUDE CHILDREN'S RESEARCH HOSPITAL, INC.             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4358 ST MARTIN PARISH CHC PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4359 ST MARYS PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4360 ST MINA PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4361 ST MINA PHARMACY AND HOME CARE                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4362 ST PETERS HOSPITAL OUTPATIENT PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4363 ST REGIS MOHAWK TRIBE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4364 ST. ANGELOS PIZZA - BRONZE 403                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4365 ST. BERNARD HOSPITAL AMBULATORY CARE CENTER PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4366 ST. BETHLEHEM DRUGS                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4367 ST. DOMINIC HOSPITAL - CCMSI                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4368 ST. MATTHEWS MEDICAL CENTER PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4369 ST. OLAF COLLEGE - PLAN 10                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4370 STAFFORD COUNTY DRUG                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4371 STAMPS.COM                                             Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4372 STANDARD PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4373 STANDISH PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4374 STANION WHOLESALE ELECTRIC COMPANY                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4375 STANLEYS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4376 STANTON NEGLEY DRUG COMPANY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4377 Staples                                                Elixir Rx Options, LLC            Vendor Contract                               $9,798.02
4378 Staples Technology Solutions                           Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4379 STAR DISCOUNT PHARMACY INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4380 STAR FINANCIAL GROUP INC.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4381 STAR FINANCIAL GROUP INC.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4382 STAR PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4383 Stark County Metropolitan Sewer District               Elixir Pharmacy, LLC              Vendor Contract                               $1,238.01
4384 STARK SOLUTIONS LLC - ESSENTIAL PLUS 5000              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4385 STARK SOLUTIONS LLC - PREMIER 2500                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4386 STARPET, INC                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4387 STARSIDE DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4388 STARSIDE DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4389 STAT, INC.                                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4390 STATE OF GEORGIA DEPARTMENT OF COMMUNITY HEALTH        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4391 STEAMBOAT RESTAURANT GROUP - BRONZE 404                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4392 STEAMBOAT RESTAURANT GROUP -BRONZE 403                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4393 STEAMBOAT SNOWMOBILE TOURS -SILVER 302                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4394 STEAMBOAT SPRINGS EXCAVATING, LLC. - BRONZE 403        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4395 STEAMBOAT SPRINGS EXCAVATING, LLC. - PLATINUM 102      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4396 STEAMBOAT SPRINGS EXCAVATING, LLC. -GOLD 201           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4397 STEELE PHARMACY, LLC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4398 STEIN DISTRIBUTING CO INC                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4399 STEPHEN F. AUSTIN UNIVERSITY - PLAN 10                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4400 STERLING PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4401 STERLING SEACREST - HDHP                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4402 STERLING SEACREST - PLAN A (NO DEDUCTIBLE)             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4403 STERLING SEACREST - PLAN B (DEDUCTIBLE)                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4404 STEVENS POINT HOMETOWN PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4405 STINE LLC                                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4406 STINKER STORES, INC. - MEC                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4407 STINKER STORES, INC. - MEC MVP PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4408 STINKER STORES, INC. - MEC PLUS                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4409 STINKER STORES, INC. - MEC PREMIUM                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4410 STN CUSHION - GOLD PLAN                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4411 STN CUSHION - SILVER PLAN                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4412 STOCKBRIDGE MUNSEE COMMUNITY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4413 STONE PLAZA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4414 STONES PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4415 STOP AND SHOP PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4416 STORY POINT UNION                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4417 STOTZ DAIRY - BRONZE 402                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4418 STRAND PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4419 STUARTS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4420 SUITECARE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4421 SULTAN PHARMACY AND NATURAL CARE                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4422 SUMMERDALE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4423 SUMMERFORD DRUGS INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4424 SUMMERWOOD PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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4425 SUMRALLS PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4426 SUN RX PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4427 SUN SUN PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4428 SUNCOAST BEVERAGE                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4429 SUNCOAST COMMUNITY HEALTH CENTERS I                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4430 SUNCREST PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4431 SUNFLOWER STATE VITAL CARE                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4432 SUNNY PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4433 SUNNY PHARMACY II                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4434 SUNRAY DRUGS SPECIALTY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4435 SUNRISE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4436 SUNRISE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4437 SUNSET COMMUNITY HEALTH CENTER PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4438 SUNSET FARM FOODS - 7000 CP PLAN                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4439 SUNSET NORTH YUMA PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4440 SUNSET SAN LUIS PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4441 SUNSET YUMA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4442 SUNSHINE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4443 SUPER DISCOUNT DRUGS                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4444 SUPER FARMACIA FAMILIAR                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4445 SUPER FARMACIA METROPOLIS                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4446 SUPER FARMACIA SAN JOSE                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4447 SUPERDRUG TUMON                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4448 SUPERIOR DRUG                                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4449 SUPERIOR IMPLEMENT, INC. - FAMILY POLICY PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4450 SUPERIOR IMPLEMENT, INC. - INDIVIDUAL POLICY PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4451 SUPERVALU PHARMACIES INC                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4452 SUPREME CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4453 Surescripts, LLC                                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4454 SURGE STAFFING, LLC. - MEC PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4455 SUTHERLAND BUILDING MATERIAL CO, LLC - MVP PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4456 SUTHERLAND PHYSICAL THERAPY - BRONZE 403             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4457 SUTHERLANDS HEALTH CARE PLAN - NEOSHO                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4458 SUTTER INFUSION PHARMACY SERVICE                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4459 SUTTER INFUSION PHARMACY SERVICES                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4460 SUTTON FAMILY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4461 SV WELLNESS PHARMACY INC.                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4462 SW MESA FAMILY & COMMUNITY HEALTH PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4463 SWEET ONION TRUCK CENTER, LLC. - 7000 CP             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4464 SWLA CENTER FOR HEALTH SERVICES PHARMACY-LAFAYETTE   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4465 SWMI-CERAMEX                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4466 SWOBODA, INC.                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4467 SYMBRIA RX SERVICES ST LOUIS LLC                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4468 SYNERGEN RX                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4469 SYNERGEN RX, LLC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4470 SYNERGY LEGAL STAFFING - MEC PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4471 T & T DRUGS INC                                      Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4472 T & T PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4473 T & T PHARMACY 2                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4474 TAJ MAHAL MEDICAL CENTER PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4475 TAKECARE INSURANCE                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4476 TAMPA FAMILY HEALTH CENTER INC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4477 TANA PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4478 TANG PHARMACY II                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4479 TANG PHARMACY III                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4480 TANG PHARMACY INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4481 TANG PHARMACY IV                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4482 TANG PHARMACY V                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4483 TARPEY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4484 TASKER'S DRUG STORE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4485 TAT MANDAREE TELEPHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4486 TAT PARSHALL PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4487 TAT TWIN BUTTES TELEPHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4488 TAT WHITE SHIELD TELEPHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4489 Taylor Communications Inc                            Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4490 TAYLOR MANOR                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4491 TAYLORSVILLE COMMUNITY PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4492 TC LOGISTICS                                         Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4493 T-CARE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4494 TCHS PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4495 Teamsters Local 14; Zenith Administrators            Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4496 TEAMSTERS LOCAL 610 RETIREES                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4497 Teamsters Local 986; Zenith Administrators           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4498 TEAMTEMPS PERSONNEL STAFFING, INC. - 3000 CP PLAN    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4499 TECH, INC. - OPTION 1                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4500 TECH, INC. - OPTION 2 HDHP                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4501 TECHIE KIDS CLUB, INC - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4502 TECHIE KIDS CLUB, INC. - SILVER 302                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4503 TECHIE KIDS CLUB, INC. -GOLD 203 PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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4504 TEDS DRUGS                                           Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4505 TEDS DRUGS LTC                                       Elixir Rx Options, LLC            Vendor Contract                                                  $0.00
4506 TEKO PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4507 TEKsystems, Inc.                                     Elixir Rx Options, LLC            Vendor Contract                                                  $0.00
4508 Teleos Leadership Institute LLC                      Elixir Rx Options, LLC            Vendor Contract                                                  $0.00
4509 TELESCRIPT PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4510 TELNET-RX PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4511 TEMPCO PEST CONTROL, INC. - HDHP 4000                Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4512 TEMPCO PEST CONTROL, INC. - PREMIER 5000             Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4513 Tenerity Inc                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4514 TENNOVA HEALTHCARE LAFOLLETTE MEDICAL CENTER         Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4515 TENS PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4516 Terminix Processing Center                           Elixir Pharmacy, LLC              Vendor Contract                                              $110.76
4517 TERRA STAFFING GROUP - MEC PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4518 Teton Data Systems                                   Elixir Rx Options, LLC            Vendor Contract                                                $48.07
4519 Tex Trude                                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4520 TEXAN TITLE HOLDINGS, LLC                            Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4521 TEXAS A&M CORPUS CHRISTI ATHLETIC DEPT- EZRX         Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4522 TEXAS HEALTH RESOURCES INFUSION PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4523 Texas Independence Health Plan                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4524 Texas Trust Credit Union                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4525 THACKER DERMATOLOGY - GOLD 202                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4526 THE APOTHECARY                                       Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4527 THE APOTHECARY AT COTTRILL'S                         Elixir Rx Options, LLC            Vendor Contract                                                  $0.00
4528 THE APPLE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4529 THE ARC MACON - BRONZE 403 PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4530 THE ARC MACON - GOLD 202 PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4531 THE BARTELL DRUG COMPANY                             Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4532 THE BLEEDING & CLOTTING DISORDER INSTITUTE           Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4533 THE BOWMAN DRUG COMPANY                              Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4534 THE BRECKENRIDGE                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4535 THE BURGH PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4536 THE CARING PLACE -PLATINUM 101                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4537 THE CARROLL COMPANIES - BRONZE                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4538 THE CARROLL COMPANIES - DIAMOND                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4539 THE CARROLL COMPANIES - GOLD                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4540 THE CARROLL COMPANIES - SILVER                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4541 THE CHICAGO SCHOOL - PLAN 10                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4542 THE CITY OF MURFREESBORO                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                                $0.00
4543 THE COASTAL COMPANIES, LLC                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4544 THE COLLEGE OF WOOSTER - PLAN 10                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4545 THE CONNER GROUP FOR PEDIATRIC THERAPIES - B403      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4546 THE CONNER GROUP FOR PEDIATRIC THERAPIES - S302      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4547 THE CORNER DRUG STORE                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4548 THE COUNTRY DRUG STORE                               Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4549 THE CUSTOMER CENTER MANAGEMENT, INC. - HIGH          Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4550 THE CUSTOMER CENTER MANAGEMENT, INC. - MIDDLE        Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4551 The Distillata Company                               Elixir Pharmacy, LLC              Vendor Contract                                              $395.28
4552 THE DURHAM CO                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4553 THE GREAT GAME OF BUSINESS, INC.                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4554 THE HAMILTON RYKER GROUP, INC. - MEC PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4555 THE HARTFORD                                         Elixir Rx Options, LLC            Vendor Contract                                                  $0.00
4556 THE HERITAGE IN CORBIN                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4557 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4558 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4559 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4560 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4561 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4562 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4563 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4564 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4565 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4566 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4567 THE HOMETOWN PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4568 THE INTERTECH GROUP - AEROSPACE DEFENSE              Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4569 THE INTERTECH GROUP CORP - NON UNION BASIC PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4570 THE INTERTECH GROUP CORPORATE - NON UNION ENHANCED   Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4571 THE KNAPHEIDE MFG. COMPANY                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4572 THE KROGER CO                                        Elixir Rx Options, LLC            Pharmacy Contract (The Kroger Provider Agreement, as defined in the
                                                                                                                                                             $0.00
                                                                                                                                                                Sale Order)
4573 THE LANTERN                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4574 THE LAW COMPANY                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4575 The M. Conley Company                                Elixir Pharmacy, LLC              Vendor Contract                                            $4,713.90
4576 THE MEDICINE CABINET                                 Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4577 THE MEDICINE CABINET                                 Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4578 THE MEDICINE PLACE                                   Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4579 THE MEDICINE PLACE                                   Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4580 THE MERRILL CLINIC LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                                $0.00
4581 THE MOORE COMPANY                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00
4582 THE NEIGHBORHOOD SCHOOL - BRONZE 403                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                                $0.00




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 #                             Contract Counterparty                      Debtor Entity             Contract Description   Estimated Cure Amount
4583 THE NEW PHARMACY INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4584 THE PACE PROGRAM                                   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4585 THE PHARMACIE SHOPPE                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4586 THE PHARMACIST                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4587 THE PHARMACY AT SABANERA HEALTH                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4588 THE PHARMACY ON HILAND                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4589 THE PILL BOX PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4590 THE PILL BOX, LLC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4591 THE PRESCRIPTION SHOPPE                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4592 THE RED ALAMO PHARMACY CORP                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4593 THE REFUGE DOMESTIC VIOLENCE SHELTER - 3000 CP     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4594 THE RESERVES NETWORK, INC. - MEC PLAN              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4595 The Sourcing Group LLC                             Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4596 THE SPINX COMPANY - HDHP                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4597 THE SPINX COMPANY - PPO                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4598 The Ultimate Software Group Inc                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4599 THE UNIVERSITY OF AKRON - PLAN 10                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4600 THE UNIVERSITY OF KANSAS HOSPITAL PHARMACY         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4601 THE UNIVERSITY OF THE SOUTH - PLAN 10              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4602 THE VILLAGE APOTHECARY, LLC                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4603 THE VILLAGE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4604 THE WELLNESS PLAN MEDICAL CENTERS                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4605 THE WELLNESS PLAN MEDICAL CENTERS                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4606 THE WELLNESS PLAN MEDICAL CENTERS                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4607 THE WILLOWS AT FRITZ                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4608 THE WILLOWS AT HAMBURG                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4609 THE WORKFORCE GROUP (TWG) - CITY OF SULPHUR        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4610 THEDACARE AT HOME INFUSION PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4611 THEORIS GROUP INC                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4612 THEORIS GROUP INC                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4613 THEORIS GROUP INC                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4614 THEPHARMACY AT WELLINGTON                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4615 THERAPEUTIC SOLUTIONS VITAL CARE                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4616 THERESA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4617 THINK TECHNOLOGY ADVISORS - GOLD 200               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4618 THOMAS & HUSAIN MEDICAL ASSOC INC                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4619 THOMAS DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4620 Thomas Harris DBA Harris Actuarial LLC             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4621 THOMASVILLE FAMILY PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4622 THOMPSON DRUG KINGSTON                             Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4623 THOMPSON MACHINE COMPANY, INC. - SILVER 302        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4624 THOMPSON PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4625 THOMPSON PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4626 THOMPSON PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4627 THOMPSON PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4628 THOMPSON PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4629 Thomson Reuters-West Publishing Corp               Elixir Rx Options, LLC            Vendor Contract                               $6,656.50
4630 THREE BEARS PHARMACY #50                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4631 THREE BEARS PHARMACY #60                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4632 THREE BEARS PHARMACY #70                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4633 THREE BEARS PHARMACY #85                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4634 THRIFT DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4635 THRIFTY DRUG STORES INC                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4636 THRIFTY WAY PHARMACY OF ABBEVILLE                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4637 THU PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4638 THVC                                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4639 TICK KLOCK DRUG                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4640 TICO - HDHP                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4641 TICO - PPO PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4642 TIDWELL PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4643 TIENS PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4644 TIFFIN COMMUNITY HEALTH CENTER PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4645 TIFTON HARLEY-DAVIDSON - GOLD 202                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4646 TIFTON HARLEY-DAVIDSON - SILVER 302                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4647 TILLOTSON ENTERPRISES, INC.                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4648 TILLOTSON ENTERPRISES, INC. - QHDHP                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4649 TIMBERLAKE HEALTH AND WELLNESS                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4650 TIMBERLAKE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4651 TIMBERLAND PRODUCTS, INC. - SILVER 302             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4652 Time Warner Cable- Northeast                       Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4653 TIMS PHARMACY AND GIFT SHOP                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4654 TIOGA DRUG INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4655 TIP TOP POULTRY INC - BRONZE PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4656 TIP TOP POULTRY INC - GOLD PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4657 TIP TOP POULTRY INC - POST 65 RX ONLY              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4658 TIP TOP POULTRY INC - SILVER PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4659 TI-TRUST, INC. - PLAN 1                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4660 TI-TRUST, INC. - PLAN 2                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4661 TJM TRUCKING, INC. -GOLD 203 PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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4662 TLC MEDICAL ARTS PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4663 TOI TOI USA -GOLD 202                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4664 TOI TOI USA -SILVER 303                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4665 TOIYABE INDIAN HEALTH PROJECT                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4666 TOIYABE INDIAN HEALTH PROJECT                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4667 TOLEDO PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4668 TOLUCA PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4669 TOM THUMB PHARMACIES                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4670 TOMPKINS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4671 TOOL TECHNOLOGY CORP.                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4672 TOPS MARKETS LLC                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4673 TORRANCE PHARMACY & COMPOUNDING CENTER              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4674 TORRES-MARTINEZ INDIAN HEALTH CLINIC PHARMACY       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4675 TOTAL CARE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4676 TOTAL CARE PHARMACY XI INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4677 TOTAL CARE RX PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4678 TOTAL HEALTH CARE - MI SELECT                       Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
4679 TOTAL HEALTH CARE - SHOP GROUPS OFF EX HMO          Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
4680 TOTAL HEALTH CARE - SHOP GROUPS OFF EX POS          Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
4681 TOTAL HEALTH CARE - TOTAL HMO OFF EX                Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
4682 TOTAL QUALITY LOGISTICS - HDHP $5000 BASIC HSA      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4683 TOTAL QUALITY LOGISTICS - PPO BASE                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4684 TOTAL QUALITY LOGISTICS - PPO BUY UP                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4685 TOTAL QUALITY LOGISTICS - QHDHP                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4686 TOTAL RX PHARMACY AND DISCOUNT                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4687 TOUHY FAMILY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4688 TOWN AND COUNTRY AUTOMALL - SILVER 302              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4689 TOWN AND COUNTRY AUTOMALL -GOLD 203 PLAN            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4690 TOWN DRUG AND SURGICAL                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4691 TOWN DRUG AND SURGICAL                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4692 TOWN DRUG AT BROADWAY,INC.                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4693 TOWN DRUGS                                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4694 TOWN TOTAL COMPOUNDING CENTER                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4695 TOWNCARE PHARMACY LLC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4696 TOWNE DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4697 TOWNE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4698 TOWNSHIP PROFESSIONAL PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4699 TQL GLOBAL, LLC - QHDHP                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4700 TQL GLOBAL, LLC - HDHP $5000 BASIC HSA              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4701 TQL GLOBAL, LLC - PPO BASE                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4702 TQL GLOBAL, LLC - PPO BUY UP                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4703 TRAILINER CORP                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4704 TRAN PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4705 TRAN PHARMACY#2                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4706 Trane U.S. Inc.                                     Elixir Pharmacy, LLC              Vendor Contract                              $27,458.16
4707 TRANG PHARMACY INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4708 TRANS DRUG STORE                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4709 TRANS DRUG STORE                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4710 TRANSCRIPT PHARMACY OF NEW YORK, INC                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4711 TRANSIT AMERICA SERVICES, INC./CALTRAIN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4712 TRANSIT AMERICA SERVICES, INC./CALTRAIN - RETIREE   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4713 TRANSIT AMERICA SERVICES, INC./CALTRAIN- PLAN 2     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4714 TRANSITION PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4715 TRAVEL LEADERS LLC                                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4716 TRC STAFFING SERVICES, INC. - MVP                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4717 TRENTON COMMUNITY CLINIC PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4718 Tribute Health Plan of Arkansas                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4719 TRINET                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4720 TRINET II                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4721 TRINH PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4722 TRINITY BROADCASTING OF TEXAS, INC                  Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4723 TRINITY HEALTH PHARMACY - DETROIT                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4724 TRION DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4725 TRI-UNITY INFUSION SERVICES LLC                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4726 TROTTER, INC.                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4727 TROTT'S CALL FIELD DRUG                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4728 TROYMILL WOOD PRODUCTS - GOLD 203                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4729 TROYMILL WOOD PRODUCTS - SILVER 302                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4730 TRUCARE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4731 TRUDELO, INC. - BASE LOW                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4732 TRUE CARE FAMILY PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4733 TRUE HEALTH                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4734 TRUE HEALTH                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4735 TRUE HEALTH                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4736 TRUE HEALTH                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4737 TRUEMED PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4738 TRULL FAMILY PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4739 TRUMAN STATE UNIVERSITY - PLAN 11                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4740 T-SAV, LLC. - GOLD 203                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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4741 T-SAV, LLC. - PLATINUM 101                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4742 T-SAV, LLC. - SILVER 302                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4743 TSCC PACKAGING, LLC. - SILVER 302                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4744 TSG FINISHING, LLC - BASE PLAN                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4745 TSG FINISHING, LLC - BUY UP PLAN                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4746 TSI SOUTH VITAL CARE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4747 TU FARMACIA INC                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4748 TU SALUD PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4749 TUBA CITY REGIONAL HEALTH CARE CORPORATION            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4750 TUCSON AREA IHS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4751 TUDELA PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4752 TUERK HOUSE INC                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4753 TUFTS MEDICAL CENTER PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4754 TUFTS MEDICINE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4755 TUJUNGA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4756 Turnberry Solutions Inc                               Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4757 TURNER BODY SHOP OF KEARNEY INC. - SILVER 302         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4758 TURNER CO                                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4759 TURNKEY ENTERPRICES, LLC. - PLATINUM 102              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4760 TURNKEY ENTERPRISES, LLC. - SILVER 303                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4761 TURTLE BAY CHEMISTS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4762 TWAIN HARTE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4763 TWE NONWOVENS US, INC                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4764 TWIN HARBOR DRUG                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4765 TYAN PHARMACY & MEDICAL SUPPLY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4766 TYLERTOWN PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4767 TYRO FAMILY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4768 U HEALTH PHARMACIES                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4769 U OF CNTRL FL PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4770 U SAVE IT PHARMACY - ADEL                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4771 U SAVE IT PHARMACY - CAIRO                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4772 U SAVE IT PHARMACY - CLAXTON HOBBS                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4773 U SAVE IT PHARMACY - GRIFFIN                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4774 U SAVE IT PHARMACY - VALDOSTA                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4775 U SAVE IT PHARMACY #1                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4776 U SAVE IT PHARMACY #11                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4777 U SAVE IT PHARMACY #12                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4778 U SAVE IT PHARMACY #13                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4779 U SAVE IT PHARMACY #14                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4780 U SAVE IT PHARMACY #16                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4781 U SAVE IT PHARMACY #17                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4782 U SAVE IT PHARMACY #18                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4783 U SAVE IT PHARMACY #2                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4784 U SAVE IT PHARMACY #21                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4785 U SAVE IT PHARMACY #23                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4786 U SAVE IT PHARMACY #3                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4787 U SAVE IT PHARMACY #4                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4788 U SAVE IT PHARMACY #5                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4789 U SAVE IT PHARMACY #7                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4790 U SAVE IT PHARMACY #8                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4791 U SAVE IT PHARMACY COMMERCE                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4792 U SAVE IT PHARMACY FRANKLIN                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4793 U SAVE IT PHARMACY MACON 2                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4794 U SAVE IT PHARMACY NW                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4795 U SAVE IT PHARMACY PEACH VALLEY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4796 U SAVE IT PHARMACY SOUTH ALBANY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4797 U SAVE IT PHARMACY-PINE MOUNTAIN                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4798 U SAVE PHARMACY #10                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4799 U SAVE PHARMACY #101                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4800 U SAVE PHARMACY #20                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4801 U SAVE PHARMACY #35                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4802 U.C. DAVIS MEDICAL CENTER                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4803 U.C. DAVIS MEDICAL CENTER                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4804 U.F.C.W. AND EMPLOYERS KS & MO H&W FUND               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4805 UAB SPECIALTY PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4806 UCHICAGO MEDICINE ADVENTHEALTH PHARMACY BOLINGBROOK   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4807 UCHICAGO MEDICINE ADVENTHEALTH PHARMACY GLENOAKS      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4808 UCHICAGO MEDICINE ADVENTHEALTH PHARMACY HINSDALE      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4809 UCM EMERGENCY DEPARTMENT OUTPATIENT PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4810 UCMC PHARMACY SERVICES                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4811 UCSD MEDICAL CENTER PHCY                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4812 UFCW & EMPLOYERS BENEFIT TRUST                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4813 UFCW COMPREHENSIVE BENEFITS TRUST                     Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4814 UFCW LOCAL 1529 EMPLOYERS HEALTH WELFARE PLAN         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4815 UFCW LOCAL 1529 HEALTH WELFARE FUND FOR RETIREES      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4816 UI HEALTHCARE - IOWA RIVER LANDING PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4817 UI HEALTHCARE-RIVER CROSSING PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4818 Uline                                                 Elixir Pharmacy, LLC              Vendor Contract                               $1,636.89
4819 ULTRA-MEK, INC.                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00




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 #                            Contract Counterparty                             Debtor Entity             Contract Description   Estimated Cure Amount
4820 UMC DISCHARGE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4821 UMMAT PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4822 UMMC MIDTOWN CAMPUS PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4823 UMMC PHARMACY AT CAPITAL REGION                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4824 UMMC PHARMACY AT REDWOOD                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4825 UMMS PHARMACY SERVICES                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4826 UNICARE PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4827 UNICORN HOLDING, INC. - GOLD 200                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4828 UNICORN HOLDING, INC. - SILVER 303                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4829 UNIFIED GROUP SERVICES                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4830 UNION BEVERAGE PACKERS, LLC - MEC PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4831 UNION DISCOUNT PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4832 UNION HOSPITAL LOBBY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4833 UNION MUTUAL FIRE INSURANCE COMPANY                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4834 UNION PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4835 UNION PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4836 UNION PRESCRIPTION CENTER                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4837 UNISON BEHAVIORAL HEALTH                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4838 UNITED DAIRYMEN OF ARIZONA                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4839 UNITED FASHIONS OF TEXAS                                 Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4840 UNITED PHARMACY UPPER DARBY INC                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4841 UNITED SUPERMARKETS LLC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4842 UNITED TITANIUM INC                                      Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
4843 UNITY EYE CENTERS, INC. - GOLD E200                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4844 UNITY EYE CENTERS, INC. - SILVER E302                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4845 UNITY EYE CENTERS, INC. -SILVER E303                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4846 UNITY PHARMACY                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4847 UNITYPOINT AT HOME                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4848 UNITYPOINT HEALTH PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4849 UNIV OF IL SCB PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4850 UNIV OF TEXAS MD ANDERSON CANCER CENTER                  Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4851 UNIV OF TEXAS MD ANDERSON CANCER CENTER                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4852 UNIVERSAL PHARMACY AND DISCOUNT                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4853 UNIVERSITY AVENUE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4854 UNIVERSITY HEALTH SERVICES PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4855 UNIVERSITY HOSPITAL OUTPATIENT PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4856 UNIVERSITY MEDICAL CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4857 UNIVERSITY MEDICAL CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4858 UNIVERSITY OF ALASKA - ANCHORAGE - PLAN 42               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4859 UNIVERSITY OF ALASKA - FAIRBANKS - PLAN 42               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4860 UNIVERSITY OF ARKANSAS AT LITTLE ROCK - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4861 UNIVERSITY OF CENTRAL ARKANSAS - PLAN 10                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4862 UNIVERSITY OF CHICAGO DCAM OUTPATIENT PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4863 UNIVERSITY OF EVANSVILLE - PLAN 10                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4864 UNIVERSITY OF GEORGIA HEALTH CENTER PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4865 UNIVERSITY OF ILLINOIS DERMATOLOGY PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4866 UNIVERSITY OF ILLINOIS MILE SQUARE PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4867 UNIVERSITY OF ILLINOIS ONCOLOGY PHARMACY                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4868 UNIVERSITY OF ILLINOIS OUTPATIENT CARE CENTER PHARMACY   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4869 UNIVERSITY OF ILLINOIS UNIVERSITY VILLAGE PHARMACY       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4870 UNIVERSITY OF ILLINOIS WOOD STREET PCC PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4871 UNIVERSITY OF INDIANAPOLIS - PLAN 10                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4872 UNIVERSITY OF IOWA COMMUNITY HOME CARE                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4873 UNIVERSITY OF IOWA HEALTH CARE                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4874 UNIVERSITY OF KENTUCKY PHARMACIES                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4875 UNIVERSITY OF MARYLAND MEDICAL SOLUTIONS                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4876 UNIVERSITY OF SCIENCE & ARTS OF OKLAHOMA - PLAN 10       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4877 UNIVERSITY OF SOUTHERN INDIANA - PLAN 10                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4878 UNIVERSITY OF UTAH HOME INFUSION PHARMACY                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4879 UNIVERSITY OF WASHINGTON ELP - PLAN 44                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4880 UNIVERSITY OF WEST ALABAMA - PLAN 12                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
4881 UNIVERSITY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4882 UNIVERSITY PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4883 UNM HOSPITALS OUTPATIENT AND DISCHARGE PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4884 UNM MENTAL HEALTH CENTER OUTPATIENT PHARMACY             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4885 UNM TRUMAN HEALTH SERVICES PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4886 UNMH PHARMACY AT SOUTH EAST HEIGHTS CLINIC               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4887 UPMC MCKEESPORT OUTPATIENT PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4888 UPMC MERCY OUTPATIENT PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4889 UPMC PASSAVANT OUTPATIENT PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4890 UPMC PRESBYTERIAN PRESCRIPTION SHOP                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4891 UPMC WELLSBORO                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4892 UPPER PENINSULA HP                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
4893 UPPER TANANA HEALTH CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4894 UPS                                                      Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
4895 UPSTATE HOMECARE                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4896 UPTOWN DRUG                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4897 UPTOWN DRUG GOLDEN VALLEY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
4898 US PHARMACY                                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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4899 U-SAVE PHARMACY #107                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4900 U-SAVE PHARMACY #117                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4901 U-SAVE PHARMACY #355                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4902 U-SAVE PHARMACY #40                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4903 U-SAVE PHARMACY #73                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4904 USD #428 GREAT BEND - - $750 MED DEDUCT PLAN        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4905 UVA CONTINUUM HOME HEALTH CARE                      Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4906 UVA MEDICAL CENTER AMBULATORY PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4907 UVM Medical Center Inc                              Envision Medical Solutions, LLC   Cash Card Contract                                 $0.00
4908 UVM MEDICAL CENTER OUTPATIENT PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4909 UW HEALTH                                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4910 UW HEALTH CARE DIRECT                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4911 VA DMHMRSAS                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4912 VALDOSTA COMMERCIAL DOORS & HARDWARE - GOLD 200     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4913 VALDOSTA COMMERCIAL DOORS & HARDWARE - SILVER 302   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4914 VALDOSTA-LOWNDES CO. CONF&TOUR AUTH- 7000 CP PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4915 VALLEY DISCOUNT PHARMACY INC                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4916 VALLEY FALLS PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4917 VALLEY HEALTH SYSTEM                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4918 VALLEY NATIVE PRIMARY CARE CENTER PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4919 VALLEY PHARMACY AND MEDICAL SUPPLIES, INC           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4920 VALLEY PHARMACY EXPRESS                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4921 VALLEY PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4922 VALLEY RX PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4923 VALLEY VIEW HEALTH CENTER PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4924 VALLEY VITAL CARE                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4925 VALLEY WIDE BEVERAGE COMPANY                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4926 VALLEYWIDE LOGISTICS, LLC. - BRONZE 405             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4927 VALLEYWIDE LOGISTICS, LLC. - GOLD 201               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4928 VALLEYWIDE LOGISTICS, LLC. - GOLD 203               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4929 Valor Health Plan                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4930 VALPARAISO PROFESSIONAL PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4931 VALU DRUG                                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4932 VALUE SPECIALTY PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4933 VALURX PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4934 VAN DIEST SUPPLY COMPANY - HDHP (HSA ELIGIBLE)      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4935 VAN DIEST SUPPLY COMPANY - TRADITIONAL COPAY PLAN   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4936 VAN PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4937 VANCO PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4938 VANDERBILT CHILDREN'S OUTPATIENT PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4939 VANDERBILT HEALTH PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4940 VANDERBILT INTEGRATED PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4941 VANDERBILT OUTPATIENT PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4942 VANGS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4943 VASHON PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4944 VCU HEALTH SYSTEM                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4945 VECTOR VEST - $0 TRAD                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4946 VEDI HOSPITALITY, LLC. - MEC SPECTRUM PLATINUM      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4947 Velosio LLC                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4948 VENCER VITAL CARE                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4949 VENICE PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4950 Venture International, Inc.                         First Florida Insurers of Tampa   Vendor Contract                                    $0.00
4951 VERDE BALANCE PHARMACY                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4952 Verizon Wireless                                    Elixir Rx Options, LLC            Vendor Contract                                   $56.58
4953 VERLYN ENTERPRISES, INC. - GOLD 202                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4954 VERSA PRESS, INC.                                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4955 VERSATILE ROOFING, LLC. - PPO PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4956 VESCO, LLC. - PLATINUM 101                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4957 VETERANS OF FOREIGN WARS OF US                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4958 VG BEAVERTON PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4959 VG HILLSBORO PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4960 VG MCMINNVILLE PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4961 VHT PHARMACY                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4962 VICTOR DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4963 VICTORIA DRUG COMPANY, LLC                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4964 VICTORIA PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4965 VICTORY (TQL) HDHP $5000 BASIC HSA                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4966 VICTORY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4967 VICTORY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4968 VICTORY TQL - PPO BASE                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4969 VICTORY TQL - QHDHP                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4970 VIDA SANA PHARMACY INC.                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4971 VIDALIA PEDIATRIC CLINIC - BRONZE 403               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4972 VIDEO MANAGEMENT SERVICES, INC. - 7000 CP           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4973 VIDEO MANAGEMENT SERVICES, INC. - SP MEC GOLD       Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4974 Viking Yachts                                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4975 VILLAGE CARE CENTER                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4976 VILLAGE CHEMISTS OF SETAUKET INC                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4977 VILLAGE FERTILITY PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00




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4978 VILLAGE HOSPICE                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4979 VILLAGE OF BARTONVILLE                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4980 VILLAGE OF BARTONVILLE - MAXI PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4981 VILLAGE OF CHAGRIN FALLS - BRONZE 404               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4982 VILLAGE OF NORTHFIELD -GOLD 201                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4983 VILLAGE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4984 VILLAGE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4985 VILLASPRING OF ERLANGER                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4986 VINEYARD CHURCH DELAWARE COUNTY - PLATINUM 102      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4987 VIRGINIA DEPARTMENT OF HEALTH PHARMACY SERVICES     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4988 VIRGINIA EAGLE DISTRIBUTING COMPANY LLC             Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
4989 VIRGINIA GARCIA MEM HEALTH CENTER PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4990 VIRGINIA VETERANS CARE CENTER PHARMACY              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4991 VISTA COMMUNITY CLINIC PHARMACY                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4992 VISTA MANUFACTURING INC - HDHP PLAN                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4993 VISTA MANUFACTURING INC - PPO PLAN                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4994 VISTA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4995 VISTA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
4996 VISTABEAM - GOLD 200                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4997 VISTABEAM -SILVER 303                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
4998 VITAL CARE INFUSION SERVICES                        Elixir Rx Options, LLC            Vendor Contract                                    $0.00
4999 VITAL CARE INFUSION SERVICES                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5000 VITAL CARE INFUSION SERVICES                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5001 VITAL CARE INFUSION SERVICES                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5002 VITAL CARE INFUSION SERVICES OF HATTIESBURG         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5003 VITAL CARE OF ASHEVILLE                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5004 VITAL CARE OF AUBURN                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5005 VITAL CARE OF BOISE                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5006 VITAL CARE OF CENTRAL MISSISSIPPI                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5007 VITAL CARE OF CHATTANOOGA                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5008 VITAL CARE OF DOTHAN                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5009 VITAL CARE OF EASTERN IDAHO                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5010 VITAL CARE OF FAYETTEVILLE                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5011 VITAL CARE OF JACKSONVILLE                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5012 VITAL CARE OF KNOXVILLE                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5013 VITAL CARE OF LAS CRUCES                            Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5014 VITAL CARE OF LAS CRUCES                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5015 VITAL CARE OF LITTLE ROCK                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5016 VITAL CARE OF NORTHWEST ALABAMA                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5017 VITAL CARE OF PANAMA CITY                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5018 VITAL CARE OF PRINCETON                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5019 VITAL CARE OF RALEIGH                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5020 VITAL CARE OF RICHMOND                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5021 VITAL CARE OF ROANOKE                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5022 VITAL CARE OF THE FOUR STATES                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5023 VITAL CARE OF WEST CHESTER                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5024 VITAL SYSTEMS OF OK INC                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5025 VITALITY PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5026 VIVA PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5027 VM PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5028 VN CARE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5029 VN PHARMACY #2                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5030 Voiance Language Services, LLC                      Elixir Rx Options, LLC            Vendor Contract                                   $16.79
5031 VONS COMPANIES INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5032 VROOOM AUTO CARE LITTLE CANADA, INC. - BRONZE 404   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5033 W.L. MILLER                                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5034 WABASH NATIONAL- HDHP FAMILY PLAN                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5035 WABASH NATIONAL- HDHP INDIVIDUAL PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5036 WABASH NATIONAL- PPO FAMILY PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5037 WABASH NATIONAL- PPO INDIVIDUAL PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5038 WAFFLE HOUSE SYSTEM EMPLOYEE BENEFIT                Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5039 WAHIAWA GENERAL HOSPITAL PHARMACY                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5040 WAHLUKE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5041 WAIANAE PROFESSIONAL PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5042 WAKEFIELD PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5043 WALGREEN SPECIALTY PHARMACIES                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5044 WALGREEN WORKSITE PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5045 WALGREENS DRUG STORE                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5046 WALLACE DRUG                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5047 WALLACE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5048 WALMART STORES INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5049 WALTER J LEWIT DRUGS                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5050 WALTON'S, INC. - SILVER 302                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5051 Waltz Health Inc                                    Elixir Savings, LLC               Cash Card Contract                                 $0.00
5052 WALTZ PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5053 WARD VESSEL & EXCHANGER CORPORATION                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5054 WARM SPRINGS MEDICAL CENTER                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5055 WARNER VICTORY PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5056 WARRINGTON WELLNESS RX                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00




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5057 WARTBURG COLLEGE - PLAN 10                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5058 WASHINGTON HEALTH AND DRUG                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5059 WASHINGTON ROAD PHARMACY                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5060 WASHINGTON UNIVERSITY - ST. LOUIS - PLAN 10          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5061 WASHINGTON VETERANS HOME                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5062 WATERTOWN HOMETOWN PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5063 WATERTOWN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5064 WATKINS HEALTH CENTER PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5065 WAUPACA HOMETOWN PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5066 WAUTOMA HOMETOWN PHARMACY                            Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5067 WAYNE DENSCH, INC.                                   Elixir Rx Solutions, LLC (OH)     Vendor Contract                                   $0.00
5068 WAYNE METALS, LLC                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5069 WEBSTERS PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5070 WECARE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5071 WEGMANS FOOD MARKETS, INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5072 WEINSTEIN PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5073 WEIS PHARMACIES INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5074 WELL CARE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5075 WELLCARE GEORGIA MEDICAID                            Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5076 WELLCARE HEALTH PLAN AZ                              Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5077 WELLCARE OF NY                                       Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5078 WELL-CARE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5079 WELLMING PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5080 WELLNESS COMPOUNDING PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5081 WELLNESS PARTNERS, LLC. - HDHP                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5082 WELLNESS PHARMACY AND COMPOUNDING CENTER             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5083 WELLNESS PHARMACY LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5084 WELLNESS RX LTC                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5085 WELLPOINT MARYLAND INC 551AQT                        Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5086 WELLS PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5087 WELLSCRIPT                                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5088 Welltok Inc                                          Elixir Pharmacy, LLC              Vendor Contract                                   $0.00
5089 Welltok, Inc                                         Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5090 WENGER MANUFACTURING INC.                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5091 WENONA PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5092 WENTANA, LLC.                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5093 WESLEY HOMES HOSPICE                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5094 WESLEY TOWERS, INC.                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5095 WESLEY VILLAGE                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5096 WESLEYAN SCHOOL - HSA QUALIFIED                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5097 WEST 142ND STREET PHARMACY CORP                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5098 WEST AVE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5099 WEST CARROLL HOSPITAL PHARMACY                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5100 WEST COVINA PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5101 WEST LIBERTY NURSING & REHAB                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5102 WEST LOS ANGELES VALLEY COLLEGE - PLAN 62            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5103 WEST PERRY PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5104 WEST TENNESSEE HEALTHCARE DYERSBURG HOSPITAL PHARM   Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5105 WEST TOWNE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5106 WEST VIRGINIA SENIOR ADVANTAGE                       Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5107 WESTCO DRUGS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5108 WEST-END PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5109 WESTERN GREENBRIER PHARMACY                          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5110 WESTERN VASCULAR INSTITUTE - BRONZE 403              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5111 WESTERN VASCULAR INSTITUTE - GOLD 203                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5112 WESTERN VASCULAR INSTITUTE - SILVER 302              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5113 WESTERN WASHINGON UNIVERSITY - PLAN 42               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5114 WESTFIELD DISTRIBUTING - ACCESS POINT PPO            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5115 WESTFIELD DISTRIBUTING - GLOBAL PPO                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5116 WESTFIELD DISTRIBUTING - HDHP/HSA                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5117 WESTFIELD DISTRIBUTING - HRA                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5118 WESTFIELD DISTRIBUTING - PPO (HI ROLLER)             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5119 WESTGATE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5120 WESTLAKE PHARMACY SERVICES                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5121 WESTMINSTER AT HOME                                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5122 WESTMONT DRUG STORE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5123 WESTRIVER PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5124 WESTSIDE COMMUNITY HEALTH SERVICES PHARMACY          Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5125 WESTSIDE HEALTH CENTER PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5126 WESTSIDE PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5127 WESTSIDE PHARMACY & GIFTS, LLC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5128 WHALE TAIL PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5129 WHATCOM COMMUNITY COLLEGE - PLAN 42                  Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5130 WHEATON COLLEGE - PLAN 14                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5131 WHEELER DRUG STORE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5132 WHEELER MATERIAL HANDLING - BASE PLAN                Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5133 WHEELER MATERIAL HANDLING - PREMIER PLAN             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5134 WHEELER MATERIAL HANDLING - VALUE PLAN               Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5135 WHEELER'S CUSTOM COMPOUNDING, INC.                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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5136 WHITE BLUFF PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5137 WHITE CLOUD HEALTH CENTER PHARMACY                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5138 WHITE EAGLE INDIAN HEALTH CENTER PHARMACY           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5139 WHITE MARKET                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5140 WHITEFISH PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5141 WHITEHALL PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5142 WHITES PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5143 WHITES PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5144 WHITLEY COUNTY GOVERNMENT                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5145 WHITLEY DRUGS                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5146 WHITLEY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5147 WHITMAN COLLEGE - PLAN 43                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5148 WHITNEY PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5149 WHITWELL PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5150 WHYSONGS PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5151 WIBLE PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5152 WICHITA & AFFILIATED- ELDER TRIBES MEMBER PLAN      Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5153 WICHITA & AFFILIATED TRIBES MEMBER BENEFIT PLAN     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5154 WICKHAM INDUSTRIES, INC.                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5155 WIGINTON CORPORATION                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5156 WIKOFF COLOR CORPORATION - HEALTHY TRACK PLAN       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5157 WIL FISCHER DISTRIBUTING CO.                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5158 WILCOX ELECTRIC CONTRACTING LLC. - BRONZE 404       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5159 WILLIAMS FORM ENGINEERING - VALUE HDHP              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5160 WILLIAMS FORM ENGINEERING-FAMILY PREMIUM HDHP       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5161 WILLIAMS FORM ENGINEERING-INDIVIDUAL PREMIUM HDHP   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5162 WILLIAMSBURG DRUG 1963                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5163 WILLIAMSBURG DRUG COMPANY INC                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5164 WILLIAMSBURG HEALTH & REHAB                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5165 WILLIAMSBURG PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5166 WILLOW CREEK MEATS - PPO PLAN                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5167 WILLOW CREEK PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5168 WILLOW DRUG                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5169 WILLOW PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5170 WILLSBORO PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5171 WILSON CASE, INC. - PHA 300 PLAN                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5172 WILSON'S REFRIGERATION & AIR, INC. - BRONZE 403     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5173 WILTON CARE PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5174 WIMAUMA COMMUNITY HEALTH CENTER                     Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5175 WINDSOR GARDENS ASSISTED LIVING                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5176 Windstream                                          Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5177 WINKELMANN SONS DRUG CO                             Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5178 WINN DIXIE PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5179 WINNEBAGO COMPREHENSIVE HEALTHCARE SYSTEM           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5180 WINNEBAGO SNYDER PHARMACY                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5181 WINNECONNE HOMETOWN PHARMACY                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5182 WINSLOW INDIAN HEALTH CENTER                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5183 WINTERS HEALTHCARE PHARMACY                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5184 WIREWAY HUSKY CORP HDHP - HSA #1 FAMILY - APV       Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5185 WIREWAY HUSKY CORP HDHP - HSA #1 INDIVIDUAL - APV   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5186 WIREWAY HUSKY CORP HDHP - HSA #2 FAMILY -APV        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5187 WIREWAY HUSKY CORP HDHP - HSA #2 INDIVIDUAL - APV   Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5188 WISCONSIN HEALTH FUND PHARMACY                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5189 WISCONSIN VETERANS HOME PHARMACY                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5190 WISE CARE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5191 WNET - HDHP PLAN                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5192 WNET - PPO PLAN                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5193 WOLFE COUNTY HEALTH & REHAB                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5194 WOLFES PHARMACY INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5195 WOLFIES GRILL-NOBLESVILLE, INC. - MEC PLAN          Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5196 WOLFRAM MANUFACTURING INC - ESSENTIAL PLUS 5000     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5197 WOLFRAM MANUFACTURING INC - PREMIER 500             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5198 WOLTERS DRUG STORE                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5199 WOOD COUNTY                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5200 WOOD COUNTY                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                 $0.00
5201 WOOD COUNTY COMBINED GENERAL HEALTH DISTRICT        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5202 WOOD PHARMACY INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5203 WOOD RIVER PHARMACY                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5204 WOODCREST NURSING AND REHAB.                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5205 WOODFORD COUNTY                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5206 WOODFORD COUNTY (QHDHP)                             Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5207 WOODHAVEN PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5208 WOODLAKES PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5209 WOODMARK, LLC. - BRONZE 403                         Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5210 WOODSIDE PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5211 WOODWARD PHARMACY                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5212 WOOLACE ELECTRIC CORP.                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                 $0.00
5213 World Travel Inc                                    Elixir Rx Options, LLC            Vendor Contract                                   $0.00
5214 WYANDANCH DRUGS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00




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5215 WYCLIFFE BIBLE TRANSLATORS                          Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5216 X TRA DISCOUNT DRUGS                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5217 X-CEL TOOLING, INC.                                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5218 Xerox Financial Services LLC                        Elixir Rx Options, LLC            Vendor Contract                                $6,693.35
5219 XUANS PHARMACY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5220 YADY PHARMACY AND DISCOUNT INC.                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5221 YAKIMA VALLEY FARM WORKERS CLINIC                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5222 YASHCO SYSTEMS, INC. - BRONZE 403                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5223 YASHCO SYSTEMS, INC. - BRONZE 404                   Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5224 YASHCO SYSTEMS, INC. - PLATINUM 100                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5225 YATES CENTER PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5226 YE OLDE MEDICINE CENTER                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5227 YELLOWHAWK TRIBAL HEALTH CENTER PHARMACY            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5228 YODER'S MEATS - PLAN A                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5229 YODER'S MEATS - PLAN B                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5230 YODER'S MEATS - PLAN C                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5231 YOKES PHARMACY #21                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5232 YOKES PHARMACY #22                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5233 YOKES PHARMACY 8                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5234 YORK HOSPITAL APOTHECARY                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5235 YOUNG'S DRUG AND GENERAL STORE                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5236 YOUNGSTOWN STATE UNIVERSITY - PLAN 10               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5237 YOUNGWILLIAMS PC                                    Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5238 YOUR HEALTH PHARMACY                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5239 YOUR PHARMACY                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5240 YUCAIPA CARE PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5241 YUKON KUSKOKWIM DELTA REGIONAL HOSPITAL PHARMACY    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5242 YUNGEBERG DRUG                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5243 ZELZAH PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5244 ZENITH INVESTMENT GROUP, INC. - BRONZE 404          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5245 ZENITH PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5246 ZEPHYR PHARMACY                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5247 Zing Health                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5248 Zing Health                                         Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5249 Zirkle Fruit Company                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5250 ZOOMINFO TECHNOLOGIES INC                           Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5251 AccreditNet                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5252 Accurate Translation Services                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5253 Advance Benefits, Inc                               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5254 Aegis Administrative Services, Inc.                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5255 AlfaRx                                              Elixir Savings, LLC               Cash Card Contract                                 $0.00
5256 Allied                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5257 American Health Choice, Inc.                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5258 American Health ID (Fair Rx)                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5259 Archimedes, LLC                                     Laker Software, LLC               Customer Contract                                  $0.00
5260 Aspire Rx, LLC                                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5261 Atlassian Pty Ltd                                   Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5262 Attentis Consulting Inc                             Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5263 AutoMed                                             Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5264 AXXEL'S PHARMACY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5265 Benefit Management MSA                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5266 Best in Class Care, Inc                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5267 Best Line Leasing Inc.                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5268 BevCap Collective                                   Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5269 Bizmark, LLC                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5270 BroadPath LLC                                       Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5271 Carecard                                            Elixir Savings, LLC               Cash Card Contract                                 $0.00
5272 Careington International Corporation                Elixir Savings, LLC               Cash Card Contract                                 $0.00
5273 Castellan                                           Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5274 CBS Collective                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5275 Change HealthCare                                   Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5276 Checkmarx Inc                                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5277 CIMA DRUG PHARMACY INC                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5278 Cisco Sytems                                        Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5279 Citrix Systems Inc.                                 Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5280 Click to Fill, Inc.                                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5281 CloudRx                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5282 COMPANIA DE SERVICIOS MULTIPLES LA COMERIENA, INC   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5283 Compliance 360                                      Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5284 Consociate Collective                               Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5285 Convergence                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5286 Core BTS, Inc.                                      Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5287 Counter Health                                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5288 Creative Insurance Group                            Elixir Savings, LLC               Cash Card Contract                                 $0.00
5289 Cundy, Inc                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5290 CuraScript Specialty Distribution                   Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5291 Datasheer LLC                                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5292 DATATEL                                             Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5293 Datavant Inc                                        Elixir Pharmacy, LLC              Vendor Contract                                    $0.00




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 #                              Contract Counterparty                         Debtor Entity              Contract Description   Estimated Cure Amount
5294 Daw Systems, Inc                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5295 Dawson Logistics Inc                                   Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5296 Dbvisit Software Inc.                                  Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5297 DC Card Commission                                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5298 Decisions LLC                                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5299 Dissinger Reed Collective                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5300 Dizzil Health                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5301 Docebo NA Inc.                                         Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5302 Duo Security Inc                                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5303 E.S. Beveridge & Associates Collective                 Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5304 EagleForce Health, LLC                                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5305 Easy Drug Card                                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
5306 EBSO Collective                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5307 Echelon Elite Captive MSA                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5308 Edenbrdige Pharmaceuticals, LLC                        Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5309 ED'S PHARMACY                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5310 eFreedom                                               Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5311 eHealth Insurance Services, Inc.                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5312 EL BOTIQUIN DE LA 26 INC                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5313 Elsevier Inc                                           Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5314 Employers Health Coalition                             Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5315 ENHANCED MEDICATION SERVICES INC                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5316 ESTEVES EXPRESS PHARMACY                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5317 ExpiTrans Inc                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5318 FairRx Discount Card                                   Elixir Savings, LLC               Cash Card Contract                                 $0.00
5319 FAMARCIA GLORIEL                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5320 Famulus Health, LLC                                    Elixir Savings, LLC               Cash Card Contract                                 $0.00
5321 FARMACIA ADRIANA                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5322 FARMACIA AGUADA                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5323 FARMACIA ALEJANDRO LLC                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5324 FARMACIA AMERICA                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5325 FARMACIA ANA                                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5326 FARMACIA APOLO                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5327 FARMACIA AVILES                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5328 FARMACIA BALDORIOTY                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5329 FARMACIA BETANCES                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5330 FARMACIA BIMARIE                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5331 FARMACIA BORIKEN                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5332 FARMACIA BRAU                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5333 FARMACIA CAGUAS CENTRO                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5334 FARMACIA CAGUAS-DEGETAU                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5335 FARMACIA CALDAS                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5336 FARMACIA CAMPO RICO                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5337 FARMACIA CANDELARIA                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5338 FARMACIA CAPETILLO                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5339 FARMACIA CARIMAR                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5340 FARMACIA CENTRAL                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5341 FARMACIA CENTRAL                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5342 FARMACIA CHAVES INC                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5343 FARMACIA COMERIO                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5344 FARMACIA COOPERATIVA DE AGUADA                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5345 FARMACIA COOPERATIVA DE LARES                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5346 FARMACIA CORALIS INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5347 FARMACIA COTO LAUREL                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5348 FARMACIA CUQUIMAR INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5349 FARMACIA DARYAN                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5350 FARMACIA DE JESUS                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5351 FARMACIA DEL CARMEN                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5352 FARMACIA DEL CARMEN                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5353 FARMACIA DEL CARMEN                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5354 FARMACIA DEL PILAR                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5355 FARMACIA DEL POZO                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5356 FARMACIA DEL PUEBLO                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5357 FARMACIA DEL PUEBLO                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5358 FARMACIA DEL PUEBLO                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5359 FARMACIA DEL PUEBLO                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5360 FARMACIA DEL PUEBLO DE VEGA ALTA INC                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5361 FARMACIA DEL VALENCIANO                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5362 FARMACIA DEL VIVI INC                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5363 FARMACIA DOMINGUEZ                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5364 FARMACIA EL APOTECARIO                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5365 FARMACIA EL COMBATE INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5366 FARMACIA EL PALMAR, INC.                               Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5367 FARMACIA EL ROSARIO LLC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5368 FARMACIA EL YUNQUE                                     Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5369 FARMACIA ELDA                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5370 FARMACIA ENSENADA                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5371 FARMACIA EXPRESO                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5372 FARMACIA GABRIELA                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00




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 #                           Contract Counterparty                        Debtor Entity             Contract Description   Estimated Cure Amount
5373 FARMACIA GARROD                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5374 FARMACIA GENERICA RAMALLOSA                         Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5375 FARMACIA GLADYS INC                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5376 FARMACIA GLAMAR                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5377 FARMACIA GLAMAR VEGA BAJA LLC                       Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5378 FARMACIA GONZALEZ 2                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5379 FARMACIA HAYUYA, INC                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5380 FARMACIA HEIDI                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5381 FARMACIA JARDINES DE LOIZA INC                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5382 FARMACIA JIREH                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5383 FARMACIA JOBOS                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5384 FARMACIA JOMARI                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5385 FARMACIA KARIAN                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5386 FARMACIA KARLA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5387 FARMACIA KIARA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5388 FARMACIA KIRIE                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5389 FARMACIA LA 110                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5390 FARMACIA LA AMISTAD INC                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5391 FARMACIA LA ASTURIANA                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5392 FARMACIA LA AURORA                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5393 FARMACIA LA CARIDAD                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5394 FARMACIA LA CURVA, INC                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5395 FARMACIA LA FE # 3                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5396 FARMACIA LA FE #5                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5397 FARMACIA LA FE 1                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5398 FARMACIA LA FE REFORMADA                            Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5399 FARMACIA LA FE REFORMADA                            Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5400 FARMACIA LA INMACULADA                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5401 FARMACIA LA MILAGROSA                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5402 FARMACIA LA MONSERRATE                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5403 FARMACIA LA RAMPLA INC.                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5404 FARMACIA LA VENTANA                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5405 FARMACIA LAS CAMPINAS                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5406 FARMACIA LAS CATALINAS                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5407 FARMACIA LAS LOMAS                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5408 FARMACIA LAS MARIAS                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5409 FARMACIA LASALLE                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5410 FARMACIA LAZARY                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5411 FARMACIA LESMARIE                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5412 FARMACIA LIANGIE                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5413 FARMACIA LIDELIZ                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5414 FARMACIA LOS ANGELES INC                            Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5415 FARMACIA LOS PINOS                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5416 FARMACIA LUCIANO                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5417 FARMACIA MARIFE                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5418 FARMACIA MARILYN                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5419 FARMACIA MARISEL                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5420 FARMACIA MARISEL                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5421 FARMACIA MARLENE                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5422 FARMACIA MEDIANIA                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5423 FARMACIA MELLYBER                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5424 FARMACIA MENAY INC                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5425 FARMACIA MERFI INC                                  Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5426 FARMACIA METROPOL                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5427 FARMACIA MI FAMILIA                                 Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5428 FARMACIA MI SUENO                                   Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5429 FARMACIA MINELLY INC                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5430 FARMACIA MODELO                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5431 FARMACIA MODELO                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5432 FARMACIA MORALES EGIPCIACO                          Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5433 FARMACIA NARANJITO INC                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5434 FARMACIA NATER                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5435 FARMACIA NAVARRO                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5436 FARMACIA NEREIDA                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5437 FARMACIA NORED, INC.                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5438 FARMACIA NUEVA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5439 FARMACIA NUEVA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5440 FARMACIA NUEVA COMERIO INC                          Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5441 FARMACIA NUEVO CONCEPTO                             Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5442 FARMACIA OFELIA                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5443 FARMACIA OLIVERO INC.                               Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5444 FARMACIA ONE STOP PRESCRIPTION                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5445 FARMACIA ONE STOP PRESCRIPTION HUMACAO              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5446 FARMACIA ORTEGA                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5447 FARMACIA PAOLA                                      Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5448 FARMACIA PAOMELA                                    Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5449 FARMACIA PATRIA                                     Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5450 FARMACIA PEDRAZA INC                                Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00
5451 FARMACIA PONTEZUELA 24                              Elixir Rx Options, LLC           Pharmacy Contract                                 $0.00




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 #                           Contract Counterparty                           Debtor Entity             Contract Description   Estimated Cure Amount
5452 FARMACIA POST                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5453 FARMACIA QUEBRADILLAS                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5454 FARMACIA QUESADA                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5455 FARMACIA REY # 12                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5456 FARMACIA REY #1                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5457 FARMACIA REY #10                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5458 FARMACIA REY #11                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5459 FARMACIA REY #13                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5460 FARMACIA REY #14                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5461 FARMACIA REY #15                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5462 FARMACIA REY #16                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5463 FARMACIA REY #17                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5464 FARMACIA REY #18                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5465 FARMACIA REY #19                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5466 FARMACIA REY #2                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5467 FARMACIA REY #20                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5468 FARMACIA REY #21                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5469 FARMACIA REY #23                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5470 FARMACIA REY #24                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5471 FARMACIA REY #25                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5472 FARMACIA REY #3                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5473 FARMACIA REY #4                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5474 FARMACIA REY #8                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5475 FARMACIA REY #9                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5476 FARMACIA RIMARI                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5477 FARMACIA RINCON                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5478 FARMACIA RIOS                                         Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5479 FARMACIA ROSALINA                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5480 FARMACIA RUBIO                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5481 FARMACIA RUIZ BELVIS DE CAGUAS                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5482 FARMACIA RUIZ BELVIS DE GURABO                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5483 FARMACIA RUIZ BELVIS DE HUMACAO                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5484 FARMACIA RUIZ BELVIS DE LAS PIEDRAS                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5485 FARMACIA RUIZ BELVIS DE NAGUABO                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5486 FARMACIA RUIZ BELVIS DE SAN LORENZO                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5487 FARMACIA SAGRADO CORAZON                              Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5488 FARMACIA SAN ANTONIO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5489 FARMACIA SAN ANTONIO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5490 FARMACIA SAN ANTONIO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5491 FARMACIA SAN ANTONIO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5492 FARMACIA SAN ANTONIO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5493 FARMACIA SAN CARLOS INC                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5494 FARMACIA SAN FELIPE                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5495 FARMACIA SAN FRANCISCO                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5496 FARMACIA SAN FRANCISCO                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5497 FARMACIA SAN JORGE INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5498 FARMACIA SAN JOSE                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5499 FARMACIA SAN JOSE                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5500 FARMACIA SAN JOSE #1                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5501 FARMACIA SAN JOSE #2                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5502 FARMACIA SAN JOSE #4                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5503 FARMACIA SAN JUSTO                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5504 FARMACIA SAN LORENZO                                  Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5505 FARMACIA SAN LUIS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5506 FARMACIA SAN MARCOS                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5507 FARMACIA SAN MIGUEL                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5508 FARMACIA SAN PATRICIO COMPOUNDING & WELLNESS CENTER   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5509 FARMACIA SAN PEDRO                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5510 FARMACIA SAN PEDRO                                    Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5511 FARMACIA SAN SEBASTIAN                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5512 FARMACIA SANTA TERESA                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5513 FARMACIA SANTIAGO                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5514 FARMACIA SONIA J D INC                                Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5515 FARMACIA SUMMIT HILLS                                 Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5516 FARMACIA TIERRAS NUEVAS                               Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5517 FARMACIA TU FAMILIA                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5518 FARMACIA TU SALUD                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5519 FARMACIA UNITY                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5520 FARMACIA VALLE TOLIMA, INC.                           Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5521 FARMACIA VALLEMAR                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5522 FARMACIA VICTORIA                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5523 FARMACIA VILLA REAL                                   Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5524 FARMACIA WATTO                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5525 FARMACIA WIL SONS                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5526 FARMACIA YAMILA                                       Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5527 FARMACIA YANI INC                                     Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5528 FARMACIA YOMAR                                        Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5529 FARMACIA ZARINET                                      Elixir Rx Options, LLC            Pharmacy Contract                                 $0.00
5530 First DataBank, Inc                                   Elixir Holdings, LLC              Vendor Contract                                   $0.00




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5531 FIRST PHARMACY 1                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5532 FIRST PHARMACY 6                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5533 FM SALINAS CORP.                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5534 Formstack LLC                                            Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5535 Fresenius-Kabi, LLC                                      Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5536 Gallagher Pharmacy Alliance                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5537 Gap Rx, LLC                                              Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5538 GMS Collective                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5539 GRAFED PHARMACY SOLUTIONS                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5540 Greenback Health                                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
5541 Group & Pension Administrators Collective                Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5542 GuardianRx                                               Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5543 Health Benefit Administrators LTD                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5544 Health First Hospice                                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5545 Health First Solutions Collective                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5546 Health Plan Partners                                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5547 HealtheChoices MSA                                       Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5548 Healthgram Collective                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5549 HealthTeam Advantage Discount Card                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5550 Heritage Consulting Group, Inc.                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5551 HIGI SH LLC                                              Elixir Savings, LLC               Cash Card Contract                                 $0.00
5552 Hola Doctor, Inc.                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5553 Horne LLP                                                Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5554 IMA Collective                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5555 Impreva                                                  Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5556 Indecs Collective                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5557 InSourceRx                                               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5558 Integrity Prescription Management Services               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5559 IronRx                                                   Elixir Savings, LLC               Cash Card Contract                                 $0.00
5560 iSight                                                   Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5561 IVR OmniSys                                              Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5562 Jessica Williams                                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
5563 K2 Benefits                                              Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5564 KRIZIAS DRUG                                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5565 LAMS LLC                                                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5566 Leading Age Texas MSA                                    Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5567 LETTY'S PHARMACY                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5568 Lewer Companies MSA                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5569 Liberty Benefits, Inc.                                   Elixir Savings, LLC               Cash Card Contract                                 $0.00
5570 Liberty Healthshare                                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5571 Lifeline Screening of America, Ltd.                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5572 Luminous IT LLC                                          Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5573 Luscinia Health                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5574 MagnaCare/Brighton Collective                            Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5575 MALEZA EXPRESS PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5576 MDLive, Inc                                              Elixir Savings, LLC               Cash Card Contract                                 $0.00
5577 MDScripts Inc.                                           Elixir Savings, LLC               Cash Card Contract                                 $0.00
5578 MedAccess Rx, LLC                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5579 MedAvail Pharmacy Inc.                                   Elixir Savings, LLC               Cash Card Contract                                 $0.00
5580 Medication Card                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5581 Medpay Collective                                        Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5582 MedTrakRx, LLC                                           Elixir Savings, LLC               Cash Card Contract                                 $0.00
5583 MI FARMACIA                                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5584 MI FARMACIA                                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5585 MI FARMACIA DOMINGUEZ Y MUCHO MAS                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5586 MI FARMACIA SAN ISIDRO., CORP.                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5587 MMIT                                                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5588 Modernizing Medicine, Inc.                               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5589 MuleSoft, Inc.                                           Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5590 My Rewards, LLC                                          Elixir Savings, LLC               Cash Card Contract                                 $0.00
5591 Nagios                                                   Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5592 National Drug Card                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5593 National Insurance Benefit Centers, LLC                  Elixir Savings, LLC               Cash Card Contract                                 $0.00
5594 National Wellness Organization, Inc.                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5595 Navex Global Inc                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5596 Networking Technology, Inc.                              Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5597 NUESTRA FARMACIA                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5598 NUEVA FARMACIA SANTA ANA                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5599 ONE STOP PRESCRIPTION PLAZA FAJARDO                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5600 ONE STOP PRESCRIPTION PUERTO RICO INC                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5601 Orasi Software Inc                                       Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5602 Orchestra Rx                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5603 PagerDuty, Inc.                                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5604 Palantir Technologies Inc                                Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5605 Patriot Health Florida, Inc.                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5606 PHARMA100 EXPRESS                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5607 Pharmaceutical Benefits of America, Inc                  Elixir Savings, LLC               Cash Card Contract                                 $0.00
5608 Pharmaceutical Care Management Association (PCMA01-50)   Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5609 Pharmaceutical Strategies Group, LLC                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00




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 #                                Contract Counterparty                              Debtor Entity              Contract Description   Estimated Cure Amount
5610 PHARMACY EXPRESS                                              Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5611 PHARMACY EXPRESS #2                                           Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5612 PHARMAMED PHARMACY                                            Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5613 Physicians Interactive, Inc.                                  Elixir Savings, LLC               Cash Card Contract                                 $0.00
5614 Power Group Captive Collective                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5615 PRAM Insurance Services, Inc.                                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5616 Preferred Rx Card                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5617 ProClaim Plus Collective                                      Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5618 ProConnect Health                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5619 PROFESSIONAL DRUG                                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5620 PROFESSIONAL DRUG                                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5621 Publix Super Markets, Inc.                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5622 RECETAS POR MENOS                                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5623 RECETAS POR MENOS                                             Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5624 Reflekt Technologies Corp                                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5625 Remedy Partners MSA                                           Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5626 Retention Strategies, LLC                                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5627 RiskOne Solutions, LLC                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5628 Rx Access, Inc.                                               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5629 Rx Sample Solutions, Inc                                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5630 Rx Savings, LLC                                               Elixir Savings, LLC               Cash Card Contract                                 $0.00
5631 RxConnection, LLC                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5632 RxEBATE                                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5633 RxSaver                                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5634 SAI Global Compliance Inc                                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5635 SANTA CRUZ PHARMA CARE, LLC                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5636 Sapiens Americas Corporation                                  Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5637 SAS Institute Inc                                             Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5638 SCIOinspire Corp                                              Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5639 ScriptKingRx                                                  Elixir Savings, LLC               Cash Card Contract                                 $0.00
5640 SHADDAI PHARMACY 2 INC                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5641 Sheet Metal Workers Discount Card                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5642 Shred-It USA, Inc.                                            Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5643 Shufflrr LLC                                                  Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5644 Silverlink                                                    Elixir Rx Solutions, LLC          Vendor Contract                                    $0.00
5645 Sisco Benefits Collective                                     Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5646 Smith Health, Inc. d/b/a SmithRx                              Laker Software, LLC               Customer Contract                                  $0.00
5647 SolarWinds                                                    Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5648 Specialized Associates Services, Ltd.                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
5649 SphereCommerce                                                Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5650 Stormwind                                                     Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5651 Stride Health, Inc.                                           Elixir Savings, LLC               Cash Card Contract                                 $0.00
5652 Subway                                                        Elixir Savings, LLC               Cash Card Contract                                 $0.00
5653 SUPER FARMACIA CAROLINA                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5654 SUPER FARMACIA CENTRAL                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5655 SUPER FARMACIA FAMILIAR                                       Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5656 SUPER FARMACIA GARDENVILLE                                    Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5657 SUPER FARMACIA GARMER                                         Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5658 SUPER FARMACIA IDEAL                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5659 SUPER FARMACIA JAYLEEN                                        Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5660 SUPER FARMACIA JUANA DIAZ INC                                 Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5661 SUPER FARMACIA LA MONSERRATE                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5662 SUPER FARMACIA LOPEZ                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5663 SUPER FARMACIA MI BOTICA                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5664 SUPER FARMACIA TRIPLE R INC                                   Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5665 SUPER FARMACIA VANGA                                          Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5666 SUPER FARMACIA VISALMARY                                      Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5667 SUPERFARMACIA SANTA TERESA INC                                Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5668 Symantec                                                      Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5669 Symptos                                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5670 The Associated Jewish Community Federation of Baltimore Inc   Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5671 The iCan Group                                                Elixir Savings, LLC               Cash Card Contract                                 $0.00
5672 The University of Vermont Medical Center                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5673 Therigy LLC                                                   Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5674 Tivity Health, Inc.                                           Elixir Savings, LLC               Cash Card Contract                                 $0.00
5675 TranspareRx Corp.                                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5676 True Blue                                                     Elixir Savings, LLC               Cash Card Contract                                 $0.00
5677 TrustCommerce                                                 Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5678 Trustmark Collective                                          Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5679 Truveris - HQ                                                 Elixir Savings, LLC               Cash Card Contract                                 $0.00
5680 TSG Guard, Inc.                                               Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5681 Ulti Pro                                                      Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5682 Unified Group Services                                        Elixir Rx Solutions, LLC (OH)     Customer Contract                                  $0.00
5683 UnityRx                                                       Elixir Savings, LLC               Cash Card Contract                                 $0.00
5684 Upland Software, Inc                                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5685 UpToDate, Inc.                                                Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5686 URAC                                                          Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5687 USARx                                                         Elixir Savings, LLC               Cash Card Contract                                 $0.00
5688 US-Rx Care                                                    Elixir Savings, LLC               Cash Card Contract                                 $0.00




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5689 Venture Health Services                             Elixir Savings, LLC               Cash Card Contract                                 $0.00
5690 Verint Americas Inc                                 Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5691 Visante                                             Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5692 WELL CARE PHARMACY                                  Elixir Rx Options, LLC            Pharmacy Contract                                  $0.00
5693 Wellsky                                             Elixir Pharmacy, LLC              Vendor Contract                                    $0.00
5694 Wilcox Financial MSA                                Elixir Rx Solutions, LLC (MO)     Customer Contract                                  $0.00
5695 Wolters Kluwer                                      Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5696 Worldcom Exchange, Inc.                             Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5697 Xpedite Systems, LLC                                Elixir Rx Options, LLC            Vendor Contract                                    $0.00
5698 YourRxCard.com                                      Elixir Savings, LLC               Cash Card Contract                                 $0.00
5699 Zywave, Inc                                         Elixir Rx Options, LLC            Vendor Contract                                    $0.00




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                                     Exhibit B

                                   ROI Amendment

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                                       AMENDMENT No. 8
                                    TO REVISED AND RESTATED
                        PHARMACY BENEFIT MANAGEMENT SERVICES AGREEMENT
                                       (MEDICARE PART D)

 This Amendment to Pharmacy Beneﬁt Management Services Agreement (Medicare Part D) (the
 “Amendment”) is eﬀec�ve February 1, 2024 (the “Eﬀec�ve Date”), by and between MedImpact Healthcare
 Systems, Inc., a California corpora�on (hereina�er the “PBM”), and Elixir Insurance Company (formerly
 Envision Insurance Company) (hereina�er the “PDP”).

 Whereas Rx Op�ons, LLC (formerly Rx Op�ons, Inc.), an Ohio corpora�on (“ROI”), and PDP entered into
 that certain Revised and Restated Pharmacy Beneﬁt Management Services Agreement (Medicare Part D)
 with an eﬀec�ve date of January 1, 2010, as amended (the “Agreement”).

 Whereas, pursuant to that certain Asset Purchase Agreement, dated as of October 15, 2023, by and among
 PBM and Hunter Lane, LLC, a Delaware limited liability company (“Elixir”), and certain other par�es named
 therein, (as amended, the "Purchase Agreement"), on the Eﬀec�ve Date, among other things, ROI is
 assigning to PBM all of ROI’s right, �tle, and interest in and to, as of the Closing (as deﬁned in the Purchase
 Agreement), the Agreement, in accordance with and subject to the terms and condi�ons of the Purchase
 Agreement (the “Agreement Assignment”).

 Whereas, eﬀec�ve contemporaneously with the Agreement Assignment on the Eﬀec�ve Date, PBM and
 PDP desire to amend the Agreement as set forth herein.

 Now, therefore, PBM and PDP hereby agree to amend the Agreement as follows:

 1.    Deﬁned Terms. Unless otherwise speciﬁcally deﬁned herein, capitalized terms used in this
       Amendment shall have the meanings stated in the Agreement.

 2.    Amendment of Agreement. The Agreement is hereby amended, eﬀec�ve contemporaneously with
       the Agreement Assignment on the Eﬀec�ve Date, to be in the form atached hereto as Exhibit A.

 3.    Subcontracts. PDP represents and warrants that it has and shall maintain contracts with the
       following vendor to support the Delegated Services under this Agreement as follows:

       8.1 MTM – Health Dialogue (through March 31, 2024; therea�er, PBM may u�lize any
       subcontracted vendor of its choice)

 4.    PDP Representa�on. PDP represents and warrants that (i) this Agreement reﬂects in all material
       respects the opera�ons and processes as performed by ROI and PDP under the Agreement
       immediately prior to this Amendment, (ii) this Agreement reﬂects the pricing (including
       Administra�ve Fees) in place and charged/collected between ROI and PDP as existed under the
       Agreement immediately prior to this Amendment, and (iii) that the necessary systems and
       opera�ons to con�nue to support such opera�ons consistent with prac�ces immediately prior to
       this Amendment are being conveyed to PBM under the Purchase Agreement or provided pursuant
       to the Transi�on Services Agreement entered February 1, 2024 by and between Rite Aid Hdqrts.
       Corp. and MedImpact Healthcare Systems, Inc.



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 5.   Ra�ﬁca�on. PDP and PBM hereby ra�fy and conﬁrm the Agreement. Except as modiﬁed herein, all
      of the terms, covenants, and condi�ons of the Agreement shall remain unmodiﬁed and in full force
      and eﬀect. This Amendment shall be binding upon and inure to the beneﬁt of the Par�es hereto and
      their successors and permited assigns.


                                    [SIGNATURE PAGE FOLLOWS]




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 IN WITNESS WHEREOF, the Par�es have entered into this Amendment as of the Eﬀec�ve Date.


 For MedImpact Healthcare Systems, Inc.              For Elixir Insurance Company

 By: _________________________________               By: _________________________________

 _________________________________                   _________________________________
 [Name]                                              [Name]

 _________________________________                   _________________________________
 [Title]                                             [Title]
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                                            EXHIBIT A

   Revised and Restated Pharmacy Beneﬁt Management Services Agreement (Medicare Part D) with an
                                  eﬀec�ve date of February 1, 2024
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                          REVISED AND RESTATED
             PHARMACY BENEFIT MANAGEMENT SERVICES AGREEMENT
                            (MEDICARE PART D)

 This Revised and Restated Pharmacy Benefit Management Services Agreement (the
 “Agreement”) is effective the 1st day of February, 2024 (the “Effective Date”), by and between
 MedImpact Healthcare Systems, Inc., a California corporation (hereinafter the “PBM”), and
 Elixir Insurance Company, an Ohio corporation (f/k/a Envision Insurance Company) (hereinafter
 the “PDP”). PBM and PDP are also referred to herein individually as a “Party” or collectively as
 the “Parties”.

                                            RECITALS

 WHEREAS, PBM is a Pharmacy Benefit Management company primarily engaged in the
 business of providing comprehensive pharmacy benefit management services nationwide to
 various employers, unions, and health plans which sponsor or administer health benefit plans
 covering outpatient prescription medications; and

 WHEREAS, PDP is a Medicare Part D Prescription Drug Plan under contract with the Centers
 for Medicare and Medicaid Services (CMS) to sponsor one or more employer group waiver plans
 providing coverage for prescription medications to PDP’s Members;

 WHEREAS, PDP desires to engage PBM to provide pharmacy benefit management services in
 accordance with the terms and conditions of this Agreement for plan year 2024;

 WHEREAS, PDP entered into that certain Revised and Restated Pharmacy Benefit Management
 Services Agreement, dated January 1, 2010, with Rx Options, Inc. (fka Rx Options, LLC), as
 amended (“Original Agreement); and

 WHEREAS, the Parties desire to revise and restate the Original Agreement, and this Agreement
 amends, revises, restates, and supersedes that Original Agreement in its entirety.

 NOW, THEREFORE, in consideration of the mutual promises and agreements herein contained,
 PDP and PBM hereby agree as follows:

                                      1.      DEFINITIONS

 1.1    “Administrative Fee” means the amount that PBM charges PDP for Delegated Services
 under this Agreement.

 1.2     “Average Wholesale Price” or “AWP” shall mean the average wholesale price of a
 prescription medication in effect on the date the prescription was dispensed as listed by
 Medi­Span (or such other applicable industry standard reference on which pricing hereunder is
 based), for the actual drug dispensed using the 11 digit NDC number provided by the dispensing
 pharmacy. Due to the change in pricing methodology by Medi-Span beginning September 26,
 2009 (as a result of the settlement reached in the FDB/McKesson lawsuit), the AWP amounts
 used to calculate the drug price discounts set forth in Exhibit 1 have been adjusted to restore the
 relationship between Wholesale Acquisition Cost (WAC) and AWP as it was prior to September

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 26th, 2009, in order to maintain economic neutrality. PBM will continue to pass-through to Plan
 Sponsor the actual charge of the dispensing pharmacy without any mark-up or spread by PBM.

 1.3     “Benefit Plan” means for CMS plan year 2024, the employer group waiver plans,
 sponsored or administered by PDP that covers the cost of prescription medications for a
 particular Member. PBM acknowledges that PDP may have multiple employer group waiver
 plans. PDP acknowledges that it must notify PBM of each Benefit Plan by completing a separate
 Benefit Specification Form and by linking those Members covered under a specific Benefit Plan
 to such Benefit Plan using the Eligibility File (as directed by PBM).

 1.4    “Benefit Specification Form” means the form that is completed by PDP, in conjunction
 with PBM, which details the specifics of the Benefit Plan such as which prescription medications
 are covered by PDP, any limitations or exclusions, the Benefit Plan’s tier structure and Co­
 Payments, and any conditions associated with the specific services to be rendered by PBM under
 this Agreement (e.g., prior authorizations, drug therapy management).

 1.5     “Brand Drug” means a drug where the Generic Indicator (GI) field in Medi-Span
 contains an “M” (co-branded product), an “N” (single source brand), or an “O” (multi-source
 brand).

 1.6    “Co-Payment” or “Co-Insurance” means that amount of money a Member must pay at
 the point-of-sale towards the expense of each Covered Medication filled or refilled under this
 Agreement in accordance with the terms of the Member’s Benefit Plan.

 1.7    “Covered Medication” means a prescription drug, medication, or device that meets the
 requirements for coverage under the Member’s Benefit Plan, after applying all conditions and
 exclusions set forth therein, and which is dispensed by a Participating Pharmacy to a Member
 pursuant to a written or electronic prescription order or allowable refill.

 1.8    “CMS” means the federal agency known as the Centers for Medicare and Medicaid
 Services, administrator of the Medicare Part D Prescription Drug Program.

 1.9     “Eligibility File” means that electronic communication prepared and maintained by PBM
 in accordance with applicable law and contract requirements that identifies Members along with
 other eligibility information. The Parties acknowledge that eligibility begins on the first day the
 Member is reported by PBM (or its designee) to be effective and continues through the last day
 the Member appears on the Eligibility File.

 1.10 “Formulary” means PDP’s list of Covered Medications as filed with and approved by
 CMS.

 1.11 “Generic Drug” means a drug where the Generic Indicator (GI) field in Medi-Span
 contains a “Y” (generic).

 1.12 “HIPAA” means the Health Insurance Portability and Accountability Act of 1996, as
 amended from time to time.


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 1.13 “Manufacturer Derived Revenue” means any discounts, rebates, pharmaceutical
 manufacturers administrative fees, and any other revenue received by PBM from pharmaceutical
 manufacturers (whether as a result of the number of covered lives, other incentives or other
 amounts received) with respect to Members.

 1.14 “Maximum Allowable Cost” or “MAC” means the maximum unit ingredient cost payable
 by PDP for a proprietary list of off-patent Brand Drugs which has been negotiated with
 Participating Pharmacies. The MAC list and associated drug prices are updated from time to time
 by PBM. PDP will be charged the exact amount payable by PBM to Participating Pharmacies for
 the most current MAC list.

 1.15 “Member” means an individual who is identified by PBM on the Eligibility File as being
 entitled to receive Covered Medications under the Member’s Benefit Plan in accordance with
 this Agreement.

 1.16 “Participating Pharmacy” means a pharmacy (including a designated mail order or
 specialty pharmacy) that has entered into a negotiated pricing agreement with PBM to dispense
 prescription medications to Members.

 1.17 "PDP" means the entity specified above which is financially responsible for the payment
 of Administrative Fees, the other Additional Fees and Miscellaneous Expenses set forth on
 Exhibit 1, Management Fees, and Covered Medications dispensed to Members hereunder in
 accordance with the terms and conditions hereof.

 1.18 “Prescriber” means a licensed Doctor of Medicine (M.D.), Doctor of Osteopathy (D.O.),
 Doctor of Podiatry (D.P.M.), Doctor of Dentistry (D.D.S.), or other licensed health practitioner
 with independent prescribing authority when acting within the scope of his or her practice.

 1.19 “Specialty Drug” means those high cost biotech and other prescription drug products
 which require special ordering, handling and/or patient intervention. Specialty Drugs will be
 priced based on where the drug is dispensed (i.e. retail, mail order, or specialty pharmacy) and in
 accordance with PDP benefits.

                                2.      DELEGATED SERVICES

 PBM hereby agrees to participate in PDP’s Medicare Prescription Drug Benefit program and
 perform the following pharmacy benefit management services (“Delegated Services”). Unless
 otherwise noted, the Delegated Services specified below are included in the Administrative Fee.

 2.1      Claims Processing: PBM shall accept, process, and adjudicate Claims for Covered
 Medications (i) submitted by Participating Pharmacies (via PBM’s on-line electronic claims
 processing system in National Council for Prescription Drug Programs (NCPDP) formats);
 (ii) submitted by Members as Direct Member Reimbursements (DMRs, as defined below); or
 (iii) received from third parties, such as Medicaid, for reimbursement by PDP. Claims shall be
 checked for eligibility, benefit design, Co-Payments, and exclusions to determine which Claims
 are successfully processed, pended for prior authorization, or rejected for ineligibility or other
 factors in accordance with PDP’s specifications as set forth in PDP’s Benefit Specification Form
 (incorporated herein by this reference). For purposes of this Agreement, a Claim is an invoice or
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 transaction (electronic or paper) for a Covered Medication dispensed to a Member that has been
 submitted to PBM by the dispensing pharmacy or a Member (including transactions where the
 Member paid 100% of the cost). Claims that must be processed manually because they are
 (i) DMRs or (ii) claims received from third parties, such as Medicaid, for reimbursement by PDP
 for ineligible payments, will incur a fee as set forth in Exhibit 1. In addition, reprocessing of
 Claims due to PDP error will incur a fee as set forth in Exhibit 1.

 PBM will require Participating Pharmacies to submit Claims via the Claims Adjudication System
 whenever the Member’s ID card is presented or is on file at Pharmacy, unless the Member
 expressly requests that a particular Claim not be submitted.

 2.2    Direct Member Reimbursement (DMR): PBM shall provide, via its website, a DMR
 form, for use by Members. These forms will be used for Member self-pay reimbursements for
 amounts other than Co-Payments paid out for Covered Medications that have not otherwise been
 reimbursed by PDP. PBM shall accept, process, and adjudicate DMR Claims within ten (10)
 business days of receipt of the claim form and in any event within CMS regulatory timelines and
 any other applicable law, reimbursement for which shall be included in monthly invoices to PDP
 hereunder.

 2.3    Coordination with other Programs: PBM will coordinate with other drug benefit
 programs, including, for example, Medicaid, State Pharmaceutical Assistance Programs
 (SPAPs), or other insurance, by providing required claims information on behalf of PDP.

 2.4     Pharmacy Network: PBM shall arrange for the dispensing of Covered Medications to
 Members pursuant to contracts with Participating Pharmacies organized in a network that is
 adequate to meet CMS minimum access standards. PDP understands that the Participating
 Pharmacies may change from time to time, including the mail order provider and/or specialty
 pharmaceuticals provider. PBM shall maintain and provide PDP with complete, current and
 accurate listings of Participating Pharmacies and notify PDP of any material changes (e.g.,
 pharmacy chain). PDP acknowledges that orders exceeding a thirty day supply from a retail
 pharmacy are not available at all Participating Pharmacies. Covered Medications shall not be
 dispensed to Members without a prescription order by a duly Licensed Prescriber. PDP
 acknowledges that the availability of drugs are subject to market conditions and that PBM cannot
 assure the availability of any drug from Participating Pharmacies.

 2.5    Participating Pharmacies: PDP reserves the right to approve, suspend or terminate any
 arrangement PBM has with any of its Participating Pharmacies for use by Members. PDP shall
 exercise its rights under this Section 2.5 upon prior written notice to PBM. PBM shall suspend or
 terminate a Participating Pharmacy only upon reasonable cause and shall not refuse to approve a
 pharmacy from becoming a Participating Pharmacy unless PDP has a reasonable cause for doing
 so. For purposes of this Section 2.5, “reasonable cause” shall be defined as any actions or
 conduct by Participating Pharmacies that pose a threat or health danger to Members, are
 fraudulent, or that violate any federal, state or local laws, including but not limited to HIPAA.

 2.6   Formulary: PBM shall assist PDP in the development of its Formulary. The initial
 Formulary and any modified Formulary shall be reviewed and approved by PBM’s P&T
 Committee. PDP may modify the Formulary from time to time as permitted under CMS
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 regulations. The Formulary may also be modified from time to time by the P&T Committee, as
 permitted by CMS regulations, to implement market changes (i.e. manufacturer discontinuance
 of a drug) or clinical factors. PDP acknowledges that any modifications to the Formulary may
 affect yields in Manufacturer Derived Revenue and shall hold harmless PBM from any
 reductions in such yields resulting from Formulary modifications by PDP. The Formulary, and
 any modifications, shall be adopted and filed by PDP with CMS. Upon acceptance of the
 Formulary by CMS, PBM shall utilize the Formulary to determine coverage for prescription drug
 benefits under the Plan for retail, mail order, and specialty drugs dispensed in accordance with
 this Agreement. PDP shall hold harmless the members of the P&T Committee from any liability
 arising from the development or use of the Formulary.

 2.7     Pharmacy and Therapeutics (P&T) Committee: PBM shall operate a P&T Committee
 consistent with CMS guidelines. If PDP elects to utilize PBM’s P&T Committee on PDP’s
 behalf, PBM shall provide PDP with the names of the committee members, and supply to PDP
 copies of P&T Committee policies and procedures, copies of minutes of P&T Committee
 meetings, and monographs of drug reviewed, all of which must be maintained by PDP as
 confidential.

 2.8    Prior Authorization: PBM shall perform prior authorization for prescription medications
 that have been specified by PDP in the Benefit Specification Form to require prior approval
 before being dispensed. When performing Prior Authorization, PBM will defer to the
 physician­patient relationship and the Licensed Prescriber’s knowledge of the patient’s medical
 condition.

 2.9     Concurrent Drug Utilization Review; Step Therapy: PBM shall program system edits that
 are applied to Claims during the adjudication process to identify Covered Medication amount
 limitations, days’ supply, Preferred Drug List inclusion or exclusion, “too soon refill”, step
 therapy, and financial and cost limitations which are specified by PDP in the Benefit
 Specification Form.

 2.10 Retrospective Drug Utilization Review: PBM shall review Claims to determine the drug
 utilization patterns of Members (e.g., over- and under-utilization) and physician dispensing
 patterns.

 2.11 Medication Therapy Management (MTM): If requested by PDP, PBM shall identify and
 monitor Members with certain disease states, and provide prescriber notification letters and/or
 Member letters, in a mutually agreeable format, for three disease states chosen by PDP from list
 of available common chronic disease states provided by PBM. MTM services will be provided in
 accordance with CMS guidelines as described at 42 CFR § 423.153.

 2.12 Reports: PBM shall provide PDP with access to web-based report generator through
 which PDP may create and download a variety of standard and customized reports. PBM shall
 provide training for a PDP designated individual on the capabilities of PBM’s web-based
 reporting program. PDP represents that the designated individual has received training and has
 knowledge of the HIPAA privacy and security regulations. Any reports that are to be provided
 by PBM to PDP without cost (other than those available from PBM’s web-based reporting
 program) shall be mutually determined prior to the configuration of PDP’s Benefit Plan in
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 PBM’s computer system and shall be specified in the Benefit Specification Form. PDP shall be
 charged a fee for any other reports requested by PDP.

 2.13 Business Associate Agreement: PBM shall execute a PDP supplied HIPAA Business
 Associate Agreement (BAA), attached as Exhibit 3.

 2.14 Customer Service: PBM shall maintain and operate a Help Desk with toll-free customer
 service numbers adequately staffed with trained personnel for calls 24 hours a day, 7 days a
 week for pharmacy benefit inquiries from PDP, Participating Pharmacies, and Prescribers. PBM
 acknowledges that PBM’s Help Desk shall be the only customer service function for Members
 and that PDP will rely on such customer service function and will not maintain its own customer
 service function for Members.

 2.15   Additional Federal Regulatory Requirements

         2.15.1     PBM Performance: PBM acknowledges that PDP will monitor the
 performance of PBM on an ongoing basis pursuant to CMS guidelines. PBM agrees that if CMS
 or PDP determines that any activity or responsibility of PDP which is to be performed by PBM
 hereunder has not been performed satisfactorily, then CMS or PDP may revoke PBM’s
 obligation to perform such activity or responsibility.

          2.15.2    Regulatory Compliance: PBM agrees to abide by all applicable federal and
 state laws and regulations, and CMS instructions and that the services performed under this
 Agreement, and any amendments thereto, will be consistent with and in compliance with PDP’s
 contractual obligations as a Part D Sponsor. PBM shall not be deemed to be in breach of this
 provision unless PDP has notified PBM of any service performed that is not consistent with or in
 compliance with Plan Sponsor’s contractual obligations to CMS, and PBM has not cured such
 inconsistency or non-compliance within thirty (30) days of notice. PBM shall further require that
 all parties with whom PBM contracts, including Participating Pharmacies, maintain and comply
 with all applicable federal, state and local licenses, and statutory and regulatory requirements. In
 the event a Participating Pharmacy fails to do so, PBM shall take any actions to bring such
 pharmacy into compliance and/or terminate its agreement with the Participating Pharmacy as to
 PDP.

         2.15.3    Privacy: PBM agrees to abide by state and federal privacy and security
 requirements, including the confidentiality and security provisions stated in the regulations for
 the Part D program at 42 CFR 423.136.

        2.15.4    Record Retention and Reporting Requirements: PBM agrees to maintain
 records and provide access to its own books and records as well as those of its first tier,
 downstream, and related entities that relate to PDP’s Part D operations in accordance with 42
 CFR § 423.505 (b)(10).

         2.15.5     Records and CMS Audit: PBM agrees to maintain such business records as
 may be required by applicable law or regulation, or as may be necessary to properly document
 the delivery of, and payment for, Covered Medications and the provision of services by PBM
 under this Agreement. PBM agrees to make its books and other records available in accordance

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 with 42 CFR 423.505(e)(2) and 42 CFR §423.505(i)(2), which generally states these regulations
 give CMS, the HHS Comptroller General, or their designees the right to audit, evaluate and
 inspect any books, contracts, records, including medical records and documentation related to
 CMS’ contract with PDP, and that these rights continue for a period of 10 years from the final
 date of the contract between CMS and PDP or the date of audit completion, whichever is later.
 The ten year period for retention and access to records may be extended if: (i) CMS determines
 that there is a special need to retain a particular record or group of records for a longer period
 and CMS provides notice at least thirty (30) days before the normal disposition date; (ii) CMS
 determines that there has been a termination, dispute, fraud or similar fault, in which case the
 retention may be extended to six (6) years from the date of any resulting final resolution of the
 matter; or (iii) CMS determines that there is a reasonable possibility of fraud, in which case it
 may perform the inspection, evaluation or audit at any time. PBM agrees that CMS or its
 designees shall have direct access to PBM (i.e. on-site access) and that any books, contracts,
 records, including medical records and documentation relating to the Part D program will be
 provided to either PDP to provide to CMS or will be provided directly to CMS or its designees in
 accordance with 42 CFR 423.505(i)(3).

         2.15.6      Beneficiary Hold Harmless: PBM agrees it will ensure that beneficiaries are
 not held liable for fees that are the responsibility of PDP.

        2.15.7      Pharmacy Network: PDP retains the right to approve, suspend, or terminate
 any Participating Pharmacy providing Covered Medications to Members.

         2.15.8    Additional Reporting Requirements: PBM will comply with the reporting
 requirements established in Section 6005 of the Affordable Care Act and 42 CFR 423.514(d)
 and (e).

 2.16 HPMS: Upon provision by PDP of all authorizations necessary to access HPMS on
 behalf of PDP, PBM shall upload and/or download the reports and data in accordance with
 applicable CMS guidelines and 42 CFR § 423.514(d) on behalf of PDP.

 2.17 Policies and Procedures: Upon request, PBM shall provide PDP with copies of all
 policies and procedures reasonably necessary for PDP to comply with CMS regulations for
 Delegated Services. Such request shall specify the policy and procedure needed and the
 applicable CMS regulation associated with such policy and procedure.

 2.18 Written Communications: PBM to provide all written communication to Members and/or
 PDP providers, including the Annual Notice of Change, for the Delegated Services. All written
 communication will be sent via U.S. Mail.

 2.19 E-Prescribing: PDP acknowledges its obligation to support the most recently adopted E­
 Prescribing standards under section 1860D-4(e)(3) of the Medicare Prescription Drug,
 Improvement, and Modernization Act of 2003. PBM agrees to develop and maintain the
 processes necessary to accommodate E-Prescribing, including updating pharmacy network
 contracts to include E-Prescribing requirements and contracting with one or more vendors to
 provide for the electronic exchange of prescription information. If PDP opts to utilize E­
 Prescribing through PBM, PBM shall pass through to PDP, and PDP agrees to pay in a timely
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 fashion, the costs for all Patient Transactions performed in connection with PDP’s members. For
 purposes of this paragraph, “Patient Transaction” shall mean one eligibility status transaction
 initiated by a prescriber, health care provider, or facility, and communicated to PBM through
 PBM’s contracted E-Prescribing vendor’s system, relating to a patient and any medication
 history transaction or formulary coverage status transaction associated with the same patient and
 occurring in conjunction with the eligibility status transaction. PBM shall notify PDP in advance
 of any change in transaction costs. PDP agrees that PBM shall not be liable to PDP for any
 inaccurate or untimely information provided to PBM by PDP or for any inaccuracies or failures
 by the E-Prescribing vendor. PDP further agrees that PBM shall not be held liable for any
 consequences arising out of PDP’s failure to reimburse PBM for any billed costs in connection
 with Patient Transactions performed on behalf of PDP’s members. The costs associated with E-
 Prescribing are included in the Administrative Fee.

 2.20 Disaster Recovery Plan: PBM shall maintain a Disaster Recovery Plan consistent with
 CMS requirements and provide a copy of such Disaster Recovery Plan to PDP.

 2.21 Monthly Statistical Reporting: In addition to other reports provided under this
 Agreement, PBM shall supply PDP with the following: Number of member requests for
 coverage determinations/Type of request (PA, QL, SP, Vacation Supplies, Tier reduction, NF
 drug coverage, etc./Turnaround time/outcome.

 2.22 Additional Delegated Medicare Part D Services: PBM shall provide certain additional
 delegated Medicare Part D services as specified in Exhibit 2 to this Agreement.

            3.      ADDITIONAL MANAGEMENT SERVICES AND FACILITIES

 PBM will perform or make available the following Management Services and Facilities on
 behalf of PDP. The Parties acknowledge and agree that the Management Services and Facilities
 set forth in this Section 3 are not Delegated Services but compensation for such Management
 Services and Facilities are included in the Management Fee:

 3.1    Accounting, and Financial Reporting: Accounting and financial reporting, including,
 without limitation, billing and collections, reconciling funds, and filing statutory financial
 statements, including:

        3.1.1       preparing: (i) an annual financial statement audit and filing annual audited
 PDP financial statements, as applicable and required by state regulations; or (ii) Financial
 Reporting, including monthly US GAAP financial statements, including a detailed trial balance,
 statement of cash flows, and 13 months rolling balance sheet and income statement;

        3.1.2      performing general ledger account reconciliations on a monthly basis;

        3.1.3      providing monthly variance analysis to prior periods and budget/forecast;

          3.1.4      quarterly support of enterprise quarterly and annual audits of EIC’s parent
 affiliate (reasonably cooperating with such parent’s third party accountants in such audits);


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        3.1.5     performing monthly bank account reconciliation, within 5 business days
 following month-end;

         3.1.6       applying monthly premium receipts to Member accounts; performing
 collectability review, and determining reserves as applicable;

         3.1.7     prepare and file quarterly statutory financial reporting for 2024 plan year and
 file the annual 2024 statutory financial statements in March 2025 in the applicable states in
 which PDP is registered;

        provided that with respect to all of Section 3.1 (not limited to Section 3.1.7):

        (a)     PDP will be responsible for engaging any third party auditor;

       (b)   the final signoff of any audit or financial statements submitted to any third party,
 any management representations letters, and any legal matters therein will be the responsibility
 of PDP; and

         (c)    PDP will retain full ownership and access to the bank accounts listed on Exhibit 4
 (“Bank Accounts”). While PDP will be the account owner of the Bank Accounts, PDP shall
 ensure that PBM will have online view access to the Bank Accounts throughout the term of this
 Agreement and the post-termination services set forth in Section 6.4 (Post-Termination Services)
 and in connection with Section 6.5 (Post-Termination Funds). PDP represents and warrants that
 Exhibit 4 contains a complete and accurate list of all bank accounts of PDP and that after the
 Effective Date, PDP and its affiliates will not hold any other bank accounts applicable to PBM’s
 services hereunder.

        (d)     On the Effective Date, PDP and/or its affiliate will provide PBM with the written
 process and forms for initiating from the applicable Bank Account(s) payments that are required
 to be made by PDP to Plan Sponsors (directly or through an intermediary) pursuant to the terms
 of Benefits Plans and any other mutually agreed upon payments (“Disbursements”). Utilizing
 such process and forms, PBM will initiate Disbursements from the Bank Accounts in the
 performance of its services under this Agreement, and PBM requests for Disbursements will be
 processed and completed by the treasury function of PDP’s affiliates the same day as receipt of
 PBM’s written instructions (if received by such treasury function prior to 11:00 AM eastern time
 on a business day, otherwise on the next business day). On the Effective Date, PDP shall provide
 PBM in writing with the contact information (including name, title, email, and phone number) of
 the contact person for the treasury function of PDP’s affiliates to whom such requests will be
 sent hereunder. PDP shall provide PBM with prompt written notice of any change in the contact
 person and/or any of the contact information; provided that PBM shall not be liable for reliance
 on prior contact information until receipt by PBM of such new contact information.

         (e)    For avoidance of doubt, any third-party costs related to the preparation of such
 financial statements will be passed through to, and added to the other fees charged to, PDP
 hereunder.

        (f)     PDP represents and warrants that PDP will ensure that PBM has and will have
 timely access to all information required for PBM to fulfill its obligations in connection with this
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 Section 3.1, including without limitation for any audit and/or preparation of financial statements.
 Without limiting the foregoing, PDP shall be responsible for timely providing, and shall timely
 provide or cause to be provided on a timely basis, to PBM all such information as is not in the
 possession of PBM or not in the form or format readily accessible and usable by PBM and that is
 necessary in connection with PBM’s accounting and other obligations under this Section 3.1,
 including without limitation the prior quarter/year filing and ensuring that such information is
 provided to PBM sufficiently in advance of the delivery date for any required accounting
 deliverables hereunder and including such information as PBM may reasonably request with
 respect to the Bank Accounts and transactions with respect to the Bank Accounts (which may
 include information that is not available within the systems for the Bank Accounts that PBM is
 provided access to under clause (c) in this Section 3.1 (e.g., additional information regarding
 such transactions). Further, without limiting the foregoing, in the event that PDP initiates any
 transaction with respect to the Bank Accounts other than as requested or instructed by PBM,
 PDP shall provide PBM with prior written notice of such transaction, including all information
 with respect to such transaction that is required for PBM to perform its obligations in connection
 with this Section 3.1, prior to such transaction or, if prior notice is not commercially reasonably
 practicable using reasonable best efforts, as soon as practical thereafter and without unreasonable
 delay. PDP acknowledges and agrees that PBM’s ability to perform its obligations under this
 Section 3.1, including without limitation performing its accounting responsibilities and
 delivering accounting deliverables, and the quality, completeness, truthfulness, and accuracy of
 such accounting and financial services and the deliverables with respect to the same, require full
 and timely disclosure by PDP and access by PBM to all information required by this Section 3.1
 and may be limited by the information that PDP provides (or fails to provide) or provides (or
 fails to provide) access to (including without limitation the information contemplated by the first
 sentence of this paragraph) and the timeliness of providing such information. PDP, therefore,
 agrees that PBM shall not be liable, and PDP shall hold PBM harmless, hereunder (a) with
 respect to PDP’s ownership, control and management of the Bank Accounts, including any
 transactions with respect to the Bank Accounts, (b) to the extent PDP fails to provide any such
 information in accordance with the terms and conditions of this Section 3.1, (c) for any
 inaccurate, incomplete, or untruthful information provided to PBM by or on behalf of PDP
 pursuant to the terms and conditions of this Agreement, or (d) for any such information not being
 timely provided to PBM (it being understood for the purpose of this paragraph that “timely” shall
 mean that PBM could be reasonably expected to receive, process and incorporate such
 information into its responsibilities and/or deliverables this Section 3.1 without the need to
 materially alter PBM’s business practices as in existence as of the Effective Date (as as may be
 mutually altered by the Parties or as may be otherwise mutually agreed by the Parties) or without
 the need to incur non-routine costs not otherwise expressly required for herein).

 3.2    Management Services: Grievances, enrollment, eligibility, billing, and government
 programs. PBM also will provide assistance to PDP’s compliance personnel for assistance with
 PDP’s compliance activities.

 3.3    General Administrative, Facilities, and Office Services: Other administrative services as
 needed, including, without limitation, management, personnel, insurance, professional services,
 use of offices and furnishings, office supplies, computers, servers, software, web-site, copiers
 and other office equipment, telephone systems, and technical support.

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 3.4     Management Fee: For Management Services and Facilities described in this Section 3,
 PDP shall pay PBM a “Management Fee” in the amount of 3.01% of gross written premium
 collected. The Management Fee is payable on a monthly basis within 15 days from the date of
 the invoice, unless otherwise mutually agreed. The Parties agree that the costs associated with
 marketing support, branding, and collateral materials are included in the Management Fee.

 3.5     Annual Reconciliation: The Parties will enter into an annual true-up after the end of the
 year with respect to the Management Fee paid under this Agreement. On an annual basis, PBM
 will reimburse PDP for amounts received in excess of the actual costs of the services provided
 and PDP will make payment to PBM for the difference if the actual costs of the Management
 Services provided are in excess of the payments received by PBM. Costs will be allocated
 pursuant to the requirements per SSAP 70.

 3.6    Right of Offset: Either Party may discharge all or a portion of any debts owed to the other
 Party by offsetting against amounts due from the other Party under this Agreement.

 3.7    Eligibility and Enrollment Processing: PBM shall provide or arrange to provide
 enrollment and eligibility processing on behalf of PDP.

 3.8    Management and Oversight: PBM shall provide management and oversight of all CMS
 defined programs, including PDP assigned pharmacy director, denied claim review, opioid case
 management, and oversight of other PBM provided clinical programs.

 3.9     Provision of Information: PBM shall have responsibility for information concerning the
 Plan, Plan benefits, and the specific services to be rendered by PBM under this Agreement.

 3.10 Distribution of Materials: PBM shall distribute Member materials related to PDP’s
 prescription drug program to Members.

                              4.      DUTIES OF HEALTH PLAN

 PBM shall have the following duties with respect to this Agreement:

 4.1    Payment: PDP shall timely pay, or cause its designee to timely pay, PBM for services
 rendered hereunder in accordance with this Agreement.

 4.2     Regulatory Compliance: PDP shall operate its plan in full compliance with Medicare
 regulations and all applicable local, state and federal laws and regulations, including HIPAA and
 other applicable privacy and security laws. PDP shall retain the responsibility for compliance
 with Medicare regulations. For avoidance of doubt, this Section 4.2 is not intended to and shall
 not relieve PBM of its express obligations hereunder.

 4.3    Cooperation: PDP shall cooperate with PBM, and be supportive, to ensure all services
 described hereunder are provided in a timely, responsible, and professional manner.

 4.4    CMS Contract and State Insurance Licensure: PDP shall have and maintain its PDP
 contract with CMS and all required state insurance licensure.

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 4.5     CMS Reporting and System Access: PDP shall have and maintain access to CMS
 systems and connectivity and provide PBM and PBM subcontractors with access to CMS
 systems (e.g., HPMS, TBT, LIS, Acumen, MPF, Patient Safety Analysis website, IACS, CMS
 help desk, etc.). PDP shall provide to PBM, or cause that PBM directly receives, all CMS related
 reporting, including eligibility and financial (e.g., PRS, PPR, MMR, etc.) that the PDP has in its
 control or receives from CMS. This Section 4.5 shall survive the expiration or termination of
 this Agreement for any reason and continue in effect for as long as PBM is providing post-
 termination services under Section 6.4 of this Agreement.

 4.6    CMS Attestations: PDP shall timely submit all required CMS attestations in connection
 with PDP program. This Section 4.6 shall survive the expiration or termination of this
 Agreement for any reason and continue in effect for as long as PBM is providing post-
 termination services under Section 6.4 of this Agreement.

                                 5.      TERMS OF PAYMENT

 5.1      Pricing and Fees: PBM and PDP agree that pricing for Delegated Services shall be as set
 forth in Exhibit 1 hereto, as may be amended in writing from time to time. PDP acknowledges
 that (i) Exhibit 1 has been reviewed and approved by PDP; (ii) the fees and prices specified in
 Exhibit 1 are conditioned upon PDP’s use of Participating Pharmacies; (iii) the fees and prices
 specified in Exhibit 1 are subject to modification after the Initial Term of this Agreement and/or
 upon a material change in the negotiated discounts with Participating Pharmacies. PDP shall not
 advance any funds to PBM except to pay for services outlined or contemplated in the Agreement.

 5.2     Medicaid Reimbursement: If the negotiated prices reflected in this Agreement have any
 effect on the level of reimbursement Participating Pharmacies receive from any state Medicaid
 (Title XIX) Program under such state’s law governing pharmaceutical discounts, the pricing set
 forth in Exhibit 1 of this Agreement will be adjusted so that this Agreement does not adversely
 affect the level of reimbursement Participating Pharmacies receive from the Medicaid Program
 in such state.

 5.3    Payments for Claims:

         5.3.1        Payments for Claims. For each Covered Medication dispensed, PDP agrees to
 reimburse PBM in accordance with this Section 5.3 and Exhibit 1, less applicable Co-Payments
 payable by Members under the Benefit Plan, less applicable Manufacturer Derived Revenue
 received from pharmaceutical manufacturers, as described in Section 1.13. PBM shall provide
 PDP with a statement of payable Claims, net of Manufacturer Derived Revenue, on a monthly
 basis. Upon receipt of each statement, PDP shall wire the full amount, net of Manufacturer
 Derived Revenue, included in the statement within five (5) business days following receipt of
 such invoice, or as otherwise mutually agreed, to the bank account(s) designated by PBM.
 Alternatively, PDP may authorize PBM to make electronic fund transfers from PDP’s designated
 account after executing PBM’s Electronic Fund Transfer Agreement. If this payment method is
 selected by PDP, the full statement amount will be withdrawn two (2) business days prior to each
 statement due date. In the event PDP has questions regarding any amounts included on the
 statement, it still shall be obligated to pay the full amount of the claims due on the statement

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 within the time period set forth herein, and then the Parties shall work together in good faith to
 resolve any such questions.

        5.3.2      Failure of PDP to Pay Timely. In the event PDP fails to pay any amount due
 under this Agreement as set forth herein, in addition to all other rights and remedies under this
 Agreement and at law and in equity, PBM shall have the following rights and remedies:

                5.3.2.1 Interest and Other Charges. Should PDP fail to pay any amount due under
        this Agreement within the time frame set forth herein, PDP shall be subject to interest
        charged on all amounts due at an amount equal to one and one-half percent (1.5%) per
        month, to accrue on a daily basis on any unpaid balances and interest payable to
        participating pharmacies as established by CMS 42 CFR § 423.520(e). In addition, PDP
        shall be responsible for all costs of collection and agrees to reimburse PBM for such costs
        and expenses, including reasonable attorneys’ fees.

                5.3.2.2 Suspension of Services. If five business days have elapsed from the date
        on which any amount under this Agreement was due to PBM, and payment in full
        (including any accrued interest) has not been received at the PBM designated bank
        account by such date, then PBM may suspend its services and system operations for PDP
        upon written notice to PDP so long as all past due amounts (including interest) have not
        been cured in full within two business days after receiving such a notice.

                5.3.2.3 Security Deposits. Should PDP fail to pay any amount due under this
        Agreement within the time frame set forth herein for two (2) consecutive payment
        periods, PBM shall have the option to require PDP to provide PBM a deposit in an
        amount equal to twice the average statement amount over the previous six (6) months, or,
        if there is less than six (6) months billing history, then such deposit shall be twice the
        average statement amount over the actual billing history.

                5.3.2.4 Offsets. In the event of any uncured payment default, PDP authorizes
        PBM to offset the amount of such payment defaults, interest, and collection costs against
        any PDP related amounts otherwise payable to PDP (including, without limitation, any
        rebate amounts or PDP’s deposit, if any).

 5.4    Payment of Administrative Fee: PDP agrees to pay PBM’s Administrative Fee by the last
 day of each month for the next month’s services, unless otherwise mutually agreed. The
 Administrative Fee is calculated by multiplying the number of Members who are active at any
 time during the then ending month (as reflected in the PBM claims processing system), by the
 Administrative Fee amount set forth in Exhibit 1.

 5.5    Pass-Through of Discounts: PBM shall use its best efforts to negotiate (on behalf of
 PBM’s collective clientele) discounts with Participating Pharmacies. PBM shall pass through to
 PDP one hundred percent (100%) of all negotiated Participating Pharmacy discounts. PBM will
 charge PDP for Covered Medications dispensed to Members at PBM’s cost.




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 5.6    Pass-Through of Manufacturer Derived Revenue

        5.6.1       Manufacturer Derived Revenue: PBM shall pass through to PDP one hundred
 percent (100%) of all negotiated Manufacturer Derived Revenue payable from pharmaceutical
 manufacturers, for the amount collected by PBM from the participating manufacturer by
 providing an offset to monthly Claims payable by PDP.

         5.6.2      Revenue Yields: PDP acknowledges that its yield of Manufacturer Derived
 Revenue is dependent on certain factors including, without limitation, the following: (i) PDP’s
 adherence to PBM’s Preferred Drug List; (ii) the structure of PDP’s Benefit Plan; and (iii) the
 drug utilization patterns of PDP’s Members. Notwithstanding anything herein to the contrary,
 PBM shall not be liable to PDP for Manufacturer Derived Revenue yields that are lower than
 expected if (i) PDP does not adhere to the PBM Preferred Drug List; (ii) PDP makes a material
 change to the Benefit Plan; (iii) PDP’s Benefit Plan does not meet the conditions for rebates of
 pharmaceutical manufacturer contracts; (iv) there is a significant change in the drug utilization
 patterns of the Members; (v) loss of rebates due to manufacturer drug patent expirations; (vi)
 changes in pharmaceutical manufacturer rebate contracting terms or policies; or (vii) any
 governmental regulation, ruling, or guidance that impacts PBM’s ability to maintain current
 Manufacturer Derived Revenue yields. PDP further agrees that it shall not, at any time, submit
 Claims which have been transmitted to PBM to another PBM or carrier for the collection of
 Manufacturer Derived Revenue or create a situation which would cause a manufacturer to
 decline payments to PBM. PDP agrees that PBM shall have the right, without further notice, to
 deduct from PDP any Manufacturer Derived Revenues advanced to PDP which are uncollectable
 by PBM from the pharmaceutical manufacturer due to non-compliance by PDP with the
 manufacturer’s requirements for payment of Manufacturer Derived Revenue.

 5.7    Miscellaneous Expenses: PDP agrees to reimburse PBM for postage and other
 reimbursable expenses explicitly set forth in this Agreement within ten (10) days of receipt of an
 invoice.

 5.8    Retroactive Disenrollment: PDP agrees that retroactive termination or retroactive
 disenrollment of a group or individual Member shall not relieve PDP of its obligation to pay
 Administrative Fees or Claim amounts due to PBM or a Participating Pharmacy.

 5.9     Taxes: Any sales or use taxes for Covered Medications sold to Members in accordance
 with the terms of this Agreement shall be charged, collected, and paid to state and local taxing
 authorities by the dispensing pharmacy. PDP will reimburse PBM or the dispensing pharmacy
 for such taxes paid as part of the reimbursement for Claims.

 5.10   Reimbursement to Pharmacies

         5.10.1      PBM uses a standard for reimbursement of pharmacies based on the cost of a
 drug as published by Medi-Span. PBM shall update such standard not less frequently than once
 every 7 days, with an initial update on January 1st of each year, to accurately reflect the market
 price of acquiring the drug.



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         5.10.2    PBM will issue, mail, or otherwise transmit payment with respect to all clean
 claims submitted by pharmacies (other than pharmacies that dispense drugs by mail order only or
 are located in, or contract with, a long-term care facility) within 14 days of receipt of an
 electronically submitted claim or within 30 days of receipt of a claim submitted otherwise;
 provided PDP has timely supplied adequate funds in accordance with Section 5.10.4 below.

        5.10.3      PBM will ensure that a pharmacy located in, or having a contract with, a long-
 term care facility will have not less than 30 days (but not more than 90 days) to submit claims to
 the Sponsor for reimbursement.

       5.10.4       PDP acknowledges that PBM may withhold payments to pharmacies for
 PDP’s Claims unless and until adequate funds are received from PDP. PDP shall hold harmless
 PBM from any liability which arises from the non-payment of pharmacies for PDP’s Claims due
 to PDP’s failure to provide adequate funds to PBM.

 5.11 Audit by PDP: Notwithstanding the rates set forth on Exhibit 1, PBM represents and
 warrants that the amounts payable by PDP for Covered Medications shall be no greater than
 PBM’s acquisition cost, net of all Manufacturer Derived Revenue. Acquisition cost is PBM’s
 amount payable to the Participating Pharmacy for Covered Medications dispensed to Members
 on the date the prescription was dispensed for the actual package size dispensed. PDP, at its sole
 expense, may audit PBM’s records of Claims paid by PDP annually. PBM shall make available
 to PDP’s auditor, any and all records containing PDP’s information and such other records and
 agreements as reasonably necessary for auditor to confirm that the amounts paid by PDP are the
 cost incurred by PBM on the day the Covered Medication was dispensed. PBM and PDP shall
 mutually agree to PDP’s auditor. PDP shall not use as it auditors, any person or entity which is a
 competitor of PBM, a pharmaceutical manufacturer representative, nor any other person or entity
 which could gain competitive knowledge of PBM and/or use such knowledge to disadvantage
 PBM or PBM’s contracted Participating Pharmacies or pharmaceutical manufacturers. Audits
 shall only be made during normal business hours following thirty (30) days written notice, be
 conducted without undue interference to PBM’s business activity, and in accordance with
 reasonable audit practices. PDP understands that PBM’s contracts with Pharmaceutical
 Manufacturers, Participating Pharmacies, and other third parties may contain non-disclosure
 provisions, and hereby agrees to comply with such non-disclosure provisions.

 5.12 Audit by Regulatory Authorities: PBM agrees to permit the examination of PBM’s fiscal
 and administrative records related to PDP, at the offices where such records are maintained, by
 appropriate state and federal regulators, including any arrangements for administrative,
 management, or financial services, as often as deemed necessary by such regulators.

                              6.      TERM AND TERMINATION

 6.1     Term: The Agreement shall commence on the Effective Date and remain in full force and
 effect through December 31, 2024, unless earlier terminated as provided in Section 6.2.

 6.2    Termination: This Agreement may be terminated upon providing written notice as
 follows:


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         6.2.1       For Cause: By PBM in the event PDP breaches any of its material obligations
 hereunder; provided, however that PDP shall have thirty (30) days to correct such breach after
 written notice is given by PBM specifying the applicable breach.

         6.2.2       Insolvency: By PBM in the event PDP (i) is adjudicated insolvent or makes an
 assignment for the benefit of creditors; (ii) files or has filed against it, or has an entry of an order
 for relief against it, in any voluntary or involuntary proceeding under any bankruptcy,
 insolvency, reorganization or receivership law, or seeks relief as therein allowed, which filing or
 order shall not have been vacated within sixty (60) calendar days from the entry thereof; (iii) has
 a receiver appointed for all or a substantial portion of its property and such appointment shall not
 be discharged or vacated within sixty (60) calendar days of the date thereof; (iv) custody,
 attachment or sequestration by a court of competent jurisdiction is assumed of all or a significant
 portion of its property; or (v) ceases to do business or otherwise terminates its business
 operations, is declared insolvent or seeks protection under any bankruptcy, receivership trust
 deed, creditors arrangement or similar proceedings.

        6.2.3       Immediate Termination: Either Party may terminate this Agreement
 immediately upon written notice to the other Party upon the occurrence of any of the following
 events: (i) exclusion of the other Party from the Medicare or Medicaid programs; or (ii)
 termination of the agreement between PDP and CMS.

        6.2.4      Notices: All notices required in this Section 6.2 shall be reasonably specific
 concerning the cause for termination and shall specify the effective date and time of termination.

 6.3     Effect of Termination: Upon termination of this Agreement, all further obligations of the
 Parties under this Agreement shall terminate, but termination of this Agreement for any reason
 shall not release any Party from obligations incurred under this Agreement prior to the date of
 termination. Notwithstanding the foregoing, the Parties shall in all events remain bound by and
 continue to be subject to the following provisions: Section 2.15.5 (Records and CMS Audit);
 Section 3.1.7 (2024 statutory financial statements); Clauses (a)-(f) of Section 3.1; Section 3.5
 (Annual Reconciliation); Section 3.6 (Right of Offset); Section 4.1 (Payment); Section 4.3
 (Cooperation); Section 4.5 (CMS Reporting and System Access); Section 4.6 (CMS
 Attestations); Section 5.3 (Payments for Claims); Section 5.4 (Payment of Administrative Fee)
 (it being understood that Administrative Fees shall accrue only during the Term and any run-off
 period in connection with AmWINS per claim Administrative Fees); Section 6.4 (Post-
 Termination Services/Access); Section 6.5 (Post-Termination Funds); Section 7 (Confidential
 Information); Section 8 (Indemnification); Section 10 (General), and any other provision which
 by its nature survives termination of this Agreement.

 6.4    Post-Termination Services/Access: PBM will provide the following services post-
 termination of this Agreement in connection with services provided for plan year 2024 in
 accordance with applicable law, the consideration for which is included in the fees to be paid
 hereunder prior to termination of the 2024 plan year:

        6.4.1      PDE Submission: PDE submissions for plan year 2024 will continue monthly
 through June 30, 2025.

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          6.4.2        Reports that PDP must submit to CMS: All CMS reporting for plan year 2024
 will be generated and provided, as applicable, so long as required of PDP under applicable law
 or, if earlier, such time as PDP notifies PBM that such services are no longer required.

        6.4.3       Regulatory Audit Support Services: Regulatory audit support services will be
 provided for all types of regulatory audits including the annual CMS-required Data Validation
 Audits, Medicare Full Program Audits, 1/3 Financial Audits and Recovery Audit Contractor
 (RAC) audits for plan year 2024.

         6.4.4       Additional Services Post-Termination Services: Any other services related to
 Part D, including any support services, shall be provided only upon mutual agreement of the
 Parties at agreed to rates.

 6.5    Post-Termination Funds.

        6.5.1     CMS Amounts: Any amounts payable post-termination by PDP to CMS for
 plan year 2024 shall be the responsibility of PDP, which shall pay such amounts directly to
 CMS. Any amounts payable to and/or received by PBM, post-termination, on behalf of PDP by
 or from CMS for plan year 2024 shall be for the benefit of PDP, and PBM shall promptly pay
 any such amounts it receives to PDP; provided, however, PBM may offset amounts owed to
 PBM by PDP under this Agreement before paying any such amounts to PDP.

         6.5.2     Manufacturer Derived Revenue. Notwithstanding anything to the contrary
 herein, PBM shall retain one hundred percent (100%) of all Manufacturer Derived Revenue
 received following termination of the Agreement after offset of any outstanding Claim amounts
 due.

         6.5.3      Other Amounts: In the event any other amounts are received by PDP in
 respect of plan year 2024 following termination of the Agreement (e.g., premium collections,
 etc.), PDP shall retain one hundred percent (100%) of all such amount, except as required to be
 paid to PBM hereunder. Similarly, any such amounts received by PBM in respect of plan year
 2024 following termination of the Agreement shall be for the benefit of PDP, and PBM shall
 promptly pay any such amounts it receives to PDP; provided, however, PBM may offset amounts
 owed to PBM by PDP under this Agreement before paying any such amounts to PDP.

                            7.     CONFIDENTIAL INFORMATION

 7.1     Confidentiality: Except as otherwise stated herein or required by law, neither Party shall
 disclose any information of, or concerning, the other Party that has either been provided by such
 other Party to such first Party or obtained by such other Party in connection with this Agreement
 (including this Agreement and the terms of this Agreement) or related to the services rendered
 under this Agreement, all of which information is deemed confidential information; provided
 that confidential information shall not include any information that is or becomes generally
 available to the public other than as a result of disclosure, directly or indirectly, by such first
 Party in violation of this Section 7.1. All data, information, and knowledge supplied by a Party
 shall be used by the other Party exclusively for the purposes of performing this Agreement
 provided that each Party may disclose and/or use confidential information to (i) its directors,

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 officers, employees, investment bankers, financial advisors, accountants, agents, attorneys,
 consultants, or other representatives, so long such persons are directed to treat such confidential
 information in accordance with this Section 7.1; (ii) perform its obligations hereunder or provide
 services under the TSA, (iii) comply with applicable law or contract (solely for the purpose of
 complying with such contract), (iv) enforce such Party’s rights hereunder, or (v) participate in
 commercial arrangements between PDP and its affiliates, on the one hand, and PBM and its
 affiliates, on the other hand. Upon termination of this Agreement, each Party shall, upon written
 request of the other Party, return to such other Party, all confidential information provided
 including, without limitation, all copies and electronic magnetic versions thereof, except Party
 may retain such documents, records, and copies as are be required in order to satisfy any
 retention policies, internal compliance procedures or regulations or law to which such Party is
 subject, or where it is not reasonably possible to destroy copies that have been created by
 ordinary course electronic backup procedures; provided that (x) the obligations in this
 Section 7.1 shall continue to apply to such documents, records and copies and (y) in each case,
 such documents, records and copies are only available and accessible to employees of such Party
 with a need to know solely for the foregoing purposes.

 7.2     Protected Health Information (PHI): As a component of the services provided to PDP,
 PDP may have access to PHI contained in reports accessed via the Internet. To obtain access,
 PDP must delegate one or more individuals who will be authorized by PDP to access PHI. Each
 such individual must be HIPAA Compliant. For purposes of this Agreement, “HIPAA
 Compliant” means that PDP has certified the individual has received training and has knowledge
 of the HIPAA Privacy and Security Regulations. PDP agrees, for itself and its employees, that
 PHI shall not be used for any impermissible purpose, including, without limitation, the use of
 PHI for disciplinary or discriminatory purposes, and the user names and passwords assigned to
 the designated individuals shall not be shared with non-designated individuals.

 7.3     Ownership of Records: To the extent permitted by applicable laws, all records of
 prescription drug products dispensed to Members shall be the property of PDP. However, during
 the term of this Agreement and for a reasonable period after termination of this Agreement, PDP
 grants PBM the right to use and disclose to third parties the drug and related medical data of
 Members (i) in furtherance of the performance of PBM’s responsibilities under this Agreement,
 and (ii) as utilized in, or incorporated into, PBM’s research, cost analyses, and cost comparison
 studies. All such research, cost analyses, and cost comparisons, and other similar studies or
 reports conducted or prepared by PBM (“PBM’s Reports”) shall be the sole and exclusive
 property of PBM. Such information must be aggregated with that of other clients and de-
 identified so as to protect the confidentiality of both PDP and Member.

                                   8.     INDEMNIFICATION

 8.1     Limited Indemnification by PBM: PBM hereby agrees to indemnify, hold harmless, and
 defend PDP and its employees, officers, directors, trustees, shareholders, and agents from and
 against any and all liabilities, actions, claims, damages, costs, losses and expenses (including
 without limitation, reasonable costs of investigation and attorneys’ fees) caused by or arising out
 of (i) any act or omission by PBM in the performance of the services provided under this
 Agreement; or (ii) any breach of any representation, covenant, or other agreement of PBM
 contained in this Agreement.
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 8.2     Limited Indemnification by PDP: PDP hereby agrees to indemnify, hold harmless, and
 defend PBM and its employees, officers, directors, shareholders, affiliates and agents from and
 against any and all liabilities, actions, claims, damages, costs, losses and expenses (including
 without limitation, reasonable costs of investigation and attorneys’ fees) caused by or arising out
 of (i) any act or omission by PDP in the performance of its obligations under this Agreement;
 (ii) any breach of any representation, covenant, or other agreement of PDP contained in this
 Agreement; (iii) the provision by PDP or its designee of erroneous information hereunder and/or
 in connection herewith; or (iv) PDP’s failure to comply with state or federal law in the operation
 of its Benefit Plan.

 8.3     Limitation of Liability: Except for the indemnification obligations set forth above, each
 Party’s liability to the other hereunder will in no event exceed the actual proximate losses or
 damages caused by breach of this Agreement. In no event will either Party or any of their
 respective affiliates, directors, employees or agents, be liable for any indirect, special, incidental,
 consequential, exemplary or punitive damages, or any damages for lost profits relating to a
 relationship with a third party, however caused or arising, whether or not they have been
 informed of the possibility of their occurrence.

                 9.      RELATIONSHIP WITH CONTRACTED PHARMACIES

 PDP acknowledges that PBM is neither an operator of pharmacies nor exercises control over the
 professional judgment used by any pharmacist when dispensing drugs to Members. Nothing in
 this Agreement shall be construed to require a Participating Pharmacy to dispense any drug or
 supplies to anyone if, in the pharmacist’s professional judgment, such drug or supplies should
 not be dispensed.

                                          10.     GENERAL

 10.1 Legal Status: Nothing in this Agreement shall be deemed to confer upon PBM (i) the
 status of fiduciary as defined in either the Employee Retirement Income Security Act of 1974, as
 amended (“ERISA”), or the Americans with Disabilities Act, as amended (“ADA”), except to
 extent, in the performance of its obligations under this Agreement, PBM exercises actual
 discretionary control over the property of PDP; (ii) any liability for the terms or validity of the
 Benefit Plan; or (iii) any liability for disclosing or reporting information regarding the Benefit
 Plan or changes in the Benefit Plan (e.g., calculation of Co-Payments, deductibles; or creditable
 coverage) as may be required by law to be disclosed to governmental agencies or Members. For
 avoidance of doubt, this Section 10.1 is not intended to and shall not relieve PBM of its express
 obligations hereunder.

 10.2 Independent Contractors: PBM and PDP are independent contractors. Neither Party, nor
 any of its respective employees, shall be construed to be the employee or representative of the
 other, or liable for any acts of omission or commission on the part of the other.

 10.3 Exclusivity: During the term of this Agreement, PBM shall be the sole provider of
 Delegated Services to PDP, including, without limitation, the exclusive contractor of rebates
 with pharmaceutical manufacturers for PDP’s Claims.


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 10.4 Assignment: Except as follows, this Agreement may not be assigned by either Party
 without the express written consent of the other Party, which may not be unreasonably withheld.
 PBM may assign this Agreement to a controlled subsidiary company or a controlling parent
 company.

 10.5 Binding Effect: This Agreement and the exhibits and schedules attached hereto shall be
 binding upon and inure to the benefit of the Parties and their respective successors and assigns.
 PDP’s obligations hereunder are intended to inure to the benefit of and be enforceable by the
 Participating Pharmacies.

 10.6 Intellectual Property: Each Party reserves the right to and control of the use of their
 names, symbols, trademarks or service marks presently existing or hereafter established, and no
 Party may use any names, symbols, trademarks or service marks of any other Party without the
 owner’s written consent.

 10.7 Waiver: Neither the failure nor any delay on the part of either Party to exercise any right,
 power or privilege hereunder will operate as a waiver thereof, nor will any single or partial
 exercise of any such right, power or privilege preclude any other or further exercise thereof, or
 the exercise of any other right, power or privilege. In the event any Party should waive any
 breach of any provision of this Agreement, it will not be deemed or construed as a waiver of any
 other breach of the same or different provision.

 10.8 Severability: The invalidity or non-enforceability of any term or provision of this
 Agreement shall in no way affect the validity or enforceability of any other term or provision.

 10.9 Headings: The section or paragraph headings contained in this Agreement are for
 reference purposes only and shall not affect the meaning or interpretation of this Agreement.

 10.10 Entire Agreement; Amendment: This Agreement, together with the other documents
 expressly referred to herein, shall constitute the entire agreement between PBM and PDP with
 respect to the subject matter herein and supersede any prior understanding or agreements of any
 kind preceding this Agreement with respect to such subject matter. Any modification or
 amendment to this Agreement, or additional obligation assumed by PBM or PDP in connection
 with this Agreement, shall be binding only if evidenced in a writing signed by both Parties. No
 term or provision of this Agreement shall establish a precedent for any term or provision in any
 other agreement.

 10.11 Acceptance of Offer: Notwithstanding anything herein to the contrary, this Agreement
 shall not be binding upon the Parties unless and until the Agreement is signed and executed by a
 duly authorized officer of each of the Parties. The signing of this Agreement by PDP constitutes
 an offer only until the same has been signed by PBM.

 10.12 Dispute Resolution: If either Party should declare a breach of this Agreement, or if any
 dispute arises from this Agreement or the subject of this Agreement, the Parties shall first submit
 the matter to non-binding mediation (not arbitration) and attempt to resolve the matter, in good
 faith, prior to the institution of any litigation or other legal action. The Parties agree that
 litigation or other legal action may be initiated only after each Party has presented its case to an

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 independent, professional mediator and such mediator has declared an impasse. If both Parties
 initiate legal action on the same calendar day, PDP shall be deemed to be the Plaintiff and PBM
 shall be deemed to be the Defendant. Any statements made at such mediation shall be for
 settlement purposes only and shall not be construed to be an admission. A Party requesting
 mediation shall be entitled to obtain a court order mandating mediation if the other Party does
 not agree to commence mediation within thirty (30) days after written request. The fees and costs
 incurred by the Party seeking such court order shall be reimbursed by the other Party; otherwise,
 each Party shall pay its own costs of mediation. Nothing in this paragraph shall preclude either
 Party from seeking remedies in equity if such action is found to be appropriate by a court of
 competent jurisdiction. Except for a proceeding in equity, any Party that circumvents this
 provision shall reimburse the other Party for its legal fees and costs, regardless of the outcome.

 10.13 Force Majeure: Neither PBM nor PDP will be deemed to have breached this Agreement
 or be held liable for any failure or delay in the performance of all or any portion of its obligations
 under this Agreement if prevented from doing so by a cause or causes beyond its control.
 Without limiting the generality of the foregoing, such causes include acts of God or the public
 enemy, fires, floods, storms, earthquakes, riots, strikes, boycotts, lock-outs, acts of terrorism, acts
 of war or war-operations, restraints of government, power or communications line failure or
 other circumstances beyond such Party's control, or by reason of the judgment, ruling or order of
 any court or agency of competent jurisdiction, or change of law or regulation (or change in the
 interpretation thereof) subsequent to the execution of this Agreement. The Party claiming force
 majeure must provide the other Party with reasonable written notice. However, as soon as cause
 preventing performance ceases, the Party affected thereby shall fulfill its obligations as set forth
 under this Agreement. This Section 10.13 shall not be considered to be a waiver of any
 continuing obligations under this Agreement, including, without limitation, the obligation to
 make payments.

 10.14 Choice of Law: This Agreement shall be construed, interpreted, and governed according
 to the laws of the State of Ohio without regard to its conflict of laws and rules, except to the
 extent such laws are preempted by applicable Federal law.

 10.15 Notices: Any notice required to be sent by one Party to the other under this Agreement
 shall be in writing and may be sent to the other Party by mail, courier, e-mail, and/or telefax at
 the address set forth on the signature page below; provided, however, that it shall be the burden
 of the sending party to establish that the receiving Party, in fact, received the notice.

 10.16 Representations: Each Party represents and warrants that such Party has (i) entered into
 this Agreement voluntarily; (ii) not transferred or assigned or otherwise conveyed in any manner
 or form any of the rights, obligations or claims which are the subject matter of this Agreement;
 and (iii) the full power and authority to execute this Agreement. Each Party further represents
 and warrants that (i) it has no undisclosed conflicts of interest and (ii) entering into this
 Agreement is not in violation of any other agreement. Each Party further represents that it
 maintains, and shall continue to maintain throughout the term of this Agreement, any and all
 licenses, governmental authority, or other authorization required to operate an entity of its type.



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                         [SIGNATURE PAGE FOLLOWS]




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 IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective Date
 first above written.



 MEDIMPACT HEALTHCARE                        ELIXIR INSURANCE COMPANY
 SYSTEMS, INC.


 By: ___________________________             By: __________________________
 Name: ________________________              Name: ________________________
 Its: ___________________________            Its: __________________________

 Address for Notice:                         Address for Notice:
 MedImpact Healthcare Systems, Inc.          Elixir Insurance Company
 10181 Scripps Gateway Ct                    200 Newberry Commons
 San Diego, California 92131                 Etters, PA 17319
 Attention:    James Gollaher                Attention: Anna Khais
 Email: james.gollaher@medimpact.com         Email: akhais@elixirsolutions.com

 With a copy to:

 SVP, Corporate Services and General
 Counsel at the same address above;
 Attention: Nancy S. Radtke
 Email: nancy.radtke@medimpact.com




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                                        EXHIBIT 1
                                  DRUG PRICING AND FEES


 Drug Pricing and Dispensing Fees
 PDP pays the best negotiated price(A) or, if lower, the dispensing pharmacy’s Usual and
 Customary (U&C) price:
                                         BRAND                                GENERIC
                              Drug Price   (B)     Dispensing        Drug Price(C)   Dispensing
                                                      Fee (D)                           Fee(D)
                          Average annual                         Average annual
 30 Days’ Supply at
                          effective rate of AWP        $1.50     effective rate of      $1.65
 Retail
                          minus 17%                              AWP minus 74%
                          Average annual                         Average annual
 90 Days’ Supply at
                          effective rate of AWP        $0.00     effective rate of      $0.00
 Retail
                          minus 23%                              AWP minus 74%
 Mail Order (at Orchard Average annual                           Average annual
 Pharmaceutical           effective rate of AWP        $0.00     effective rate of      $0.00
 Services)                minus 23%                              AWP minus 74%
 Specialty (at Medmark
                                                 See price sheet, Exhibit 1-A
 Specialty Pharmacy)
 (A)
     PBM’s calculated price (plus applicable dispensing fees) for Covered Medications dispensed
 by the Participating Pharmacy to Members on the date the prescription was dispensed for the 11
 digit NDC number provided by the dispensing pharmacy.
 (B)
    Average annual effective rate for Brand drugs is calculated using actual price paid by PBM
 (before deducting Manufacturer Derived Revenue) for all Claims (including Claims paid at
 U&C) during a contract year.
 (C)
    Average annual effective rate for Generic drugs is calculated using actual price paid by PBM
 for all Claims (including Claims paid at PBM’s MAC, non-MAC, and U&C) during a contract
 year.
 (D)
   Dispensing Fee is average annual per Claim fee for all Claims (including Claims paid at
 U&C).




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 Administrative Fee
 $3.50 Per Member Per Month (“PMPM”); provided, however:
    A. with respect to processing of Employer Group Waiver Plan (“EGWP”)/Wrap claims
       according to the EGWP Agreements between PDP and various Employer Groups, the
       Administrative Fee will be as set forth in the applicable EGWP Agreement, which at a
       minimum shall be no less than $3.00 PMPM, or, if no Administrative Fee is set forth in
       the applicable EGWP Agreement, $3.50 PMPM.
    B. with respect processing of fully insured and self-insured claims entered by AmWINS into
       the PBM claims processing environment according to the Management Services
       Agreement between PDP and AmWINS Group Benefits, Inc. d/b/a/ AmWins Rx, the
       Administrative Fee shall be $1.25 per claim processed.
 Additional Fees and Miscellaneous Expenses
 1. Replacement by PBM of lost or stolen ID Cards   $1.00 per card plus cost of postage

 2. Manual Claims Processing and Direct Member      $1.50 per Claim processed
    Reimbursements (DMRs)

 3. Manually create or update Eligibility File      $1.00 per Member data entry

 4. Ad Hoc Computer or Report Programming           $150.00 per hour

 5. EOBs (If PBM prints and mails to Members)       Included in Administrative Fee

 6. Manually reverse and reprocess Claim due to PDP $1.00 per Claim
    error

 7. If PBM mails Retro LICS refund checks to        Included in Administrative Fee
    members (no charge for report only)

 8. FWA Desk Audits and Reports (includes onsite    Included in Administrative Fee
    audits)

 9. Coverage Determinations and Appeals             Included in Administrative Fee

 10. After Hours Customer Service (for PDP          Included in Administrative Fee
     forwarded calls)

 11. E-Prescribing                                  The costs associated with E-prescribing are
                                                    included in the Administrative Fee




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                                 EXHIBIT 2
               ADDITIONAL DELEGATED MEDICARE PART D SERVICES

 •   Retro Low Income Subsidy (LIS) Determination
     • Report identifying potential members for retro on a quarterly basis
     • Reimbursement determination
     • Check generation
     • Check mailing
 •   PDP Management System (HPMS) Reports (PBM will provide and upload the reports)
     • Vaccine Administration
     • Medication Therapy Management (MTM)
     • Generic Drug Utilization
     • Grievances
     • Exceptions
     • Appeals
     • Overpayments
     • Pharmaceutical Manufacturer Rebates, Discounts, and Other Price Concessions (DIR)
     • Drug benefit analysis
 •   Grievances
     • Resolution of minor prescription drug issues
     • Referral to Plan Sponsor of un-resolved complaints with supporting documentation
 •   Appeals (Rx issues only) (additional fee may apply for external review)
     • Member notification of approvals/denials
 •   Prior Authorizations (Coverage Determinations)
     • Member notification of approvals/denials
     • Administrative (Part B drug vs. Part D drugs)
     • Clinical
 •   Explanation of Benefit (EOBs)
     • Create Monthly EOBs in PDF format
     • EOBs on demand (file provided to PDP)
     • Mail EOBs (does not include printing and postage)
 •   Formulary Management
     • P&T Committee
     • P&T Committee support if own P&T Committee used
     • Negative formulary Change notification process (Members, pharmacies, SPAPs &
         pharmacy networks)
     • Monthly HPMS updates
     • HPMS file generation
     • HPMS monthly upload
 •   Marketing Formulary Generation (in PDF format)
 •   Financial Information Reporting (FIR) Processing
 •   Medication Therapy Management (MTM)
 •   CMS Audit Support (during term of Agreement)
 •   Medicare Claims Processing

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     • Claim adjudication
     • Weekly drug file loads
     • AWP change monitoring
     • Proprietary MAC pricing updates
     • Bi-weekly paid claims history/utilization files
     • TrOOP tracking
     • Online System Access to view claims
     • Loading pharmacy history on members
     • DUR reporting (concurrent/retrospective)
 •   Manufacturer Rebate Contracting
     • Quarterly rebate reporting
     • Annual DIR reporting
     • Administer rebate contracts in compliance with CMS requirements
 •   Loading of COB Files (done monthly as provided by PDP in CMS format)
 •   Loading of Eligibility Files (as specified in Benefit Specification Form)
 •   Year End Attestations confirming submissions of DIR, P2P, and PDE
 •   Medicare Pharmacy Network
     • Ensure contracted pharmacies sufficient to meet Tri-Care Standards
     • Provide list of network pharmacies for pharmacy directory
     • Provide Pharmacy Network file to Client for GeoAccess (additional fee may apply for
         GeoAccess report)
 •   Prescription Drug Event (PDE) file generation
     • Creation and submission of monthly PDE errors
     • Resubmission of PDEs associated with claim submission errors which have been
         corrected by PDP
 •   Activities to identify, investigate, and report fraud, waste and abuse, including, without
     limitation, pharmacy desk audits and on-site audits.
 •   Website Support
 •   Customer Service coverage for after hours and holidays
 •   Transition Letter creation and mailing
 •   Dedicated staff to assist PDP compliance personnel with carrying out compliance activities,
     including the (i) monitoring and maintenance of confidentiality and security provisions at 42
     CFR §423.136; (ii) risk assessment and analysis pursuant to 45 CFR §164.402; and (iii)
     accounting of disclosures and privacy reporting as required under the Privacy Rule.




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                               EXHIBIT 3
               HEALTH PLAN BUSINESS ASSOCIATE AGREEMENT




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                            BUSINESS ASSOCIATE AGREEMENT


  This BUSINESS ASSOCIATE AGREEMENT (the "Agreement") is effective the 1st day of
  February, 2024 (the "Effective Date"), by and between MedImpact Healthcare Systems,
  Inc. ("Business Associate") and Elixir Insurance Company (f/k/a Envision Insurance
  Company) ("Plan Sponsor"), each referred to individually herein as a "Party" or collectively
  as the "Parties".


                                           RECITALS
  A.     Plan Sponsor sponsors a health benefit plan that provides coverage for prescription
         medications and supplies to covered members. Plan Sponsor has entered into a service
         agreement with Business Associate to provide certain administrative services to, or on
         behalf of, Plan Sponsor.

  B.     In order for Business Associate to provide services to Plan Sponsor, Plan Sponsor may
         disclose certain Protected Health Information ("PHI") (as defined in Article I of this
         Agreement) of Plan Sponsor's members to Business Associate and anticipates that
         Business Associate will create, receive, maintain or transmit PHI on behalf of Plan
         Sponsor.

  C.     The Parties desire to protect the privacy and security of all PHI in compliance with the
         Health Insurance Portability and Accountability Act ("HIPAA"), as amended by the
         Health Information Technology for Economic and Clinical Health Act of 2009 ("the
         HITECH Act"), and the regulations promulgated there under. The purpose of this
         Agreement is to ensure such compliance.


  D.     This Agreement incorporates provisions 42 U.S.C. § 17931(a) and 42 U.S.C. §
         17934(a) of the HITECH Act.

  NOW, THEREFORE, the Parties, in consideration of the mutual agreements herein contained,
  and for other good and valuable consideration, the receipt and adequacy of which are hereby
  acknowledged, do hereby agree as follows:

                                      Article 1: Definitions

  For the purposes of this Agreement, the following defined terms shall have the following
  definitions. Except as otherwise stated herein, the defined terms used in this Agreement shall
  have the meanings given them under HIPAA and the regulations thereunder, including any
  amendments thereto.


  1.1   "Breach" shall mean the acquisition, access, use, or disclosure of PHI in a manner not
        permitted under Subpart E of 45 C.F.R. Part 164, which compromises the security or
        privacy of the PHI.

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         "Breach" excludes:
    (1) Any unintentional acquisition, access, or use of PHI by an employee or a person
        acting under the authority of Business Associate, if such acquisition, access, or use was
        made in good faith and within the scope of the authority, and does not result in further use or
        disclosure in a manner not permitted under Subpart E of 45 C.F.R. Part 164.

    (2) Any inadvertent disclosure of PHI by a person authorized to access PHI at Business
        Associate to another person authorized to access PHI at Business Associate, and the
        information received as a result of the disclosure is not further used or disclosed in a
        manner not permitted under Subpart E of 45 C.F.R. Part 164.

    (3) A disclosure of PHI in which Business Associate has a good faith belief that an
        unauthorized person to whom PHI is disclosed would not reasonably have been able to
        retain the information.

  1.2    "Designated Record Set" shall have the meaning prescribed to it in 45 C.F.R. § 164.501.

  1.3    "HHS" shall mean the U.S. Department of Health and Human Services.

  1.4    "HIPAA Standards" shall mean the standards for privacy and security of Individually
         Identifiable Health Information found at 45 C.F.R. Parts 160 and 164.
  1.5    "Individual" shall have the same meaning as the term "individual" in 45 C.F.R. §
         160.103 and shall include a person who qualifies as a personal representative in
         accordance with 45 C.F.R. § l64.502(g).

  1.6    "Individually Identifiable Health Information" shall have the meaning prescribed to it in
         45 C.F.R. § 160.103.

  1.7    “Protected Health Information” shall have the meaning prescribed to it in 45 C.F.R. §
         160.103, limited to Individually Identifiable Health Information transmitted or
         maintained in any form or medium that Business Associate creates or receives from or
         on behalf of Plan Sponsor.
  1.8    "Required by Law" shall have the same meaning as the term "required by law" in 45
         C.F.R. § 164.103.
  1.9    "Secretary" shall mean the Secretary of HHS or his or her designee.

  1.10   "Security Incident" shall mean the attempted or successful unauthorized access, use,
         disclosure, modification, or destruction of information or interference with system
         operations in an information system.

  1.11   "Unsecured PHI" shall mean PHI that is not rendered unusable, unreadable, or
         indecipherable to unauthorized persons through the use of technology or methodology
         specified by the Secretary in the guidance issued under section 13402(h)(2) of Public
         Law 111-5.

                     Article 2: Business Associate Use and Disclosure of PHI


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  2.1   Purpose. As further described above under Recitals, Business Associate performs
        certain administrative services for Plan Sponsor.

  2.2   Receipt and Use of PHI. Performance of administrative services by Business Associate
        requires that Business Associate receive and use PHI obtained from or on behalf of Plan
        Sponsor, or that Business Associate create, receive, maintain, or transmit PHI on behalf
        of Plan Sponsor. To perform these administrative services, Business Associate may use
        or disclose PHI provided such use or disclosure would not violate the HIPAA Standards
        if done by Plan Sponsor. However, Business Associate may use PHI internally to carry
        out its legal responsibilities and for its proper management, internal auditing, and
        administration, and at the request of Plan Sponsor, to provide data aggregation services
        to Plan Sponsor as permitted by the HIPAA Standards.

  2.3   Disclosure of PHI. Performance of administrative services by Business Associate may
        require that Business Associate disclose PHI to agents or subcontractors of Business
        Associate. Business Associate may disclose PHI to third parties with which it contracts
        to assist in providing administrative services, and to its agents to carry out Business
        Associate's legal responsibilities, for proper management, internal auditing, and
        administration, only if (a) Business Associate obtains reasonable assurances from such
        third parties or agents that the PHI will be held by them confidentially and used or
        further disclosed only as Required by Law or for the purpose for which it was disclosed
        to them, (b) such third parties or agents agree to implement reasonable and appropriate
        safeguards to protect the confidentiality, integrity, and availability of PHI, and (c) such
        third parties or agents agree to notify Business Associate of any instance of which they
        are aware that the confidentiality of the information has been breached or that a
        Security Incident has occurred Notwithstanding the foregoing, Business Associate will
        be permitted to exchange PHI freely with any Business Associates of the Plan Sponsor
        with which the Plan Sponsor has executed a Business Associate Agreement/Addendum.
  2.4   Satisfactory Assurances. Plan Sponsor may not transfer or transmit PHI to Business
        Associate or permit Business Associate to create, receive, or transmit PHI on behalf of
        Plan Sponsor without satisfactory assurances from Business Associate that it will
        appropriately safeguard the information.

                              Article 3: Duties of Business Associate
  3.1   Limitations on Use of PHI. Business Associate shall not use PHI except as permitted or
        required by this Agreement or as Required by Law. Business Associate shall only use
        PHI in a manner that is consistent with the HIPAA Standards.

  3.2   Limitations on Disclosure of PHI. Business Associate shall not disclose PHI except as
        permitted or required by this Agreement or as Required by Law. Business Associate
        shall only disclose PHI in a manner that is consistent with the HIPAA Standards.
  3.3   Minimum Necessary. Business Associate shall request, use and disclose the minimum
        amount of PHI necessary to accomplish the purpose of the request, use or disclosure, in
        accordance with 42 U.S.C. § l 7935(b).


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  3.4   Safeguarding PHI. Business Associate shall use appropriate safeguards, and comply
        with Subpart C of 45 CFR Part 164, to prevent the use or disclosure of PHI other than
        as provided for by this Agreement. Business Associate shall comply with the
        provisions of 45 C.F.R. §§ 164.308, 164.310, 164.312 and 164.316 in the same
        manner that such provisions apply to Plan Sponsor, and implement administrative,
        physical, and technical safeguards that reasonably and appropriately protect the
        confidentiality, integrity, and availability of the PHI that it creates, receives,
        maintains, or transmits on behalf of Plan Sponsor as required by the HIPAA
        Standards.
  3.5   Third Party Agreements. Business Associate may need to enter into agreements
        with third parties, including agents or subcontractors, in order to satisfy its obligations
        to Plan Sponsor. In accordance with 45 C.F.R. § 164.502(e)(1)(ii) and
        164.308(b)(2), should third parties, agents, or subcontractors create, receive,
        maintain, or transmit PHI on behalf of Business Associate, Business Associate shall
        require such third parties or agents to agree, in writing, to (a) be bound by the same
        restrictions, conditions, and requirements that apply to Business Associate with respect
        to such information, and (b) implement reasonable and appropriate administrative,
        technical and physical safeguards to protect PHI and the confidentiality, integrity and
        availability of PHI. Notwithstanding the foregoing, Business Associate will be
        permitted to exchange PHI freely with any Business Associates of the Plan Sponsor
        with which the Plan Sponsor has executed a Business Associate
        Agreement/Addendum.
  3.6   Reporting of Security Incidents. Business Associate shall identify and report to Plan
        Sponsor any suspected or known Security Incidents, mitigate, to the extent practicable,
        harmful effects of Security Incidents that are known to Business Associate, and
        document Security Incidents and their outcomes.
  3.7   Reporting of Unauthorized Uses and Disclosures. If Business Associate becomes
        aware that Unsecured PHI has been, or is reasonably believed to have been accessed,
        acquired, used, or disclosed as a result of a Breach by Business Associate, its
        employees, officers, or other agents, except as provided in 45 C.F.R. § 164.412,
        Business Associate shall notify Plan Sponsor of the Breach, in writing, without
        unreasonable delay, and no later than thirty (30) calendar days after discovering the
        Breach. Business Associate is deemed to have discovered the Breach on the first
        day Business Associate knows about the Breach, or by exercising reasonable
        diligence, would have been known to any person, other than the person committing
        the Breach, who is an employee, officer, or other agent of Business Associate.
  3.8   Content of Notification. To the extent possible, Business Associate's notice to Plan
        Sponsor shall include the identification of each Individual whose Unsecured PHI
        has been, or is reasonably believed to have been, accessed, acquired, used, or
        disclosed during the Breach.

        At the time of notification or soon thereafter as information becomes available,
        Business Associate shall provide the following information to Plan Sponsor:


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            (a) A brief description of what occurred, including the date of the Breach and the
               date of discovery of the Breach, if known;

            (b) A description of the types of Unsecured PHI involved in the Breach;

            (c) Steps Individuals should take to protect themselves from potential harm
               resulting from the Breach;

            (d) A brief description of what Business Associate is doing to investigate the
               Breach, to mitigate harm to Individuals, and to protect against any further
               Breaches; and

            (e) Contact procedures for Individuals to ask questions or learn additional
               information, including a toll-free telephone number, an e-mail address, website
               or postal address.

  3.9    Burden of Proof. Business Associate shall have the burden of demonstrating that it
         made all notifications to Plan Sponsor, including evidence showing the necessity of
         any delay, or that the use or disclosure did not constitute a Breach.

  3.10   Mitigation of Disclosure of PHI. Business Associate agrees to mitigate, to the extent
         practicable, any harmful effect that is known to Business Associate of a use or
         disclosure of PHI by Business Associate in violation of the requirements of this
         Agreement.

  3.11   Access to PHI. Within ten (10) business days of Plan Sponsor's written request,
         Business Associate shall provide Plan Sponsor or an Individual who is the subject of
         the PHI with access to PHI in Business Associate's possession, if Business Associate's
         information consists of a Designated Record Set in order for Plan Sponsor to comply
         with 45 C.F.R. § 164.524.

  3.12   Availability of PHI for Amendment. The Parties acknowledge that the HIPAA
         Standards permit an Individual who is the subject of PHI to request certain
         amendments of his or her records. Within ten (10) business days of Plan Sponsor's
         written request, Business Associate shall make PHI contained in a Designated Record
         Set in Business Associate's possession available for amendment and shall incorporate
         any amendments in accordance with 45 C.F.R. § 164.526.

  3.13   Accounting of Disclosures. Business Associate agrees to document disclosures of
         PHI, and to make available, within ten (10) business days of Plan Sponsor's written
         request, information to Plan Sponsor concerning Business Associate's disclosure of
         PHI for which Plan Sponsor needs to provide an Individual with an accounting of
         disclosures as required by 45 C.F.R. § 164.528. Should an accounting of the PHI of a
         particular Individual be requested more than once in any twelve (12) month period,
         Business Associate may charge Plan Sponsor a reasonable, cost-based fee.

  3.14   Compliance with Subpart E of 45 C.F.R. Part 164. To the extent Business
         Associate carries out Plan Sponsor's obligations under Subpart E of 45 C.F.R. Part 164,

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         Business Associate shall comply with the requirements of Subpart E that apply to Plan
         Sponsor in the performance of such obligations.

  3.15   Availability of Books and Records. For purposes of determining compliance of Plan
         Sponsor with the HIPAA Standards, Business Associate agrees to make available to
         the Secretary its internal policies and procedures, books and records relating to the use
         and disclosure of PHI received from, or created or received by Business Associate on
         behalf of, Plan Sponsor.

  3.16   Treatment of PHI at Termination.

         With respect to PHI received from Plan Sponsor, or created, maintained, or received
         by Business Associate on behalf of Plan Sponsor, upon termination of this
         Agreement for any reason, Business Associate, shall:



            (a) Retain only that PHI which is necessary for Business Associate to continue
                its proper management and administration or to carry out its legal
                responsibilities;


            (b) Return to Plan Sponsor or, if agreed to by Plan Sponsor, destroy the PHI
                that is not retained by the Business Associate under (a) above;

            (c) Continue to use appropriate safeguards and comply with Subpart C of 45
                CFR Part 164 to prevent use or disclosure of the PHI, other than as provided for
                in this Agreement, for as long as Business Associate retains the PHI;

            (d) Not use or disclose the PHI retained by Business Associate other than for the
                purposes for which such PHI was retained and subject to the same conditions
                set out in Section 2.2 and Section 2.3 which applied prior to termination; and

            (e) Return to Plan Sponsor or, if agreed to by Plan Sponsor, destroy the PHI
                retained by Business Associate when it is no longer needed by Business
                Associate for its proper management and administration or to carry out its
                legal responsibilities.


                                Article 4: Duties of Plan Sponsor



  4.1    Limitations in Notice of Privacy Practices. Plan Sponsor shall notify Business
         Associate of any limitations in the notice of privacy practices of Plan Sponsor under 45
         C.F.R. § 164.520, to the extent that such limitation may affect Business Associate's
         use or disclosure of PHI.

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  4.2   Changes in Permission. Plan Sponsor shall notify Business Associate of any changes
        in, or revocation of, the permission by an Individual to use or disclose his or her PHI,
        to the extent that such changes may affect Business Associate's use or disclosure of
        PHI.

  4.3   Restriction on Use or Disclosure of PHI. Plan Sponsor shall notify Business
        Associate of any restriction on the use or disclosure of PHI that Plan Sponsor has
        agreed to or is required to abide by under 45 C.F.R. § 164.522, to the extent that
        such restriction may affect Business Associate's use or disclosure of PHI.



                               Article 5: Term and Termination

  5.1   Term. The term of this Agreement shall be effective as of the Effective Date
        stated above, and shall terminate on the date Business Associate discontinues the
        provision of services to or on behalf of Plan Sponsor, or on the date Plan Sponsor
        terminates for cause as authorized in Section 5.2, whichever is sooner.

  5.2   Termination for Cause. Business Associate authorizes termination of this Agreement
        by Plan Sponsor, if Plan Sponsor reasonably determines that Business Associate has
        violated a material term of the Agreement and Business Associate has not cured the
        breach or ended the violation within the time specified by Plan Sponsor or ten (10)
        business days, whichever is greater. Plan Sponsor shall provide Business Associate
        notice of such breach or violation, in writing, with sufficient specificity as to
        reasonably permit Business Associate to cure such breach or violation. Plan Sponsor
        understands that, upon termination of this Agreement, Business Associate will no
        longer be authorized to create, receive, or transmit PHI on behalf of Plan Sponsor,
        except as otherwise provided herein.

  5.3   Survival of Certain Rights and Obligations. The respective rights and obligations of
        Business Associate under Section 3.16 of this Agreement shall survive the termination
        of this Agreement.


                                   Article 6: Miscellaneous

  6.1   Regulatory References. A reference in this Agreement to a section in the HIPAA
        Standards means the section as in effect or as amended.

  6.2   Amendment. The Parties to this Agreement agree to take such action as is necessary to
        amend this Agreement from time to time as is necessary to comply with the
        requirements of the HIPAA Standards and any other applicable law.

  6.3   Prior Business Associate Agreements or Addenda. This Agreement shall supersede
        any prior Business Associate Agreement or Business Associate Agreement Addenda.



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  6.4   Interpretation. Any ambiguity in this Agreement shall be interpreted to permit
        compliance with the HIPAA Standards.

  6.5   HIPAA. Business Associate will comply with all requirements under HIPAA that
        apply to business associates.



  IN WITNESS WHEREOF, the Parties have, by their duly authorized representatives,
  executed this Agreement to be effective as of the date first above written.



 PLAN SPONSOR:                          BUSINESS ASSOCIATE


 By:_______________________________     By:_______________________________


 __________________________________ __________________________________
 Print Name and Title               Print Name and Title




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                                   EXHIBIT 4
                              PDP BANK ACCOUNTS

 Bank Name              Acc. No.
  Bank of America       4451389842
  Huntington            1039763469
  Fifth Third Bank      7482179046
  Fifth Third Bank      7523194129




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                                     Exhibit C

                                        TSA

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                                                                     Execution Version
                                                                      CONFIDENTIAL
                            TRANSITION SERVICES AGREEMENT

        THIS TRANSITION SERVICES AGREEMENT (this “Agreement”) is entered into as of
 February 1, 2024 (the “Effective Date”), by and between Rite Aid Hdqrts. Corp., a Delaware
 corporation (“Rite Aid” or “Provider”), and MedImpact Healthcare Systems, Inc., a California
 corporation (“MedImpact” or “Recipient”) (Provider and Recipient are individually each a “Party”
 and collectively, the “Parties”).

                                             RECITALS

         WHEREAS, pursuant to that certain Asset Purchase Agreement, dated as of October 15,
 2023, by and among Hunter Lane, LLC, a Delaware limited liability company (“Seller”),
 MedImpact Healthcare Systems, Inc., a California corporation, (“Purchaser”), and the other parties
 thereto (the “Purchase Agreement”), Purchaser acquired the Business from Seller; and

        WHEREAS, on October 15, 2023, Seller, together with certain of its Affiliates, filed
 voluntary cases under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the
 “Bankruptcy Code”) in the United States Bankruptcy Court for the District of New Jersey (the
 “Bankruptcy Court”), which cases are jointly administered for procedural purposes under Case 23-
 18933 (MBK) (the “Bankruptcy Cases”);

         WHEREAS, in order to provide for an orderly transition of operation of the Business to
 Recipient from Seller to Purchaser, Provider shall provide to Recipient certain services, and
 Recipient shall provide to Provider certain services, for specified periods following the Effective
 Date, all in accordance with and subject to the terms and conditions set forth herein.

        NOW, THEREFORE, for good and adequate consideration, the receipt and sufficiency of
 which is hereby acknowledged, and in consideration of the premises, mutual promises,
 representations, warranties, and covenants herein contained, and subject to and on the terms and
 conditions hereinafter set forth, the Parties, intending to be legally bound, agree as follows:

                                           AGREEMENT

 1.     Services.

          (a)    Scope of Services. During the applicable Transition Period, Provider (whether
 itself or through one or more of its Affiliates, subcontractors, or third-party service providers) will
 use commercially reasonable efforts to provide, or cause to be provided, to Recipient, or its
 Affiliates or Subsidiaries that Recipient designates on Schedule A as “Recipients”, upon the terms
 and subject to the conditions hereof, the services set forth on Schedule A hereto (the “Services”).
 Provider may, from time to time, designate subcontractors or third party providers to perform a
 particular Service without the prior written consent of Recipient if such subcontractor or third party
 provider is being used to provide such Service to the Business as of the Effective Date, or is
 engaged to provide similar services in respect of a Seller’s or any of its Affiliates’ business. The
 use by Provider of other or additional subcontractors or third party providers other than those set
 forth in the preceding sentence to provide the Services shall be subject to Recipient’s prior written
 approval. For the avoidance of doubt, the Services shall not include the provision of any legal
 advice to Recipient. To the extent any Service is labeled or otherwise described as or considered a
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 legal service or includes the provision of legal analysis, such Service shall be limited solely to the
 transfer or provision of knowledge and access to information.

         (b)     Bankruptcy Dispositions. Notwithstanding anything in this Agreement to the
 contrary, Provider shall have no obligation to provide, or cause to be provided, any Service to the
 extent that such Service cannot be provided without an asset or resource that was divested or
 otherwise disposed of in connection with any of the Bankruptcy Cases (a “Bankruptcy
 Disposition”). Recipient acknowledges and agrees that Provider and certain of its Affiliates are
 debtors in the Bankruptcy Cases and that, as such, it and such Affiliates are subject to limitations
 on debtors under chapter 11 of the Bankruptcy Code and subject to any orders of the Bankruptcy
 Court and Provider’s debtor-in-possession financing, and that, in addition, Provider may have
 further limitations on its resources (including if the Fees due under this Agreement are not paid in
 a timely manner). Recipient agrees that the obligations and efforts herein of Provider and its
 Affiliates are qualified accordingly.

         (c)    Use of Services. Recipient will, and will cause its Affiliates to, adhere to all terms
 and conditions or policies as set forth in this Agreement (including in Schedule A). The Services
 will be provided solely to, and may be used solely by, Recipient and its Affiliates in connection
 with the operation of the Business and at those locations from which the Business was operated as
 of the Effective Date; provided, however, and notwithstanding the foregoing, that Provider will
 use commercially reasonable efforts to provide the Services in connection with Business related
 tasks that may be performed by Recipient at locations other than those locations from which the
 Business was operated prior to the Effective Date. Provider has no obligation to provide any
 Service in a manner greater in any material respect than the level provided to the Business as of
 the Effective Date.

          (d)   Standards of Services. Provider will use commercially reasonable efforts to
 provide, or cause to be provided, the Services (i) in a workmanlike manner that is substantially
 consistent with the manner in which such Services were performed prior to the Effective Date, and
 (ii) in compliance with applicable Laws. Recipient acknowledges and agrees that Provider may
 make changes from time to time in the manner of performing the Services; provided that Provider
 provides Recipient with reasonable advance written notice of any such changes that would have a
 material impact on the Business.

         (e)     No Violation of Laws or Contracts. Notwithstanding anything to the contrary
 herein, in no event will Provider be obligated to perform any Service that would cause Provider to
 be in violation of any applicable Law or in breach of any contract.

         (f)     Third Party Consents. To the extent the provision by Provider or its subcontractors
 of any Service requires the consent, license, or approval of any third party to provide any Service
 (a “Consent”), then Provider and Recipient shall cooperate in good faith to obtain such Consent to
 enable Provider or its applicable subcontractor to provide such Service. Recipient shall bear the
 costs, fees and expenses of seeking and obtaining any such Consent, including any cure amounts
 related thereto; provided, however, that prior to Provider obtaining such Consent, Recipient may
 notify Provider of Recipient’s desire to not obtain such Consent, in which case the Parties shall
 have no obligation to obtain such Consent and Recipient shall not be responsible for any such
 costs, fees, and expenses of obtaining such Consent. If a Consent is required to permit Provider


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 or a subcontractor to provide, or Recipient to receive, a particular Service, then Provider shall be
 relieved of the obligation to provide the applicable Services, and Recipient shall not have any
 obligation to pay any fees for such applicable Services, unless and until such Consent is obtained;
 provided, however, that the Parties shall use commercially reasonable efforts to consider and
 negotiate in good faith with respect to a course of action to provide alternative services, and any
 costs, fees or expenses associated with such alternative services shall be borne by Recipient. In
 the event that the Parties are unable to negotiate a course of action for Provider to provide
 alternative services, or in the event that Recipient elects not to obtain a Consent, Recipient shall
 have the right to terminate the applicable Service, or portion thereof, with no obligation for
 Recipient to pay the Fees for such Service (i) for any period before the effective date of termination
 during which Recipient was not receiving such Service, and (ii) after the date such termination is
 effective.

          (g)    Cooperation. Recipient shall (i) cooperate with Provider to provide such resources
 and timely decisions, approvals and acceptances as reasonably requested by Provider in writing
 (which for purposes of this Section shall be by email) in order that Provider may perform its
 obligations under this Agreement in a timely and efficient manner, and (ii) make available on a
 timely basis to Provider access to employees, facilities, systems, and all information and materials
 requested in writing (which for purposes of this Section shall be by email) by Provider, in each of
 (i) and (ii) reasonably necessary for providing the Services. Provider’s delay in performing or
 failure to perform any of its obligations under this Agreement shall be excused (and Provider shall
 not be liable to Recipient) to the extent such delay or failure results from Recipient’s failure to
 timely provide any of the foregoing or to perform any of its obligations hereunder. Recipient
 acknowledges that Provider may temporarily suspend the provision of Services (or any part
 thereof) to the extent such temporary suspension is (i) required by applicable Law, (ii) necessary
 due to regularly scheduled maintenance, alterations, repairs or replacements with respect to the
 applicable Services or the facilities used to provide such Services, or (iii) necessary due to
 emergency maintenance, alterations, repairs or replacements with respect to the applicable
 Services or the facilities used to provide such Services.

         (h)     Transition Management. Each of Provider and Recipient shall, within five (5) days
 after the Effective Date appoint a transition manager that shall serve as the primary point of contact
 for each Party with respect to the administration of the Agreement (the “Administrative
 Representative”). Each Party may treat an act of an Administrative Representative of any other
 Party as being authorized by such other Party to act for and bind such Party. Each Party may
 replace its Administrative Representative by giving written notice of the replacement to the other
 Party.

         (i)     Meetings; Disputes. Each Party hereto will use commercially reasonable efforts to
 cause its Administrative Representative to meet (whether in person or telephonically) at least once
 a month during the Term to discuss the Services, to resolve any service or performance issues and
 to discuss any alleged breaches of this Agreement. If any service or performance issues or alleged
 breach of this Agreement is discussed, the Administrative Representatives will review and attempt
 to resolve such issues and alleged breaches in good faith. If the Administrative Representatives
 are unable to resolve any such issue or alleged breach within ten (10) Business Days (or such
 longer period as may be mutually agreed) after the date of the meeting at which such issue or
 alleged breach was first discussed, then such issues or breaches shall be referred to Matt Schroeder,


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 Chief Financial Officer (email: mschroeder@riteaid.com) on behalf of Provider and James
 Gollaher, Chief Financial Officer (email: james.gollaher@medimpact.com) on behalf of
 Recipient. Mr. Schroeder and Mr. Gollaher will meet promptly to review and resolve such issues
 and breaches in good faith. If Mr. Schroeder and Mr. Gollaher are unable to resolve any such issue
 or alleged breach of this Agreement within five (5) Business Days (or such longer period as may
 be mutually agreed) after such issues or alleged breach was first referred to Mr. Schroeder and Mr.
 Gollaher, then such issue or breach shall be referred to Thomas Sabatino, General Counsel (email:
 thomas.sabatino@riteaid.com) on behalf of Provider and Nancy Radtke, General Counsel (email:
 Nancy.Radtke@medimpact.com) on behalf of Recipient. Mr. Sabatino and Ms. Radtke will meet
 promptly to review and resolve such issues and breaches in good faith. If Mr. Sabatino and Ms.
 Radtke are unable to resolve any such issue or alleged breach of this Agreement within two (2)
 Business Days (or such longer period as may be mutually agreed) after such issue or breach was
 first referred to Mr. Sabatino and Ms. Radtke, any remaining disputes will be resolved in
 accordance with Sections 9(j) and 9(k) hereof. For the avoidance of doubt, each of the foregoing
 named individuals shall include each such Person’s replacements and successors.

          (j)    Reverse Services. During the applicable Transition Period, Recipient (whether
 itself or through one or more of its Affiliates, subcontractors, or third-party service providers) will
 use commercially reasonable efforts to provide, or cause to be provided, the services set forth on
 Schedule B to Provider or one of its Affiliates (“Reverse Services”) on the terms and conditions
 and for the duration set forth herein. For the avoidance of doubt, Recipient may, from time to
 time, designate subcontractors or third party providers to perform a particular Reverse Service
 without the prior written consent of Provider if such subcontractor or third party provider is being
 used to provide such Reverse Service to the Business as of the Effective Date, or is engaged to
 provide similar services in respect of Purchaser’s or any of its Affiliates’ business. The use by
 Recipient of other or additional subcontractors or third party providers other than those set forth
 in the preceding sentence to provide the Reverse Services shall be subject to Provider’s prior
 written approval. The term for each Reverse Service shall commence on the Effective Date and,
 subject to Section 4(a), expiring and terminating upon the date specified for such Reverse Service
 in Schedule B unless sooner terminated as set forth in this Agreement. Except with respect to
 Section 1(b) or Section 3(c) or Section 7, the terms and conditions of this Agreement shall apply
 to Recipient’s provision of the Reverse Services, mutatis mutandis, for which purposes all
 references in this Agreement to Provider shall be deemed to be references to Recipient and vice
 versa, all references in this Agreement to Services shall be deemed to be references to Reverse
 Services, and all references in this Agreement to Schedule A shall be deemed to be references to
 Schedule B.

 2.     Pricing and Payment.

         (a)     Fees. As consideration for the Services, Recipient shall pay to Provider or its
 designee, as applicable, on a monthly basis as set forth in Section 2(c), (i) the amounts specified
 in Schedule A with respect to each of the Services, plus (ii) the out-of-pocket expenses, costs, and
 fees that are incurred by Provider or any of its Affiliates for payment to third parties in connection
 with the provision of the Services (such amounts in (i) and (ii) together, the “Fees”). For
 clarification and the avoidance of doubt, as consideration for the Reverse Services, Provider shall
 pay the Fees to Recipient or its designee, as applicable, on a monthly basis as set forth in
 Section 2(c). For purposes of the Reverse Services, the Fees shall be: (y) the amounts specified in


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 Schedule B with respect to each of the Reverse Services, plus (z) the out-of-pocket expenses,
 costs, and fees that are incurred by Recipient or any of its Affiliates for payment to third parties in
 connection with the provision of the Reverse Services. Upon Recipient’s request, Provider shall
 provide reasonable documentation evidencing such Fees. The Fees may include, and Recipient
 shall bear the costs of, any additional license fees to the extent required by the applicable third
 party provider in order for Provider to provide, or Recipient to receive, the Services. The Fees
 shall not be subject to any markup or additional fees from Provider. All amounts charged to
 Recipient will be billed and paid in U.S. Dollars.

        (b)     Taxes.

                (i)     Sales Tax or Other Transfer Taxes. The amounts set forth on Schedule A
        are exclusive of all sales, use, excise, goods and service, consumption, turnover, value
        added, transaction and transfer Taxes and other similar Taxes imposed on or payable with
        respect to the Services (collectively, the “Sales and Service Taxes”). Recipient shall bear
        any and all Sales and Service Taxes; provided that each of Provider and Recipient shall be
        responsible for Taxes based on its net income.

                (ii)   Withholding Tax or Other Similar Taxes. Payments for Services or other
        amounts under this Agreement shall be made free and clear of, and without deduction or
        withholding for any Taxes; provided that if any withholding or deduction is required
        pursuant to any applicable Law, Recipient will: (1) withhold or deduct such Tax from the
        amount payable to Provider, (2) gross up the amount payable to Provider as necessary so
        that after making all such required withholding and deductions, Provider receives the
        amount it would have received had no such withholding or deduction of Taxes been made,
        (3) timely pay the withheld or deducted amount to the relevant governmental authority,
        and (4) promptly forward to Provider a certificate or other evidence of such payment.

         (c)   Billing and Payment. Provider shall invoice Recipient monthly in arrears for the
 Fees, and Recipient shall pay Provider in full the Fees within thirty (30) days after the date of each
 such invoice. Recipient shall pay Provider by wire transfer in accordance with the instructions
 provided by Provider in writing to Recipient. In the event Recipient disputes in good faith any
 amount reflected on an invoice, Recipient shall deliver a written statement to Provider within ten
 (10) days following receipt of Provider’s invoice, listing all disputed items and providing a
 reasonably detailed description of each disputed item. Recipient may withhold payment of Fees
 pending resolution of such amounts disputed in good faith.

         (d)     Interest Payments on Amounts Past Due. All payments required to be made
 pursuant to this Agreement shall bear interest from and including the date such payment is due
 until but excluding the date of payment, at a rate of the lesser of (i) one and one-half percent (1.5%)
 each month and (ii) the highest amount permitted by applicable Law. Such interest shall be
 payable at the same time as the payment to which it relates in the event of resolution of a dispute
 against Recipient, and will be calculated on the basis of a month of thirty (30) days and the actual
 number of days elapsed.




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 3.     Term and Termination.

         (a)    Term. The term of this Agreement will commence on the Effective Date and,
 unless sooner terminated pursuant to Section 3(b) or Section 3(c), continue until the expiration or
 termination of all Transition Periods for Services, (the “Term”). “Transition Period” shall mean,
 with respect to each of the Services set forth on Schedule A, the period commencing on the
 Effective Date and, subject to Section 4(a), expiring and terminating upon the date specified for
 such Service in Schedule A unless sooner terminated as set forth in this Agreement (the last date
 in each such term is referred to herein as the “Termination Date” for each of such Services).
 Recipient will use commercially reasonable efforts to end Recipient’s need to use each Service as
 soon as commercially practicable following the Effective Date, but in no event shall Recipient’s
 use of the Services extend later than the expiration of the applicable Transition Period for such
 Service.

         (b)    Termination by Recipient. Recipient will have no obligation to continue to use any
 of the Services and, except as otherwise specified in Schedule A, may terminate a Service in
 whole, or in part, by giving Provider not less than thirty (30) days’ prior written notice of its desire
 to terminate such Service; with such termination effective on the expiration of such thirty (30)-day
 notice period. As soon as reasonably practicable following receipt of any such notice, Provider
 will notify Recipient in writing as to whether the termination of such Service may require the
 termination of, or otherwise affect the performance of, any other Services, and the Parties shall use
 commercially reasonable efforts to establish a plan for the provision of such affected Services.
 Upon receipt of such notice from Provider, Recipient may withdraw or confirm its termination
 notice within five (5) Business Days following the receipt of such notice from Provider. No
 termination notice will be deemed final unless Recipient provides Provider with written notice
 confirming such termination notice. If Recipient terminates a Service in part, and that part of the
 Service does not have its Fee broken out separately, then the full Fee for the full Service will
 continue to apply, and the Parties will discuss in good faith appropriate reductions (if any) to the
 Fees for that Service.

        (c)     Termination for Breach.

                (i)    By Provider. Either Party, in its capacity as provider of the Services or
        Reverse Services, as applicable, may terminate its respective obligation to provide a
        particular Service or Reverse Service (as applicable) immediately upon written notice if
        (1) the other Party, in its capacity as Recipient, materially breaches this Agreement in
        respect of such Service or Reverse Service (as applicable) and has not cured such breach
        within ten (10) days after receipt from the other Party of written notice of such breach, or
        (2) such Service or Reverse Service (as applicable) can no longer be provided as a result
        of a Bankruptcy Disposition.

               (ii)      By Recipient. Either Party, in its capacity as recipient of the Services or
        Reverse Services, as applicable, may terminate any or all Services or Reverse Services (as
        applicable) it is receiving immediately upon written notice if the other Party, in its capacity
        as Provider, materially breaches this Agreement and has not cured such breach within ten
        (10) days after receipt from the other Party of written notice of such breach.



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         (d)    Effect of Termination. Each Party acknowledges and agrees that the expiration or
 termination of a Service or this Agreement with respect to a Service for any reason shall not release
 a Party from any liability or obligation with respect to those Services that have not been terminated
 (including the continuing duty to provide those Services or portions thereof that have not been
 terminated), or other obligation that already has accrued as of the effective date of such
 termination, as applicable, and shall not constitute a waiver or release of, or otherwise be deemed
 to adversely affect, any rights, remedies, or claims which a Party may have hereunder at Law, in
 equity or otherwise or which may arise out of or in connection with such termination. In the event
 of the expiration or termination of this Agreement or any Service for any reason, all applicable
 rights and obligations of the Parties will immediately cease and terminate with respect to this
 Agreement or such Service, as applicable, and no Party will have any further obligation to the
 other Party with respect to this Agreement (or such Service), except (i) for payment of Fees
 accrued but unpaid, (ii) MedImpact’s obligation to remit cash in connection with the EIC Service
 listed on Schedule B, and (iii) any obligations that survive pursuant to Section 3(e).

        (e)     Survival. Section 2, Section 3(d), Section 3(e), Section 5, Section 6, Section 7,
 Section 8, and Section 9 shall survive any termination or expiration of this Agreement.

 4.     Third-Party Agreements; Information Security and Privacy.

         (a)     Third-Party Agreements. Recipient agrees to comply with the terms of any license
 or other agreement of Provider or any of its Affiliates relating to the performance of any Services.
 Recipient acknowledges that certain Services are dependent on specific underlying third-party
 software, systems, or services and any such Services are limited to the scope and time limits
 imposed in any license or temporary right-to-use granted by the licensor or service provider
 thereof, and as such, subject to any Consents obtained hereunder, Provider will have no obligation
 to provide any such Service, beyond the scope or time limits permitted by the licensor or service
 provider.

         (b)     Information Systems. Each Party shall use commercially reasonable efforts to
 maintain an information security program designed to protect Personal Information. In accessing
 any Provider systems or platforms, Recipient shall (and shall cause its employees to) comply with
 Provider’s reasonable policies and instructions, including rules and procedures pertaining to safety,
 infrastructure, information technology systems, security, and confidentiality. Each Party shall
 comply with applicable Laws related to information security and data privacy as it applies to the
 provision or receipt of Services, respectively.

 5.     Representations and Warranties.

          (a)    Mutual. Each Party hereby represents and warrants to the other that: (i) the
 execution, delivery and performance of this Agreement has been duly and validly authorized; and
 (ii) this Agreement constitutes the valid and binding obligations of each Party, enforceable against
 each Party in accordance with its terms (subject to bankruptcy, moratorium, and similar laws and
 subject to the application of specific performance and other equitable principles).

      (b)  Disclaimer. EXCEPT AS OTHERWISE SET FORTH IN THIS AGREEMENT,
 THE SERVICES ARE PROVIDED “AS-IS” AND NEITHER PARTY MAKES ANY



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 REPRESENTATIONS OR WARRANTIES WITH RESPECT TO THIS AGREEMENT. EACH
 PARTY DISCLAIMS ALL WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY
 IMPLIED WARRANTIES OF TITLE, NON-INFRINGEMENT, MERCHANTABILITY OR
 FITNESS FOR A PARTICULAR PURPOSE, EXCEPT TO THE EXTENT THAT ANY
 WARRANTIES IMPLIED BY LAW CANNOT BE VALIDLY WAIVED.

 6.     Limitations on Liability.

       (a)   EXCEPT IN CONNECTION WITH A BREACH BY EITHER PARTY OF ITS
 OBLIGATIONS UNDER SECTION 8 (CONFIDENTIALITY) AND EXCEPT WITH RESPECT
 TO SECTION 7 AND SUBJECT TO THE PROVISIONS THEREOF(HEALTHCARE PERMIT-
 RELATED SERVICES INDEMNIFICATION), IN NO EVENT WILL EITHER PARTY OR
 ANY OF THEIR RESPECTIVE AFFILIATES BE LIABLE FOR ANY SPECIAL,
 INCIDENTAL, INDIRECT, PUNITIVE, OR CONSEQUENTIAL DAMAGES OR LOST
 PROFITS, LOSS OF REVENUE, OR LOST SALES IN CONNECTION WITH THIS
 AGREEMENT REGARDLESS OF WHETHER SUCH PARTY WAS ADVISED OF THE
 POSSIBILITY OF SUCH CLAIMS, LOSSES, DAMAGES, INJURIES, OR LIABILITIES.
 EXCEPT IN CONNECTION WITH A BREACH BY EITHER PARTY OF ITS OBLIGATIONS
 UNDER SECTION 8 (CONFIDENTIALITY) AND EXCEPT WITH RESPECT TO SECTION 7
 AND SUBJECT TO THE PROVISIONS THEREOF (HEALTHCARE PERMIT-RELATED
 SERVICES INDEMNIFICATION), RECIPIENT’S OBLIGATION TO PAY AMOUNTS DUE
 HEREUNDER, OR MEDIMPACT’S OBLIGATION TO REMIT CASH IN CONNECTION
 WITH THE EIC SERVICE LISTED ON SCHEDULE B, THE AGGREGATE DAMAGES FOR
 WHICH EITHER PARTY MAY BE LIABLE IN CONNECTION WITH OR AS A RESULT OF
 THIS AGREEMENT OR THE SERVICES SHALL NOT EXCEED THE AMOUNT EQUAL TO
 THE AGGREGATE AMOUNT PAID TO THE APPLICABLE PARTY AS THE PROVIDER
 OF THE SERVICES OR REVERSE SERVICES, AS APPLICABLE, UNDER THIS
 AGREEMENT FOR THE APPLICABLE SERVICE OR REVERSE SERVICE GIVING RISE
 TO THE CLAIM FOR DAMAGES IN THE LAST THREE MONTHS LEADING UP TO THE
 CLAIM. THE LIMITATIONS ON LIABILITY IN THIS SECTION 6 APPLY TO ANY AND
 ALL CLAIMS, LOSSES, DAMAGES, INJURIES, OR LIABILITIES, HOWEVER CAUSED
 AND REGARDLESS OF THE THEORY OF LIABILITY, WHETHER DERIVED FROM
 CONTRACT, TORT (INCLUDING NEGLIGENCE), OR ANY OTHER LEGAL THEORY,
 EVEN IF EITHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH CLAIMS,
 LOSSES, DAMAGES, INJURIES, OR LIABILITIES, AND REGARDLESS OF WHETHER
 THE LIMITED REMEDIES UNDER THIS AGREEMENT FAIL OF THEIR ESSENTIAL
 PURPOSE.

          (b)   Duty to Mitigate. Each Party shall use commercially reasonable efforts to mitigate
 liability, damages, and other losses arising out of, relating to, or in connection with, any
 performance or lack of performance under this Agreement.

          (c)     Re-performance. In the event of any breach of Section 1 of this Agreement by
 Provider with respect to the provision of any Service, Provider shall use commercially reasonable
 efforts to correct in all material respects such breach or re-perform in all material respects such
 Services in substantially the same time and manner that Provider would remedy such a failure for
 itself or its other businesses undergoing such a failure or breach, at the request of the Recipient.


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 The remedies set forth in Section 3(c) and this Section 6(c) shall be the sole and exclusive remedies
 of Recipient and its Affiliates, and the sole and exclusive liability of Provider and its Affiliates,
 for any such breach of Section 1 of this Agreement. Any request for re-performance in accordance
 with this Section 6(c) by Recipient must be in writing and specify in reasonable detail the particular
 breach, and such request must be made no more than fifteen (15) days after the date such breach
 becomes apparent or should have reasonably become apparent to the Recipient.

 7.     Healthcare Permit-Related Services Indemnification

         (a)     MedImpact and Birdi, Inc. and each of their respective Subsidiaries, successors and
 assigns (each, an “Indemnifying Party”), jointly and severally, hereby agree that they (and each of
 them) shall indemnify and defend Rite Aid, its Subsidiaries and each of Rite Aid’s and its
 Subsidiaries’ respective Affiliates, directors, officers, members, managers, partners, owners,
 equityholders, employees, managers, Advisors, and representatives (each, an “Indemnified
 Party”), against, and shall hold each of them harmless from and against, and shall pay and
 reimburse each of them for any and all Losses incurred or sustained by, or imposed upon, the
 Indemnified Parties based upon, arising out of, with respect to, relating to, or by reason of any
 Action, or allegation, of any third party based upon, arising out of, with respect to, relating to, or
 by reason of (i) any of the “Healthcare Permit-Related Services” set forth in the last row of
 Schedule A of the TSA (the “Permit Related Services”) and the provision of such Permit Related
 Services by or on behalf of any Indemnified Party, (ii) the receipt or use of any such Permit Related
 Services by or on behalf of any Indemnifying Party or any of their directors, officers, members,
 partners, employees, consultants, Advisors, or representatives, (iii) any actions or omissions of any
 Indemnifying Party or any of their directors, officers, members, partners, employees, consultant,
 Advisors, or representatives in connection with any of the foregoing, (iv) any violation or alleged
 violation of Law based on, arising out, or relating to any of the foregoing, and (v) any Action
 (including if any Indemnified Party was, is, or is threatened to be made, a party to or a participant
 (as a witness, deponent or otherwise) in any such Action and including in all cases any appeal
 therefrom) arising out of or relating to any of the foregoing.

         (b)    “Losses” means any losses, judgments, settlements, costs, Liabilities, claims,
 obligations, charges, interest, fines, Taxes, penalties, assessments, damages (including incidental,
 consequential, special, aggravated, exemplary or punitive damages actually awarded by a court or
 Governmental Body or agreed by the Indemnitors’ Representative in accordance with Section 7(f)
 and reasonable out-of-pocket fees, costs and expenses (including reasonable consultant’s and
 expert’s fees and expenses and costs, and reasonable fees and expenses of legal counsel and
 reasonable costs, fees and expenses of investigation, defense or settlement).

        (c)      The purchase, establishment, and maintenance of any insurance by any Indemnified
 Party shall not in any way limit or affect the rights and obligations of any Indemnifying Party or
 Indemnified Party under this Agreement.

         (d)    (i) No Indemnified Party shall have any obligation to pursue any indemnification,
 hold harmless, advancement, contribution or insurance coverage among any Persons possessing
 or owing such duties or obligations to any Indemnified Party prior to the Indemnifying Party’s
 satisfaction and performance of all of its obligations under this Agreement, and (ii) each the
 Indemnifying Parties shall perform fully its obligations under this Agreement without regard to


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 whether any Indemnified Party holds, may pursue, or has pursued any indemnification,
 advancement, hold harmless, contribution or insurance coverage rights against any other Person.

          (e)      Any Indemnified Party may have certain rights to indemnification, advancement of
 Expenses and/or insurance provided by other Persons or their Affiliates or by personal policies
 (collectively, the “Other Indemnitors”). Each Indemnifying Party hereby agrees (i) that it is the
 indemnitor of first resort (i.e., its obligations to Indemnitee are primary and any obligation of the
 Other Indemnitors to provide indemnification for the same Expenses or Losses are secondary), (ii)
 that it shall be liable for the full amount of all Losses, without regard to any rights Indemnitee may
 have against the Other Indemnitors, and, (iii) that it irrevocably waives, relinquishes and releases
 the Other Indemnitors from any and all claims against the Other Indemnitors for contribution,
 subrogation or any other recovery of any kind in respect thereof. In the event any Indemnified
 Party pursues any indemnification, hold harmless, advancement, contribution or insurance
 coverage, the Person that has paid such Indemnified Party, to the fullest extent permitted by Law,
 shall be subrogated to the extent of such payment to all of the rights of recovery of the Indemnified
 Parties hereunder.

         (f)     Each of the Indemnifying Parties hereby irrevocably designates MedImpact to
 serve as the representative of such Indemnifying Party (in such capacity, the “Indemnitors’
 Representative”) with respect to the matters set forth in this Section 7 to be performed by such
 Indemnifying Party. Each of the Indemnifying Parties hereby irrevocably constitutes and appoints
 MedImpact as the representative, agent, proxy and attorney-in-fact for such Indemnifying Party
 for all purposes under this Agreement as set forth in this Section 7. Such appointment includes
 the full power and authority on such Indemnifying Party’s behalf (i) to fulfill the obligations of
 such Indemnifying Party contemplated in this Section 7; (ii) to negotiate, execute and deliver on
 behalf of such Indemnifying Party any amendment or waiver to this Section 7; (iii) to control,
 negotiate and compromise, on behalf of such Indemnifying Party, any claim and any dispute that
 may arise under, and exercise or refrain from exercising any remedies available under, this
 Section 7, (iv) to execute, on behalf of such Indemnifying Party, any settlement agreement, release
 or other document with respect to any such claim or such other dispute or remedy; (v) to engage
 attorneys, accountants, agents or consultants on behalf of such Indemnifying Party in connection
 with this Agreement or any other agreement contemplated hereby and paying any fees related
 thereto; (vi) to take all other actions to be taken by or on behalf of such Indemnifying Party in
 connection with this Section 7; and (vii) to do each and every act and exercise any and all rights
 which such Indemnifying Party is (or the Indemnifying Parties collectively are) permitted or
 required to do or exercise under this Section 7. All decisions and actions by (to the extent
 authorized by this Agreement) the Indemnitors’ Representative shall be binding upon all of the
 Indemnifying Parties, and no Indemnifying Party shall have the right to object, dissent, protest or
 otherwise contest the same. The appointment of the Indemnitors’ Representative as the
 representative, agent, proxy and attorney-in-fact for each of the Indemnifying Parties hereunder is
 coupled with an interest, and such designation is irrevocable and shall not be affected by the death,
 incapacity, illness, bankruptcy, dissolution or other inability to act of any Indemnifying Party.

        (g)     The Indemnifying Parties each hereby agree that its obligations under this
 Agreement are irrevocable, absolute and unconditional and shall not be discharged as a result of
 or otherwise affected by any amendment or other modification of the Purchase Agreement, the
 governing documents of any Indemnifying Party or Indemnified Party, or any other agreement or


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 instrument or by any defense, right of setoff or counterclaim under or in respect of, or any other
 circumstance involving, any other agreement or instrument, except by written amendment of this
 Agreement duly executed by each of the Indemnitors’ Representative and Rite Aid. This Section 7
 shall survive any termination or expiration of this Agreement.

         (h)     An Indemnified Party shall promptly notify the Indemnitors’ Representative in
 writing of any claim in respect of which indemnity may be sought under this Section 7, including
 any pending or threatened claim or demand by a third party that the Indemnified Party has
 determined has given or could reasonably give rise to a right of indemnification under this
 Agreement, describing in reasonable detail the facts and circumstances thereof; provided,
 however, that the failure to provide such notice shall not release the Indemnifying Parties from
 any of its obligations under this Section 7, except to the extent the Indemnifying Parties are
 actually and materially prejudiced by such failure. The Parties shall thereafter follow the
 procedures for disputes set forth in Section 1(i) of this Agreement, but without giving effect to the
 first sentences of Section 1(i) and proceeding directly to the individuals referred to in the third
 sentence of Section 1(i) (without waiting the ten (10) Business days (or such longer period)
 referred to therein).

          (i)      Subject to compliance with Section 7(h) above, each Indemnified Party shall be
 entitled, in its sole and absolute discretion, to set-off any amounts owed to such Indemnified Party
 under this Section 7 against any amounts owing by any Indemnified Party under this Agreement,
 the ROI Agreement, the Purchase Agreement, or any other document or instrument delivered in
 connection herewith. For the avoidance of doubt, no Indemnifying Party shall be entitled to make
 any payments owing to any Indemnified Party under this Section 7 by way of set-off, netting,
 offset, recoupment or similar actions with respect to amounts owing by such Indemnified Party or
 any other Indemnified Party without the prior written consent of such first Indemnified Party.

         (j)     To the fullest extent permissible under Law, to the extent the indemnification, hold
 harmless, or defense rights provided for in this Agreement are unavailable to the Indemnified
 Parties in whole or in part for any reason whatsoever, the Indemnifying Parties, in lieu of
 indemnifying, holding harmless, or defending the Indemnified Parties, shall pay, in the first
 instance, the entire amount incurred by the Indemnified Parties, for such Losses without requiring
 the Indemnified Parties to contribute to such payment.

          (k)     Each Other Indemnitor and Indemnified Party is an intended third party beneficiary
 of this Section 7 and shall be entitled to enforce this Section 7 against the Indemnifying Parties as
 if directly a party hereto.

 8.     Confidentiality.

         (a)      Definition of Confidential Information. “Confidential Information” means any and
 all technical or commercial information disclosed to, or learned, as a result of the performance of
 the Services, by, a Party (the “Receiving Party”) that is non-public, confidential or proprietary to
 the other Party (the “Disclosing Party”) including software, trade secrets, documents, project plans,
 spreadsheets, documentation, systems information, prototypes, product samples, drawings,
 databases, e-mail messages, systems configuration information, models, apparatus, sketches,
 designs, lists, customer information, business plans, forecasts, financial data and analyses, and all


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 other information that, by its nature, should reasonably be considered confidential or proprietary.
 Notwithstanding the foregoing, the obligations regarding non-use and non-disclosure set forth in
 Section 8(b) shall not apply to information that: (i) is or hereafter becomes part of the public
 domain by public use, publication, general knowledge or the like through no wrongful act, fault,
 or negligence on the part of Receiving Party or its Representatives; (ii) can be demonstrated by
 documentation or other competent proof to have been in the Receiving Party’s possession prior to
 disclosure by or on behalf of the Disclosing Party without any obligation of confidentiality with
 respect to said information; provided, however, that the foregoing exception shall not apply with
 respect to Confidential Information in the Receiving Party’s possession prior to the Effective Date;
 (iii) is subsequently received by the Receiving Party from a third party who is not bound by any
 obligation of confidentiality with respect to said information; or (iv) can be demonstrated by
 documentation or other competent evidence to have been independently developed by or for the
 Receiving Party without reference to the Disclosing Party’s Confidential Information; provided,
 however, that the foregoing exception shall not apply with respect to Business Confidential
 Information. For the avoidance of doubt, and notwithstanding anything to the contrary in the
 foregoing, Business Confidential Information shall be the Confidential Information of MedImpact.

         (b)     Confidentiality. At all times during the Term and after expiration or termination,
 so long as the Confidential Information is not subject to one of the exceptions in Section 8(a)(i) –
 (iv), each Party shall, and shall cause its Affiliates, and its and their current and former respective
 officers, directors, employees and agents (collectively, such receiving party’s “Representatives”)
 to, keep completely confidential and not publish or otherwise disclose the other party’s
 Confidential Information, except to the extent disclosure is expressly permitted by the terms of
 this Agreement in order for the Receiving Party to perform its obligations or exercise its rights
 under this Agreement. Further, each Receiving Party shall only use Confidential Information of
 Disclosing Party solely for the purposes of performing its obligations and exercising its rights
 under and in accordance with this Agreement. Each Receiving Party shall (and shall cause its
 Representatives to) take at least the same degree of care as it would use for its own non-public,
 confidential or proprietary information of a similar nature (and shall use no less than a reasonable
 degree of care) except as expressly permitted under this Section 8. Each Receiving Party may
 disclose Confidential Information disclosed to it by the Disclosing Party to the extent that such
 disclosure by the Receiving Party is: (i) required by applicable Law; provided, however, that the
 Receiving Party, where reasonably possible, shall first have given notice to the Disclosing Party
 and give the Disclosing Party a reasonable opportunity to quash any applicable order or obtain a
 protective order requiring that the Confidential Information and documents that are the subject of
 such order be held in confidence; and provided further that if a disclosure order is not quashed or
 a protective order is not obtained, the Confidential Information disclosed in response to such court
 or governmental order shall be limited to the information that is legally required to be disclosed in
 response to such court or governmental order; (ii) made by the Receiving Party or its
 Representative to its attorneys, auditors, advisors, consultants, contractors, licensees or other third
 parties in connection with the performance of its obligations or exercise of its rights as
 contemplated by this Agreement; provided, however, that such individuals or entities shall be
 subject to obligations of confidentiality substantially similar to the Receiving Party’s obligations
 hereunder; or (iii) made by the Receiving Party or its Representative to actual or prospective
 acquirers, merger candidates, financing sources, or investors (and to their respective Affiliates,
 Representatives, and financing sources); provided that each such third party signs an agreement
 that contains obligations of confidentiality substantially similar to the Receiving Party’s


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 obligations hereunder. In the event of a conflict between Section 8 (Confidentiality) of this
 Agreement and Section 6.14 (Confidentiality) of the Purchase Agreement, Section 6.14 of the
 Purchase Agreement shall control.

         (c)     Return or Destruction. Upon a Party’s request from time to time or upon the
 expiration or termination of this Agreement, the Receiving Party shall: (a) return to the Disclosing
 Party, or at the Disclosing Party’s option, the Receiving Party shall destroy, items of Confidential
 Information of the Disclosing Party then in the Receiving Party’s possession or control, including
 any copies, extracts or portions thereof, and (b) upon request shall certify in writing to Disclosing
 Party that it has complied with the foregoing.

         (d)     Patient Records and HIPAA Compliance. In providing the Services hereunder the
 Parties understand and agree that Provider may act as a Business Associate of Recipient for
 purposes of the Health Insurance Portability and Accountability Act of 1996, as amended by the
 Health Information Technology for Economic and Clinical Health Act which was part of the
 American Recovery and Reinvestment Act of 2009, as amended, and their respective
 implementing regulations (“HIPAA”). As such, the Parties shall enter into and comply with the
 Business Associate Agreement attached hereto as Schedule C (“Business Associate Agreement”)
 and incorporated herein by reference. In the event of a conflict between the terms of this
 Agreement and the Business Associate Agreement, the Business Associate Agreement shall
 control. Notwithstanding anything in this Agreement to the contrary, the preparation,
 maintenance, administration, and otherwise handling of patient records (as applicable) shall
 comply with all applicable Laws including HIPAA and similar state laws, and all such patient
 records shall be located so that they are readily accessible as and to the extent necessary for patient
 care, consistent with ordinary records management practices and applicable Law.

 9.     Miscellaneous.

         (a)    Purchase Agreement. Capitalized terms used herein and not otherwise defined
 herein shall have the meanings assigned to them in the Purchase Agreement. In the event of a
 conflict between the terms of this Agreement and the Purchase Agreement, the terms of the
 Purchase Agreement shall control.

         (b)      Notices. Except as otherwise expressly provided herein, all notices, demands, and
 other communications to be given or delivered under or by reason of the provisions of this
 Agreement will be in writing and will be deemed to have been given (i) when personally delivered,
 (ii) when transmitted by electronic mail (having obtained electronic delivery confirmation
 thereof), if delivered by 5:00 P.M. local time of the recipient on a Business Day and otherwise on
 the following Business Day, (iii) the day following the day on which the same has been delivered
 prepaid to a reputable national overnight air courier service or (iv) the third Business Day
 following the day on which the same is sent by certified or registered mail, postage prepaid, in
 each case, to the respective Party at the number, electronic mail address, or street address, as
 applicable, set forth below, or at such other number, electronic mail address, or street address as
 such Party may specify by written notice to the other Party.




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              Notices to Recipient:

              10181 Scripps Gateway Ct
              San Diego, CA 92131
              Attention:    Rod Wade, VP Contracts
                            Nancy Radtke, General Counsel
                            James Gollaher, CFO
              Email:        rod.wade@medimpact.com
                            Nancy.Radtke@medimpact.com
                            james.gollaher@medimpact.com

              with a copy to (which shall not constitute notice):

              DLA Piper LLP (US)
              4365 Executive Drive, Suite 1100
              San Diego, California 92121
              Attention:    David Clark
              Email:        David.Clark@us.dlapiper.com

              Notices to Provider:

              Rite Aid Hdqrts. Corp.
              c/o Rite Aid Corporation
              200 Newberry Commons
              Etters, PA 17319
              Attention:    Thomas Sabatino

              Email:         Thomas.Sabatino@riteaid.com


              with copies to (which shall not constitute notice):

              Kirkland & Ellis LLP
              300 N. Lasalle
              Chicago, IL 60654
              Attention:     Aparna Yenamandra, P.C.
                             Steve Toth

              Email:         aparna.yenamandra@kirkland.com
                             steve.toth@kirkland.com

       (c)    Binding Effect; Assignment.

               (i)     This Agreement shall be binding upon Recipient and, subject to the terms
       of the Bidding Procedures Order (with respect to the matters covered thereby) and the entry
       and terms of the Sale Order, Provider, and shall inure to the benefit of and be so binding
       on the Parties and their respective successors and permitted assigns, including any trustee
       or estate representative appointed in the Bankruptcy Cases or any successor Chapter 7


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        cases. Neither Party shall have the right to assign this Agreement or assign or delegate any
        of its rights or obligations hereunder without the prior written consent of the other Party;
        provided, however, that Provider shall have the right, without obtaining the prior written
        consent of Recipient, to (A) subcontract the performance of Services, subject to
        Section 1(a), and (B) assign this Agreement in connection with a sale of all or substantially
        all of Provider’s assets to which this Agreement relates. Any attempted assignment or
        delegation in violation of the foregoing shall be null and void, ab initio.

                (ii)    Notwithstanding anything herein to the contrary, (A) MedImpact hereby
        understands that in connection with senior financing being provided to Rite Aid and/or its
        Affiliates, Rite Aid has granted a security interest in substantially all assets and all rights,
        title and interests of Rite Aid (the “Collateral”) in favor of Bank of America, N.A. as
        administrative agent and collateral agent under such senior financing (in such capacity, the
        “Agent”) and (B) MedImpact consents to the collateral assignment of Rite Aid’s rights
        under this Agreement by Rite Aid to the Agent. MedImpact agrees to accept any cure of
        any default by Rite Aid under this Agreement by the Agent if such cure is proffered in the
        manner required herein and within the applicable cure periods set forth herein; provided,
        however, and notwithstanding the foregoing, that Rite Aid shall remain liable for
        compliance with the terms and conditions of this Agreement. Notwithstanding the
        provisions hereof (X) the Agent shall have no obligation to cure any such default; (Y) the
        cure by the Agent of any such default on any one occasion shall not obligate the Agent to
        cure any other breach or default on any other occasion; and (Z) Rite Aid remains liable for
        any act or omission of the Agent in connection with this Agreement. Unless otherwise
        expressly set forth in this Section 9(c)(ii), the Agent shall not have hereby assumed any
        obligations of Rite Aid under this Agreement. The Agent shall be deemed to be a third-
        party beneficiary under this Agreement to the extent of its rights under this Section 9(c)(ii)
        and shall have the right to enforce this Agreement to the extent of Rite Aid’s rights
        hereunder. This Section 9(c)(ii) may not be amended without the prior written consent of
        the Agent; provided that the consent of the Agent shall not be required for any other
        amendment or modification to this Agreement.

         (d)     Amendment and Waiver. Any provision of this Agreement may be (i) amended
 only in a writing signed by Provider and Recipient or (ii) waived only in a writing executed by the
 Party against which enforcement of such waiver is sought. No waiver of any provision hereunder
 or any breach or default thereof will extend to or affect in any way any other provision or prior or
 subsequent breach or default.

        (e)     Third Party Beneficiaries. Except as otherwise expressly provided herein, nothing
 expressed or referred to in this Agreement will be construed to give any Person other than (i) for
 purposes of Section 9(f), the Non-Recourse Parties, and (ii) the Parties hereto and any permitted
 assigns, any legal or equitable right, remedy, or claim under or with respect to this Agreement or
 any provision of this Agreement.

         (f)     Non-Recourse. This Agreement may only be enforced against, and any Action
 based upon, arising out of or related to this Agreement may only be brought against, the Persons
 that are expressly named as parties to this Agreement. Except to the extent named as a party to this
 Agreement, and then only to the extent of the specific obligations of such parties set forth in this


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 Agreement, no past, present or future shareholder, member, partner, manager, director, officer,
 employee, Affiliate, agent or Advisor of any Party (each, a “Non-Recourse Party”) will have any
 Liability (whether in contract, tort, equity or otherwise) for any of the representations, warranties,
 covenants, agreements or other obligations or Liabilities of any of the parties to this Agreement or
 for any Agreement Dispute.

         (g)     Severability. Whenever possible, each provision of this Agreement will be
 interpreted in such manner as to be effective and valid under applicable Law, but if any provision
 of this Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction,
 such provision will be ineffective only to the extent of such prohibition or invalidity in such
 jurisdiction, without invalidating the remainder of such provision or the remaining provisions of
 this Agreement or in any other jurisdiction.

         (h)    Construction. The language used in this Agreement will be deemed to be the
 language chosen by the Parties to express their mutual intent, and no rule of strict construction will
 be applied against any Person. The headings of the sections and paragraphs of this Agreement have
 been inserted for convenience of reference only and will in no way restrict or otherwise modify
 any of the terms or provisions hereof.

          (i)     Complete Agreement. This Agreement, together with the Confidentiality
 Agreement and any other agreements expressly incorporated herein or therein, contains the entire
 agreement of the Parties respecting the sale and purchase of the Acquired Assets and the Assumed
 Liabilities and the Transactions and supersedes all prior agreements among the Parties respecting
 the sale and purchase of the Acquired Assets and the Assumed Liabilities and the Transactions. In
 the event an ambiguity or question of intent or interpretation arises with respect to this Agreement,
 the terms and provisions of the execution version of this Agreement will control and prior drafts
 of this Agreement and the documents referenced herein will not be considered or analyzed for any
 purpose (including in support of parol evidence proffered by any Person in connection with this
 Agreement), will be deemed not to provide any evidence as to the meaning of the provisions hereof
 or the intent of the Parties with respect hereto and will be deemed joint work product of the Parties.

         (j)     Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees that any
 Action of any kind whatsoever, including a counterclaim, cross-claim, or defense, regardless of
 the legal theory under which any Liability or obligation may be sought to be imposed, whether
 sounding in contract or in tort or under statute, or whether at law or in equity, or otherwise under
 any legal or equitable theory, that may be based upon, arising out of, or related to this Agreement
 or the negotiation, execution, or performance of this Agreement or the Transactions and any
 questions concerning the construction, interpretation, validity and enforceability of this Agreement
 (each, an “Agreement Dispute”) brought by any other Party or its successors or assigns will be
 brought and determined only in (i) the Bankruptcy Court and any federal court to which an appeal
 from the Bankruptcy Court may be validly taken or (ii) if the Bankruptcy Court is unwilling or
 unable to hear such Action, in the Court of Chancery of the State of Delaware (or if such court
 lacks jurisdiction, any other state or federal court sitting in the State of Delaware) (the “Chosen
 Courts”), and each of the Parties hereby irrevocably submits to the exclusive jurisdiction of the
 Chosen Courts for itself and with respect to its property, generally and unconditionally, with regard
 to any Agreement Dispute. Each of the Parties agrees not to commence any Agreement Dispute
 except in the Chosen Courts, other than Actions in any court of competent jurisdiction to enforce


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 any Order, decree or award rendered by any Chosen Courts, and no Party will file a motion to
 dismiss any Agreement Dispute filed in a Chosen Court on any jurisdictional or venue-related
 grounds, including the doctrine of forum non-conveniens. The Parties irrevocably agree that venue
 would be proper in any of the Chosen Courts, and hereby irrevocably waive any objection that any
 such court is an improper or inconvenient forum for the resolution of any Agreement Dispute.
 Each of the Parties further irrevocably and unconditionally consents to service of process in the
 manner provided for notices in Section 9(b). Nothing in this Agreement will affect the right of any
 Party to serve process in any other manner permitted by Law.

        (k)     Governing Law; Waiver of Jury Trial.

                (i)     Except to the extent the mandatory provisions of the Bankruptcy Code
        apply, this Agreement and any Agreement Dispute will be governed by and construed in
        accordance with the internal Laws of the State of Delaware applicable to agreements
        executed and performed entirely within such State without regards to conflicts of law
        principles of the State of Delaware or any other jurisdiction that would cause the Laws of
        any jurisdiction other than the State of Delaware to apply.

              (ii) EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
        AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND
        DIFFICULT ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST
        EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A
        TRIAL BY JURY IN ANY AGREEMENT DISPUTE. EACH OF THE PARTIES
        AGREES AND CONSENTS THAT ANY SUCH AGREEMENT DISPUTE WILL BE
        DECIDED BY COURT TRIAL WITHOUT A JURY AND THAT THE PARTIES MAY
        FILE AN ORIGINAL COUNTERPART OF A COPY OF THIS AGREEMENT WITH
        ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES TO
        THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY. EACH
        PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
        REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY
        WOULD NOT, IN THE EVENT OF ANY AGREEMENT DISPUTE, SEEK TO
        ENFORCE THE FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND
        THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS
        AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
        CERTIFICATIONS IN THIS SECTION.

         (l)      No Right of Set-Off. Recipient, on its own behalf and on behalf its Affiliates,
 hereby waives any rights of set-off, netting, offset, recoupment or similar rights that Recipient or
 its Affiliates have or may have with respect to the payment of the Fees or any other payments to
 be made by Recipient pursuant to this Agreement or any other document or instrument delivered
 by Recipient in connection herewith.

         (m)     Counterparts and PDF. This Agreement and any other agreements referred to herein
 or therein, and any amendments hereto or thereto, may be executed in multiple counterparts, any
 one of which need not contain the signature of more than one party hereto or thereto, but all such
 counterparts taken together will constitute one and the same instrument. Any counterpart, to the
 extent signed and delivered by means of a .PDF or other electronic transmission, will be treated in


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 all manner and respects as an original Contract and will be considered to have the same binding
 legal effects as if it were the original signed version thereof delivered in person. Minor variations
 in the form of the signature page to this Agreement or any agreement or instrument contemplated
 hereby, including footers from earlier versions of this Agreement or any such other document, will
 be disregarded in determining the effectiveness of such signature. At the request of any party or
 pursuant to any such Contract, each other party hereto or thereto will re-execute original forms
 thereof and deliver them to all other parties. No party hereto or to any such Contract will raise the
 use of a .PDF or other electronic transmission to deliver a signature or the fact that any signature
 or Contract was transmitted or communicated through the use of PDF or other electronic
 transmission as a defense to the formation of a Contract and each such party forever waives any
 such defense.

          (n)     Force Majeure. Neither Party nor any of their respective Affiliates shall be liable
 to the other Party (and shall not be deemed in breach of this Agreement) for any interruption of
 service, any delays, or any failure to perform under this Agreement to the extent caused by matters
 or events occurring that are beyond the reasonable control of such Party or its Affiliates, including,
 (i) changes to applicable Law; (ii) fires, floods, acts of God, extremes of weather, earthquakes,
 tornadoes, or similar occurrences; (iii) riot, insurrection, or other hostilities; (iv) embargo, or fuel
 or energy shortage; or (v) quarantine measures, epidemics or pandemics (including COVID-19 or
 the effects of any COVID-19 Measures or Recipient’s or Provider’s compliance therewith) (each,
 a “Force Majeure Event”). Each Party shall use its good faith efforts to promptly notify the other
 upon learning of the occurrence of a Force Majeure Event and the affected Party shall use its
 commercially reasonable efforts to mitigate and eliminate the Force Majeure Event as promptly as
 practicable in order to resume performance. Upon the cessation of the Force Majeure Event, the
 Parties will promptly resume performance of their obligations under this Agreement. Recipient
 shall not be required to pay for any Services to the extent not provided during the period in which
 such Services are not being provided as a result of a Force Majeure Event and shall be entitled in
 its sole discretion to toll the term of such Services until such Services are resumed.

         (o)     Relationship of the Parties. Provider and its applicable Affiliates shall remain at all
 times an independent contractor of Recipient in the performance of all Services hereunder. In all
 matters relating to this Agreement, each Party will be solely responsible for the acts of its
 employees and agents, and employees or agents of one Party will not be considered employees or
 agents of the other Party. Except as otherwise provided herein, neither Party will have any right,
 power, or authority to create any obligation, express or implied, on behalf of the other Party nor
 will either Party act or represent or hold itself out as having authority to act as an agent or partner
 of the other Party, or in any way bind or commit the other Party to any obligations. Nothing in
 this Agreement is intended to create or constitute a joint venture, partnership, agency, trust, or
 other association of any kind between the Parties or Persons referred to herein.

                             (Remainder of page intentionally left blank.)




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         IN WITNESS WHEREOF, the Parties have executed this Transition Services Agreement
 as of the Effective Date.

 Recipient                                  Provider

 MEDIMPACT HEALTHCARE SYSTEMS, INC.                          RITE AID HDQRTS. CORP.


 By:                                        By:
 Name:                                      Name:
 Title:                                     Title:
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                                   Schedule A

                                    Services
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                                                        SCHEDULE A - Transition Services 1

     Category;                                               Description                                                    Cost                   Duration
     Function

 Medication                •   Provide technology and services to members from account                             $357,000/month               Up to 3/31/2024
 Therapy                       management, program administration and the clinicians performing
 Management                    MTM.
 (MTM)

 Finance                   •   Provide support for routing invoice approvals, and system admin                     $1,373/month                     3 months
                               support including control configuration and access.




 Indirect                  •   Procurement support for strategic sourcing, vendor onboarding,                      $7,161/month                     3 months
 Procurement                   purchasing, contract management, spend analysis and vendor issue
                               resolution. Support for provisioning of contracts currently leveraged
                               from Rite Aid not covering Elixir.

 Compliance                •   Provide Compliance support for the services as outlined below.                      $10,890/month                    3 months
                                  o   Provide support to Elixir compliance investigations for any calls
                                      concerning Elixir received on the Rite Aid Compliance Hotline, if
                                      needed or just refer the call into the Buyer’s process should a
                                      call come into the existing Compliance Hotline.
                                  o   Provide transition support with existing policies, procedures, etc.
                                      including support to lead a Policies & Procedures approval
                                      committee (monthly) or as needed and support any integration
                                      of policies between Elixir and Buyer; Elixir has existing
                                      compliance related policies.
                                  o   Provide interim compliance program management support to
                                      help with transition of any open items (catch-all for general
                                      compliance program support).

        1
          For the avoidance of doubt, each row in the table contained in this Schedule may contain one or more Transition Services (each of which Transition
Services may be terminated individually by Recipient pursuant to Section 3(b) of the Agreement.
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   Category;                                     Description                                           Cost           Duration
   Function


Information       Provide IT Shared Services support for the applications and services as    Amazon Web                Alteryx:
Technology        outlined below.                                                            Services:
                                                                                                                   Up to 6/29/2024
                   •   Provide Corporate Shared Business Application support and licensing   At Cost
                       for the following applications:
                                                                                                                   Adobe Workfront:
                        o   Coupa                                                            All others:
                        o   Tableau                                                                                Up to 6/28/2024
                                                                                             $384,529/month
                        o   Adobe Workfront
                        o   Adobe Experience Manager
                        o   Workday                                                                                   Microsoft:
                        o   OpenText                                                                               Up to 6/30/2024
                        o   Zscaler
                        o   Microsoft 365
                        o   Microsoft Azure Active Directory                                                         Smartsheet:
                        o   Microsoft Defender
                        o   Microsoft SQL Server                                                                   Up to 2/29/2024
                        o   Microsoft Azure DevOps
                        o   Microsoft Visual Studio
                        o   Microsoft SharePoint                                                                      All others:
                        o   Service Now                                                                                6 months
                        o   Rapid7 (Insight VM)
                        o   SailPoint
                        o   CyberArk
                        o   Guidepoint (Anomali)
                        o   MalewareBytes
                        o   Veritas Enterprise Vault
                        o   KNOWBE4
                        o   Akamai
                        o   CrowdStrike
                        o   Alteryx
                        o   Blackline
                        o   Everbridge
                        o   Smartsheet
                        o   Dynatrace


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Category;                                     Description                                      Cost        Duration
Function

                •   Provide Corporate Shared Business Application support only for the
                    following applications. Licensing for these applications is managed by
                    the receiver of the TSA services and is not required to be provided by
                    the provider.
                    o   Impreva RASP
                    o   AlgoSec
                    o   Castellan Systems
                    o   Malewarebytes
                    o   Duo Security
                •   Provide Telecomm support including:
                    o   Desk phones, soft phones, and corporately managed mobile
                        phones
                    o   Site to site telecommunications equipment and coordination with
                        third parties
                    o   Voicemail system support
                •   Provide Network Management support including:
                    o   Data network site connectivity for all locations
                    o   On site internet access
                    o   Support and maintain active directory and account maintenance
                        including add / modify / delete
                    o   Create / modify / delete shared drives, folders, and printers in the
                        course of normal business
                    o   Support services for all site network equipment
                •   Provide Messaging and Collaboration support including:
                    o   Maintaining mailboxes for employees and personnel
                    o   Exchange mailbox administration including adds, modifications,
                        and deletes
                    o   Microsoft Office 365 administration
                    o   Email retention services
                •   Provide help desk support including:
                    o   Desktop software support

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   Category;                                       Description                                                Cost           Duration
   Function
                        o   End user device imaging
                        o   Physical and logical network help desk
                        o   End user device hardware break / fix service
                        o   End user device procurement
                        o   Third party labor support
                   •    Provide Cybersecurity support including:
                        o   Endpoint security
                        o   Identity and access management
                        o   Network monitoring, vulnerability management, and application
                            security
                        o   Multifactor Authentication
                        o   SOC and SEIM
                   •    Provide support for data center operations for provider owned facilities,
                        including:
                        o   Physical hardware maintenance and breakfix support
                        o   Site utilities, including HVAC, power and redundant services
                            where necessary
                        o   Data center connectivity and networking
                   •    Provide support for vendor information security risk assessments
                   •    Provide access to cloud-hosting technologies, where entanglement
                        with Rite Aid environments exists, including:
                        o   Amazon Web Services

Healthcare          •   As requested by Recipient and its Affiliates, reasonably cooperate with       $0.00               Powers of
Permit-Related          all information and document requests from Recipient or its Affiliates                            Attorney: 180
Services                related to (i) Recipient’s applications for Healthcare Permits, and/or (ii)                       days or such
                        Recipient’s efforts to obtain Powers of Attorney to operate under                                 longer time as
                        Provider’s Healthcare Permits during the pendency of Recipient’s                                  may be
                        applications, to the extent permitted under state law.                                            consented to by
                                                                                                                          Provider
                    •   As requested by Recipient and its Affiliates, reasonably cooperate with
                        and/or in all communications and meetings with applicable regulatory
                        agencies in connection with maintaining Provider’s Healthcare Permits

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        Category;                                       Description                                               Cost                Duration
        Function
                              and/or obtaining Recipient’s new Healthcare Permits, including but not
                              limited to in connection with Recipient’s efforts to obtain Powers of
                              Attorney to operate under Provider’s Healthcare Permits during the
                              pendency of Recipient’s applications, to the extent permitted under
                              state law. As reasonably requested by Recipient and its Affiliates,
                              review and sign off on all paperwork required for Provider to maintain
                              its Healthcare Permits.
                          •   Powers of attorney, in the form(s) attached as Annex A hereto (“Powers
                              of Attorney”), for pharmacy-related licensure and for the U.S. DEA
                              registration shall be available to and utilized by Recipient with respect
                              to those registrations set forth within each such Powers of Attorney,
                              each, inclusive of any exhibits to such Powers of Attorney, as may be
                              amended from time to time by and between the parties.

 Temporary Use           •    Elixir Puerto Rico, Inc. to continue to employ and remain responsible       $2,300/month for         60 days from
 of Puerto Rico               for provision of salary and benefits to, and remain the employer of         payroll processing       Closing
 Employees                    record of, the employees of Elixir Puerto Rico, Inc. (“PR Employees”),      and ADP
                              including but limited to with respect to any employment-related
                                                                                                          And costs of service
                              liabilities arising during the 60-day period following Closing              provider fees directly
                         •    Make each PR Employee available to Purchaser for 40 hours per               related to the PR
                              week                                                                        Employees
                         •    Maintain ADP payroll relationship                                           MedImpact to fund
                                                                                                          periodic payroll to
                         MedImpact to make offers to and, if accepted, hire PR Employees in               ADP on behalf of
                         accordance with Section 6.3 of the Purchase Agreement, no later than             Elixir Puerto Rico,
                         Termination Date for this Service.                                               Inc. and pay health
                                                                                                          and retirement
                                                                                                          benefits provider
                                                                                                          invoices with respect
                                                                                                          to PR Employees


Recipient Subsidiaries and Affiliates:

    •     Designated Purchasers

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                                                   ANNEX A

                                               Powers of Attorney

Please see attached.
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                                 POWER OF ATTORNEY FOR
                             CONTINUING PHARMACY OPERATIONS

       WHEREAS, affiliates of each Elixir Pharmacy LLC (“Company”) and Birdi, Inc. (“Birdi”) have
entered into an Asset Purchase Agreement (the “Agreement”), the closing of the transactions under
which is expected occur on or about February 1, 2024.

      WHEREAS, for purposes of this Power of Attorney for Continuing Pharmacy Operations
(“POA”), Company, as it exists prior to the transaction under the ownership and associated permit
numbers are referred to as “Registrant”.

      WHERAS, for purposes of this POA, Birdi, Inc. as is exists after the transaction under the new
ownership shall be referred to herein as “Agent”.

       WHEREAS, as a result of the transaction and change of ownership, Agent will obtain pharmacy
permit numbers distinct from Registrant’s.

        NOW, THEREFORE, in consideration of the covenants and agreements set forth in the
Agreement, Registrant and Agent hereby covenant and agree that Agent shall have the full power and
authority under, and the full use and benefit of, any pharmacy license or permit number, or any other
required license, permit, registration, or document, issued to Company for Registrant at each of the
pharmacy locations listed on the attached Exhibit A (together the “Registrations”), for purposes of
continuing and maintaining uninterrupted pharmacy operations in compliance with state and federal law.
This POA shall apply to such Registrations set forth in Exhibit A only as allowed by law and/or the
applicable governing agency. Company agrees that if Birdi provides a copy of a written response,
including email correspondence, from the agency which issued any individual Registration confirming
that Birdi may operate using such Registration after the effective date of the transaction pursuant to a
Power of Attorney, then Exhibit A will be amended to include such Registration, provided that Company
is reasonably satisfied that no follow-up is required to confirm the permissibility of a Power of Attorney.
This POA shall automatically terminate as to each individual Registration (i) when the applicable agency
processes the change of ownership on such Registration and/or the Agent secures an individual
Registration to effectively replace the Company’s individual Registration, (ii) as noted in Exhibit A,
provided the agency which issued such Registration has not provided an extension to the time period
noted in Exhibit A, or (iii) July 31, 2024, whichever occurs earlier.

        The parties shall execute a separate Power of Attorney that relates to the DEA registration
numbers and required DEA purchase order forms (222 forms) for the Registrant. Accordingly, the DEA
registration numbers and DEA purchase order forms are not included in the term “Registrations” for
purposes of this POA.

         Effective as of the Closing Date defined by the Agreement (the “Effective Date”), Company
hereby nominates, constitutes, and appoints Agent as its true and lawful Attorney-in-Fact for Company
in its name, place, and stead and hereby gives and grants unto Agent full power and authority to operate
and otherwise conduct business with full use and enjoyment of the aforesaid licenses, permits,
registration numbers, or documents issued to Company for the Registrant and does hereby give and grant
unto Agent full power and authority to represent to third parties said authority and to execute all
necessary forms and other instruments which require the use of said credentials and documents to
perform any act which shall be required by, or be incidental to, the full use and enjoyment of the same.

       Company recognizes that, to the extent required by law, it is legally responsible for its
Registrations (for Illinois purposes, including but not limited to, as required under 68 Ill. Admin. Code
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1330.400(e)) and all activities undertaken with its Registrations until such time as Agent obtains new
Registrations. Company grants the power of attorney based upon the following covenants and warranties
of the Agent: (a) at all times that this power of attorney is in effect, the Agent shall operate the Registrant
and utilize the Registrations in material compliance with all applicable federal, state, and local laws,
rules, statutes, regulations, and ordinances, including, but not limited to, all federal, state and local laws
governing the regulation of controlled substances and pharmacy practice, and (b) Agent shall, in advance
of the effective date of the transaction, make timely application for, diligently pursue, and use its best
efforts to obtain new Registrations as soon as practicable .

        This POA shall be provided to any applicable governmental agency upon request.

                                         [Signature page to follow]




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IN WITNESS WHEREOF, Agent and Seller have executed this POA for use of the Registrations.

                                              Principal:
                                              By:
                                              Name:
                                              Title:
 WITNESS

                                              Agent:

                                              By:
 WITNESS                                      Name:
                                              Title:
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                                           Exhibit A

                                          Registrations

  1. Alaska
           a. Elixir Pharmacy, LLC – Out of State Pharmacy - License # 163824
                      i. Designations
                            1. DEA Registration
                            2. Controlled Substances - Dispensing
  2. Arizona
           a. Elixir Pharmacy, LLC – Pharmacy - Permit No. Y005137
  3. Arkansas
           a. Elixir Pharmacy, LLC – Retail Pharmacy - License No. OS02168
  4. Colorado
           a. Elixir Pharmacy, LLC - Prescription Drug Outlet-Out-of-State – License # OSP.0005778
  5. Connecticut
           a. Elixir Pharmacy, LLC – Nonresident Pharmacy – License # PCN.0000989
  6. Idaho
           a. Elixir Pharmacy, LLC - Nonresident Drug Outlet – License # 34406MS
  7. Illinois
           a. Elixir Pharmacy, LLC – Licensed Pharmacy – License # 054018458
           b. Elixir Pharmacy, LLC – Licensed Controlled Substance (Schedules II, III, IV, V) –
               License # 320.010750
  8. Indiana
           a. Elixir Pharmacy, LLC – Non-Resident Pharmacy – License #64001540A
  9. Iowa
           a. Elixir Pharmacy, LLC – Non-Resident Pharmacy – License #3813
           b. Elixir Pharmacy, LLC – CSA-Business – License # 1108385
  10. Kansas
           a. Elixir Pharmacy, LLC – Non-Resident Pharmacy – License #22-13098
  11. Kentucky
           a. Elixir Pharmacy, LLC – Out-of-State Permit – Permit # OH1337
  12. Montana
           a. Elixir Pharmacy, LLC – Mail Order Pharmacy License with Dispenser of Dangerous
               Drugs – License # PHA-MOP-LIC-20641
  13. New York
           a. Elixir Pharmacy, LLC – Wholesaler Not NYS – Registration # 032484
           b. Elixir Pharmacy, LLC – Pharmacy Not NYS – Registration # 032483
  14. North Dakota
           a. Elixir Pharmacy, LLC – Class G – Out of State Pharmacy – License # Phar778
  15. Northern Mariana Islands
           a. Elixir Pharmacy, LLC – Mail-Order Pharmacy – License Number M-0002
  16. Oklahoma
           a. Elixir Pharmacy, LLC – Non-Resident Pharmacy License – License # 99-8762
           b. Elixir Pharmacy, LLC – Narcotics and Dangerous Drug Control – License # 47147
  17. Rhode Island
           a. Elixir Pharmacy, LLC - Pharmacy Non-Resident - License No.: PHN09956
           b. Elixir Pharmacy, LLC - CSR-Pharmacy Non-Resident - License No.: CPHN09956
  18. South Carolina
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          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: 19569
          b. Elixir Pharmacy, LLC - Certificate of Registration Controlled Substances Act (Out of
              State) - Registration No.: 1319569
  19. South Dakota
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License #: 400-0772
  20. Texas
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License #: 26255
  21. Utah
          a. Elixir Pharmacy, LLC - Pharmacy Class D - License No.: 11847261-1708
          b. Elixir Pharmacy, LLC - Dispensing Controlled Substance License - License No.:
              11847261-8913
  22. Vermont
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: 036.0000388
  23. Virginia
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: 0214001185
  24. Washington
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: PHNR.FO.60417544
  25. Alabama
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy – License No.: 113212
  26. District of Columbia
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy – License No.: NRX2001790
          b. Elixir Pharmacy, LLC – Controlled Substance – License No.: NCP2000051
  27. Florida
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy – License No.: PH23682
  28. Louisiana
          a. Elixir Pharmacy, LLC - Pharmacy – Nonresident - License No.: PHY.006134-NR
  29. Michigan
          a. Elixir Pharmacy, LLC – Pharmacy - License No.: 5301009724
          b. Elixir Pharmacy, LLC - Controlled Substance - License No.: 5315053149
          c. Elixir Pharmacy, LLC - Wholesale Distributor - License No.: 5306003859
  30. New Hampshire
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: NR0664
  31. New Jersey
          a. Elixir Pharmacy, LLC – Pharmacy - License No.: 28RO00026500
          b. Elixir Pharmacy, LLC - Wholesale Drug and Medical Device Certificate of Registration
              - License No.: 5004863
  32. Wyoming
          a. Elixir Pharmacy, LLC - Non-Resident Pharmacy - License No.: NR-50649
          b. Elixir Pharmacy, LLC - Business Controlled Substance - License No.: 910OPS13




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 TSA Schedule A Exhibit


                              LIMITED POWER OF ATTORNEY
                          FOR USE OF DEA REGISTRATION NUMBER
                                 AND DEA ORDER FORMS

                                               Pharmacy

 Elixir Pharmacy, LLC located at 7835 Freedom Avenue NW, North Canton, OH 44720
 ("Registrant"), is licensed to operate a pharmacy under the laws of the State of Ohio and is an
 active DEA registrant. As the registrant under the Controlled Substances Act of the United States,
 Registrant is authorized to sign the current applications for registration and licensure under DEA
 registration number FO4250370 and Ohio Board of Pharmacy Permit Number 021847100 (prior
 to transaction).

 As a result of a transaction between affiliates of Registrant and Birdi, Inc. (“Birdi”), to be effective
 on or about February 1, 2024 (“Transaction”), Registrant will transfer assets to Birdi. For the
 purposes of this Limited Power of Attorney for Use of DEA Registration Number and DEA Order
 Forms, Birdi as it exists and operates after the Transaction shall be deemed the “Agent”.

 Registrant hereby has made, constituted, and appointed, and hereby make, constitute and appoint
 Agent as Registrant’s agent and true and lawful attorney-in-fact for the purposes of utilizing
 Registrant’s controlled substances registrations, DEA registration, and any other registrations
 required under the laws of the United States or the state pharmacy boards to continue pharmacy
 operations for Registrant. Agent may act in this capacity until such time as Agent or its designee
 obtains new controlled substances registration(s), DEA registration(s) and such other registrations
 for Agent, but in no event shall this Limited Power of Attorney continue more than ninety (90)
 calendar days after the effective date of the transaction, unless, despite Agent’s good faith efforts,
 the issuance of new controlled substances registrations, DEA registrations and such other
 registrations for Agent is delayed by the applicable governmental agency. Registrant further grants
 this Limited Power of Attorney to Agent to act as the true and lawful agent and attorney-in-fact of
 Registrant, and to act in the name, place, and stead of Registrant, to execute renewal applications,
 to execute applications for books of official order forms, to sign such order forms in requisition
 for controlled substances whether on official order forms or electronic, and to appoint an
 appropriate designee to execute applications for books of official order forms and sign such order
 forms in requisition for controlled substances whether these orders be on official order forms or
 electronic, in accordance with Section 308 of the Controlled Substances Act (21 U.S.C. § 828) and
 Part 1305 of Title 21 of the Code of Federal Regulations.

 Registrant recognizes it remains legally responsible for its controlled substances registration(s),
 DEA registration and other registrations during the period in which this Limited Power of Attorney
 is in effect. Therefore, Registrant grants this Limited Power of Attorney based upon the following
 covenants and warranties of Agent: (a) Agent shall follow and abide by and comply with all federal
 and state laws governing the regulation of controlled substances and pharmacy practice at all times
 while utilizing this Limited Power of Attorney; and (b) Agent, or its designee, shall make
 application for and pursue its own DEA registration and other registrations required for the
 distribution of pharmaceuticals, including, but not limited to, controlled substances at the
 Registrant’s location as soon as practicable.
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 The undersigned is authorized to sign the current application for registration of Registrant under
 the Controlled Substances Act.

 IN WITNESS WHEREOF, Registrant and Agent have executed this Limited Power of Attorney
 as of February 1, 2024.




  WITNESS                                           REGISTRANT
                                                    By:_________________________________
                                                    Name: ______________________________
                                                    Title: _______________________________


                                                    AGENT

                                                    By:
  WITNESS                                           Name:
                                                    Title:
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                                   Schedule B

                                Reverse Services
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                                                  SCHEDULE B – Reverse Transition Services 1




        1
          For the avoidance of doubt, each row in the table contained in this Schedule may contain one or more Transition Services (each of which Transition
Services may be terminated individually by Recipient pursuant to Section 3(b) of the Agreement.
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 Category; Function                                Description                                       Cost                   Duration
                         For CMS plan years prior to 2024 (including EGWP and
EIC Services for Plan    individual market):
                                                                                             $5,027.67/month up        *For so long as
Years 2023 and Earlier                                                                       through the end of        such matters are
                         Provide the following services until collection of the CMS          December 2024             required of EIC
                         Receivable is completed, and pay to EIC any cash received in                                  under applicable
                         respect of such CMS Receivable:                                                               Law or, if earlier,
                               •   PDE Submission: PDE submissions (for plan year            $3,124 annually (billed   such time as
                                   2023, PDE submissions will continue monthly through       in June) for January 1,   Provider or EIC
                                   June 30, 2024).                                           2025 through              notifies Recipient
                                                                                             December 31, 2028 or      that such services
                               •   Reports that PDP must submit to CMS: All CMS
                                                                                             earlier*                  are no longer
                                   reporting for plan years 2023 and earlier will be
                                                                                                                       required
                                   generated and provided, as applicable.
                               •   Regulatory Audit Support Services: Regulatory audit
                                   support services will be provided for all types of
                                   regulatory audits, including the annual CMS-required
                                   Data Validation Audits, Medicare Full Program Audits,
                                   1/3 Financial Audits and Recovery Audit Contractor
                                   (RAC) audits, for plan years 2023 and earlier.
                               •   Additional Services Post-Termination Services: Any
                                   other services related to Part D, including any support
                                   services, shall be provided only upon mutual
                                   agreement of the Parties at agreed to rates.
                         Provider shall, or shall cause EIC to, have and maintain access
                         to CMS systems and connectivity and provide MedImpact or
                         such of its Affiliates that is party to the ROI Agreement (the
                         “PBM”) and PBM subcontractors with access to CMS systems
                         (e.g., HPMS, TBT, LIS, Acumen, MPF, Patient Safety Analysis
                         website, IACS, CMS help desk, etc.). Provider shall, or shall
                         cause EIC to, provide (or cause that PBM directly receives) all
                         CMS related reporting, including eligibility and financial (e.g.,
                         PRS, PPR, MMR, etc.) that EIC has in its control or receives
                         from CMS.




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 Category; Function                              Description                                     Cost                Duration

Additional EIC Services   •   Support for:                                               Third party          Until such audit and
for 2023 Plan Year                                                                       engagements and      survey are
                              o   Data Validation Audit for 2023 data and plan year
                                                                                         their costs to be    completed and/or
                              o   CAHPS Survey for 2023 members and plan year            retained at EIC      submitted, as
                          •   Record and reconcile CMS Receivable
                                                                                                              applicable
                                                                                                              Until received and
                                                                                                              reconciled



Elixir January 2024       •   Complete all fiscal close-related activities for Elixir    $225,608 per month    Through April 2024
month-end fiscal close        entities as of 1/31/24, carry out all SOX controls,
and RAD year end audit        remaining journal entries, and related support for the
support                       accounting period ending 2/29/24 (including general
                              ledger reconciliations as of 2/29/24), and provide
                              Deloitte year-end audit support in March and April of
                              2024 for RAD enterprise audit. Excluding select
                              oversight functions performed at Rite Aid (for avoidance
                              of doubt, in no case will Rite Aid have
                              management/oversight of MedImpact employees.




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 Category; Function                            Description                                  Cost               Duration

Prime Therapeutics       •   Provide rebate aggregation, reconciliation and audit      $0                As needed through
Rebate Management            services necessary to support manufacturer audits or                         the end of 2026
Services in connection       historical payments of Sellers, including: (i)
with the Rebate              reconciliation of payments received by Sellers to
Management Services          historical claims submitted to manufacturers; (ii)
Agreement effective          monthly and quarterly client rebate reporting and
January 1, 2022              payment services as required to support calendar year
between Prime                2023 client contract years; (iii) annual client rebate
Therapeutics LLC and         reconciliation, reporting, and payment services as
Tonic Procurement            required to support calendar year 2023 client contract
Solutions, LLC               years; and (iv) facilitation of manufacturer requested
                             audits of historical claims and rebate payments through
                             calendar year 2026.
                         •   Should MedImpact or its Affiliates receive payments for
                             rebates payable by Prime Therapeutics LLC to Tonic                             No end date
                             Procurement Solutions LLC, such payments will be
                             retained by MedImpact or its Affiliates and applied
                             toward purchased rebates receivables owing from
                             Prime Therapeutics LLC to MedImpact or its Affiliates.




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 Category; Function                               Description                                     Cost                Duration

Elixir Rebate              •   Provide services necessary to support manufacturer         $20,000/month for           Per month
Management Services            audits or historical payments of Sellers, including: (i)   each month during
in connection with the         reconciliation of payments received by Sellers to          which there is any
Manufacturer Direct            historical claims submitted to manufacturers; (ii)         applicable rebate
Paper Contracts,               monthly and quarterly client rebate reporting and          activity
effective until 12/31/23       payment services as required to support calendar year
                               2023 client contract years; (iii) annual client rebate
                               reconciliation, reporting, and payment services as
                               required to support calendar year 2023 client contract
                               years; and (iv) facilitation of manufacturer requested
                               audits of historical claims and rebate payments through
                               calendar year 2026.
                               •   Should MedImpact or its Affiliates receive payments
                                   for rebates payable for claims related to Elixir                             As needed through
                                   Insurance Company from manufacturers invoiced          $0                        the end of
                                   by Elixir Rx Solutions of Nevada, LLC prior to                                  12/31/2024
                                   Closing, MedImpact will forward, or cause to be
                                   forwarded, such payments to Elixir Nevada LLC
                                   within 5 Business Days following the end of the
                                   month in which such payments are received.




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 Category; Function                           Description                                    Cost                Duration

Information            •   Provide access and requisite licensing to the following    $2,250/month               6 months
Technology                 applications:
                             o   Impreva RASP
                             o   AlgoSec
                             o   Castellan Systems
                             o   Malewarebytes
                             o   Duo Security
                             o   Compliance360
                       •   For avoidance of doubt, labor and services required to
                           support these applications are to be provided internally
                           by the receiver of the reverse TSA.
                                                                                      No charge           So long as services
                       •   Provide access to information, data, documents, etc.                           are provided under
                           that are Excluded Assets but are stored on systems of                           this Agreement or
                           Recipient and its Affiliates                                                   the ROI Agreement




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Birdi, Inc. Services      •   Birdi, Inc. will provide complete turnkey pharmacy       One hundred percent         The term of these
                              management services of the pharmacy located at           (100%) of                     services shall
                              7835 Freedom Ave. NW, North Canton, OH 44720             governmental payor          commence on the
                              (hereinafter referred to as “Pharmacy”) in order to      collections for services   Effective Date and
                              allow Birdi, Inc. to continue to bill and process        rendered during the         shall expire upon
                              governmental payor program claims under certain          term.                      Birdi, Inc.’s receipt
                              governmental payor program enrollments that are                                     of all governmental
                              currently held by Elixir Pharmacy, LLC, while Birdi,                                 payor agreements
                              Inc. enrolls in such governmental payor programs,                                   required to operate
                              where allowed by applicable law. Birdi, Inc. shall                                   the Pharmacy, or
                              provide these pharmacy administration,                                                  as otherwise
                              management, and operations services beginning on
                                                                                                                    agreed to by the
                              the Effective Date and shall continue to provide such
                                                                                                                         parties.
                              services until Birdi, Inc. receives all governmental
                              payor enrollments required to operate the Pharmacy,
                              or upon such other date as otherwise agreed to by
                              the parties. In connection with the provision of these
                              pharmacy administration, management, and
                              operations services, Birdi, Inc. will operate the
                              Pharmacy in the same manner in which it was
                              previously operated. The services to be provided by
                              Birdi, Inc. will include but not be limited to:
                              maintaining all pharmacy and administrative
                              personnel; procuring and/or furnishing all goods and
                              services required for the operation of the Pharmacy;
                              providing accounting, billing, patient and collection
                              services and maintaining records related thereto;
                              preparing and filing pharmacy claims to governmental
                              payor programs on behalf of Elixir Pharmacy, LLC
                              related to goods sold or services provided by the
                              Pharmacy, and any other service required for the
                              operation of Pharmacy. Birdi, Inc. will perform such
                              services in compliance with applicable state and
                              federal laws and guidance. Birdi, Inc. shall have
                              authority for the daily operation of the Pharmacy
                              subject to the final authority of Elixir Pharmacy, LLC
                              while Birdi, Inc. is utilizing Pharmacy’s government
                              payor program enrollments to bill and process claims
                              to governmental payor programs.


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Category; Function                         Description                               Cost               Duration
                      •   Birdi, Inc. shall bill and collect for pharmacy services
                          rendered as required by current governmental payor
                          program agreements under Elixir Pharmacy, LLC’s
                          governmental payor program enrollments as directed
                          by each individual governmental payor program until
                          Birdi, Inc. becomes enrolled with each governmental
                          payor program. Once Birdi, Inc. has obtained a
                          governmental payor program enrollment, it shall
                          cease billing and processing any claims for
                          reimbursement utilizing Elixir Pharmacy, LLC’s
                          governmental payor program enrollment with that
                          governmental payor program for dates of service
                          after Birdi, Inc. obtains that governmental payor
                          program enrollment. For the avoidance of doubt,
                          Birdi, Inc. shall not bill governmental payor programs
                          utilizing Elixir Pharmacy, LLC’s governmental payor
                          enrollments where it is not allowed to do so by the
                          applicable governmental payor program.
                      •   Elixir Pharmacy, LLC shall pay Birdi, Inc. one
                          hundred percent (100%) of governmental payor
                          program collections received by Elixir Pharmacy, LLC
                          in exchange for the pharmacy management,
                          administrative, and operations services provided by
                          Birdi, Inc. in accordance with this line item following
                          the Effective Date. For the avoidance of doubt, Birdi,
                          Inc. shall not be entitled to any fees for any pharmacy
                          management, administrative, or operations services
                          provided pursuant to this line item, other than the
                          amounts received by Elixir Pharmacy, LLC as a result
                          of pharmacy claims billed to governmental payor
                          programs under Pharmacy’s governmental program
                          enrollments following the Effective Date.




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Provider Subsidiaries and Affiliates:
• Elixir Insurance Company (OH)
• Tonic Procurement Solutions, LLC (OH)
• Elixir Pharmacy, LLC




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                                   Schedule C

                       Form of Business Associate Agreement
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                                BUSINESS ASSOCIATE AGREEMENT

 This Business Associate Agreement (“Agreement”) is entered into between MedImpact Healthcare
 Systems, Inc., a California corporation (the “Company”) and Rite Aid Hdqrts. Corp., a Delaware
 corporation and/or its affiliates (each, individually, and collectively, a “Business Associate”), and is
 effective as of the date of full execution indicated on the signature page below. The Company and Business
 Associate may be individually referred to as a Party and, collectively, as the Parties in this BAA.

                                                RECITALS

       WHEREAS, Company has engaged Business Associate to provide certain transition services to
 Company pursuant to a Transition Services Agreement (the “TSA”);

         WHEREAS, in furtherance of its obligations under the TSA, Business Associate may be required
 to provide services involving PHI received from, or created by Business Associate on behalf of, the
 Company; and

         WHEREAS, Company and Business Associate intend to protect the privacy and provide for the
 security of Protected Health Information in accordance with HIPAA.

         NOW, THEREFORE, in consideration of the mutual promises contained herein and the exchange
 of information pursuant to this Agreement, the parties agree as follows:

         1.      General Provisions.

                  (a)     Effect. To the extent that Business Associate receives PHI to perform business
 associate activities pursuant to the TSA, the terms and provisions of this Agreement shall supersede all
 conflicting or inconsistent terms and provisions of the TSA to the extent of such conflict or inconsistency.

                  (b)    Capitalized Terms. Capitalized terms used herein without definition in this
 Agreement shall have the meaning set forth in the administrative simplification section of the Health
 Insurance Portability and Accountability Act of 1996, the Health Information Technology for Economic
 and Clinical Health Act and its implementing regulations (collectively, “HITECH”), and their
 implementing regulations as amended from time-to-time (collectively, “HIPAA”). The term “Protected
 Health Information” and “PHI” shall have the meaning set forth in HIPAA but is limited to the information
 created or received by Business Associate from or on behalf of Company specifically in connection with
 the TSA.

         2.      Obligations of Business Associate.

                  (a)     Use and Disclosure of Protected Health Information. Business Associate may
 use and disclose PHI as permitted or required under the TSA or as Required by Law, but may not otherwise
 use or disclose any PHI. Business Associate will not, and will assure that its employees, other agents and
 contractors do not use or disclose PHI in any manner that would constitute a violation of HIPAA if so used
 or disclosed by Company. To the extent that Business Associate is to carry out Company’s obligations
 under the HIPAA Privacy Rule, Business Associate will comply with the requirements of the HIPAA
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 Privacy Rule that apply to Company in the performance of such obligation. Without limiting the generality
 of the foregoing, Business Associate is permitted to use or disclose PHI as set forth below:

                       (i)    Business Associate may use PHI internally for Business Associate’s
 proper management and administration or to carry out its legal responsibilities.

                           (ii)    Business Associate may disclose PHI to a third party for Business
 Associate’s proper management and administration, provided that the disclosure is Required by Law or
 Business Associate obtains reasonable assurances from the third party to whom such PHI is to be disclosed
 that the third party will (A) protect the confidentially of the PHI, (B) only use or further disclose the PHI
 as Required by Law or for the purpose for which the PHI was disclosed to the third party and (C) notify
 Business Associate of any instances of which such third-party is aware in which the confidentiality of the
 PHI has been breached.

                          (iii)   Business Associate may use PHI to provide Data Aggregation services
 relating to the Health Care Operations of Company if required or permitted under this Agreement.

                          (iv)    Reserved.

                          (v)     Business Associate shall fully cooperate with Company’s instructions with
 respect to any disclosure of PHI required by the 21st Century Cures Act, Section 4004, as implemented by
 45 C.F.R. parts 171 (“Information Blocking Rules”) and promptly notify Company of any requests for such
 disclosures.

                          (vi)    To the extent that any PHI constitutes information subject to the
 Confidentiality of Alcohol and Drug Abuse Patient Records regulations at 42 C.F.R. Part 2, Business
 Associate shall be fully bound by such regulations, limit its use of such PHI to permitted payment and
 health care operations as defined by such regulations, and resist any efforts to obtain access to such PHI
 pursuant to any judicial proceedings, except as permitted by such regulations.

                  (b)      Safeguards. Business Associate will use appropriate safeguards and comply with
 the HIPAA Security Rule, where applicable, to prevent the use or disclosure of PHI other than as permitted
 or required by this Agreement. Business Associate will implement administrative, physical and technical
 Safeguards that reasonably and appropriately protect the Confidentiality, Integrity and Availability of
 electronic PHI that it creates, receives, maintains or transmits on behalf of Company.

                (c)     Minimum Necessary Standard. To the extent required by the “minimum
 necessary” requirements of HIPAA, Business Associate will only request, use and disclose the minimum
 amount of PHI necessary to accomplish the purpose of the request, use or disclosure.

                 (d)     Mitigation. Business Associate will take reasonable steps to mitigate, to the extent
 practicable, any harmful effect (that is known to Business Associate) of a use or disclosure of PHI by
 Business Associate in violation of this Agreement.

                (e)      Agreements by Third Parties. Business Associate will obtain and maintain an
 agreement with each agent or subcontractor that has or will have access to PHI, pursuant to which such
 agent or subcontractor agrees to be bound by the same restrictions, terms and conditions that apply to
 Business Associate pursuant to this Agreement with respect to such PHI.

                   (f)     Reporting of Improper Disclosures of PHI. If Business Associate discovers a
 (i) use or disclosure of PHI in violation of this Agreement by Business Associate or a third party to which
 Business Associate disclosed PHI, (ii) Successful Security Incident (as defined herein) or (iii) Breach of
 Unsecured PHI, then Business Associate will report the use or disclosure in accordance with HIPAA to
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 Company without unreasonable delay and in any event within 10 business days after its discovery.
 “Successful Security Incident” means successful unauthorized access, use, disclosure, modification, or
 destruction of Electronic PHI or interference with system operations in an Information System in a manner
 that materially risks the Confidentiality, Integrity, or Availability of such PHI. Upon the request of
 Company, Business Associate will provide notice to Company for unsuccessful attempts at such
 unauthorized access, use, disclosure, modification, or destruction, such as pings and other broadcast attacks
 on a firewall, denial of service attacks, port scans, unsuccessful login attempts, or interception of encrypted
 information where the key is not compromised, or any combination of the above. If the violation involves
 a Breach of Unsecured PHI, Business Associate shall include in its written report all of the information
 required to be provided by a HIPAA business associate under the HITECH Breach Notification Rule, 45
 C.F.R. § 164.410(c), and shall promptly update that report with any addition details Business Associate
 discovers that are relevant to the event. In the event of any Breach of Unsecured PHI by Business Associate
 or its agents or subcontractors that requires notification to affected Individuals and others under HIPAA or
 State law, Company shall have sole control over the timing and method of providing such notification and
 Business Associate shall reimburse Company for its costs and expenses in providing the notification,
 including without limitation any administrative costs associated with providing notice, print and mailing
 costs, costs of obtaining credit monitoring services and identity theft insurance for affected Individuals
 whose PHI or electronic PHI has or may have been compromised as a result of the Breach of Unsecured
 PHI, and any other reasonable costs Company incurs in mitigating harm to those Individuals, in each case
 solely up to the amount(s), if any, received under a third party liability insurance policy at the levels set
 forth in Section 8 herein. These obligations shall be in addition to, and shall in no way limit, Business
 Associate’s indemnification obligations set forth below.

                 (g)      Access to Information. Within 10 business days after receipt of a request from
 Company for access to PHI about an Individual contained in any Designated Record Set of Company
 maintained by Business Associate, Business Associate will make available to Company such PHI for so
 long as Business Associate maintains such information in the Designated Record Set. If Business Associate
 receives a request for access to PHI directly from an Individual, then Business Associate will forward such
 request to Company within 10 business days.

                  (h)    Availability of PHI for Amendment. Within 10 business days after receipt of a
 request from Company for the amendment of an Individual’s PHI contained in any Designated Record Set
 of Company maintained by Business Associate, Business Associate will provide such information to
 Company for amendment and incorporate any such amendments in the PHI (for so long as Business
 Associate maintain such information in the Designated Record Set) as required by 45 C.F.R. §164.526. If
 Business Associate receives a request for amendment to PHI directly from an Individual, then Business
 Associate will forward such request to Company within 10 business days.

                 (i)     Accounting of Disclosures. Within 10 business days after receipt of notice from
 Company stating that it has received a request for an accounting of disclosures of PHI (other than
 disclosures to which an exception to the accounting requirement applies), Business Associate will make
 available to Company such information as is in Business Associate’s possession and required for Company
 to make the accounting required by 45 C.F.R. §164.528.

                  (j)     Availability of Books and Records. Business Associate will promptly make its
 internal practices, books and records relating to the use and disclosure of PHI available to the Secretary for
 purposes of determining Company’s and Business Associate’s compliance with HIPAA.

         3.       Obligations of Company.

                 (a)    Permissible Requests. Company will not request that Business Associate use or
 disclose PHI in any manner that would not be permissible under HIPAA if done directly by Company.
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               (b)     Minimum Necessary Information. Company represents that, to the extent that
 Company provides PHI to Business Associate, such information is the minimum necessary PHI for the
 accomplishment of Business Associate’s purpose.

                  (c)     Consents/Authorizations. Company represents that, to the extent that such
 Company provides PHI to Business Associate, Company has obtained the consents, authorizations and
 other forms of legal permission required under HIPAA and other applicable Law, including any necessary
 authorizations for the use of PHI for marketing purposes, if applicable.

         4.       Term and Termination

                  (a)       Term. The term of this Agreement shall be effective as of the effective date of the
 TSA, and shall terminate upon the earlier to occur of: (i) the effective date or the termination or expiration
 of the TSA; or (ii) the termination of this Business Associate Agreement for cause pursuant to Section 4(b)
 below.

                  (b)     Termination for Cause. Either Party may terminate this Business Associate
 Agreement due to a material breach of this Agreement by one Party upon giving the other Party thirty (30)
 calendar days prior written notice, provided the breaching Party does not cure the breach prior to the
 effective date of termination.

                 (c)     Effect of Termination. Upon the termination of this Business Associate
 Agreement for any reason, Business Associate shall return or destroy (and retain no copies of) any Protected
 Health Information received from Company, or created or received by Business Associate on behalf of
 Company. This provision shall apply to Protected Health Information that is in the possession of
 subcontractors or agents of Business Associate. Notwithstanding the foregoing, in the event that Business
 Associate determines that returning or destroying the Protected Health Information is infeasible, Business
 Associate shall extend the protections of this Business Associate Agreement to such Protected Health
 Information and limit further uses and disclosures of such Protected Health Information to those purposes
 that make the return or destruction infeasible for as long as Business Associate maintains such Protected
 Health Information. The provisions of this Section 4(c) shall survive the termination or completion of this
 Agreement or the TSA.

         5.        Amendment; Assignment. The parties agree to take such action as is necessary to amend
 this Agreement from time to time as is necessary for Company or Business Associate to comply with the
 requirements of HIPAA Rules and other applicable law. Neither Party may assign its respective rights and
 obligations under this Agreement without prior written consent of the other party. Any assignment in
 violation of this Section 5 shall be null and void and without effect whatsoever.

         6.      Interpretation; Arbitration. The parties agree that any ambiguity in this Business
 Associate Agreement shall be resolved in favor of a meaning that complies and is consistent with HIPAA,
 the Information Blocking Rules, and 42 C.F.R. Part 2, as applicable.

          7.      Indemnification. Business Associate shall indemnify, defend, and hold harmless
 Company and its employees, managers, directors, officers, subcontractors, agents, owners, and/or other
 persons of its Workforce (each an “Indemnified Party”) against all losses suffered by the Indemnified Party
 (including, without limitation, court costs, reasonable attorney’s fees and other costs of litigation) and
 claims, losses, costs, actions, damages, liability, obligations, and defense of third parties arising out of or
 in connection with any breach of this Agreement by Business Associate or from any negligence or wrongful
 acts or omissions, including failure to perform its obligations under this Agreement, by Business Associate
 or its employees, managers, directors, officers, subcontractors, agents, owners and/or other persons of its
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 workforce, in each case, up to the amount(s), if any, received under a third party liability insurance policy
 at the levels set forth in Section 8 herein.

         8.      Insurance. Business Associate shall obtain and maintain during the term of this
 Agreement appropriate breach and cyber security liability insurance covering Business Associate’s
 obligations pursuant to this Agreement in an amount not less than $10,000,000 per occurrence and
 $10,000,000 in the aggregate. Evidence of coverage shall be provided to Company upon written request.

         9.      Governing Law. To the extent this Agreement is not governed by HIPAA, the Information
 Blocking Rules, or 42 C.F.R. Part 2, this Business Associate Agreement shall be construed in accordance
 with the laws of the State of Delaware.

         10.      Regulatory References. A reference in this Agreement to a section in HIPAA shall mean
 such section as in effect or amended from time to time.

         11.     Notices. All notices required or permitted under this Agreement shall be in writing, except
 as otherwise provided, and sent to the other Party in accordance with the notice provision set forth in the
 TSA.

         12.     Survival. The obligations of Business Associate under Sections 2(j), 4(c), and 6-13 shall
 survive the expiration or termination of this Agreement.

         13.      Counterparts. This Agreement may be executed in counterparts, each of which will be
 deemed an original, but all of which together will constitute one and the same instrument. In making proof
 with respect to this Agreement, it will be necessary to produce only one copy hereof signed by the Party to
 be charged. The Parties may deliver executed counterpart signature pages to this Agreement by facsimile
 transmission, by electronic mail in .pdf form, or by any other electronic means intended to preserve the
 original graphic and pictorial appearance of a document, and such delivery will have the same effect as
 physical delivery of the paper document hearing an original signature.

                                  [Signatures continued on following page]
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        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the effective date of
 the TSA.


                                                           MedImpact Healthcare Systems, Inc.

                                                           By:
                                                           Name: Roderick Wade
                                                           Title: VP Contract Management


                                                           Rite Aid Hdqrts. Corp.

                                                           By:
                                                           Name:
                                                           Title:
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                                     Exhibit B

            MedImpact’s April 30, 2024 Closing Working Capital Statement
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                                    Exhibit C

                         Debtors’ Statement of Objections
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                                      HUNTER LANE, LLC
                                 c/o RITE AID CORPORATION
                             1200 INTREPID AVENUE, 2ND FLOOR
                                   PHILADELPHIA, PA 19112

 June 14, 2024
 VIA EMAIL

 MedImpact
 10181 Scripps Gateway Ct
 San Diego, California 92131
 Attention: James Gollaher
 Email: james.gollaher@medimpact.com

 Re:    Statement of Objections Regarding Purchaser’s Closing Working Capital Statement
 Delivered to Sellers on April 30, 2024


 Dear Mr. Gollaher:

 Reference is made to that certain Asset Purchase Agreement (as amended), dated as of October 15,
 2023, by and among MedImpact Healthcare Systems, Inc. (“Purchaser”) and Hunter Lane, LLC
 and its subsidiaries named therein (“Sellers”), and the exhibits and schedules attached thereto (the
 “APA”). Capitalized terms used but not defined herein shall have the meanings ascribed to such
 terms in the APA.

 Pursuant to Section 2.7(c)(ii) of the APA, this letter (including its attachments) constitutes a
 Statement of Objections regarding Purchaser’s Closing Working Capital Statement delivered to
 Sellers on April 30, 2024.

            1. Agreed Cash Payment

 As set forth in Attachment A to this letter, Sellers agree with Purchaser that the Cash Payment
 that Purchaser owes Sellers is $35,660,920. As such, there is no Disputed Amount concerning
 the Cash Payment, and Purchaser is obligated to pay $35,660,920 to Sellers within five Business
 Days pursuant to Section 2.7(d)(iv) of the APA. Further, Purchaser (jointly with Sellers) is
 required to direct the Escrow Agent to release to Sellers the Purchase Price Adjustment Escrow
 Amount.

            2. Disputed Closing Working Capital Items

 Although Sellers agree with Purchaser’s determination of the Cash Payment owed to Sellers under
 Section 2.7 of the APA, Purchaser’s calculation of Closing Working Capital is incorrect.
 Specifically, Purchaser erroneously removed numerous Current Liabilities from Closing Working
 Capital. Closing Working Capital is defined in Section 11.1(o) of the APA as “(a) Current Assets,
 less (b) Current Liabilities….” Current Liabilities is defined in Section 11.1(w) to mean “the total
 current liabilities of Sellers using those line items used in the example calculation attached hereto
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 as Exhibit E attached hereto (sic), as determined in accordance with the GAAP consistently
 applied….”

 The liabilities Purchaser now seeks to exclude from the calculation of Closing Working Capital
 are all contained in the line items in Exhibit E.1 They are therefore Current Liabilities and must
 be included in the Closing Working Capital calculation.

 Purchaser has nevertheless indicated it is entitled to remove each disputed item from Current
 Liabilities because they are not Assumed Liabilities and/or are Excluded Liabilities under
 Purchaser’s interpretation of the APA. Purchaser’s contractual arguments are irrelevant to the
 Cash Payment owed to Sellers. Nowhere in the definition of Closing Working Capital or Current
 Liabilities is there any reference to Assumed Liabilities or Excluded Liabilities, and no provision
 permits Purchaser to remove Current Liabilities that are not Assumed Liabilities from the
 calculation of Closing Working Capital. For the avoidance of doubt, Sellers also dispute
 Purchaser’s erroneous interpretation of Assumed Liabilities and Excluded Liabilities under the
 APA, but that dispute is not relevant to the calculation of Closing Working Capital and not subject
 to the accounting dispute resolution process provided by Section 2.7 of the APA. 2

 By erroneously excluding these Current Liabilities from its calculation, Purchaser now claims it
 acquired a business with positive Closing Working Capital of $84,717,899, despite the Estimated
 Closing Working Capital that the parties agreed to immediately prior to Closing being negative
 $192,288,920 (a difference of more than $277 million). This is plainly not the deal the parties
 struck, as is also evidenced by the fact that Purchaser reduced its purchase price by $200 million
 upon calculating net working capital at negative $206 million. Clearly, Purchaser understood that
 it would be assuming approximately $200 million in negative net working capital, and the parties
 structured the purchase price adjustment accordingly. Purchaser’s position is a transparent attempt
 to exploit the purchase price adjustment cap within Section 2.7 of the APA to obtain a $227 million
 windfall:3



 1
   Purchaser has not challenged the amount or accounting treatment of the Current Liabilities but
 instead wholly removed those Current Liabilities from Closing Working Capital.
 2
   This Statement of Objections also does not address other amounts that Purchaser owes Sellers,
 including but not limited to: TSA fees, cash and prefunding at Closing, certain rebates, DIR, and
 Sellers’ payments made on Purchaser’s behalf. Further, Seller notes that, pursuant to Section 10.15
 of the APA, Purchaser has no right to offset the $35,660,920 Cash Payment owed to Sellers (as a
 component of the Purchase Price) against any other claim Purchaser may bring against Sellers.
 3
  Specifically, Purchaser’s position would mean that the parties underestimated net working capital
 at Closing by $277 million, which amount would, in the absence of a cap, be payable to Sellers as
 a purchase price adjustment. But the parties capped the purchase price adjustment at $50 million,
 which not only further illustrates the absurdity of Purchaser’s position that the parties
 underestimated Closing Working Capital by more than a quarter of a billion dollars, but also means
 Purchaser would walk away with a $227 million windfall by acquiring a business worth
 dramatically more than it paid.

                                                 2
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                                     Excerpt of Attachment A
                                                           Purchaser's
                              Item                                     Sellers' Position
                                                            Position
         Max Cash Payment per §2.7(d)(i) (Due to Cap)     $ 35,660,920 $ 35,660,920

         Closing Working Capital                          $ 84,717,899 $ (142,846,184)
         Estimated Closing Working Capital                 (192,288,920) (192,288,920)
         Calculated Cash Payment                          $ 277,006,819 $ 49,442,736

 Attachment B and Attachment C to these objections contain the correct calculations of Closing
 Working Capital and identify the erroneous adjustments that Purchaser included within its
 calculation. As set forth in Attachment B, Closing Working Capital is negative $142,846,184,
 when calculated in accordance with Exhibit E of the APA. Although Purchaser’s adjustments are
 irrelevant to the Cash Payment owed to Sellers, below Sellers provide a brief description of each
 item.

                A. Pharmacy Claims Payable

 Purchaser included an adjustment to remove $70,727,419 of pharmacy claims payable from
 Current Liabilities. Pharmacy claims payable were included within Current Liabilities within
 Exhibit E of the APA, within general ledger account 20500. As such, pharmacy claims payable
 are Current Liabilities pursuant to Section 11.1(w) of the APA and must be included in the
 calculation of Closing Working Capital.

 Purchaser alleges the $70,727,419 of pharmacy claims in question were “delinquent” as of the
 Closing Date, and, therefore, are not Assumed Liabilities. Purchaser’s allegations concerning
 delinquency and the definition of Assumed Liabilities are irrelevant. Because pharmacy claims
 were included within Exhibit E of the APA, they are Current Liabilities. Moreover, Purchaser’s
 allegation is incorrect – the pharmacy claims were not delinquent. The claims were processed in
 the Ordinary Course pursuant to underlying Participating Pharmacy Agreements (“PPAs”).
 Purchaser’s argument is premised on the erroneous assumption that any claim aged more than 30
 days is delinquent. This assumption is contrary to both the plain terms of the PPAs and standard
 industry practice. Instead, payment of claims is not generally due to pharmacies until after Elixir
 is reimbursed by the plan sponsor.4 Consistent with this practice, pharmacy claims were processed
 and paid in the Ordinary Course prior to the Closing Date.




 4
   Sellers note that Purchaser has included claims receivable from plan sponsors while including
 this adjustment to remove $70,727,419 million of corresponding claims payable, without
 explaining its disparate treatment. Moreover, Purchaser has failed to reconcile its $70,727,419 to
 actual amounts included within accounts payable and has also failed to explain why its adjustment
 includes amounts that Purchaser has labeled “Paid by RAD” and due to Elixir Specialty.

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                B. Pharmacy Performance Guarantees & DIR

 Purchaser included an adjustment to remove $6,057,287 of pharmacy performance guarantees and
 DIR from Current Liabilities. Pharmacy performance guarantees and DIR balances were included
 within Current Liabilities within Exhibit E of the APA, within general ledger accounts 24800 and
 21800. As such, pharmacy performance guarantees and DIR are Current Liabilities pursuant to
 Section 11.1(w) of the APA and must be included in the calculation of Closing Working Capital.

 Purchaser alleges the $6,057,287 of pharmacy performance guarantee and DIR liabilities in
 question were incurred outside the Ordinary Course, and, therefore, are not Assumed Liabilities.
 For the reasons discussed above, Purchaser’s allegations are irrelevant because pharmacy
 performance guarantee liabilities and DIR were included within Exhibit E of the APA. Moreover,
 Purchaser’s allegation is wrong and unsupported – the pharmacy performance guarantee and DIR
 liabilities were incurred in the Ordinary Course. The business did not change its accounting
 processes nor its business operations with respect to performance guarantee and DIR liabilities,
 and Purchaser’s statements to the contrary are untrue.

                C. LSTC (McKesson & Other)

 Purchaser included an adjustment to remove $34,897,174 of pre-petition invoices primarily
 payable to McKesson ($33,780,411 of the $34,897,174 were due to McKesson). These types of
 invoices were included within Current Liabilities within Exhibit E of the APA, within general
 ledger account 20500.5 As such, the invoice liabilities are Current Liabilities pursuant to Section
 11.1(w) of the APA and must be included in the calculation of Closing Working Capital.

 Purchaser alleges the $34,897,174 of invoice liabilities in question were “delinquent,” and,
 therefore, are not Assumed Liabilities. For the same reasons discussed above, Purchaser’s
 allegations are irrelevant because such invoice liabilities were included within Exhibit E of the
 APA. Pursuant to the contemplation, commencement and pendency of the Bankruptcy Cases, the
 pre-petition liabilities were not delinquent. Instead, they were unpaid as of Closing and recorded
 in the Ordinary Course as Current Liabilities.

                D. Rebates

 Purchaser included an adjustment to remove $67,865,496 of rebates from Current Assets and
 Current Liabilities. Rebates were included within Current Assets and Current Liabilities within
 Exhibit E of the APA, within general ledger accounts 13105 and 20705. As such, the rebate

 5
   After the Petition Date, and after the parties had signed the MedImpact APA, the Debtors created
 a new account, “20510: Liabilities Subject to Compromise,” to record a subset of liabilities that
 had previously been recorded to 20500: Accounts Payable, including the amounts payable to
 McKesson. This change, which the Debtors made for presentation purposes as part of their
 restructuring, does not change the bargain that was struck, and amounts subsequently recorded to
 20510: Liabilities Subject to Compromise would otherwise have been recorded to 20500:
 Accounts Payable. The reclassification is a bookkeeping measure for enhanced tracking of the
 items and has no impact on the calculation of Closing Working Capital.

                                                 4
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 obligations are Current Liabilities pursuant to Section 11.1(w) of the APA and must be included
 in the calculation of Closing Working Capital.

 Purchaser alleges the $67,865,496 of rebates in question were “delinquent” as of the Closing Date,
 and, therefore, are not Assumed Liabilities. For the same reasons discussed above, Purchaser’s
 allegations are irrelevant because such rebate liabilities were included within Exhibit E of the APA.
 Moreover, Purchaser’s allegation is incorrect because the rebates were not delinquent. The
 business paid rebate obligations in the Ordinary Course. Purchaser’s argument is premised on the
 erroneous assumption that any rebate relating to 2022 or prior is delinquent. This assumption is
 incorrect because, under typical industry practice, the applicable rebate liabilities are not due until
 the subsequent completion of a reconciliation process typically requested by the plan sponsor. The
 amounts in question represent obligations that potentially may come due if such reconciliations
 are requested.

                E. Outstanding Checks

 Purchaser included an adjustment to remove $40,260,492 for the balance of outstanding checks
 from Current Liabilities. The balance of outstanding checks was included within Current
 Liabilities within Exhibit E of the APA, within general ledger account 20500. As such, liabilities
 for the balance of outstanding checks are Current Liabilities pursuant to Section 11.1(w) of the
 APA.

 Purchaser asserts the $40,260,492 balance of outstanding checks should be excluded from Closing
 Working Capital because Excluded Liabilities include “drafts or checks outstanding as of the
 Closing.” However, the balance of outstanding checks has been consistently included within
 account 20500 as a Current Liability and was similarly treated as such within Exhibit E of the
 APA. This balance (which represents the underlying obligations owed to vendors for which the
 checks were issued) is distinct from the outstanding checks themselves.

                F. Other Liabilities

 Purchaser included an adjustment to remove $7,756,215 of various other invoices payable and
 accrued expenses. These types of liabilities were included within Current Liabilities within
 Exhibit E of the APA, within general ledger accounts 22540, 22505, 20500, 20705, and 21800.
 As such, the items are Current Liabilities pursuant to Section 11.1(w) of the APA and must be
 included in the calculation of Closing Working Capital.

 Purchaser alleges the $7,756,215 of amounts in question were “delinquent,” and, therefore, are not
 Assumed Liabilities. For the same reasons discussed above, Purchaser’s allegations are irrelevant
 because such items were included within Exhibit E of the APA and, therefore, are Current
 Liabilities.

                                       *               *               *

 For the avoidance of doubt, nothing herein is intended to be, and shall not be construed as, a waiver
 of Sellers’ rights under the APA, and Sellers reserve their rights.

                                                   5
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Attachment A
Cash Payment Determination


                                                                   Purchaser's                     Disputed
     Ref                             Item                                        Sellers' Position
                                                                    Position                       Amount
     A          Base Price                                       $ 576,500,000 $ 576,500,000 $              -
      B         Less: Deposit                                       (57,500,000)     (57,500,000)           -
      C         Est. Working Cap. minus Target Working Cap.          14,339,080       14,339,080            -
 D = A+B+C      Term Loans Consideration Amount                  $ 533,339,080 $ 533,339,080 $              -

      E         Cap per §2.7(d)(i)                               $ 626,500,000 $ 626,500,000                        -
      F         Less: Term Loans Consideration Amount             (533,339,080)  (533,339,080)                      -
     G          Less: Deposit                                      (57,500,000)   (57,500,000)                      -
 H = E+F+G      Max Cash Payment per §2.7(d)(i) (Due to Cap)     $ 35,660,920 $ 35,660,920 $                        -

       I        Closing Working Capital                          $   84,717,899 $ (142,846,184)         N/A**
      J         Estimated Closing Working Capital                  (192,288,920)  (192,288,920)         N/A*
    K = I-J     Calculated Cash Payment                          $ 277,006,819 $ 49,442,736             N/A**

  Min (H, K)    Cash Payment Owed to Purchaser                   $   35,660,920    $   35,660,920   $               -




*Purchaser's Closing Working Capital Statement erroneously listed the Target Working Capital rather than the
Estimated Closing Working Capital. Purchaser's typographical error has no impact on the final Cash Payment owed
due to the $626,500,000 cap per Section 2.7(d)(i) of the APA.


**Both Purchaser and Sellers agree the calculated Cash Payment is greater than the maximum Cash Payment per the
cap provided within Section 2.7(d)(i) of the APA. As such, both parties agree the Cash Payment owed to Sellers is
$35,660,920, and there is no Disputed Amount for the Cash Payment.

*** The Principal Amount of the Term Loan is $567,382,000 (which is equal to $533,339,080 divided by 94%).




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Attachment B
Working Capital Calculations


                                                 Purchaser's
                  Description                                   Sellers' Position      Difference
                                                  Position
Closing Working Capital Prior to Adjustments   $ (142,846,184) $ (142,846,184) $                   -
Purchaser's Erroneous Adjustments                  227,564,083                    -      227,564,083
Closing Working Capital                        $    84,717,899 $ (142,846,184) $         227,564,083




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Attachment C
Listing of Purchaser's Erroneous Adjustments


  Ref               Description              Purchaser            Sellers         Difference
   1     Pharmacy Claims Payable           $  70,727,419      $             -   $   70,727,419
   2.1   DIR - PDA Withholdings                  1,157,287                  -         1,157,287
   2.2   BER/GER                                 4,900,000                  -         4,900,000
    2    Pharmacy Performance Guarantees         6,057,287                  -         6,057,287
   3     LSTC (McKesson & Other)                34,897,174                  -        34,897,174
   4     Rebates Payable                        67,865,496                  -        67,865,496
   5     Outstanding Checks                     40,260,492                  -        40,260,492
   6.1   Franchise and Sales Taxes               1,043,001                 -          1,043,001
   6.2   Assumed Cure Costs                     (1,400,000)         (552,187)          (847,813)
   6.3   Other Accounts Payable                  5,771,495           552,187          5,219,308
   6.4   Prime Aggregator (Tonic)                2,341,719                 -          2,341,719
    6    Other Liabilities                       7,756,215                 -          7,756,215
         Total                             $   227,564,083    $             -   $   227,564,083




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                                   Exhibit D

                             Debtors’ June 23 Email
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  From:              Toth, Steve
  To:                James Gollaher
  Cc:                Layfield, Scott; "Clark, David M."; Thomas Sabatino; Yenamandra, Aparna; O"Connor, Dan; Fiedler, Ross J.;
                     Thompson, McClain; Awrabi, Alan; "Boudouris, Bradley"; Chesley, Rick
  Subject:           Notice of Cash Payment and Release of Purchase Price Adjustment Escrow Amount
  Date:              Sunday, June 23, 2024 9:44:14 PM
  Attachments:       Elixir - Joint Written Instruction (Purchase Price Adjustment Escrow) (110161308 3).docx


  Reference is made to that certain Asset Purchase Agreement (as amended), dated as of October 15,
  2023, by and among MedImpact Healthcare Systems, Inc., (“You” or “Purchaser”) and Hunter Lane,
  LLC and its subsidiaries named therein (“Us”, “We”, or “Sellers”) (together with the exhibits and
  schedules attached thereto, the “Asset Purchase Agreement”). Capitalized terms used but not
  otherwise defined in this email shall have the meanings ascribed to such terms in the Asset Purchase
  Agreement.

  On April 30, 2024, You delivered the Purchaser’s Closing Working Capital Statement to the Sellers.

  As You know, on June 14, 2024, pursuant to Section 2.7(c)(ii) of the Asset Purchase Agreement, We
  delivered a Statement of Objections to You.

  As set forth in the Statement of Objections, We agreed with You that the Cash Payment that You
  owe Us is $35,660,920.00. Because We did not dispute the amount of the Cash Payment that You
  are to pay Us pursuant to section 2.7(d)(i), such Cash Payment is not a Disputed Amount and is
  therefore resolved.

  You were obligated to pay $35,660,920.00 to Us within five Business Days (i.e. June 21, 2024) of such
  resolution, pursuant to Section 2.7(d)(iv) of the APA.

  The Parties to the Asset Purchase Agreement are simultaneously required to direct the Escrow Agent
  to release to Us the Purchase Price Adjustment Escrow Amount from the Escrow Account.

  Please pay Us by wire transfer of immediately available funds $35,660,920.00. Wire transfer
  instructions are below. Attached also are written instructions to the Escrow Agent for Your
  countersignature. For the avoidance of doubt, nothing herein is intended to be, and shall not be
  construed as, a waiver of Sellers’ rights under the APA, and Sellers reserve their rights.

  Wire Instructions

          Bank Name:       
          ABA No.:            

          Account Name:
          Account No.:     
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  Steve Toth
  -----------------------------------------------------
  KIRKLAND & ELLIS LLP
  333 West Wolf Point Plaza, Chicago, IL 60654
  T +1 312 862 7062
  F +1 312 862 2200
  -----------------------------------------------------
  steve.toth@kirkland.com


  From: Toth, Steve
  Sent: Friday, June 14, 2024 3:37 PM
  To: James Gollaher <James.Gollaher@MedImpact.com>
  Cc: Layfield, Scott <scott.layfield@us.dlapiper.com>; 'Clark, David M.'
  <David.Clark@us.dlapiper.com>; Thomas Sabatino <Thomas.Sabatino@riteaid.com>; Yenamandra,
  Aparna <aparna.yenamandra@kirkland.com>; O'Connor, Dan <dan.oconnor@kirkland.com>; Fiedler,
  Ross J. <ross.fiedler@kirkland.com>; Thompson, McClain <mcclain.thompson@kirkland.com>;
  Awrabi, Alan <aawrabi@alvarezandmarsal.com>; 'Boudouris, Bradley'
  <bboudouris@alvarezandmarsal.com>; Chesley, Rick <Richard.Chesley@us.dlapiper.com>
  Subject: Project Poet: Statement of Objections

  Reference is made to that certain Asset Purchase Agreement (as amended), dated as of October 15,
  2023, by and among MedImpact Healthcare Systems, Inc., Hunter Lane, LLC, and certain of their
  affiliates.

  Pursuant to Section 2.7(c)(ii) of such Asset Purchase Agreement, Sellers (as defined therein) hereby
  deliver the Statement of Objections (as defined therein).

  Thank you,




  Steve Toth
  -----------------------------------------------------
  KIRKLAND & ELLIS LLP
  333 West Wolf Point Plaza, Chicago, IL 60654
  T +1 312 862 7062
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  -----------------------------------------------------
  steve.toth@kirkland.com
